Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 1 of 149




    fishing opportunities by the U.S. Fish and Wildlife Service (FWS) in history, bringing the Trump
    Administration' s total expansion to more than 4 million acres nationwide.

   Recreational Shooting on Federal Lands

   Since the beginning of the Trump Administration and at the NRA's urging, the Bureau of Land
   Management has been looking at opportunities to expand and enhance access to safe recreational
   shooting areas on federal lands. While 97% ofBLM and Forest Service lands are open to
   shooting, the NRA has long been pushing for more developed sites, ranges and micro-ranges on
   these lands. The first project was announced in January of 2020 and is currently being built.
   The project includes five new shooting areas in the Phoenix-metro area.

   Lower 48 Gray Wolf Dellsting

   In October, the U.S. Fish & Wildlife Service announced its final rule delisting the gray wolf in
   the lower 48 states. The rule will allow states, rather than the federal government, to manage
   wolf populations. This is a huge win for state management of wildlife. Several environmental
   and animal rights groups have already threatened lawsuits and the future of the de1isting will
   likely depend on which federal judges are assigned the case.

   Hunters' Leadership Forum

   Recently, Director Skipwith wrote an op-ed published on the Hunters' Leadership Forum
   website thanking shooters for their contribution to conservation through excise taxes paid on
   fireanns and ammunition. The editorial can be found here:
   https://www.nrah1f.onvarticles/2020/8/24/thank-vou-recreationa1-shooters/.


   GRASSROOTS PROGRAMS & CAMPAIGN FIELD OPERATIONS -
   Lexy Higgins, Managing Director

   Grassroots Field Activities

       This year, the Grassroots Programs and Campaign Field Operations Division was faced with
   an unprecedented number of in person event cancellations due to government restrictions on
   capacity and the banning of in person gatherings in most areas. We adapted by moving a
   majority of our outreach online, and have stayed connected with our volunteers via phone calls,
   text messages, emails, and virtual meetings.

       This year, we hosted a variety of online meetings, workshops, and trainings to ensure our
   volunteers were educated and involved in our efforts nationwide. We hosted 132 virtual
   workshops that were primarily focused on training new volunteers, and in areas where we were
   able to, we transitioned from hosting virtual workshops to in person (28 total). We also hosted 26
   virtual meetings that allowed for more of a roundtable discussion with existing volunteers. We
   hosted 30 issues based trainings for both our FrontLines Activist Leaders and our Campaign
   Field Representatives to ensure they were up to date on NRA's position on key legislative issues.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 2 of 149




       Despite the challenges that our team faced this year brought on by making sure to allow for
   social distancing, following local/state guidelines, and taking extra steps to ensure the safety of
   our staff, we were still able to attend over 100 in person events.

   NRA-ILA Campaign Field Representatives (CFRs)

       ILA Grassroots deployed sixteen (16) Campaign Field Representatives for the 2020 Elections
   in the following states: Arizona, Colorado, North Carolina, Pennsylvania, Iowa, Michigan,
   Montana and Wisconsin. While we had one group of CFRs that was brought on board in
   February, the rest of our team has been on boarded and trained virtually. During the first half of
   the year, our voter contact outreach was limited to phone calls, emails, virtual meetings, and
   sending text messages. In June, we saw a number of states start to loosen their restrictions, and
   shifted our focus to in person outreach via going door to door, hosting small in person events,
   and partnering with our Second Amendment Activist Centers to host NRA Days. Below is what
   our team was able to accomplish during the 2020 General Election:

      •   Calls - 730,561
      •   Texts - 16,426,364
      •   Doors Knocked - 795,238
      •   NRA Days - 52
      •   Virtual Volunteer Trainings - 109
      •   Gun Shows - 11

         ILA Grassroots has also deployed four (4) Campaign Field Representatives for the U.S.
      Senate Runoff election in Georgia. Below is what our team was able to accomplish as of
      mid-December 2020:
             • Texts - approximately 1.3 million
             • Doors Knocked - approximately 400,000
             • NRADays - 6
             • NRA Member Town Halls - 5
         We will continue to contact voters in Georgia all the way through the election on
   Tuesday January 5th•

   NRA-ILA FrontLines Activist Leader (FAL) Pt-ogram

       The FrontLines Activist Leader program continues to undergo improvements as we look to
   find creative ways to maximize our grassroots outreach. We have held semi-regular virtual
   meetings throughout the year, as well as started to send a weekly update to increase
   communication from HQ and ensure that our FALs are up to date on what is going on within the
   Grassroots Programs and Campaign Field Operations Division nationwide.

      We currently have 107 FALs.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 3 of 149




   Second Amendment Activist Centers

       In an effort to maintain more consistent communication with our Second Amendment
   Activist Centers, we launched a new website this year:
   https://www.nrasecondamendmentactivistcenter.com. lbrough this website, our Second
   Amendment Activist Centers have access to a portal that allows them to update their
   infonnation, request more materials for distribution, and access flyers designed to help promote
   NRA events at their businesses. We have also utilized the ''News'' section of this website to
   highlight events that our Second Amendment Activist Centers have hosted.

       We currently have 373 Second Amendment Activist Centers.

   Collegiate Outreach Programs

       Our collegiate engagement has been limited this year because of the inability of students to
   be on campus due to the Coronavirus. We have kept in contact with our existing Collegiate
   Coalitions and campus coordinators by hosting a number of virtual events with/for them and are
   working on setting up a number of virtual meetings.

       We have been and will continue to work with NRA Public Affairs to bring our NRA-ILA
   Grassroots Collegiate programs under one NRA umbrella - Students for 2A. This involves
   rebranding our existing Collegiate Coalitions, as well as relocating all of our program request
   forms to be hosted on the Students for 2A website.

       While we were able to host 7 NRA Universities in early spring, we have largely been unable
   to host NRA University (NRA U) programs this year due to the hectic nature of college
   campuses closing and then reopening and closing again. We are exploring virtual NRA
   University options for next year, but anticipate a shift in content while presentations have to
   remain virtual.

   Written & Electronic Correspondence, Information Fulf"lllment, and Phones

          This reporting period, the Division received approximately 26,050 email messages to
   which some 8,325 were responded to by Grassroots staff. Roughly 2,425 were fotwarded to
   other NRA Divisions for response or for more information. An additional 15,300 were
   informational in nature, and thus, required no response. These totals exclude thousands of spam
   messages and other similar items that are deleted.

          The Grassroots Division received approximately 23,600 incoming phone calls and
   reviewed some 2,050 voicemail comment messages.

           Staff has processed and internally distributed hundreds ofpieces of mail, have responded
   to 145 letters, and have mailed dozens ofinfonnational items out to members and dozens of
   packages out to our staffin the field.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                 Page 4 of 149




    Miscellaneous

        The Division continues to work to ensure that our list of volunteers only contains individuals
    who are truly willing to be actively engaged in our political and legislative efforts - currently
    around 1.65 million nationwide.

        The Division is continuously updating its email list, which currently totals roughly 2.3
    million.

        The Division transmitted 50 issues of the Grassroots Alert this reporting period. The Alert is
    transmitted every Monday to all with email addresses, with thousands more accessing it on
    ILA's website.


    RESEARCH & INFORMATION - Josh Savani, Director

   Assessing Firearm Research

           While an individualized analysis of available fireann research is beyond the scope of this
   report, it is a good opportunity to address some ofthe recurring shortcomings of research
   reviewed by the Division.
   All firearm research suffers from one problem: we do not know how many firearms are in the
   United States or how they are distributed. NRA has long supported various federal laws and
   appropriations riders as well as laws at the state level to prohibit the collection and centralization
   of fireann records. While these laws are intended to prevent the creation of fireann registries,
   they also prevent researchers from conducting accurate studies with the number or distribution of
   firearms as a variable.

          These studies often use self-report to determine firearm ownership levels, but this suffers
   from other problems. Below is a graph showing Gallup's polling on a firearm ownership
   question over time.


      Do you have a gun in your home?


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      GALLUP
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 5 of 149




            The highlighted portion of the graph shows, after 1994 far fewer Americans reported
    having a gun in their home. This timing just happens to coincide with multiple pieces of federal
    legislation that targeted gun owners. While it is possible that many millions of Americans
    stopped being gun owners over a period of a few years, it is much more likely that targeting gun
    owners as a "problem" by federal officials made gun owners much less likely to share gun
    ownership information with a stranger on the phone.

            Another problem common in fireann research (and other areas ofresearch) is
    misspecification. We will often review studies that attempt to show that more permissive firearm
    policies increase various types ofviolent crime. While these studies may attempt to show a
    particular policy drives certain crime rates, they often fail to correctly account for the various
    laws of different jurisdictions.

            For example, many studies that assess the efficacy of self-defense laws will often look
    only to the states that have codified a particular policy in statute. However, many states may
    have very similar self-defense rules through judicial decisions. Bymisspecifying these states, a
    study on self-defense laws would be worthless at examining the efficacy of those laws.

           We also regularly see attempts to study events that are simply too rare to draw
   scientifically valid conclusions. This is most common in studies that purport to measure the
   effect of various laws on mass public shootings. Despite claims by some that hundreds of mass
   shootings occur each year, research has consistently shown far fewer of these events actually
   occur. A comprehensive dataset put together by Professor James Allen Fox of these events found
   that they occur between 20·30 times per year. Even Professor Fox, who is a strong supporter of
   gun control, admits that there is no evidence that any proposed policy measure will impact the
   frequency or severity ofmass attacks because they are already so rare.

   Research Based Policy

           A large part of the Division's work is focused on infonning the policy work done by ILA.
   By using arguments and messaging that resonate with the largest number of Americans, ILA can
   best represent the interests of our members.

          We know from repeated research that the vast majority of American.s agree that law-
   abiding people have the right to defend themselves and their families with the firearm of their
   choosing. This is why that no matter the policy, our messaging continues to focus on self-
   defense.

           Nowhere is this clearer than on our work to expand right-to-carry ("RTC") Jaws. There is
   some evidence that NRA's work to expand RTC laws in the 90s and early 2000s helped drive
   public S"upport for self-defense with a firearm. That support has now made it possible to further
   expandRTC.

           Since we are about to close out the decade, an examination of the expansion of pennitless
   carry in the Jast ten years shows how well our focus on RTC has worked.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 6 of 149




    Here is a map showing the state ofpermitless carry in 2010 and the same map in 2020.




   Only two states provided for permitless concealed carry at the beginning of the decade, but 16 do
   today.

           And, it's not just permitless carry that substantially improved in the last decade. When
   most RTC laws were first passed, they provided for an ad hoc system of reciprocal agreements
   between states for interstate permit validity. Another push by ILA in the last ten years is to get
   every state to recognize valid permits from all other states.

           The benefits of this system are two-fold. It provides for the greatest number of permitees
   who can carry in each state, and it proves that interstate carry is very feasible. This second
   benefit helps counter arguments to federal concealed carry reciprocity legislation.

            While some states were initially hesitant to recognize permits from states that did not
   recognize their permit, many states have now overcome this concern and recognize permits from
   all states as can be seen from this map.




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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 7 of 149




           While lLA's work defending and expanding the rights of law-abiding gun owners is far
    from over. Gun rights at the end ofthis decade are more expansive than they were at the
    beginning due in large parts to the efforts of this Association.

    2020 Firearm Research

            As 2020 comes to a close, two clear trends are obvious from research conducted this
   year, gun ownership is up (especially amongst new gun owners), and support for gun control is
   down.
            Through November, (the most recent month for which data is available), the FBI' s NICS
   Section had conducted 35,758,249 checks. For some perspective, in 2019, the fonner busiest
   year for NICS checks, FBI ran 28,369,750 checks in all 12 months. Assuming December 2020
   remains on track with the rest of the year, FBI will likely run ten million more checks in 2020
   than it did in 2019 (a 35% increase).

          NICS checks are not a perfect measure of gun sales, but they &re used regularly as a
   predictor of current sales until more reliable, but slower to be released, data becomes available.

           Subject to the caveats discussed above regarding self-report data sources, there is reason
   to believe that the huge surge in firearm buying is being driven by new gun owners. According to
   the National Shooting Sports Foundation, more than seven million new gun owners purchased a
   firearm in 2020.

           This survey data seems to be supported by the types of firearms being sold in 2020. Prior
   surges in fireann sales have been driven by calls to ban particular types of firearms, most often
   semiautomatic rifles. In response, huge numbers ofrifles have been sold during past surges, but
   the increase in handgun sales have generally been more modest.

           In contrast, sales in 2020 have been mostly handguns, which are likely driven by new gun
   owners interested in self-defense. The FBI NICS office has run 10,931,060 handgun-related
   checks and 6,361,838 checks related to long gun sales. This tops the annual handgun check
   record by 35% (over the 8,085,498 handgun-related checks run in 2016) and this still doesn't
   include December. However, the long gun checks are likely to only approximately match or
   narrowly surpass 2013 (the prior record year for long gun-related checks). Not counting
   December, this year is 766,961 checks away from beating the long gun record set in 2013 (with
   7, 128,798 such checks).

           As noted, with this huge surge in gun ownership, available data shows support for gun
   control amongst the American people bas substantially diminished in 2020.

           The longtime pollster Gallup regularly asks Americans what they believe to be "the most
   important problem" facing the nation. "Guns/gun control" reached a highpoint in March 2018
   with 13% of respondents indicating it was the most important issue. In 2020, this number fell to
   less than 0.5% in each month it was asked from May through November.

           Tilis doesn't mean that gun control advocates will be going away, at least not until their
   billionaire financiers decide to give up on curtailing Americans' fundamental rights, but it does
   mean that more Americans than ever before will likely be supportive of the goals and objectives
   of the National Rifle Association in 2021 and beyond.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 8 of 149




   OFFICE OF LITIGATION COUNSEL -Michael Jean, Director

   The Office of Litigation Counsel continues to fight for our members' rights through litigation.
   The following is a list of all the cases brought or supported by the Office of Litigation Counsel
   that had activity in 2020.

       I.       FEDERAL CASES

   SCOTUS

   New York State Rifle & Pistol Association, Inc. v. City of New York, No.18-286

   Issue: A New York City premises permit is required to keep a fireann in one•s home. The permit
   prohibits traveling with a fireann outside of the five boroughs, including to second homes and
   ranges, without permission from the NYPD (which has never been granted). 1bis was challenged
   in the Southern District of New York under the Second Amendment and the right to travel.

   Status: We lost in the Southern District of New York, and the Second Circuit affirmed in
   February 2018. Certiorari was granted on January 22, 2019. But after that, tbe city repealed the
   restriction, and the state preempted the city from enacting a similar ordinance in the future.
   Pennit holders are now able to transport their firearm anywhere that they may lawfully possess
   it. Despite our best efforts to preserve the case and get a ruling on the merits, on April 27, a
   divided Court held that the case was moot. Although we were unable to get a ruling on the
   merits, we received a strong dissenting opinion from Justice Alito, criticizing the watered-down
   scrutiny that lower courts have applied to Second Amendment challenges, which we have
   already cited in other briefs.

   Future Actions: The case was remanded back to the Southern District of New York to determine
   if a claim for damages can be brought.

   Denial of Cert in other cases

   We petitioned the Supreme Court for certiorari in four other cases:

      •     Rogers v. Grewal (18-824) - New Jersey's good-reason requirement
      •     Gouldv. Lipson (18-1272) - Massachusetts• good-reason requirement
      •     Worman v. Healey (19-404) - Massachusetts' "assault weapon'' ban
      •     Malpasso v. Pa/Iozzi (19A23) - Maryland' s good-reason requirement

   The Court declined to take all of them, and several other Second Amendment cases, on June 15th•
   There will be no further activity in these cases.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 9 of 149




    NYSRPA v. Corlett, No. 19-156 (2d Cir.) (No SCOTUS Case No. yet)

   Issue: New York Law requires an applicant for a carry pennit to show "proper cause," i.e., "facts
   demonstrating a need for self-protection distinguishable from the general public." This
   requirement was challenged in the Northern District of New York under the Second Amendment.

   Status: The Second Circuit had already upheld this requirement in Kachalsky v. County of
   Westchester, 701 F.3d 81 (2d Cir. 2012). The trial court and the Second Circuit therefore
   swnmarily affirmed our case on August 26th•

   Petition for certiorari was filed on December 17, 2020.

   D.C. CIRCUIT

   CBD v. Bernhardt & FoA v. Bernhardt, Nos.19-5147 & 19-51S2 (D.C. Cir.)

   Issue: In 2017, the D.C. Circuit sided with NRA and SCI in our challenges to the Fish and
   Wildlife Service's unlawfully promulgated rule that banned elephant trophy importations from
   Zimbabwe. In order to comply with that ruling, the Fish and Wildlife Service withdrew all its
   prior rules that were unlawfully promulgated in the same manner, and announced that it would
   make future findings and importation decisions through case-by-case adjudications. Two groups
   of plaintiffs challenged the withdrawal of the findings and the case-by-case approach in the D.C.
   District Court. NRA and Safari Club intervened as defendants.

   Status: The trial court ruled in our favor and dismissed all the claims for lack of standing and
   failure to state a claim. The plaintiffs appealed to the D.C. Circuit. On June 16, 2020, the D.C.
   Circuit affirmed the dismissal. The court cited our brief favorably in doing so.Ma result, the
   Fish and Wildlife Service can continue to allow elephant trophies to be imported to 1he country.

   Future Actions: None.

   SECOND CIRCUIT

   NRA v. Cuomo, No. l:20-cv-00385 (N.D. NY)

   Issue: In response to the COVID-19 outbreak, Governor Cuomo issued an executive order
   closing down all non-essential business, which included gun shops. 1bis lawsuit was filed in the
   Northern District of New York. It challenges the gun-shop closure under the Second Amendment
   and the Fifth and Fourteenth Amendments due process clauses.

   Status: The court denied our motion to amend the complaint and granted NY's motion for
   judgment on the pleadings August 14th•

   Future Actions: None.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 10 of
                                        149



  THIRD CIRCUIT

  ANJRPC v. Grewal, No. 19-3142 (3d. Cir.)

  Issue: New Jersey outlawed the possession of magazines with a capacity of greater than ten
  rounds. This prohibition was challenged in the District of New Jersey under the Second
  Amendment.

  StatrlS: The trial court denied our motion to preliminarily enjoin the enforcement of the statute.
  The Tirird Circuit affirmed the denial. Ass 'n ofNew Jersey Rifle & Pistol Clubs, Inc. v. Attorney
  Gen. New Jersey, 910 F.3d 106 (3d Cir. 2018). The trial court then ruled against us on summary
  judgment. It held that it was bound by the panel's preliminary injunction holding that we were
  unlikely to succeed on the merits. On September 1st, the Third Circuit affirmed, holding that it
  was bound under the law-of-the-case doctrine. We petitioned the court for en bane review. The
  petition was denied on November 25th•

  Future Actions: We are currently considering whether to appeal this case to the Supreme Court.

  Doe v. WoH, No. 19-1927 (3d Cir.)

  Issue: Pennsylvania law prohibits anyone who has been temporarily committed for a mental
  health observation from possessing a firearm. There is no hearing or any due process whatsoever
  before the temporary observation commitment takes place. This statute was challenged in the
  Eastern District of Pennsylvania under the due process clause of the Fourteenth Amendment, for
  depriving individuals of their fundamental rights without due process oflaw.

  Status: The trial judge ruled against us and the case was appealed to the Third Circuit. The week
  after we appealed the case, the ATF certified the state's restoration process, which now
  effectively provided the plaintiffs (and all others committed under the statute) with some post-
  deprivation due process. The Third Circuit held that the post•deprivation proceedings-were
  enough to satisfy the due process clause's requirements and affirmed. We do not see any more
  potential out of this case.

  Future Actions: None.

  Mazahreh v. Grewal, 1:20-cv-17598 (D.N.J.)

  Issue: New Jersey law requires that an applicant for a concealed-carry permit must prove that
  they have a 'justifiable need" to carry. This requirement was challenged in the District of New
  Jersey under the Second Amendment. This case is the almost identical to the Rogers case.

  Status: The Complaint was filed on December 1st• We expect to get a summary dismissal because
  the Tirird Circuit has already upheld this requirement in Drake v. Filko, 724 F.3d 426 (3d Cir.
  2013).

  Future Actions: Continue to prosecute the case.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21               Entered 04/03/21 02:48:03         Page 11 of
                                        149



  FOURTH CIRCUIT

  Maryland Shall Issue v. Bogan, No. 19-1496 (4th Cir.}

  Issue: Maryland law forbids the sale, rental, transfer, purchase, or receipt of a handgun by any
  person without a valid Handgun Qualification License, which will only be issued after the
  applicant, among others, pays several fees and takes a four-hour safety course, by a state-
  certified instructor. This requirement was challenged in the District of Maryland under the
  Second and Fourteenth Amendments.

  Status: The state filed a motion to dismiss, which was denied on all but one count: the court
  found that we didn't have standing to challenge the requirement that applicants take a firearm-
  safety course from a certified instructor. The Fourth Circuit reversed on August 3, 2020. We are
  now back in the district court where summary judgment motions are scheduled to be briefed
  through March 2021.

  Future Actions: Prosecute the case in the district court.

  NINTH cmcurr

  Duncan v. Becerra, No. 19-55376 (9tll Cir.)

  Issue: California outlawed the possession of magazines with a capacity of greater than ten
  rounds. This prohibition was ohallenged in the Southern District of California under the Second
  Amendment, Takings Clause, and Due Process Clause.

  Status: The court granted our motion for a preliminary injunction on June 29, 2017, and the
  Ninth Circuit affirmed on July 17, 2018. Back in the district court, we successfully obtained a
  summary judgment on the Second Amendment and Takings Clause in March 2019. The state
  appealed to the Ninth Circuit. The court applied strict scrutiny and affinned on August 14th•
  California promptly sought en bane review. We opposed.

  Future Actions: Nothing until we get a ruling from the court.

  Crow Tribe v. U.S. (Six Grizzly Bear Cases), No. 18-36038 (9th Cir.)

 Issue: In 2017, the U.S. Fish and Wildlife Service delisted grizzly bears in the Greater
  Yellowstone Ecosystem under the Endangered Species Act. This turned their management over
  to the states, who were scheduled to hold the first grizzly hunt in the lower 48 states in decades.
  Six different groups challenged the delisting under the Endangered Species Act and the
  Administrative Procedure Act in the District of Montana The NRA intervened in the case with
  Safari Club International.
  Status: The trial court held that the Fish and Wildlife Service did not consider all the factors that
  it needed to and that the bears were not adequately protected when the Service delisted them.
  The DOJ only partially appealed the case, indicating that it would accept a remand on the other
  issues. The Ninth Circuit gave the DOJ exactly what it asked for: reversing on the issues that the
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 12 of
                                        149



  DOJ appealed and affirming the issues that the DOJ did not oppose. The bears are back on the
  list of threatened species, and there will be no hunts until they come off again.

  Future Actions: None:

  Rhode v. Becerra, No. 20-55437 (9th Cir.)

  Issue: California law requires ammunition sales, deliveries, and transfers to be conducted by a
  state-licensed ammunition vendor in a face-to-face transaction. A California resident who seeks
  to buy firearm ammwrition must pay for and pass an electronic background check each time he
  or she wishes to make a purchase. This restriction was challenged in the Southern District of
  California under the Second Amendment.

  Status: Judge Benitez granted us a preliminary injunction in April 2020, prohibiting the state
  from enforcing this restriction. The state promptly appealed and the Ninth Circuit stayed the
  injunction pending the appeal. The case was argued on November 9th• The court asked for
  supplemental briefing on November t@h.

  Future Actions: Continue to prosecute the appeal.

  Mitchell v. Atkins, No 20-35827 (9th Cir.)

  Issue: The people ofWashington enacted 1-1693, which prolnoits the sale of handguns and semi-
  automatic rifles to individuals under 21. This was challenged under the Second Amendment and
  Commerce Clause in the Western District ofWashington.

  Status; We survived a motion to dismiss in May 2019, but we lost on summary judgment on
  August 31 61• We appealed the case to the Ninth Circuit and filed our opening brief on November
  25th.

  Future Actions: Continue to prosecute the appeal.

  B&L v. 22-ud Agricultural Distric~ 3:19-cv.00134 (S.D. Cal.)

  Issue: The 22nd Agricultural District oversees the Del Mar fairgrounds, which is owned by the
  state of California. The District voted to no longer host gun shows at the fairgrounds. Suit was
  brought in the Southern District of California, challenging this decision under the First and
  Fourteenth Amendments.

  Status: This case was settled on April 30th•

  Future Actions: None.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21              Entered 04/03/21 02:48:03             Page 13 of
                                        149



  Brandy v. Villanueva, No. 2:20-cv-02874 (C.D. Cal.)

  Issue: In response to the COVID-19 pandemic, California and Los Angeles County issued an
  order closing down al] non-essential businesses, which included gun shops. NRA (along with
  SAF and FPC) filed this lawsuit challenging the closure under the Second Amendment and Due
  Process Clause.

  Status: Our motion for a preliminary injunction was denied by the court. The defendant filed a
  motion for judgment on the pleadings. Our motion for a preliminary injunction was denied. The
  defendant filed a motion for judgment on the pleadings, which the court granted on October
  20th.

  Future Actions: We are in the process of appealing.
  Altman v. Santa Clara~ No. 5:20-cv-02180 (N.D. Cal.)

  Issue: In response to the COVID-19 pandemic, several counties in northern California issued
  orders closing down all non-essential businesses, which included gun shops. NRA (along with
  SAF and FPC) filed this lawsuit challenging the closure under the Second Amendment and Due
  Process Clause.

  Status: Our motion for a preliminary injunction was denied. Three ofthe counties repealed their
  orders, but Alameda County kept theirs in place. Defendants then filed a motion to dismiss. On
  November 30th, the court ruled that our Second Amendment claim against Alameda County
  could proceed. It dismissed the claims against the other counties.

  Future Actions: Continue to prosecute the case.

  TENTH CIRCUIT

  Aragon v. Grisham, No. l:20-cv-00325 (D.N.M.)

  Issue: In response to the COVID-19 pandemic, Governor Grisham issued an executive order
  closing down all non-essential businesses, which included gwi shops and ranges. NRA (along
  with NMSSA, SAF, FPC, and Mountain States) filed this lawsuit challenging the closure under
  the Second Amendment.

  Status: In response to our lawsuit, we negotiated an agreement whereby the Governor agreed to
  allow gun shops to open up by appointment only for two weeks, and then allowed them to
  operate like all other essential businesses thereafter. In response, suits were voluntarily
  withdrawn.

  Future Actions: None.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                Entered 04/03/21 02:48:03          Page 14 of
                                        149



  ELEVENTH CIRCUIT

  NRA v. Swearengin, No. 4:18-cv-00137 (N.D. Fl.)

  Issue: Florida law prohibits the purchase of firearms by persons under the age of 21 . This
  prohibition was challenged under the Second Amendment and the Equal-Protection Clause in the
  Northern District ofFlorida.

  Status: We survived a motion to dismiss on May 1sr_ The court allowed all of the claims to
  proceed against the Commissioner of the Department of Law Enforcement, while dismissing the
  claims against Attorney General Moody for not having any enforcement authority. The court also
  gave some indication that it would apply strict scrutiny in later proceedings. Discovery recently
  closed, and cross motions for summary judgment are fully briefed.

  Future Actions: Continue to prosecute this case in the district court.

      II.     STATE CASES

  Colorado

  Chambers v. City of Boulder, No. 2018CV30581(Boulder District Court)

  Issue: The city of Boulder passed several ordnances restricting (l) assault weapons and high
  capacity magazines, and (2) possession offirearms by minors. These ordnances were challenged
  under the state's preemption law.

  Status: The court dismissed the possession-by-minors claims for lack of standing. We filed a
  motion for summary judgment on November 13th•

  Future Actions: None.

  Florida

  Ballot Initiative: Prohibits Possession of Defmed Assault Weapons, No. SC19-1266 (Fla.
  Supreme Court)

  Issue: Several groups sponsored a ballot initiative that would amend the Florida right to keep and
  bear arms by prohibiting "assault weapons," which were defined to include any semi-automatic
  rifle capable of accepting more than 10 rounds. The Initiative also indicated that this was lawful
  under the Second Amendment. NRA, NSSF, and the Attorney General asked the Florida
  Supreme Court to review the Initiative to determine whether it is misleading.

  Status: The Court agreed with us on June 4 th • The Initiative will not be on the ballot this fall.

  Future Actions: None.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 15 of
                                        149



  Illinois

  Guns Save Life Inc. v. Ali, No. 1-18-1846 (Ill First District Appellate Court)

  Issue: This case challenges Cook County's imposition of a supp]emental tax on the purchase of
  fireanns and ammunition in the county under the right to keep and bear anns.

  Status: The trial court denied our motion for summary judgment and granted Cook County's
  cross motion. The court essentially ruled that the taxes create a burden that is too minor to
  invalidate them. We appealed to the First District Appellate Court in Chicago, which
  affirmed. The Illinois Supreme Court granted our petition to appeal the case on September 30th•

  Future Actions: Prosecute the appeal.

  Guns Save Life Inc. v. Village of Deerfield, No. 2-19-0879 (Ill Second District Appellate
  Court)

  Issue: When Illinois enacted its preemption statute, it gave localities a certain time frame
  wherein they could enact gun-control laws. The Village of Deerfield enacted an "assault
  weapon" ordinance after that time expired. This ordinance was challenged under the state's
  preemption statute.

  Status: We received a preliminary and permanent injunction in the trial court and village
  appealed to the Second District Appellate Court. On December 4th, the court ruled that the
  preemption statute allows localities to amend pre-existing ordinances outside of the preempt
  timeframe. The court upheld Deerfield' s new ordinance because it already had an "assault
  weapons" storage ordinance before the time frame.

  Future Actions: We are considering appealing the case further.

  Oregon

  Ballot Initiative 40, No. SC S067201 (OR Supreme Court)

  Issue: 1bis is a challenge to Ballot Initiative 40, which required fireanns be safely stored,
  reported lost or stolen, and that all minors be supervised while using a firearm.

  Status: The Court found (1) the title and the yes and no statements to be misleading and (2) the
  caption to be insufficient. The Initiative was therefore not be on the ballot.

  Future Actions: None.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21               Entered 04/03/21 02:48:03         Page 16 of
                                        149



  Pennsylvania

  Anderson v. City of Pittsburgh, No. 1753 CD 2019 (PA Commonwealth Court)

  Issue: The city of Pittsburgh passed a large capacity magazine ordinance. We challenged this
  under the state's preemption statute in state court.

  Status: We won at the trial level and the city appealed. The case was argued on October 14th. We
  are awaiting a decision from the court.

  Future Actions: Nothing until we get a ruling.

  Vermont

  Vermont Federation of Sportsmen v. Birmingham, No. 2020-155 (VT Supreme Court)

  Issue: Vermont law bans the possession ofmagazines with a capacity to hold more than 15
  rounds. This case challenges that restriction under the state right to keep and bear anns.

  Status: After being delayed for over a year in the trial court, we were able to get a new judge
  who certified the question to the State Supreme Court. The case was argued in November, 2020.

  Future Actions: Nothing until we get a ruling from the Court.

  Washington

  Alim v. Seattle, No. 793501 (Wash. App.1 st• Division)

  Issue: The city of Seattle Washington enacted a fireanns storage ordinance. This case challenges
  that ordinance under the state's preemption statute.

  Status: The trial court dismissed our case for lack of standing, and we appealed. The court
  reversed on October 19th• We are now going back to the trial court, where we hope to resolve the
  case on summary judgment motions.

  Future Actions: Continue to prosecute the case in the trial court.

     IJI.      AMICUS BRIEFS

  We filed amicus briefs in the following cases:

     •      Young v. Hawaii, No. 12-17808 (9th Cir. En Banc) - challenging Hawaii' s restrictive
            process for issuing carry permits: no permit has been issued in the county in 20 years.
            There has been no ruling in the case yet.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 17 of
                                        149



      •   McCarthy v. Baker, No. 1:20-cv-10701 (D. Mass.)-challenging MA's closure ofFFLs
          as non-essential businesses under the state,s emergency COVID Order. The court
          preliminarily enjoined the state from shutting FFLs down.
      •   Federal Law Enforcement Officers Association v. Grewal, No. 3:20-cv-05762 (D.N.J.)-
          challenging NJ's requirement that retired law enforcement officers who are exempt from
          state and local carry restrictions under the Law Enforcement Officers Safety Act still
          need a state-issued permit. The NRA's briefwas filed in opposition to the state's motion
          to dismiss. The state withdrew its motion after the NRA and DoJ filed opposition briefs.


  FlNANCE AND ADMINISTRATION - Robert G. Owens C.P.A., Fiscal Officer

  Fundraising

  The NRA Institute for Legislative Action (ILA) and the Political Victory Fund (PVF) raised
  $29. l million and $11 .3 million dollars respectively through November 30, 2020 from direct
  mail, digital on-line solicitations and Advancement outreach.

  Legislative and Political Mailings

  Almost 400,000 pieces of legislative, political and informational mailings were produced and
  mailed by ILA and the Political Victory Fund. Over 200 new state house and state senate district
  mailings went to NRA members, hunters, concealed weapons holders and state legislatures via
  information packets, endorsement letters and postcards.

  Printing

  117,000 color postcards printed for CPR, s to mail as contact follow-up. Over 1.2 million of 50
  different versions of palm cards and door-hangers printed to be given out by CFR's when
  knocking on doors during GOTV efforts.

  Financial and Fiduciary Performance

  ILA, PVF, FAF and NRAVF leadership pivoted quickly in anticipation ofthe COVID challenges
  and were able to set priorities, pause spending and alter strategy to remain on track for what is
  needed in this election year to remain effective and relevant in the political and legislative
  arenas.

  ILA Fiscal staff successfully absorbed the permanent loss of two staff positions without any drop
  off in productivity or quality of product and successfully launched the NRA Victory Fund Inc.
  super PAC with a new accounting and database management platform.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21         Entered 04/03/21 02:48:03      Page 18 of
                                        149



                     NATIONAL RIFLE ASSOCIATION OF AMERICA
                     REPORT OF THE LEGAL AFFAIRS COMMITTEE

  Dallas, Texas                                                               January 7, 2021

  To: NRA Board of Directors

         The Legal Affairs Committee met on January 5, 2021, via teleconference.

          Committee members present were: Sandra S. Froman, Chairman; Scott L. Bach, Vice
  Chairman; Carol Frampton; Antonio Hernandez-Almodovar; Curtis S. Jenkins; Wayne Anthony
  Ross; Lane Rubland; John C . Sigler; and Michael Blaz, Committee Secretary. Committee member
  Charles L. Cotton was excused from attendance.

        Others in attendance were: John C. Frazer, NRA Secretary and General Counsel; Wade
 Callender, General Counsel, NRA-ILA; Michael Jean, Director, Office of Litigation Counsel,
 NRA-ILA; Joshua Savani, Director, Research and Infonnation, NRA-ILA; Stefan Tahmassebi,
 NRA Deputy General Counsel; Skipp Galythly, NRA Assistant General Counsel; and Hadan
 Hatch, Attorney, Office of Litigation Counsel, NRA-ILA.

        The minutes of the meeting of October 6, 2020 were approved.
         The Chairman commended the performance of the NRA Office of the General Counsel
  and the Office of Litigation Counsel, NRA-ILA.
        The Committee went into executive session at approximately 12: 10 P.M.
        The Committee emerged from executive session at approximately 1:05 P.M.
        The Committee has no recommendations for the Board of Directors at this time.
        The Committee adjourned at approximately l :07 P.M.


                                            Respectfully submitted,


                                            ~2c2---
                                            Sandra S. Froman
                                            Chairman
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03     Page 19 of
                                        149



                       NATIONAL RIFLE ASSOCIATION OF AMERICA
                        REPORT OF THE EXECUTIVE COMMJTTEE

  Dallas, Texas                                                                  January 7, 2021

  TO:    NRA Board of Directors

       The Executive Committee of the National Rifle Association met by teleconference on
  November l 0, 2020.

         The meeting was called to order by the committee chairman, NRA President Carolyn D.
  Meadows. Other committee members present were: Vice President Charles L. Cotton, Vice
  President Willes K. Lee, Thomas P. Arvas, Scott L. Bach, Bob Barr, Allan D. Cors, Carol
  Frampton, Joel Friedman, Marion P. Hammer, Susan Howard, Curtis S. Jenkins, David A.
  Keene, Tom King, James W. Porter II, Jay Printz, Ronald L. Schmeits, and John C. Frazer,
  committee secretary. The following committee members were unable to attend: David G. Coy,
  Sandra S. Froman, Todd J. Rathner, Wayne Anthony Ross, and Dwight D. Van Hom.

        Other NRA directors in attendance were Clel Baudler, Ted Carter, Todd Ellis, Edie P.
  Fleeman, 'Leroy Sisco, Mark A. Vaughan, Blaine Wade, Linda L. Walker, Howard J. Walter,
  Judi White, and Donald Young.

         NRA officers in attendance were Joseph P. DeBergalis, Jr., Executive Director of General
  Operations, and Jason Ouimet, Executive Director of the NRA Institute for Legislative Action.

         Other NRA staff in attendance were Stephanie Daniels, Assistant NRA Secretary, and
  Millie Hallow, Managing Director, Operations Outreach.

         Also in attendance was outside counsel Wit Davis.

       The committee reviewed the minutes of the meeting of July 20, 2020, which were
 approved without objection.

       lt was moved that the committee go into executive session. Without objection, the
 committee went into executive session at 2:12 p.m.

       The committee rose from executive session at 2:37 p.rn., having acted on the following
 motions:

                  "MOVED, to consider all submitted waivers as a slate and approve
                  or deny them as a group."

         The motion was adopted unanimously.

                  "MOVED, that all of the potential candidates seeking waivers
                  of the five•year membership requirement be granted waivers."
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03     Page 20 of
                                        149



          1be motion was not adopted, by a roll call vo1e as follows:

                Thomas P. Arvas                No
                Scott L. Bach                  Present
                Bob Barr                       No
                Allan D. Cors                  No
                Charles L. Cotton              Present
                Carol Frampton                 Present
                Joel Friedman                  Present
                Marion P. Hammer               No
                Susan Howard                   No
                Curtis S. Jenkins              No
                David A. Keene                 Present
                Tom King                       No
                Willes K. Lee                  Present
                Carolyn D. Meadows             Present
                James W. Porter II             No
                Jay Printz                     No
                Ronald L. Schmeits             No

         There being no further business to come before the committee, the meeting then
  adjourned.

       The Executive Committee of the National Rifle Association met by teleconference on
  December 8, 2020 at 2:02 p.m.

          The meeting was called to order by the committee chairman, NRA President Carolyn D.
  Meadows. Susan Howard offered an opening prayer. Other committee members present were:
  Vice President Charles L. Cotton, Vice President Willes K. Lee, Thomas P. Arvas, Scott L.
  Bach, Bob Barr, J. Kenneth Blackwell, Allan D. Cors, David G. Coy, Joel Friedman, Marion P.
  Hammer, Susan Howard, Curtis S. Jenkins, David A. Keene, Tom King, James W. Porter II, Jay
  Printz, Todd J. Rathner, Ronald L. Schmeits, Dwight D. Van Horn, and John C. Frazer,
  committee secretary. The following committee members were unable to attend: Carol Frampton,
  Sandra S. Froman, and Wayne Anthony Ross.

         Other NRA directors attending were Joe M. Allbaugh, Clel Baudler, Dave Butz, Ted
 Carter, Patricia A. Clark, Todd Ellis, Edie Fleeman, Johnny Nugent, Don Saba, William H.
 Satterfield, Steven C. Schreiner, Bart Skelton, Mark E. Vaughan, Linda Walker, and Judi White

         NRA officers in attendance were Craig B. Spray, Treasurer; and Joseph P. DeBergalis, Jr.,
  Executive Director of General Operations.

         Other NRA staff in attendance were Stephanie Daniels, Assistant NRA Secr-etary, Millie
 Hallow, Managing Director, Operations Outreach, and Jeff Poole, Managing Director, Shows &
 E'Xhibits.

         Also in attendance was outside counsel Wit Davis.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21           Entered 04/03/21 02:48:03         Page 21 of
                                        149



        The committee reviewed the minutes of the meeting of November 10, 2020, which were
  approved without objection.

         Without objection, the committee went into executive session at 2: 12 p.m.

          The committee rose from executive session at approximately 2:30 p.m., having adopted
  the following resolution:

            WHEREAS, governmental orders resulting from the ongoing COVID-19
            pandemic have continued to affect scheduling of large meetings and other
            events nationwide; and

            WHEREAS, the scheduled host hotel in Virginia for the January 2021 board
            of directors meeting has canceJled all events that month; and

            WHEREAS, all major events at the scheduled host site for the NRA's 2021
            Annual Meeting of Members have been cancelled for the first half of 2021 ~
            now therefore be it

            RESOLVED, that the winter 202 l meeting of the NRA Board of Directors
            shall be held on Thursday, January 7, 2021 at 9:00 a.m., Central Standard
            Time, in the Dallas Ballroom of the Omni Dallas Hotel in Dallas, Texas; and
            be it further

            RESOLVED, that the 202 J Annual Meeting of Members shall be held on
            Saturday, September 4, 2021 at 10:00 a.m., Central Standard Time, at the
            George R. Brown Convention Center in Houston, Texas; and be it further

            RESOLVED, that the fall 2021 meeting of the NRA Board of Directors,
            currently scheduled for Saturday, September 11, 2021 in Tysons Corner,
            Virginia, shall instead be held on Monday, September 6, 2021 at 9:00 a.m.,
            Central Standard Time, at the Hilton Americas hotel in Houston, Texas; and
            be it finally

            RESOLVED, that the Secretary prepare recommendations for a potential third
            board meeting in 2021 to replace tl1e meeting currently sc.heduled to take
            place in Houston, Texas on May 17, 2021.

        Having no other business to conduct, the committee then adjourned.


                                             Respectfully submitted,


                                              ~~
                                             Charles L. Cotton
                                             Vice Chairman
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 22 of
                                        149



                       NATIONAL RIFLE ASSOCIATION OF AMERICA
                REPORT OF THE BYLAWS & RESOLUTIONS COMMITTEE

 Dallas, TX                                                                   January 7, 2021

 To: NRA Board of Directors

        The Bylaws & Resolutions Committee met via teleconference on January 4~ 2021.

       Committee members present were Carol Frampton, Chainnan~ Charles L. Cotton, Vice
Chairman; Scott L. Bach; Allan D. Cors; Joel Friedman; and Michael Blaz, Committee Secretary
Committee member Larry E. Craig was not present.

      Others in attendance were: Carolyn D. Meadows, NRA President; Willes K. Lee, NRA
Second Vice President; Todd J. Rathner, NRA Board Member; John C. Frazer, NRA Secretary and
General Counsel; William Davis, Counsel to NRA Board; and Wade Callender, General Counsel,
NRA-ILA.

        The Committee approved the minutes of the meeting of the Committee on September 20, 2020.

        The Committee discussed the issue of possible term limits for NRA Directors including the
fact that the Committee previously discussed the issue when it arose at a prior meeting of the Board
of Directors.

        The Committee went into executive session at approximately 12:25 p.m.

        While in executive session it was the consensus of the Committee to issue the following
report on the proposed Resolutions that were referred to the Committee:

There were seven proposed Resolutions at the NRA Annual Meeting of Members on October 24, 2020,
five of which were referred to the Bylaws and Resolutions Committee. The title of each of these five
appears underlined below along with the results ofthe Committee's consideration.
RESOLUTION NO. 3

"Term Limit/Bad Director Resolution to be submitted to the National Rifle Association Annual
Meeting of the Members. October 24th. 2020" bv Jamison Netherv. Member No. 220551156
("Resolution no. 3")
The Committee has determined that no further action Tegarding the Resolution is appropriate for the
following reasons:
J.     Term Limits Reduce the Power ofthe NRA ·s Members
The composition of the Board of Directors is sufficiently governed by the election process. Every
three years directors come up for election by the voting members. If at any time the membership
decides it does not want a director, the members will not vote that director into office. Term limits
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                Entered 04/03/21 02:48:03          Page 23 of
                                        149



 would unnecessarily narrow the range of candidates thus diminishing the power of members to
 choose who will represent them. When voter choices are restricted, it could result in a denial of the
 voters' will. An impending term limit could also diminish membership power by reducing an
 outgoing director's responsiveness to member concerns.
2.     Term Limits Reduce Experience, Expertise, Talent, Insights and Institutional Memory
Available to NRA.

NRA's system tasks directors with creating solutions to pressing societal problems relating to our
purpose, Often there is no simple answer and there is a likelihood for unintended consequences.
Crafting policy is a learned skill; as in other professions, experience matters. Effective directors
should not be forced out of their position. NRA should be able to benefit from their skills, talents
and experience. Even in instances where staffers, rather than directors, lead the charge in crafting
policies, it is often the director-to-director interactions that solidify details, and build coalitions that
result in effective action. NRA members and the firearms owning public are best served if
experienced directors continue to serve the Association by making important decisions. Term limits
would result in an unnecessary loss of directors' experience, expertise and insight, and result in a
loss of organizational memory.

Tenn limits could also reduce the motivation of some directors in their final terms. Directors who
know their time is ending will feel less pressure to develop expertise on specific issues knowing that
term limits will reduce the Association's ability to benefit from that knowledge.

For these reasons, the Committee believes tenn limits would not benefit the Association.
RESOLUTION NO. 4
"Resolution submitted to the Annual Meeting of the National Rifle Association, 24 October 2020,
by Frank C. Tait Endowment Life Member N o. 37307752." ("Resolution no. 4")
The Committee has determined that no further action regarding Resolution no. 4 is appropriate for
the following reasons:
l. To the extent Resolution no. 4 seeks the removal of Members of the NRA Board of Directors
and/or NRA officers by NRA members by demanding Board action against such NRA Board
Members or Officers, Resolution no. 4 fails to comply with the NRA Bylaws. Specifically, the
procedure for "the removal of one officer, or Director" is set forth in detail in Bylaws Article IX.
Resolution no. 4 fails to comply with the procedure set forth in Article IX.
2. The Committee also noted that Resolution no. 4 points to allegations made against the NRA and
certain individuals noted in Resolution no. 4 by the Attorney General for the State of New York (the
"NYAG"). The Committee further noted that these allegations are being vigorously contested in
litigation now pending before the Supreme Court of New York for the County of New York (the
•~yAG Lawsuit"). The NYAG Lawsuit is still in its early stages. The litigation process, and the
due process rights of the defendants in the NYAG Lawsuit, demand that the NYA G's allegations be
fully litigated before the trier offact in the NYAG Lawsuit. Accordingly, any action by the Bylaws
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21               Entered 04/03/21 02:48:03       Page 24 of
                                        149



 and Resolutions Committee, the NRA Executive Committee, or the NRA Board of Directors would
 be premature and improper.

 RESOLUTION NO. 5

  "Resolution submitted to the Annual Meetinir of the National Rifle Association, 24 October 2020.
 b v Rob Pincus. Life Member No. 188652907." ("Resolution no. 5")

 The Committee has determined that no further action regarding Resolution no. 5 is appropriate
 because the Committee has determined that the procedures used to determine membership numbers
 are effective. This is based on the following information:

 In a memorandum on December 22, 2020, Derek Robinson, Managing Director, Membership
 provided, in pertinent part, the following information:

        "The NRA Membership Division tracks member counts using a series of standard
        reports produced from the membership database at the end of each month by the
        NRA Information Services Division. Active member counts are tracked using
        several different criteria, including Membership Type, term and location (State/US
        Territory/Canadian Province/Foreign). The monthly reports package is used by
        Membership Division staff to produce an Executive Summary that is distributed to
        Executive NRA staff and NRA Board Officers each month.


        In addition to the monthly member count reports, Membership Division staff monitor
        daily and weekly membership/contribution sales reports produced from the
        membership database to keep track of how many memberships are being sold on a
        daily and weekly basis. This gives staff an idea of how many members are being
        added to the system between month end report runs."

RESOLUTION NO. 6
"Resolution regarding the correction of an illegal bylaw" submitted bv Jeff Knox, Endowment
Member No. 85326. (''Resolution no. 6")

The Committee has determined that no further action regarding Resolution no. 6 is appropriate for
the following reasons:

The Resolution suggests that Article IV, Section 3(e) - which allows a "vote" in which the
individual votes cast "shall be recorded in the minutes of the meeting but not published in the
Official Journal" - conflicts with Section 3(d) of the same Article, which states that roll call votes
"shall be published" in the official journal.

Based on consultation with the NRA Parliamentarian and NRA counsel, the Committee believes
there is no conflict. Robert's Rules of Order § 30 allows for various methods of voting (such as a
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21               Entered 04/03/21 02:48:03          Page 25 of
                                        149



 show of hands, a rising vote or a non-secret paper ballot) that are not strictly roll call votes, but that
 do allow individual directors' votes to be identified and recorded. It also states that that each
 organization is entitled to interpret its bylaws based on and with the assistance of professional and
 authoritative advice. The transcript of the January 1999 Board meeting makes clear that the Board
 understood the distinction when it adopted Section 3(e). The transcript further indicates the
 sponsors of the language were trying to authorize a method for Board members to have their
 individual votes recorded, but without the expense of publishing roll calls in the NRA publications.

 The Committee was guided by principles established by the courts when asked to interpret the
 meaning of a statute. Bylaws to the NRA are like statutes to a legislature. The main principle states
 we must read the bylaw, or statute, to be consistent so that all parts of it can be respected.

 In this regard, the Committee was guided by the following principles of statutory interpretation:
 Avoid:

 *interpreting a provision in a way that would render other provisions of the [operating governing
 document] superfluous or unnecessary.

 *interpreting a provision [ of the operating governing docwnent] in a way inconsistent with the
 policy of another provision.

 * interpreting a provision in a way that is inconsistent with a necessary assumption of another
 provision.

 RESOLUTION NO. 7
''Resolution of the NRA Members Regarding Transparency, Competition, and Honesty in Election
of Officers" submitted by Jeff Knox... Endowment Member No. 85326 ("Resolution no. 7")

The Committee has determined that no further action regarding Resolution no. 7 is appropriate for
the following reasons:

Resolution no. 7 states that the officer election at the April 2019 Board meeting was conducted in
executive session, and that the election of the officers by acclamation was later characterized as
unanimous. Robert's Rules of Order states that an election by acclamation is unanimous: "If only
one person is nominated and the bylaws do not require that a ballot vote be taken, the chair, after
ensuring that, in fact, no members present wish to make further nominations, simply declares that
the nominee is elected, thus effecting the election by unanimous consent or 'acclamation.,,, See
RONR § 46 (11th ed.) (in effect at the 2019 meeting); RONR § 46:40 (12th ed.) (identical
language).
Resolution no. 7 also expresses concern about the election being conducted in executive session.
The decision to conduct any particular business in executive session is a matter of judgment of the
cognizant body, in this case the NRA Board of Directors, Nothing in New York law, the NRA
Bylaws, or Robert's Rules prohibits conducting elections in executive session.

Resolution no. 7 also calls on the Board "to nominate at least two individuals for every officer
position" and to conduct the elections in open session by secret ballot. If the Board is satisfied that
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 26 of
                                        149



 one candidate is the best choice for a position, and there is no requirement that the Board do so, the
 Committee sees no value in nominating other candidates simply for the sake of creating a contested
 election. Such wheel-spinning requires time and effort to count ballots, and is unnecessary given
 that the NRA Bylaws already require that, in the event of a contested election, voting among two or
 more candidates ''shall be by written ballot." Art. V, Sec. 1(a).

        The Committee emerged from executive session at approximately l : 10 p.m.

        The Committee discussed proposed amendments to the NRA Board Policy for Board
 Member Attendance, to address pandemic concerns, a copy of which is attached to this report. The
 Committee expressed that the board policy on attendance should be distributed by the NRA
 Secretary to Board Members.

        The Committee discussed a proposed memorial resolution for Robert Kukla, a copy of
 which is attached to this report.

        The Committee makes the following recommendations to the Board of Directors:
 1.     "MOVED, That the NRA Board adopt the proposed amendments to the NRA Board
 Policy for Board Member Attendance as identified in the document attached to this report."
2.    "MOVED, That the proposed memorial resolution for Robert Kukla, former NRA
Board member, be approved."

        The Committee recessed at approximately 1:35 p.m. subject to the call of the Chainnan.


                                              Respectfully submitted,



                                               ~~
                                              Charles L. Cotton
                                              Vice Chainnan
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 27 of
                                        149

  NRA Board Policy for Board Member Attendance

  (a) Members of the Board of Directors should regularly attend Board meetings. In order to
  discharge their fiduciary duties under applicable law, Board members shall keep informed of
  matters within the scope of the Board's oversight role in the governance of the Association.
  Attendance at Board meetings is one of a number of methods by which Directors may keep
  informed of matters within the purview of the Board.

  (b) An excessive number of unexcused absences from meetings of the Board may be grounds
  for disciplinary or corrective action in accordance with the Association's Bylaws or as otherwise
  may be determined. Such action may include, without limitation, publicizing to the Board the
  attendance record of the Director and the Board asking for the resignation of the Director.

  An absence from a Board meeting is deemed "excused" if the President, having been informed
  of the reason for the absence, in good faith deems the absence excused prior to the closing of
  the missed Board meeting based on at least one of the following six factors:

  (1) the Director has a bereavement, or personal, family, or household illness, including
  vulnerability to contagions; (2) severe weather, natural disaster, or civil disorder precludes
  attendance; (3) the Director is engaged in service in the military, as a law enforcement
  officer or other emergency responder; (4) the Director's attendance is required at a legislative
  body, legal proceeding, or other professional circumstance beyond the Director's reasonable
  control; (S) the Director's participation in other activities are of such importance that the
  Director's absence from Board meetings is justifiable; or (6) reasonable evidence is presented
  that such Board member has remained engaged and apprised of matters w ithin the scope of
  the Board's oversight role despite the absence.

 (c) In the event an absence is not "excused", the President shall, pursuant to Article VII, Section
 2(b) of the Association's Bylaws, delegate the matter to the Executive Council to determine
 whether the Board member's absence should have been excused or, as the case may be, to
 make recommendations for disciplinary or corrective action consistent with the Association's
 Bylaws and applicable law.
  Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03       Page 28 of
                                          149

  ~
  THE NATIONAL RIFLE ASSOCIATION
  OF AMERICA




         WHEREAS, Robert J. Kukla, of Park Ridge, lllinois, a former Executive Director ofthe NRA
Institute for Legislative Action and member ofthe Board ofDirectors ofthe National Rifle Association of
America, passed away on November 4, 2020, at the age of87; and
      WHEREAS, Robert was born on December 1, 1932, in Chicago, lllinois,· he graduatedfrom
Northwestern University in 1957 with a Juris Doctor degree; he wore many professional hats throughout
his life; he worked as casualty aq;uster at Allstate Insurance Company, a trial attorney at the firm
Fitzgerald, Petrucelli & Simon, and as Director ofMarketing Sales and Distribution at Sears, Roebuck
and Company; he was a self-employed author, teacher, consultant, television and radio personality; and
       WHEREAS, Robert was a man with great integrity; he received a certificate ofmerit from
Chicago Mayor Richard J. Daley in 1970, for his demonstration ofgood citizenship in action for aiding
and assisting a victim ofassault and robbery; he helped form and was President ofthe "Logan Square
Neighborhood Association," an organization formed to resist crime in the area; he had a deep
appreciation for the law and decided to share his passion and knowledge by teaching law courses at
Triton College, Oakton College, and Roosevelt University; and
        WHEREAS, Robert was an NRA Life member at the time ofhis death; he was Executive Director
ofNRA-ILAfrom 1977 to 1978,· he sen1ed on the NRA Board ofDirectors from 1966-1976; he served on
the Firearms Legislative Committee, Bylaws & Resolutions Committee, Range Facilities Committee,
Protest Committee, and State Association Committee; and
        WHEREAS, Robert was an ardent supporter offirearms and the Second Amendment; he was a
skilled marhman and renowned pistol shooter; he served as Vice President and Legislative Committee
Chairman ofthe Rlinois State Rifle Association; he served as Vice President ofthe Tri-County Pistol and
Revolver League; he was a member ofthe Northwest Gun Club, Inc.: he wrote on firearms matters,
including a landmark gun rights book, "Gun Control," which is still relevant and referenced today; he
was a skilled debater and made over 300 media appearances on behalfofthe NRA; now, therefore, be it

      RESOLVED, That the Board ofDirectors ofthe National Rifle Association ofAmerica, at its
meeting on January 7. 2021. in Dallas, Texas. in recognition ofRobert Kukla and his long years qf
service to the National Rifle Association ofAmerica, hereby expresses its profound sense ofloss
occasioned by his passing, and extends its sincere sympathy to his family; and, be it farther
       RESOLVED, That the text ofthis resolution be spread upon the minutes ofthe meeting, and that a
copy, suitably engrossed, be forwarded to his beloved children Robert and Jay.
Attest:

---'--' J"" ~~                               Onthis25thdayofFebrua,y,2021
          ~razerd
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03       Page 29 of
                                        149

                     NATIONAL RIFLE ASSOCIATION OF AMERICA
                  REPORT OF THE LEGISLATIVE POLICY COMMITTEE

  Dallas, Texas                                                                  January 7, 2021

  To: NRA Board of Directors

  The Legislative Policy Committee met on December 29, 2020 via WebEx Video Conference.
  Committee members present were: Kayne B. Robinson, Chairman; Carolyn D. Meadows, Vice
  Chrunnan; Joe M. Allbaugh; Scott L. Bach; Allan D. Cors; Charles L. Cotton; Sandra S. Froman;
  Marion P. Hammer; Graham Hill; Curtis S. Jenkins; Willes K. Lee; James W. Porter 11; Todd J.
  Rathner; Rob Rotter; Linda L. Walker; and Naomi Farmer, Committee Secretary. Committee
  members unable to attend were: Bob Barr; Larry E, Craig; David A. Keene; Alan B. Mollohan;
  John C. Sigler and Donald E. Young. Others in attendance were NRA Secretary John C . Frazer;
  NRA-ILA Executive Director Jason Ouimet; other NRA Directors; and NRA staff.

  Chairman Robinson called the meeting to order at 12:00 p.m. on December 29, 2020. The
  committee unanimously decided to postpone the approval of the January 2020 minutes until the
  committee can meet in-person.

  Ch.airman Robinson thanked everyone for attending the meeting and gave concerns about the
  two upcoming Georgia Senate Run-off elections, the 2021 political and judicial landscape, along
  with recognizing II.A's hard work in the 2020 electipns and hard work to come in 2021.

  Chairman Robinson recognized NRA President Carolyn D. Meadows. President Meadows
  restated Chairman Robinson concerns, adding additional information on the two Georgia Senate
  Run-off elections and thanked ILA Executive Director Jason Ouimet and his staff for their hard
  work .

  Chairman Robinson recognized NRA-ILA Executive Director Jason Ouimet. Mr. Ouimet
  gave an overview ofILA' s 2020 election actions and results, along with the political
  ramifications of those results for 2021.

  Chairman Robinson recognized NRA First Vice President Charles L. Cotton, NRA Second
  Vice President Willes K. Lee, and other committee members to discuss concerns and issues.
  While the committee discussed many areas of interest, nothing rose to the level of Board action.

  Chairman Robinson, President Meadows, ILA Executive Director Jason Ouimet and ILA
  Managing Directors fielded questions.

  There being no further business, the committee adjourned at I :00 p.m.




                                                      :~~~
                                                      Kayne B. Robinson
                                                      Chairman
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 30 of
                                        149

                         NATIONAL RIFLE ASSOCIATION OF AMERICA

                          REPORT OF THE NOMINATING COMMITTEE

DALLAS, TEXAS                                                                       JANUARY 7, 2021

TO:    NRA Board of Directors and Executive Council

       The Nominating Committee met via webinar on November 14, 2020, for the purpose of
nominating individuals for election to the NRA Board of Directors in 2021. Members present were:
Bruce Ash; Bob Barr; J. William Carter; Rick Figueroa; Hilary Goldschlager; Marion P. Hammer;
Steven Leyh; Leroy Sisco; Dwight D. Van Hom; and Committee Secretary, John C. Frazer.

       The Committee elected Bob Barr as Chairman and J. William Carter as Vice Chairman.

       The Nominating Committee is a screening process designed to determine the most qualified
candidates to be recommended to NRA voting members for election to the NRA Board of Directors.
The Committee made every effort to select the best possible candidates for nomination.

        Committee members set aside friendships and personal relationships and placed considerable
weight on protection of the Second Amendment; leadership abilities; business expertise; legislative and
financial experience; an understanding of the NRA' s wide range of safety, training and shooting
programs; past performance; and potential capabilities.

       The Committee received recommendations for 71 individuals. The Committee reviewed all
candidates, including incwnbents seeking re-election, and candidates who either submitted themselves
for consideration or were recommended by other NRA members.

       Service on the NRA Nominating Committee is an honor and a serious responsibility. The
Committee has an obligation to select those candidates who are the most dedicated, best qualified, and
have the expertise and freedom needed to best serve the needs of the NRA and its members.

        Following robust discussion, the Committee nominated the following 30 individuals as being
the best qualified to meet the needs ofthe Association at this time:

 1.    Scott L. Bach                                     5.    Dean Cain
       Newfoundland, New Jersey                                Malibu, California

 2.    William A. Bachenberg                             6.    James Chapman
       Allentown, Pennsylvania                                 Live Oak, California

 3.   Ronnie G. Barrett                                  7.    Anthony P. Colandro
      Murfreesboro, Tennessee                                  Woodland Park, New Jersey

 4.   Donald J. Bradway                                  8.    David G. Coy
      Hayden, Idaho                                            Adrian, Michigan
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21     Entered 04/03/21 02:48:03           Page 31 of
                                        149

 9.    John L. Cushman                            20. Owen Buz Mills
       Patchogue, New York                            Paulden, Arizona

 10. Edie P. Fleeman                              21.   Janet D. Nyce
     Durham, North Carolina                             Elliottsburg, Pennsylvania

 l 1. Joel Friedman                               22. Kim Rhode
      Henderson, Nevada                                 Big Bear Lake, California

 12. Maria Heil                                   23.   Wayne Anthony Ross
       New Freedom, Pennsylvania                        Anchorage,Aiaska

 13. Antonio Hernandez-Almod6var                  24. Don Saba
       San Juan, Puerto Rico                          Tucson. Arizona

 14. Niger Innis                                  25.   William H. Satterfield
     North Las Vegas, Nevada                            Birmingham, Alabama

 15. David A. Keene                               26.   John C. Sigler
     Ft. Washington,Maryland                            Dover, Delaware

 16. Carrie Lightfoot                             27. Craig Swartz
     Scottsdale, Arizona                              Adel, Iowa

 17. Duane Liptak, Jr.                            28. James Tomes
     Austin, Texas                                    Wadesville, Indiana

 18.   Carolyn D. Meadows                         29.   James L. Wallace
       Marietta, Georgia                                Newburyport, Massachusetts

19.    Bill Miller                                30.   Robert J. Wos
       Beckley, West Virginia                           Sarasota, Florida




   PLEASE NOTE: Voting members may vote for no more than 25 of the 30 candidates listed.


                                          Respectfully submitted,




                                          Bob Barr
                                          Chairman
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21              Entered 04/03/21 02:48:03        Page 32 of
                                        149



                      NATIONAL RIFLE ASSOCIATION OF AMERICA
                     REPORT OF THE SMALLBORE RIFLE COMMITTEE

  Dallas, Texas                                                                      .January 7, 2021
  TO: NRA Board of Directors

        The NRA Smallbore Rifle Committee met via teleconference on April 16, 2020.
  Committee members present were Patricia A. Clark, Chairman; Jamie Corkish; Edie P. Fleeman;
  Ryan Tanoue; Howard J. Walter; Marling P Engle; Keith Sanderson, and Cole McCulloch,
  Committee Secretary. Committee members unable to attend were Tom King.

         At the request of the British NRSA, and due to the cancellation of both countries'
  National Matches, the Smallbore chair was asked to have the Roberts and Goodwill Randle
  Team moved to 2022. The committee met and approved the following motion unanimously·
                  "MOVED, That the 2021 Pershing Team Match and the Goodwill
                  Randle Team Match be rescheduled to the 2022 National Matches at
                  Camp Atterbury in order to allow for team selection and preparation
                  by visiting teams. The match schedule will return to the every eight
                  year schedule with the next Pershing and Goodwill Randle Team
                  Matches fired in 2029."
        The NRA Smallbore Rifle Committee met via teleconference on July 10, 2020.
 Committee members present were Patricia A. Clark, Chairman; Jamie Corkish; Edie P. Fleeman;
 Keith Sanderson; Ryan Tanoue; Howard J. Walter; and Cole McCulloch, Committee Secretary.
 Committee members unable to attend were Tom King, and Marling P. Engle. Also in attendance
 was Shelly Kramer, Manager, Tournament Operations, Competitive Shooting Division.
 The Committee discussed many areas of interest and while not rising to the Jeve) of
 requiring Board action, the following items were addressed:
         1. The commit1ee and Mr. McCulloch discussed the impacts of the COVID-19 global
            pandemic on competitive shooting and the NRA Competitive Shooting Division.
        2. The committee also discussed the 2021 National Matches and the Smallbore National
           Championships at Camp Atterbury and the circumstances surrounding preparing for
           the championship in 2021 .

 The Committee adopted the following motions that do not require Board action:

                  ••MOVED, That the Randle match continue following the rules
                  in regard to firing ohly at the National matches of their
                  respective countries. Countries that are unable to fire at their
                  national matches are invited to participate as Goodwill Randle
                  teams with the scores of up to ten women to count. If ten
                  scores are not available, the country with the lowest amount of
                  firing members will set the team number for all remaining
                  participant countries."
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21           Entered 04/03/21 02:48:03      Page 33 of
                                        149




               "MOVED, That the Wakefield team be shot on individual home
               ranges under the supervision of a witness over a one-week period
               in early September. Firing members will be determined by the
               team Captain from a list of top 20 shooters by score from each of
               the 2018 and 2019 years. Those shooters will be polled by the
               team Captain for willingness to participate until all team slots are
               filled. The Captain submits via email all timelines,
               correspondence, and plans to the smallbore committee via email
               for comment."
  The Committee makes the following recommendations to the Board of Directors:
               "MOVED. That the Executive Vice President direct staff to
               submit a list of upcoming sanctioned matches to the
               committee chair who will invite those tournament sponsors
               to bid on holding the 2020 Dewar Team match. Selection
               will depend on the expected number of competitors and
               likelihood of the match being held. Competitors who fired
               on the US Dewar Team in recent years will be notified by
               volunteers and asked to participate."

              "MOVED, That the Executive Vice President direct staff to
              submit a list of 2 day outdoor 3-position matches and
              contacts in the August-September time frame to the
              committee chair. The chair will reach out to see if they are
              willing to accommodate an English match following their
              match for the purpose of firing the Drew Cup, a junior
              match. U oder this plan, a US team might consist of 3 men,
              and/or 3 women, and/or a full team of 10 shooters given the
              availability of juniors participating. Appropriate brassards
              and medals will be awarded to the participants as they
              become available."


                                                     Respectfully submitted



                                                     Edie P . Fleeman
                                                     Committee Member
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 34 of
                                        149



                     NATIONAL RIFLE ASSOCIATION OF AMERICA
                   REPORT OF THE NRA CIVIL RIGHTS DEFENSE FUND

  DALLAS, TEXAS                                                        JANUARY 7, 2021

  TO:    NRA BOARD OF DIRECTORS

  The Board of Trustees of the NRA Civil Rights Defense Fund met on January 4, 2021, at
  3:00 p.m. Eastern Standard Time, via telephone conference. Trustees present were: James W.
  Porter II, Chairman; Carol Frampton, Vice-Chairman; Robert K. Corbin; Robert Dowlut;
  William H. Satterfield; and Robert Sanders. Trustees Robert Cottrol, Charles Corton, Graham
  Hill, and Curtis Jenkins were absent and excused. Also present were: Stefan B. Tahmassebi,
  Secretary, NRA Civil Rights Defense Fund; and Craig B. Spray, Treasurer, NRA Civil Rights
  Defense Fund. Others in attendance were: Rick Tedrick, NRA Office of the Treasurer; Sunee
  Stacks, NRA Office of the Treasurer; Wade Callender, NRA-ILA Deputy Executive Director and
  General Counsel; Michael T. Jean, NRA-ILA Litigation Counsel; Hadan Hatch, NRA-ILA
  Associate Litigation Counsel and Katie Crowley, Paralegal, Office of General Counsel.

  It was established that th.e official notice of the meeting was e-mailed on December 3, 2020, and
  mailed on December 7, 2020.

  The trustees approved the minutes of the meeting of October 20, 2020.

  Report of the Treasurer. The Treasurer's written report was presented by: Craig B. Spray,
  Treasurer, NRA Civil Rights Defense Fund; Rick Tedrick, NRA Office of the Treasurer; and
  Sunee Stacks, NRA Office of the Treasurer. The Treasurer's written report was reviewed and
  approved.

  Report of the Chairman. The Chairman waived his oral report.

 Carter-Knight Freedom Fund Award. Request was made for the submission of candidates.
 Trustee Robert J. Dowlut suggested nominating Stephen P. Halbrook and informed the Trustees
 that the nomination of Mr. Halbrook was supported by ILA. After discussion, the Board of
 Trustees nominated Stephen P. Halbrook for the Carter-Knight Freedom Fund Award and to
 award Mr. Halbrook $10,000.00 and a commemorative plaque. The Trustees want the record to
 reflect that the NRA Civil Rights Defense Fund and ILA worked closely together to nominate
 this candidate.

 Report of the Secretary. The Secretary's written report was presented by Stefan B.
 Tahmassebi, NRA Civil Rights Defense Fund Secretary. The Secretary's written report was
 reviewed and approved. The Secretary reported on recent actions by the Chairman, the Executive
 Committee, emergency funding applications, recent updates by applicants, and organizational
 matters, including:

       Chairman Authorizations: During this reporting period, the Chairman did not authorize
 any emergency funding.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 35 of
                                        149




          Executive Committee Action: During this reporting period, the Executive Committee
  did not authorize any emergency funding.

          Emergency Funding Requests. During this reporting period, the following pending
  emergency funding requests were subsumed into regular funding appJications which were heard
  at the meeting of January 4, 2020.

                 a.      Western Pehnsylvania Sportsmen ·s Club, Inc. v. Municipality of
                 Murrysville.

                 b.      In the Matier ofthe Application of "John Doe. "

         Organizational Matters: The Secretary informed of certain organizational matters that
  needed to be addressed, including the following:

       The Secretary informed of expiring terms of Trustees and the status of the Nominating
  Committee.

         The Chairman appointed a Nominating Committee consisting of Carol Frampton as
  chairman, Graham Hill, and Robert Corbin.

          The Secretary informed that the NRA Cjvil Rights Defense Fund is the sole beneficiary
  of a land trust established by Mr. Francis Samp, that such land was being held in trust by the
  Chicago Title Land Trust Company, that a ready, willing and able buyer has made an offer for
  such land, and that the Chicago Title Land Trust Company required certain resolutions to be
  passed by the board of trustees, relating as to who has authority to act on behalf of the NRA Civil
  Rights Defense Fund, and required the execution of certain documents and agreements relating
  to the acceptance, ratification, and/or transfer of the beneficial interest, the trust agreement
  and/or the proposed sale.

         After discussion, the Trustees resolved that the proposed transaction was fair and
  reasonable from the standpoint of the NRA Civil Rights Defense Fund, and that the agreements
  and documents for Chicago Land Title Trust Company be executed on behalf of the NRA Civil
  Rights Defense Fund, and, the Trustees passed the proffered resolutions.

        The Secretary informed of a memorial resolution, proffered by Trustee Dowlut, for Mr.
 Francis Samp, who had contributed substantial sums to the NRA Civil Rights Defense Fund,
 both during his lifetime and by bequest after his recent death. After discussion, the Trustees
 resolved that Trustee Dowlut would draft a letter of appreciation and recognition for the
 Chainnan's signature.

 Actions by Guests:

 Attorney Michael Jean, NRA-ILA Litigation Counsel, gave a report on NRA-ILA cases and
 various matters pending before the Board of Trustees.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21            Entered 04/03/21 02:48:03       Page 36 of
                                        149




  The Trustees then met in executive session to discuss various cases and to make decisions on
  them and to discuss various other matters relating to the NRA Civil Rights Defense Fund.

  FUNDING REQUESTS:

  The trustees approved funding for the following cases or purposes up to the amount indicated, or
  denied funding where indicated, or deferred the matter to the nex:t meeting, or took other action
  as indicated. Where funding was approved, it is understood that the hourly rate paid by the NRA
  Civil Rights Defense Fund may not exceed $200 per hour.

  1.     Arthur Dean Craig a/k/a Dean Craig v. Arcadia Township, Because the case had settled,
  this matter was withdrawn at the request of the applicant's attorney.

  2.     Jerry W Wise, Kathy Lee Wise, David A. Drake and Brozia Lee Drake v. Owen
  County, Indiana, Board ofZoning Appeals; Precision Gun Range, LLC, Baron CreekLLC
  and Michael Marshall.
         Jerry W Wise, Kathy Lee Wise, David A. Drake and Brozia Lee Drake v. Precision
  Gun Range, LLC.
         Lane L. Jorgensen, Katheryn A. Jorgensen, as the trustees ofthe .Jorgensen Family
  Trust v. Precision Gun Range, LLC. Deferred.

  3.     Goldslein, et al. v. Peacemaker, et al. West Virginia Litigation. Deferred.

  4.    Robert Arwady and Samuelia Arwady v. Tommy Ho, Jane Doe Ho, and the United States
  ofAmerica. Granted: $7,000.00 from Texas restricted funds.

  5.     Western Pennsylvania Sportsmen's Club, Inc. v. Municipality ofMurrysville. Deferred.

 6.     Erin Gabbard, Aimee Robson and Dallas Robson. Benjamin Tobey, and Benjamin Adams
 v. Madison Local Law School District Board ofEducation and Lisa Tuttle-Huff Granted:
 $1,600.00 from Ohio restricted funds and $28,400.00 from general funds.

  7.     United States v. Gutierrez. Denjed.

 8.     Nyron Harrison, Thelma Williams, Individually and olb/o Their Minor Child Ka 'Mauri
 Harrison v. Jefferson Parish School Board, Dr. James Gray, Cecily White, Terri Joia, and
 Patricia Adams. Granted: $40,000.00.

 9.     Clayton Cramer, Mass Murderers: Who? How? Why? Granted: $10,000.00.

  10.   David Hardy, Research and Writing Projects. Granted: $10,000.00.

 11.     In the Matter ofthe Application of "John Doe. " Granted: $250.00 from New Jersey
 restricted funds and $9,750.00 from general funds.
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21           Entered 04/03/21 02:48:03        Page 37 of
                                        149



  NRA Institute for Legislative Action Submissions. The Chairman recused himself, left the
  meeting, and was not present for, nor participated in, the discussion of the NRA Institute for
  Legislative Action funding requests. Vice Chairman Frampton asswned the Chair.


  a.     Mazahreh v. Grewal. Granted: $10,000.00.

  b.     Rhode v. Becerra. Granted: $10,000.00.

  c.     ANJRPC v. Grewal. Granted: $40,000.00.

  d.     Guns Save Lives, et al. v. Kwame Raoul. Granted: $2,375.00 from lllinois restricted
  funds and $125.00 from general funds.




                                              James W. Porter II,
                                              Chairman
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 38 of
                                        149




                                   EXHIBIT 4
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 39 of
                                        149




                               AMc DEPOSITION
                                  EXHIBIT
                                     69
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 40 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 41 of
                                        149




                                   EXHIBIT 6
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21    Entered 04/03/21 02:48:03   Page 42 of
                                        149

 1                        UNITED STATES DISTRICT COURT
 2                         NORTHERN DISTRICT OF TEXAS
 3                                 DALLAS DIVISION
 4
 5        IN RE:                                )
                                                )
 6                                              )
          NATIONAL RIFLE                        ) Case No.
 7        ASSOCIATION OF AMERICA                ) 21-30085-hdh-11
          AND SEA GIRT, LLC,                    )
 8                                              )
              Debtors.                          )
 9
10
11      ******************************************************
12                REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
13                                 WAYNE LAPIERRE
14                                      VOLUME 2
15                      IN HIS INDIVIDUAL CAPACITY AND
16                      AS CORPORATE REPRESENTATIVE OF
17                THE NATIONAL RIFLE ASSOCIATION OF AMERICA
18                                 MARCH 23, 2021
19         CONFIDENTIAL PURSUANT TO PROPOSED PROTECTIVE ORDER
20      ******************************************************
21
22
23
24
25

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                                  Veritext Legal Solutions
                                       800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                           Entered 04/03/21 02:48:03                      Page 43 of
                                        149
                                                                                   1 FOR THE WITNESS INDIVIDUALLY:
      1    REMOTE ORAL AND VIDEOTAPED DEPOSITION OF WAYNE                          2   P Kent Correll
                                                                                       CORRELL LAW GROUP
      2 LAPIERRE, produced as a witness at the instance of the
                                                                                   3   250 Park Avenue, 7th Floor
      3 New York State Office of the Attorney General, and                             New York, New York 10177
                                                                                   4   212 475 3070
      4 duly sworn, was taken remotely in the above-styled                             kent@correlllawgroup com
                                                                                   5
      5 and numbered cause on the 23rd day of March, 2021, from                    6 FOR THE PEOPLE OF THE STATE OF NEW YORK:
                                                                                   7   James Sheehan (Remote appearance)
      6 9:10 a m to 5:53 p m , via Zoom, before Julie C
                                                                                       Stephen Thompson (Remote appearance)
      7 Brandt, RMR, CRR, and CSR in and for the State of Texas,                   8   Yael Fuchs (Remote appearance)
                                                                                       Sharon Sash (Remote appearance)
      8 reported by machine shorthand, with the witness located                    9   Monica Connell
                                                                                       OFFICE OF THE ATTORNEY GENERAL OF THE
      9 in Fairfax, Virginia, pursuant to the Federal Rules of                    10       STATE OF NEW YORK
                                                                                       28 Liberty Street, 18th Floor
     10 Civil Procedure and the provisions stated on the record                   11   New York, New York 10005
     11 or attached hereto                                                             212 416 8401
                                                                                  12   james sheehan@ag ny gov
     12                                                                                stephen thompson@ag ny gov
                                                                                  13
     13                                                                                Jonathan Conley (Remote appearance)
                                                                                  14   NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
     14                                                                                The Capitol
     15                                                                           15   Albany, New York 12224
                                                                                       212 416 8108
     16                                                                           16   jonathan conley@ag ny gov
                                                                                  17
     17                                                                              FOR THE OFFICE OF THE U S TRUSTEE:
                                                                                  18
     18                                                                                Lisa L Lambert (Remote appearance)
     19                                                                           19   UNITED STATES TRUSTEE PROGRAM
                                                                                       1100 Commerce Street, Room 976
     20                                                                           20   Dallas, Texas 75242
                                                                                       214 767 8967
     21                                                                           21   lisa l lambert@usdoj gov
                                                                                  22
     22                                                                              FOR JOHN FRAZER:
                                                                                  23
     23
                                                                                       Ellen Johnson (Remote appearance)
     24                                                                           24   GAGE SPENCER & FLEMING LLP
                                                                                       410 Park Avenue
     25                                                                           25   Floor 9
                                                                       Page 246                                                              Page 248
      1              APPEARANCES                                                   1     New York, New York 10022-9492
      2 FOR THE NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL:                           212 768 4900
      3   Eric Van Horn (Remote appearance)                                        2     ejohnson@gagespencer com
          Jason Kathman (Remote appearance)                                        3
      4   Gerrit Pronske (Remote appearance)
                                                                                       FOR THE PEOPLE OF WASHINGTON, D C :
          SPENCER FANE LLP
      5   2200 Ross Avenue, Suite 4800 West                                        4
          Dallas, Texas 75201                                                            Leonor Miranda
      6   214 750 3610                                                             5     OFFICE OF THE ATTORNEY GENERAL OF WASHINGTON, D C
          ericvanhorn@spencerfane com                                                    400 6th Street, NW
      7                                                                            6     Washington, D C 20001
      8 FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS:                               202 727 3400
      9   Scott Drake (Remote appearance)                                          7     leonor miranda@dc gov
          Tim Carney (Remote appearance)                                           8
     10   NORTON ROSE FULBRIGHT US LLP
                                                                                       FOR THE HONORABLE PHILLIP JOURNEY:
          2200 Ross Avenue, Suite 3600
                                                                                   9
     11   Dallas, Texas 75201
          214 855 8341                                                                   Jermaine Watson (Remote appearance)
     12   scott drake@nortonrosefulbright com                                     10     BONDS ELLIS EPPICH SCHAFER JONES LLP
     13                                                                                  420 Throckmorton Street, Suite 1000
        FOR ACKERMAN MCQUEEN, INC :                                               11     Fort Worth, Texas 76102
     14                                                                                  817 529 2724
          Brian E Mason (Remote appearance)                                       12     jermaine watson@bondsellis com
     15   G Michael Gruber (Remote appearance)                                    13
          Joe Acosta (Remote appearance)                                               FOR CHRISTOPHER COX:
     16   Christina M Carroll (Remote appearance)
                                                                                  14
          DORSEY & WHITNEY LLP
     17   300 Crescent Court, Suite 400
                                                                                         Thomas M Buchanan (Remote appearance)
          Dallas, Texas 75201                                                     15     WINSTON & STRAWN LLP
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     21                                                                                ALSO PRESENT:
          Gregory E Garman                                                        19
     22   Dylan Ciciliano (Remote appearance)
                                                                                  20     Jack Butler (Remote appearance)
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                                                                                  21     Jeremy Economos (Remote appearance)
          Las Vegas, Nevada 89119                                                 22     Loring Hill (Remote appearance)
     24   702 777 3000                                                            23     Dave Hamrick (Remote appearance)
          ggarman@gtg legal                                                       24     David MacGreevey (Remote appearance)
     25                                                                           25     David Dell'Aquila (Remote appearance)
                                                                       Page 247                                                              Page 249

                                                                                                                                 2 (Pages 246 - 249)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                      Entered 04/03/21 02:48:03                               Page 44 of
                                        149
                                                                                 1 AMc Exhibit 148 1-15-2021 email string
      1   Rocky Marshall (Remote appearance)                                                NRA-BK-00039761 - 39763           329
      2   Melanie Montgomery (Remote appearance)                                 2
                                                                                   AMc Exhibit 11 Bylaws as amended Oct 20,
      3   Kymberlee Milligan (Remote appearance)                                 3          2020                  348
                                                                                 4 AMc Exhibit 109 National Rifle Association of
      4                                                                                     America Meeting of the Board
                                                                                 5          of Directors Jan 7, 2021     350
      5 VIDEOGRAPHER:                                                            6 AMc Exhibit 59 Statement by Emily Cummins on
      6   Dan Reidy - Veritext Legal Solutions                                              July 15, 2019            383
                                                                                 7
      7                                                                            AMc Exhibit 152 NRA 2017 Budget Planning
                                                                                 8          October 6, 2016
      8                                                                                     NRA-AMc_00057337 - 57351           390
      9                                                                          9
                                                                                   AMc Exhibit 70 April 22, 2019 letter to Mark
     10                                                                         10          Dycio from Wayne LaPierre
                                                                                            AMc BR_002459                 394
     11                                                                         11
                                                                                   AMc Exhibit 74 Deposition transcript of
     12                                                                         12          Oliver North, Dec 18, 2019 402
     13                                                                         13 AMc Exhibit 65 May 21, 2018 email from
                                                                                            Melanie Montgomery to Bill
     14                                                                         14          Winkler, Subject: Offer      409
                                                                                15 AMc Exhibit 90 NRA press release Jan 15,
     15                                                                                     2021 NRA Leaves New York to
     16                                                                         16          Reincorporate in Texas,
                                                                                            Announces New Strategic Plan 468
     17                                                                         17
                                                                                   AMc Exhibit 76 NRA Leadership Quotes
     18                                                                         18          2/17/2021               469
                                                                                19 AMc Exhibit 128 NRA Board to Hold Emergency
     19                                                                                     Hearing Amid Bankruptcy
     20                                                                         20          Turmoil, 3/13/2021          273
                                                                                21 AMc Exhibit 91 NRA Questions & Answers
     21                                                                                     2/17/2021               478
                                                                                22
     22                                                                            UCC Exhibit 1 Jan 15, 2021 email from John
     23                                                                         23          Frazer, subject: Announcement
                                                                                            from Wayne LaPierre           418
     24                                                                         24
                                                                                   UCC Exhibit 2 Jan 15, 2021 Vendor Letter 423
     25                                                                         25
                                                                     Page 250                                                                    Page 252
      1                 INDEX                                                    1 UCC Exhibit 3 Omnibus Opposition to (1)
                                     PAGE
                                                                                            Ackerman McQueen, Inc.'s
      2
        Appearances                           247                                2          Motion to Dismiss the Chapter
      3 Proceedings                          254                                            11 Bankruptcy Petition, or,
      4 WAYNE LAPIERRE - VOLUME 2                                                3          in the alternative, Motion
      5    Examination Continued by Mr Sheehan            254
                                                                                            for the Appointment of a
           Examination by Mr Mason                   310
      6    Examination by Mr Drake                  416                          4          Chapter 11 Trustee, (2) The
           Examination by Mr Thompson                  445                                  State of New York's Motion to
      7    Further Examination by Mr Mason              462                      5          Dismiss or, in the
      8 Signature and Changes                     484
                                                                                            alternative, to Appoint
        Reporter's Certificate                  486
      9                                                                          6          Chapter 11 Trustee, and (3)
     10 DEPOSITION EXHIBITS                       IDENTIFIED                                the District of Columbia's
     11 Exhibit 7     National Rifle Association of                              7          Motion to Appoint Chapter 11
                  America Statement of Financial
                                                                                            Trustee...................... 433
     12           Affairs (SOFA) for Non-
                  Individuals Filing for                                         8
     13           Bankruptcy Form 207             258                            9
     14 Exhibit 8     Resolution Formalizing Special                            10
                  Litigation Committee, Sept 10,
                                                                                11
     15           2020                    266
     16 Exhibit 9     Official Form 201 Voluntary                               12
                  Petition for Non-Individuals                                  13
     17           Filing for Bankruptcy          273                            14
     18 Exhibit 10 CharityBuzz information about
                                                                                15
                  Illusions Yacht             283
     19                                                                         16
        Exhibit 11 Notice of Intention to Take Oral                             17
     20           Deposition of Corporate                                       18
                  Representative(s) of the
                                                                                19
     21           National Rifle Association of
                  America                   445                                 20
     22                                                                         21
        Exhibit 12 Jan 7, 2021 minutes of the                                   22
     23           meeting of the board of
                                                                                23
                  directors of the National Rifle
     24           Association                448                                24
     25 Exhibit 13 NRA Questions & Answers                456                   25
                                                                     Page 251                                                                    Page 253

                                                                                                                                     3 (Pages 250 - 253)
                                                                Veritext Legal Solutions
                                                                     800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                 Page 45 of
                                        149
      1               PROCEEDINGS                                     1       Q. Okay. And your first payment to the Neligan
      2              THE VIDEOGRAPHER: Good morning. We are           2   firm was in January 2021?
      3   going on the record at 9:10 a.m. on Tuesday, March 23,      3       A. I believe that would have been out of the
      4   2021. This is day 2 of the video recorded deposition of     4   trust account. So whenever that was, that was made out
      5   Wayne LaPierre.                                             5   of the trust account. I don't know the exact date. It
      6          You may proceed, Counsel.                            6   would -- I just don't know the date, the first date it
      7                 WAYNE LAPIERRE,                               7   was made out of the trust account.
      8   having been previously duly sworn and having confirmed      8       Q. Okay. Was anyone authorized to make payments
      9   that he is Wayne LaPierre, testified further as follows:    9   out of the trust account besides you at the NRA?
     10              MR. GARMAN: Jim, you're muted.                  10             MR. GARMAN: Objection to form.
     11               EXAMINATION CONTINUED                          11       A. I think the -- the Brewer firm was offered --
     12   BY MR. SHEEHAN:                                            12   authorized to make payments out of that trust account.
     13       Q. Good morning, Mr. LaPierre.                         13       Q. (BY MR. SHEEHAN) Without consulting with you?
     14       A. Good morning.                                       14       A. To people that we had retained, they were --
     15       Q. You'll recall from yesterday that you were --       15   they were, yes.
     16   that you swore an oath to tell the truth, the whole        16       Q. So you would agree with me that if they were
     17   truth and nothing but the truth. Do you recall that?       17   not retained, the Brewer firm could not make payments
     18       A. I do.                                               18   out of the trust account?
     19       Q. And do you agree to continue to tell the            19             MR. GARMAN: Objection to the form.
     20   truth, the whole truth and nothing but the truth?          20       A. Well, we retained the Neligan firm, and the
     21       A. I do.                                               21   money was set aside to make -- to make payments in
     22       Q. Excellent.                                          22   regards to the reorganization and reorganization
     23          After your testimony yesterday, which was a         23   matters.
     24   long day, is there any of your testimony that thinking     24       Q. (BY MR. SHEEHAN) And that was in January of
     25   back you believe is incorrect?                             25   2021?
                                                         Page 254                                                         Page 256

      1       A. The only thing I would add is in terms of who        1             MR. GARMAN: Objection to form.
      2   knew about the fact that we were going to file for the      2      A. I don't know the exact date that the trust
      3   bankruptcy. Andrew Arulanandam in our PR department         3   account was set up, but, I mean, I know that we
      4   also was aware of that several days out.                    4   interviewed the Neligan firm down in Dallas after the --
      5       Q. So that's like the 12th or the 13th of January       5   during the board meeting weekend, I did along with the
      6   of 2021?                                                    6   SLC, and we agreed to retain them. And that's when that
      7       A. It was before that. I think he was aware of          7   took place.
      8   the possibility that we would do it probably a week         8      Q. (BY MR. SHEEHAN) And remind me again. Did
      9   before or something like that.                              9   you talk to any other law firm besides the Neligan firm
     10       Q. So January 7th, January 8th?                        10   before you decided to retain the Neligan firm for the
     11       A. After the board meeting, yeah, he was aware of      11   bankruptcy proceedings?
     12   it.                                                        12             MR. GARMAN: Objection to form.
     13       Q. Did you tell him yourself that there was a          13      A. No, I did not. They were recommended by the
     14   possibility of bankruptcy?                                 14   Brewer firm and we interviewed them and we were all very
     15       A. I think we discussed it, and I also think he        15   impressed with them and we agreed to retain them.
     16   discussed it with Travis with the Brewer firm, the PR      16      Q. (BY MR. SHEEHAN) Who was the "we" who
     17   person with the Brewer firm.                               17   interviewed the Neligan firm?
     18       Q. And apart from that -- that issue with respect      18      A. Charles Cotton and Willes Lee, and I believe
     19   to Andrew Arulanandam was there any other part of your     19   Carolyn Meadows was there also, although I'm not sure of
     20   testimony that you wanted to correct from yesterday?       20   that. She may not have been.
     21       A. No, I think that's it.                              21      Q. Did you make -- okay. Did you make any notes
     22       Q. Now Mr. LaPierre, is it accurate that your          22   or a summary of the conversation with the Neligan firm
     23   first contact with the Neligan firm was in January of      23   before you hired them?
     24   2021?                                                      24      A. I did not. I sat in on a meeting with them.
     25       A. That would be correct.                              25      Q. Did anybody else from the special litigation
                                                         Page 255                                                         Page 257

                                                                                                          4 (Pages 254 - 257)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                   Page 46 of
                                        149
      1   committee do that, make a summary or notes of the             1   without your approval?
      2   meeting?                                                      2              MR. GARMAN: Objection to form.
      3              MR. GARMAN: Objection to form.                     3       A. That is a -- is more of a legal issue. I
      4       A. I'm honestly not sure. I know that I sat               4   don't know whether they would or not. I know they -- I
      5   there and listened to them, and they did a presentation,      5   know they were going to be working with people to
      6   they talked. And that's what I did.                           6   prepare for the reorganization, and I just did not get
      7       Q. (BY MR. SHEEHAN) All right.                            7   involved in the specifics of who they were working with
      8              MR. SHEEHAN: Jonathan, can you mark                8   to prepare for the reorganization. I knew they were
      9   Exhibit 7? Thank you.                                         9   retaining some people to work on the reorganization. I
     10              (Exhibit 7 marked.)                               10   did not know -- I did not meet the Neligan firm until,
     11       Q. (BY MR. SHEEHAN) So at this point we have             11   as I said, down in Dallas in January.
     12   Exhibit 7. Could you pull up Exhibit 7, please?              12       Q. (BY MR. SHEEHAN) Did the NRA retain the
     13              MR. GARMAN: Yeah, one second. I don't             13   Neligan firm on or before December 3, 2020 to represent
     14   see it.                                                      14   them in anything?
     15              THE REPORTER: It's in the second day.             15              MR. GARMAN: Objection to form.
     16              MR. GARMAN: Oh, I didn't see the date.            16           Go ahead.
     17   Sorry about that. Okay.                                      17       A. Not that I'm aware of.
     18           Okay. It's up.                                       18       Q. (BY MR. SHEEHAN) Okay. Did you have any
     19       Q. (BY MR. SHEEHAN) All right. If you would              19   discussions with the special litigation committee about
     20   take -- this will -- do you know that this is part of        20   retaining the Neligan firm before January of 2021?
     21   the statement of financial affairs for the NRA that was      21       A. The discussions I had with the special
     22   filed with the bankruptcy court in Texas?                    22   litigation committee were in Dallas when we -- we met
     23       A. I did not. I have not seen this.                      23   the Neligan firm and interviewed them. And I think I
     24       Q. If you look at line 1, 2, 3, 4, you'll see            24   had heard the name Neligan firm tossed around. I think
     25   under who was paid or who received the transfer, it says     25   the SLC had heard the name Neligan firm, but I had not
                                                            Page 258                                                         Page 260

      1   Neligan, LLP. Do you see that?                                1   met them and we hadn't interviewed them until then.
      2       A. I do see that.                                         2       Q. Do you know if there was a retainer agreement
      3       Q. And then if you look across date of payment,           3   between the NRA and the Neligan firm before January of
      4   it says December 3, 2020. Do you see that?                    4   2021?
      5       A. I do.                                                  5       A. I don't.
      6       Q. Do you know whether Neligan was paid on                6       Q. Who has to sign off at the NRA to retain
      7   December 3, 2020, $350,000?                                   7   outside counsel?
      8       A. I don't. I'm not aware of that.                        8       A. The general counsel would. The treasurer
      9       Q. You'll see in the footnotes to that Neligan,           9   would. I don't know whether in this particular
     10   LLP statement, this payment was made out of funds            10   instance, where we had a trust set aside for the Brewer
     11   transferred to Brewer, Attorneys & Counselors by the NRA     11   firm to retain people, that -- that it would be
     12   for payment of third party expenses. Do you see that?        12   necessary in terms of reorganization. It required
     13       A. I do see that.                                        13   confidentiality. I don't know whether that would --
     14       Q. Did you authorize the Brewer firm to pay              14   would come under an exception to that.
     15   Neligan in December of 2020?                                 15           I mean, the trust fund was set up so the
     16              MR. GARMAN: Objection to form.                    16   Brewer firm could retain certain people in regard to the
     17          Go ahead.                                             17   reorganization. That was the purpose of it.
     18       A. I knew that the trust account was going to be         18       Q. So when you gave $5 million to the Brewer firm
     19   used to -- in terms of matters involving the                 19   for trust account, what were the terms of the payment to
     20   reorganization, but I did not -- and that would be           20   the trust account?
     21   managed by the Brewer firm, that trust account, but I        21              MR. GARMAN: Objection to form.
     22   don't -- I don't think I was -- I don't think I was          22           Go ahead.
     23   aware of that payment at that point.                         23       A. That the Brewer firm I know would keep an
     24       Q. (BY MR. SHEEHAN) To your knowledge, did the           24   accounting of it that would be available for the NRA
     25   Brewer firm have the authority to retain outside counsel     25   to -- it would be disclosed to the NRA.
                                                            Page 259                                                         Page 261

                                                                                                             5 (Pages 258 - 261)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                  Page 47 of
                                        149
      1       Q. (BY MR. SHEEHAN) Was there complete                   1             MR. CORRELL: This is Kent Correll.
      2   discretion on the Brewer firm to spend the money in the      2   Objection to the form.
      3   trust account on whatever they believed was appropriate?     3       A. I'm not aware of -- it would be people needed
      4              MR. GARMAN: Objection to form.                    4   to line up a team in terms of a reorganization, whether
      5       A. I think the Brewer firm had -- had discretion         5   it was the restructuring officer, whether it was --
      6   in terms of -- in terms of managing this issue, in terms     6   whatever team needed to be put together in terms of
      7   of to retain people in regard to the reorganization          7   resources, they -- that fund was set aside to be used to
      8   and --                                                       8   help retain that team.
      9       Q. (BY MR. SHEEHAN) Who --                               9       Q. (BY MR. SHEEHAN) Understood, but did you ever
     10       A. -- in a confidential way.                            10   get a report from the Brewer firm describing what
     11       Q. Confidential from whom?                              11   expenditures were made out of that escrow account, that
     12       A. Well, confidential because it -- obviously, we       12   trust account until today?
     13   did not want any of this leaked, so this seemed to be a     13             MR. GARMAN: Objection to the form.
     14   way to -- to facilitate the purpose of the objective of     14             MR. CORRELL: Yeah, and this is Kent
     15   setting aside some dollars so that it would be available    15   Correll. I think you're beginning to go get into an
     16   for retention of people, if needed, on a reorganization     16   area where you're asking for communications between --
     17   and in a confidential way.                                  17             MR. SHEEHAN: I'm asking for the bills,
     18       Q. So you gave -- you, the NRA, gave complete           18   but if that's an objection, please put the objection on
     19   discretion to the Brewer firm to decide how to spend        19   the record.
     20   that $5 million in the trust account. Is that accurate?     20             MR. CORRELL: The objection is that I'm
     21              MR. GARMAN: Objection to form of the             21   cautioning you that you're asking questions that appear
     22   question.                                                   22   to be designed to --
     23       A. No. They would -- they agreed to keep track          23             MR. SHEEHAN: This is a speaking
     24   and provide -- provide accounting of it in terms of         24   objection. Please make your objection for the record.
     25   where the money -- where the money ended up being spent.    25             MR. CORRELL: You're now interrupting me.
                                                           Page 262                                                        Page 264

      1       Q. (BY MR. SHEEHAN) So I understand -- I                 1             MR. SHEEHAN: Because you're not
      2   understand that they would report back to you once they      2   participating appropriately.
      3   had spent it, but before they spent the money that was       3             MR. CORRELL: I am a counsel. You have
      4   in the trust account, did they have to get approval from     4   to let me speak, sir.
      5   anybody at the NRA?                                          5           My concern is that you are attempting to
      6       A. I think they had -- they had a significant            6   invade a privilege, and I am trying to ascertain how far
      7   amount of trust placed in them that they would take the      7   you intend to go with this line of questioning. Now if
      8   appropriate steps to retain the people that were needed      8   you can please tell me how far you intend to go, I can
      9   in terms of the reorganization.                              9   make an assessment as to whether or not to direct my
     10       Q. So is it fair to say, Mr. LaPierre, that you         10   client not to answer any further questions. Please.
     11   and your special litigation committee delegated to an       11       Q. (BY MR. SHEEHAN) Mr. LaPierre, when did you
     12   outside organization the ability to spend $5 million in     12   give an accounting, if ever, from the Brewer firm
     13   charitable funds, period -- question mark?                  13   concerning the money that was spent from the trust
     14             MR. GARMAN: Objection to the form of the          14   account of $5 million that you authorized for them?
     15   question.                                                   15             MR. CORRELL: I am going to object on the
     16       A. We -- we set aside 5 million in a trust to be        16   grounds that your question appears to be designed to
     17   used in -- NRA did -- in regard to reorganization           17   elicit confidential, attorney/client communications.
     18   matters that was managed by the reorganization firm,        18   And I am going to instruct the witness not to answer to
     19   that's correct.                                             19   the extent that his answer would require him to reveal
     20       Q. (BY MR. SHEEHAN) When did you find out that          20   any strategy -- any legal strategy or any legal advice
     21   the Neligan firm got $350,000 in December 2020?             21   he was seeking or obtaining from Brewer -- the Brewer
     22       A. You just showed it to me right here,                 22   firm.
     23   Mr. Sheehan.                                                23       Q. (BY MR. SHEEHAN) Mr. LaPierre?
     24       Q. All right. What else did the Brewer firm             24             MR. CORRELL: If you can answer the
     25   spend money on out of that trust account?                   25   question without revealing any communications regarding
                                                           Page 263                                                        Page 265

                                                                                                           6 (Pages 262 - 265)
                                                    Veritext Legal Solutions
                                                         800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                 Page 48 of
                                        149
      1   strategy, then please go ahead.                              1   determine what the scope of authority of the special
      2       A. Well, I have not -- I have not received an            2   litigation committee was before the January board
      3   accounting of funds spent out of that -- that trust          3   meeting?
      4   fund.                                                        4              MR. GARMAN: Object to the form of the
      5       Q. (BY MR. SHEEHAN) Thank you, Mr. LaPierre.             5   question.
      6          Has anybody else, to your knowledge, at the           6       A. What I was advised by -- by --
      7   NRA received an accounting of the funds spent out of the     7              MR. GARMAN: Whoa. Whoa. Okay. If
      8   trust fund?                                                  8   you're about to say counsel, I am going to object and
      9       A. I don't know whether Mr. Frazer has or                9   instruct you not to reveal the contents of your
     10   Mr. Spray has. I mean, Mr. Frazer is the one that would     10   communications with your attorneys.
     11   receive all the Brewer bills, and I don't know whether      11       Q. (BY MR. SHEEHAN) Let's go back and try to do
     12   he has or not, Mr. Sheehan.                                 12   that without the counsel issue.
     13       Q. Thank you, Mr. LaPierre.                             13           You had an understanding, am I correct, that
     14       A. Yes, sir.                                            14   the special litigation committee was to oversee the
     15             MR. SHEEHAN: Could we go just off the             15   litigation with the attorney general's office. Is that
     16   record -- not off the record.                               16   correct?
     17       Q. (BY MR. SHEEHAN) Mr. LaPierre, we're pulling         17       A. Yes, sir, because John Frazer was named as a
     18   up Exhibit 8.                                               18   defendant, I was named as a defendant; therefore, we
     19             (Exhibit 8 marked.)                               19   could no longer manage the litigation. So the special
     20       Q. (BY MR. SHEEHAN) Do you have that?                   20   litigation committee was created to manage the
     21             MR. GARMAN: It's still refreshing. We             21   litigation working with the attorneys.
     22   have it.                                                    22       Q. Okay. Now it describes in the -- in this
     23       Q. (BY MR. SHEEHAN) Mr. LaPierre, could you             23   document, which you can't identify whether it is, in
     24   identify Exhibit 8, please?                                 24   fact, a resolution of the NRA -- right? You can't --
     25       A. Well, I -- I wasn't in the room, so I am             25   sitting here today, you can't tell me whether this is,
                                                           Page 266                                                       Page 268

      1   speculating on this, but --                                  1   in fact, a resolution of the NRA board?
      2              MR. GARMAN: I don't think there's a               2              MR. GARMAN: Objection to form.
      3   question pending.                                            3       A. Yes. Yes, sir, that's correct.
      4              THE WITNESS: Okay.                                4       Q. (BY MR. SHEEHAN) Okay. But it talks about in
      5      Q. (BY MR. SHEEHAN) Mr. LaPierre, can you                 5   this document that there's a determination that
      6   identify Exhibit 8?                                          6   Mr. Charles Cotton was independent, is that correct,
      7      A. It appears to be a resolution of the board of          7   from this document?
      8   directors making -- making the special litigation            8              MR. GARMAN: Objection to form.
      9   committee an official committee of the board of              9       Q. (BY MR. SHEEHAN) Look at the third paragraph.
     10   directors.                                                  10   It says each of whom has been determined to be
     11      Q. Do you know if the board passed this                  11   independent.
     12   resolution?                                                 12              MR. GARMAN: Objection to form.
     13      A. I -- I was not in that session, Mr. Sheehan,          13       Q. (BY MR. SHEEHAN) Do you see that line?
     14   when this was taken up. I believe they did. To the          14       A. Yes, I do see that. Each of whom has been
     15   best of my knowledge, at that January meeting the board     15   determined to be independent and disinterested in all
     16   formally made the special litigation committee an           16   relevant aspects of their service -- yes, I see that.
     17   official committee of the board of directors with the       17       Q. (BY MR. SHEEHAN) Did -- to your knowledge,
     18   powers of the board.                                        18   did the NRA ever make a determination that Carolyn
     19      Q. Can you tell from looking at this document            19   Meadows, Charles Cotton and Willes Lee were independent
     20   whether this is the resolution which was passed in          20   and disinterested in all respects relevant to their
     21   January or is it something from earlier in the year in      21   service on the special litigation committee?
     22   2020?                                                       22              MR. GARMAN: Objection, go ahead.
     23      A. I'm not sure because I -- I was not in the            23       A. I believe they made that determination, and
     24   room when this was passed, so I'm not sure.                 24   that's why they were designated to be on the special
     25      Q. How did you, as the executive VP of the NRA,          25   litigation committee, is they were independent.
                                                           Page 267                                                       Page 269

                                                                                                          7 (Pages 266 - 269)
                                                    Veritext Legal Solutions
                                                         800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                  Page 49 of
                                        149
      1       Q. (BY MR. SHEEHAN) Who of -- who on the NRA              1   which was kind of viewed as -- as -- I guess part of the
      2   made that determination that they were independent?           2   flow of what was happening in New York, but it was also
      3       A. Well, they were the -- they were the                   3   part of a different future to facilitate a merger into a
      4   officers -- the three officers of the association. And        4   place with a more favorable legal and where NRA could be
      5   when it was -- I think it naturally flowed to them, and       5   treated more fairly. So they decided that -- I mean,
      6   I think they had discussions probably with -- with our        6   that my office needed to be involved with that.
      7   counsels, and I know that I was -- I was aware of the         7       Q. In your view, Mr. LaPierre, did the special
      8   fact that they were going to be the special litigation        8   litigation committee have responsibility for overseeing
      9   committee as officers.                                        9   the decision to file this bankruptcy proceeding?
     10       Q. Okay. With respect to the -- and again, you           10              MR. GARMAN: Objection to the form of the
     11   don't know where this document came from or what it's        11   question.
     12   authority is, but was it your understanding that the         12       A. Well, the decision to file was made by -- I
     13   special litigation committee was to exercise corporate       13   made it in consultation with -- with the SLC and in
     14   authority on behalf of the NRA with respect to the           14   terms of the actual decision, let's go, let's do this.
     15   attorney general's case against the NRA and the District     15       Q. (BY MR. SHEEHAN) Did you -- in your opinion,
     16   of Columbia case against the NRA?                            16   though, was the -- was this subject in which the special
     17              MR. GARMAN: Objection to the form of the          17   litigation committee as a special litigation committee
     18   question.                                                    18   had responsibility for making decisions?
     19       A. Yes. I -- I could not supervise that                  19              MR. GARMAN: Objection to the form of the
     20   legislation (sic). John Frazer could no longer               20   question, calls for a legal conclusion.
     21   supervise that legislation or be involved in any of the      21       A. I think they had a -- I clearly think they had
     22   management of it. And it was turned over to the special      22   a role in it, and I clearly think I had a role in it in
     23   litigation committee to work with the -- with legal          23   terms of my -- my role at the NRA. It was -- it was
     24   counsel in terms of the management of that litigation.       24   that significant of a matter.
     25   And I have not been on, nor has John Frazer been on, any     25              MR. SHEEHAN: Jon, could you pull up the
                                                            Page 270                                                        Page 272

      1   of the phone calls or discussions since that -- since it      1   next exhibit, please?
      2   was formed.                                                   2      A. Because the board had delegated me at the
      3       Q. (BY MR. SHEEHAN) Okay. And you'll see the              3   board meeting, the -- to my office, the authority to
      4   next -- on Roman numeral iv, it also includes any             4   reorganize, which is where the delegation came to -- to
      5   additional legal proceedings arising from the same            5   have me involved in it in terms of the executive VP's
      6   facts, circumstances or allegations as the foregoing,         6   office.
      7   wherein the potential for an actual or apparent conflict      7          As I said, if they had not delegated that
      8   of interest favors recusal by one or more NRA                 8   authority at that board meeting, I don't think I would
      9   executives.                                                   9   have -- I would have proceeded with this. I don't know
     10          So in your opinion, does the bankruptcy               10   whether the SLC on its own would have proceeded or not,
     11   raise, does the bankruptcy filing by the NRA, an             11   but I would not have had not they made that delegation
     12   additional legal proceeding arising from the same facts,     12   of authority.
     13   circumstances, or allegations as the two attorney            13      Q. (BY MR. SHEEHAN) At this point can we pull up
     14   general suits?                                               14   Exhibit 9?
     15              MR. GARMAN: Objection to form. That's             15             (Exhibit 9 marked.)
     16   the ultimate legal question for this case.                   16             MR. GARMAN: We have it.
     17       Q. (BY MR. SHEEHAN) Mr. LaPierre?                        17      Q. (BY MR. SHEEHAN) All right. Mr. LaPierre,
     18       A. I'm looking at it. I just -- as -- I'm not an         18   can you identify Exhibit 9, please?
     19   attorney. I just -- as I said before, I mean, John           19      A. I'm sorry. We're looking at it, Mr. Sheehan.
     20   Frazer stepped aside in terms of dealing with -- with        20      Q. Okay. Can you identify the document, please?
     21   the special litigation committee in regards to the           21      A. Yeah, it is the document for filing
     22   Chapter 11. It was felt because of my position that on       22   bankruptcy.
     23   that specific issue, the -- the executive vice               23      Q. And it's also a resolution on the board of
     24   president's office needed to be -- needed to be involved     24   directors of the NRA?
     25   in that specific matter in terms of the Chapter 11,          25             MR. GARMAN: He hasn't looked at the
                                                            Page 271                                                        Page 273

                                                                                                            8 (Pages 270 - 273)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 50 of
                                        149
      1   entire document. Give us a second.                          1   take a five-minute break.
      2       A. No, I -- yeah, that's the resolution -- yes,         2             THE VIDEOGRAPHER: Off the record, the
      3   sir, that's the resolution that the board passed            3   time on the video is 9:45 a m.
      4   delegating to the executive vice president office the       4             (Break from 9:45 a m. to 9:51 a.m.)
      5   authority to reorganize the -- the association, and         5             THE VIDEOGRAPHER: We're back on the
      6   that's the authority under which my office anyway           6   record. The time on the video is 9:51 a m.
      7   operated in terms of filing the bankruptcy petition         7      Q. (BY MR. SHEEHAN) All right. Mr. LaPierre,
      8   along with the SLC.                                         8   when we broke, you were looking at the resolution
      9       Q. (BY MR. SHEEHAN) All right. So is this               9   authorizing Chapter 11 reorganization and related
     10   document, Exhibit 9, is this a resolution of the board     10   retention of counsel. And do you have that document in
     11   of directors?                                              11   front of you now?
     12               MR. GARMAN: Take your time and read the        12      A. I do.
     13   document to the extent you need to.                        13      Q. Do you know who wrote this document?
     14       A. Yeah, I believe that is the resolution of the       14      A. I -- I assume it was written either by
     15   board of directors that they passed.                       15   bankruptcy counsel or by -- by legal counsel from the --
     16       Q. (BY MR. SHEEHAN) And if you look down, you'll       16   from the Brewer firm.
     17   see that it cites -- when you say this is a resolution     17             MR. GARMAN: I'm going to instruct you
     18   they passed, are you just talking about the fourth         18   not to speculate if you don't know the answer.
     19   whereas clause or are you talking about the entire         19      A. I don't know specifically who wrote it.
     20   document?                                                  20      Q. (BY MR. SHEEHAN) Whose resolution is it?
     21       A. I'm talking about the whereas clause. As I          21             MR. GARMAN: Objection to form.
     22   said, I wasn't in the room when they -- when they passed   22      A. It looks -- it -- it looks to be a filing of
     23   this or when the discussions occurred. It -- I know        23   the bankruptcy proposal, but it contains language from a
     24   that they passed the contract we talked about yesterday,   24   resolution passed by our board of directors, but then I
     25   and then they passed the resolution delegating to the      25   believe it contains additional language that was
                                                         Page 274                                                           Page 276

      1   executive VP's office the ability to reorganize the      1      inserted in there also by -- by counsel.
      2   association.                                             2          Q. (BY MR. SHEEHAN) I am looking at the page 5
      3       Q. So --                                             3      of 16, which is the exhibit here, and page 6. And then
      4       A. And I believe that --                             4      it says -- if you look at the bottom of the page,
      5       Q. So you believe this entire Exhibit 9 -- and I     5      Mr. LaPierre, that I have it says -- can you see it?
      6   want to be clear here. You believe that Exhibit 9 in     6                 MR. GARMAN: Which page, 5 or 6?
      7   its entirety was approved by the board of directors of 7                   MR. SHEEHAN: 5.
      8   the NRA?                                                 8          Q. (BY MR. SHEEHAN) And you see at the bottom
      9       A. Well, I -- again, I was -- I know that what       9      that it says "Now, therefore, be it"?
     10   the board of directors passed was a specific resolution 10                 MR. GARMAN: No, that's not on page 5.
     11   authorizing the EVP the authority to reorganize the 11                     MR. SHEEHAN: Jonathan, what do you
     12   association, and I know the board passed a resolution 12        think?
     13   making the special litigation committee an official     13          Q. (BY MR. SHEEHAN) Mr. LaPierre, do you see the
     14   committee of the board of directors with the power of 14        resolution authorizing Chapter 11 reorganization related
     15   the board of directors.                                 15      retention of counsel, first page?
     16       Q. So when I look at Exhibit 9, whose resolution 16             A. The resolution authorizing retention of
     17   is it, the entirety of the document?                    17      counsel on the first page? Yes, I do see that.
     18       A. The entirety of the document? It --              18          Q. Resolution authorizing Chapter 11
     19               MR. GARMAN: Take some time to look at 19            reorganization --
     20   this.                                                   20          A. Yes, sir, I see it.
     21           Counsel, he hasn't read the entire document     21          Q. Okay. Look at the very bottom of that page.
     22   yet, so we're going to take the time to have him read 22        Do you see what the last line is?
     23   the whole thing.                                        23          A. I do. I do see that line.
     24               MR. SHEEHAN: Let's go off the record and 24             Q. And it says -- it says would advance the best
     25   let him read the document and then come back. Let's 25          interest -- let me go back a second.
                                                         Page 275                                                           Page 277

                                                                                                           9 (Pages 274 - 277)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                    Page 51 of
                                        149
      1          It says "Now, therefore, be it." Do you see           1   put together by the -- by the attorneys that prepared
      2   that?                                                        2   the document for the filing.
      3       A. Yes, I do see it.                                     3      Q. So there was no -- was there any formal
      4       Q. Okay. And then the next page on the version           4   resolution with respect to the commencement of the
      5   that I have is blank. Is it blank on your version, too?      5   Chapter 11 reorganization or retaining Neligan or
      6              MR. GARMAN: No, it is not blank.                  6   retaining Brewer?
      7       A. No, and it goes on. Resolved that                     7              MR. GARMAN: Objection to the form of the
      8   commencement of a Chapter 11 reorganization proceeding       8   question.
      9   in the United States --                                      9      A. I know there was a meeting that we had in
     10              (Reporter clarification.)                        10   Dallas with the Neligan firm in terms of retaining them,
     11       A. There's additional three paragraphs that go          11   and I know that we had numerous discussions with the
     12   on.                                                         12   special litigation committee in terms of doing all of
     13       Q. (BY MR. SHEEHAN) Were the three paragraphs in        13   this. I -- I don't know whether there was a formal
     14   the document before you signed it?                          14   resolution in terms of -- I mean, I -- this one right
     15              MR. GARMAN: Sorry, Counsel, you were             15   here is signed by me; it's not signed by Carolyn
     16   muted for half that question.                               16   Meadows, Charles Cotton.
     17       Q. (BY MR. SHEEHAN) Okay. Mr. LaPierre, the             17              MR. GARMAN: No, no, no, no, sir --
     18   document that you signed, did it include those three        18              MR. SHEEHAN: If I could, Mr. -- (audio
     19   revolved paragraphs?                                        19   unclear.)
     20       A. I believe it did.                                    20      A. Yeah, they signed it. So that would -- that
     21       Q. If you look at the next page after the               21   would substantiate my recollection that the -- all -- we
     22   resolution authorizing Chapter 11 reorganization, the       22   had all of us discuss that all of us agreed to do it,
     23   one that I have with your signature on it does not have     23   and we did -- we made the decision to do it together.
     24   those three resolutions. Is that -- is that accurate?       24      Q. (BY MR. SHEEHAN) As the committee of the
     25              MR. GARMAN: No. The exhibit you put in           25   board, does the special litigation committee keep
                                                           Page 278                                                           Page 280

      1   front of him does.                                           1   minutes of its activities?
      2             MR. SHEEHAN: Okay.                                 2              MR. GARMAN: Objection to the form of the
      3             MR. GARMAN: And Counsel, I'll point out            3   question.
      4   for the record, it's the file stamped version from the       4       A. I honestly am not sure of that because I
      5   Court's docket.                                              5   haven't been involved with -- you'd have to -- you'd
      6       Q. (BY MR. SHEEHAN) All right. When it says              6   have to ask them, Mr. Sheehan.
      7   resolved, is that resolution -- the three "resolves"         7       Q. (BY MR. SHEEHAN) Is there anyone who staffs
      8   that are on that page after your signature page, are         8   the activities of the special litigation committee who
      9   they the resolutions of the special litigation committee     9   is an employee of the NRA?
     10   or you or both?                                             10       A. Is there anyone staff that is an employee of
     11             MR. GARMAN: Objection to the form of the          11   the special litigation committee with --
     12   question. Counsel, they're before his signature, not        12       Q. No, let me try again.
     13   after.                                                      13          Is there anyone who is an employee of the NRA
     14             MR. SHEEHAN: Okay. So my co-counsel               14   who staffs the work of the special litigation committee?
     15   tells me that the printer missorted the pages, so thank     15              MR. GARMAN: Objection to form.
     16   you for that.                                               16          Go ahead.
     17       Q. (BY MR. SHEEHAN) But if you look at the three        17       A. Not -- not specifically. I think -- I think
     18   "resolves" in this document --                              18   Vanessa Shahidi has worked in terms of facilitating some
     19       A. Yes.                                                 19   of the matters from the attorneys, at least one of the
     20       Q. Whose resolutions were those?                        20   matters with the attorneys with the special litigation
     21       A. I think they were resolutions, the way the           21   committee. I am not aware of anyone else that staffs
     22   wording was, in terms of the filing for the bankruptcy.     22   the -- I know Andrew Arulanandam in our -- head of our
     23   Those were not resolutions of our board of directors.       23   public affairs, works with the special litigation
     24       Q. Okay. So who resolved -- I'm sorry, go ahead.        24   committee in terms of some communication matters.
     25       A. I simply believe it's the way the wording was        25       Q. (BY MR. SHEEHAN) In general, the corporate
                                                           Page 279                                                           Page 281

                                                                                                           10 (Pages 278 - 281)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                  Page 52 of
                                        149
      1   secretary is responsible for maintaining the books and      1       A. There were -- as we've discussed before, there
      2   records of the corporation with respect to minutes.         2   were, I think, two or three or four staff people there,
      3   Correct?                                                    3   and there was -- and there was a cook.
      4       A. That would be correct.                               4       Q. (BY MR. SHEEHAN) And was the boat when you
      5       Q. But in this case, he was recused from the            5   received -- the ship when you received use of it, was it
      6   special litigation committee activities by the              6   fully stocked with fuel and food?
      7   resolution of the board of directors. Correct?              7              MR. CORRELL: This is Kent Correll.
      8              MR. GARMAN: Objection to the form of the         8   Objection to the form.
      9   question.                                                   9       A. Yes, I believe it had fuel on it and I believe
     10       A. Well, by -- by himself, who -- because of the       10   it had food.
     11   legal situation, took him out of -- he took himself out    11       Q. (BY MR. SHEEHAN) And did it come with four en
     12   of issues involving the special litigation committee.      12   suite staterooms?
     13       Q. (BY MR. SHEEHAN) So was there somebody else         13       A. It did come with several staterooms.
     14   in the -- in the corporate secretary or corporate          14       Q. And did it come with a hydraulic
     15   counsel's office who had the responsibility of             15   state-of-the-art swim platform?
     16   determining what minutes should be kept and where they     16       A. I'm not sure exactly what a state-of-the-art
     17   would be kept?                                             17   hydraulic swim platform is, but it -- it may have,
     18              MR. GARMAN: Objection to the form.              18   depending on what that term means.
     19          Go ahead and answer.                                19       Q. Okay. Did it come with a 16-foot jet boat?
     20       A. I don't know the answer to that. You would          20       A. Occasionally there was a -- was a jet boat
     21   need to ask the special litigation committee if they       21   there.
     22   worked with anyone on minutes. I simply don't know the     22       Q. Did you have use of the jet boat?
     23   answer.                                                    23       A. Occasionally, yes.
     24       Q. (BY MR. SHEEHAN) Okay.                              24       Q. Did it come with two Sea-Doo WaveRunners?
     25              MR. SHEEHAN: Could we go to the next            25       A. Yes, there were two WaveRunners on that boat.
                                                          Page 282                                                        Page 284

      1   exhibit, please, Jonathan?                                  1       Q. Okay. The -- before accepting the use of this
      2             (Exhibit 10 marked.)                              2   boat for a week at a time, did you advise Mr. Frazer
      3      Q. (BY MR. SHEEHAN) Okay. I show you                     3   that you intended to do so?
      4   Exhibit 10, Mr. LaPierre. Have you ever seen Exhibit 10     4       A. I don't think I did. I did not -- as I said,
      5   before?                                                     5   at this point I was under all kinds of threats. I did
      6             MR. GARMAN: Hold on. It hadn't shown up           6   not feel safe anywhere with myself or my family. I
      7   until we hit refresh.                                       7   was -- this was offered as a security retreat where we
      8          Okay. We have Exhibit 10.                            8   could be safe and feel safe, and I could get Susan and
      9      Q. (BY MR. SHEEHAN) Do you recognize -- I'm              9   Colleen, who works for WLF, together and do some work
     10   sorry.                                                     10   and do some other work, and I used it as a security
     11             MR. GARMAN: He's reviewing it.                   11   retreat.
     12          Go ahead.                                           12       Q. Did you offer to the Stanton McKenzies to pay
     13             MR. SHEEHAN: Okay.                               13   for the use of the ship?
     14      A. Yes, I recognize that.                               14       A. No, I did not. They -- they simply let me use
     15      Q. (BY MR. SHEEHAN) Okay. What is that ship?            15   it as a security retreat because they knew the threat
     16      A. That is a boat owned by -- I believe it's            16   that I was under. And I was basically under
     17   owned by the McKenzies.                                    17   presidential threat without presidential security in
     18      Q. That is the Stanton McKenzies?                       18   terms of the number of threats I was getting. And all
     19      A. Yes, that would be correct.                          19   of us were struggling with how to deal with that type
     20      Q. And the description here says it has a full          20   situation with a private citizen with the amount of
     21   staff and crew at your disposal. When you used this        21   threat that we were having. And this was the one -- one
     22   ship, did you have a full staff and crew at your           22   place that I hope could feel safe, where I remember
     23   disposal?                                                  23   getting there going, Thank God I'm safe, nobody can get
     24             MR. GARMAN: Objection to form.                   24   me here. And that's how it happened. That's why I used
     25          Go ahead.                                           25   it.
                                                          Page 283                                                        Page 285

                                                                                                        11 (Pages 282 - 285)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 53 of
                                        149
      1       Q. Did the Stanton McKenzies or other companies          1   totally unique situation that I think hardly anybody
      2   charge the NRA for use of the yacht?                         2   else in the US experienced that type of threat, other
      3       A. No, they did not.                                     3   than maybe the president. I mean, I had presidential
      4       Q. All right. Did you consider whether                   4   threat without presidential security and was looking for
      5   acceptance of the use of this ship Illusions was a           5   a place to be safe.
      6   potential violation of the conflict of interest policy       6       Q. (BY MR. SHEEHAN) When did Mr. Frazer first
      7   with the NRA?                                                7   learn that you had received the use of the yacht
      8              MR. CORRELL: This is Kent Correll.                8   Illusions from the McKenzie Stantons?
      9   Objection to the form.                                       9             MR. GARMAN: Objection to the form of the
     10       A. I actually thought that given the security           10   question.
     11   threat that I was under and the fact that NRA was -- was    11       A. I -- I don't know. I mean, I -- I -- I wasn't
     12   at almost a loss as to how to protect somebody with the     12   trying to hide it, but I wasn't trying to publicize it
     13   amount of threat that I was having, that -- that my work    13   either because it was a security issue.
     14   and the threat that came with it, this was -- was a         14       Q. (BY MR. SHEEHAN) With respect to Mr. Frazer,
     15   place that I could go and be safe, and it was related to    15   it was a security issue?
     16   that that I -- that I -- that I did it.                     16             MR. GARMAN: Objection to the form of the
     17       Q. (BY MR. SHEEHAN) Did you consider whether            17   question.
     18   acceptance of the use of this yacht Illusions by            18       A. No, the use of it was a security issue.
     19   yourself and your family was a potential violation of       19       Q. (BY MR. SHEEHAN) Okay. Did you -- did your
     20   the conflict of interest policies of the NRA?               20   security director, the NRA security director approve
     21              MR. GARMAN: Objection to the form of the         21   your acceptance of the use of the yacht Illusions for a
     22   question.                                                   22   week?
     23              MR. CORRELL: This is Kent Correll.               23             MR. GARMAN: Objection to the form of the
     24   Objection to the form.                                      24   question.
     25              MR. GARMAN: Go ahead.                            25       A. At that time the security director I think was
                                                           Page 286                                                         Page 288

      1       A. Because of the threat that I was under and            1   just telling me to get out of town, and I -- I -- you
      2   because of the fact that I couldn't feel safe anywhere,      2   know, I found a way. I was struggling and I found a way
      3   was being harassed and screamed at everywhere and death      3   to be safe and --
      4   threats, I -- I considered it a condition of the             4       Q. (BY MR. SHEEHAN) Did you --
      5   security environment that I was operating in as a result     5       A. -- this is something that was part of the
      6   of the job that I had with the NRA, which put me in a        6   self-correction that we have done at the NRA since, you
      7   totally unique situation that I don't think hardly any       7   know, 2017, 2018. It has not happened in 2019, 2020,
      8   other American has experienced, with the possible            8   and it's one of the things that -- that we have
      9   exception of someone like -- I mean, I can't describe        9   self-corrected on where I -- I am not using that -- that
     10   the extent of the threat that I was under at that point.    10   boat anymore.
     11       Q. (BY MR. SHEEHAN) Did you --                          11       Q. Okay. What was your last stay on Illusions?
     12       A. And --                                               12       A. I think it was sometime in 2018 after the
     13       Q. I'm sorry.                                           13   Parkland shooting in the summer.
     14       A. -- there were also some stand-ups for that           14       Q. When was your first stay on the yacht
     15   H2Ostream video website. But the real -- but the major      15   Illusions?
     16   reason I did this was a security retreat at a time when     16       A. I think it was after the Sandy Hook shooting,
     17   I could not find a safe place to go at all.                 17   the summer after the Sandy Hook shooting.
     18       Q. Would you agree with me that the value of a          18       Q. How many times did you go on the yacht
     19   108-foot yacht with a full crew, full of supplies and       19   Illusions in The Bahamas?
     20   fuel exceeds $300?                                          20       A. I probably went once -- one time a year where
     21              MR. GARMAN: Objection to form.                   21   we could go and be safe for the -- from the Sandy Hook
     22          Go ahead.                                            22   shooting up until 2019. And I did not do it in 2019.
     23       A. I think -- I think, yes, it probably would,          23   As part of the self-correction, that's one of the things
     24   but it was also involved with my job and the threat that    24   that -- that came to my attention in terms of -- I told
     25   I was under and a place to be safe and -- and in a          25   you we looked at everybody, including me, and that I
                                                           Page 287                                                         Page 289

                                                                                                          12 (Pages 286 - 289)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 54 of
                                        149
      1   have self-corrected on.                                     1   celebrities completely work. And I considered this one
      2       Q. Did you sail on the yacht Illusions to               2   was a security issue with my family, with myself, and I
      3   anyplace other than The Bahamas?                            3   did not see that as a -- in all honesty, as a conflict
      4             MR. GARMAN: Objection to form.                    4   back then. I -- with the safety and the threat issues I
      5       A. No, The Bahamas.                                     5   was facing with the need to recruit celebrities, I --
      6       Q. (BY MR. SHEEHAN) Did you sail on any other --        6   and the fact that the NRA wasn't charged for it, I just
      7   or did you travel on any other yachts owned by the          7   didn't see it an issue.
      8   McKenzies, the Stanton McKenzies during the time you've     8          Now with what we've gone through with the
      9   been NRA president and executive VP?                        9   2018, 2019, 2020 with the compliance grids and
     10       A. Yes, only with -- only in relation to work and      10   everything else, this is one of the things that -- one
     11   in relation to celebrities.                                11   of the precautions I took that I -- in terms of my
     12       Q. And so --                                           12   safety that I would not do, given the self-correction
     13       A. As I -- as I testified before, I would try to       13   that we've done.
     14   recruit celebrities to the NRA. Associated Television      14             MR. SHEEHAN: Okay. At this point, let's
     15   was one of our access points into celebrities, young and   15   take a five-minute break.
     16   old. They worked with a lot of the former Disney stars,    16             MR. GARMAN: Okay.
     17   young people, and also people like -- well, I don't know   17             THE VIDEOGRAPHER: We're going off the
     18   whether I should say their names. A lot of other           18   record. The time on the video is 10:17 a.m.
     19   celebrities. And those other trips I did with              19             (Break from 10:17 a m. to 10:32 a.m.)
     20   celebrities.                                               20             THE VIDEOGRAPHER: We're back on the
     21       Q. What other trips -- how many other trips did        21   record. The time on the video is 10:32 a.m.
     22   you take on boats owned by the Stanton McKenzies besides   22       Q. (BY MR. SHEEHAN) Good morning again,
     23   the yacht Illusions?                                       23   Mr. LaPierre.
     24             MR. GARMAN: Objection to form.                   24       A. Good morning.
     25          Go ahead.                                           25       Q. Let's go back for a second to Mr. Staples.
                                                         Page 290                                                           Page 292

      1       A. Maybe -- maybe three or -- three or four with        1          When you went to The Bahamas, did he do any
      2   celebrities.                                                2   review of the safety or security of the yacht Illusions
      3       Q. (BY MR. SHEEHAN) Where were those trips              3   before you used it for the first time?
      4   located?                                                    4       A. I don't think he did.
      5       A. Most of them were in -- in Europe, and I think       5       Q. Did he do any security check on the employees
      6   one of them was to Greece.                                  6   who were on the yacht Illusions before you went on it
      7       Q. Did you sign off --                                  7   the first time?
      8       A. With --                                              8       A. I don't believe he did.
      9       Q. I'm sorry, Mr. LaPierre. I interrupted you.          9       Q. Did he thereafter, in any of your following
     10       A. With celebrities.                                   10   trips to the yacht Illusions, do any background checks
     11       Q. And did you sign off on contracts with              11   on any of the people who would be on the boat with you?
     12   companies owned by the Stanton McKenzies after you went    12       A. I don't -- I don't think he did.
     13   on your fist trip on the Illusions?                        13       Q. When you talked about meeting celebrities at
     14              MR. GARMAN: Objection to form.                  14   the Super Bowl or Eleuthera or Europe, did Mr. Staples
     15       A. I wasn't involved in negotiating the                15   or staff or a contractor do any background checks on any
     16   contracts. I stayed out of all that. I did sign some       16   of those celebrities that you met with to make sure that
     17   of the extensions of the -- the contracts.                 17   they were not someone who would pose a threat to you?
     18       Q. (BY MR. SHEEHAN) Did you consult with               18       A. No, he didn't, but they were -- I mean, as I
     19   Mr. Frazer, as the head of -- the head of conflicts of     19   said, part of my job -- my job has many facets. I have
     20   interest, to determine whether you could, in fact, sign    20   to raise $300 million to $400 million a year for this
     21   those contracts or extensions after you had gone on the    21   association. I am the outfacing brand of the
     22   yacht Illusions?                                           22   association, doing all the television appearances. I am
     23              MR. CORRELL: This is Kent Correll.              23   doing -- putting the networks together to reach all the
     24   Objection to form.                                         24   cultural touchpoints, whether it be the NFL, whether it
     25       A. I did not because I considered the ones with        25   be NASCAR, whether it be celebrities that influence
                                                         Page 291                                                           Page 293

                                                                                                         13 (Pages 290 - 293)
                                                   Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                   Page 55 of
                                        149
      1   American society, to keep NRA in the mainstream.              1   question.
      2            I am also working on raising all the money,          2       A. Well, the Brewer firm has been retained to
      3   working on direct mail and working on all of that, as         3   handle litigation matters under the management now of
      4   well as, you know, working with the day-to-day                4   the SLC, so they -- they -- they make litigation matter
      5   management of the association in terms of -- I mean, I        5   suggestions.
      6   do everything I can to put -- build this association and      6       Q. (BY MR. SHEEHAN) I'm sorry. They make
      7   to do what's in the best interest of this association in      7   litigation matter suggestions. And who has the ultimate
      8   terms of making it strong and servicing our 5 million         8   decision-making on those suggestions?
      9   members that -- that we work for.                             9       A. They discuss them with the -- with the SLC.
     10            And I mean, with those responsibilities             10       Q. Apart from litigation decisions and financial
     11   that I've had to undertake, there has come a lot of          11   decisions, are there any areas where the NRA has
     12   tremendous burdens that I've had to deal with, and I've      12   delegated to the Brewer firm decision-making authority?
     13   dealt with them. And I haven't whined about them, but        13               MR. GARMAN: Objection to form.
     14   they've been extraordinary and unique, and I have done       14       A. Not that I know of. I mean, they are involved
     15   the best job I could wrestling with it all.                  15   in all litigation matters. They have been involved
     16            And I think I -- I'm very proud of the work         16   also -- but the litigation matters with New York state
     17   I've done with the NRA. I think our members are.             17   cover a broad scope in terms of what we've had to deal
     18   That's why we're still at 5 million members, and that's      18   with since the -- I'm not trying to pin you personally,
     19   why we're -- we're strong financially. And it's why the      19   Mr. Sheehan, but in terms of what we've had to deal with
     20   NRA has been able to win consistently from a legislative     20   from the Department of Financial Services and the
     21   standpoint for the last couple of decades, is what --        21   governor and the attorney general and -- and her
     22   it's all a mosaic and I am the glue that kind of tries       22   matters, it's a broad scope.
     23   to hold that -- and piece that whole mosaic together.        23           It also involved running down any
     24        Q. If I could, Mr. LaPierre, my question was does       24   whistleblower complaints that could be an issue in this
     25   Mr. Staples do any background check on the celebrities       25   litigation, to make sure that they were fully protected
                                                            Page 294                                                         Page 296

      1   that you meet with?                                           1   and fully checked out and fully investigated; and if
      2       A. No. I mean, I don't -- I don't -- I don't              2   there was anything there, to get to the bottom of it.
      3   tell him I'm going to meet with this certain celebrity        3          I mean, the Brewer firm has been retained to
      4   and he needs to do a background check on the celebrity.       4   work litigation issues, but part of the litigation also
      5       Q. Okay. With respect to the Brewer firm, has             5   involves bringing the NRA into 100 percent
      6   the NRA delegated decision-making authority to the            6   self-correction and compliance, every employee,
      7   Brewer firm on expenditure of funds by the NRA?               7   including myself, and every vendor with New York state
      8              MR. GARMAN: Objection to form.                     8   not-for-profit law and every other not-for-profit law.
      9       A. The -- the NRA has put aside money in a trust          9          And we've done, as I said, a massive amount of
     10   to be used by the Brewer firm. I believe that, as I          10   work for that that's continuing in 2018, 2019 and 2020
     11   said, that the terms are an accounting will be provided      11   and 2021, which we are very proud of. And we have
     12   to the -- to the -- I think that accounting is provided      12   learned a lot, and we have adjusted, and we now operate
     13   to the SLC, and I think it's also to be provided to me       13   under a completely different compliance grid. There are
     14   as the -- to my office as to -- as to how those -- as to     14   checks in place to make sure no one can override those
     15   how those funds are spent.                                   15   compliance controls, and -- and we're very proud of the
     16       Q. (BY MR. SHEEHAN) And did you tell -- has that         16   work that's been done.
     17   accounting been provided yet with respect to the             17      Q. (BY MR. SHEEHAN) So --
     18   $5 million fund?                                             18      A. I don't understand why there is such a lack of
     19       A. I think the accounting has been provided in a         19   recognition of that out of the New York AG's Office in
     20   couple of instances. They've used money to explore           20   terms of all the good work that's been done here to --
     21   alternatives, reorganization alternatives.                   21   to put the organization into complete self-compliance.
     22       Q. Apart from financial decisions, are there any         22   And this started long before the attorney general's
     23   other decisions of the NRA that the NRA has delegated to     23   investigation even started.
     24   the Brewer firm to make on behalf of the NRA?                24      Q. Does the Carry Guard program still exist?
     25              MR. GARMAN: Objection to the form of the          25      A. It does not. It -- we are still providing
                                                            Page 295                                                         Page 297

                                                                                                           14 (Pages 294 - 297)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                  Page 56 of
                                        149
      1   personal protection insurance with Lockton. It is not        1       A. March 14th?
      2   called Carry Guard. As a result of what we believe was       2             MR. GARMAN: Objection to form.
      3   an unfair targeting by the Department of Financial           3          Go ahead.
      4   Services as part of this plan to weaponize the               4       Q. (BY MR. SHEEHAN) The meeting was not actually
      5   government of New York state, Maria Vullo, and her           5   held, but it was scheduled for March 14th. Did you
      6   Department of Financial Services put out notices to          6   travel to Dallas for the March 14th meeting?
      7   banks and insurance companies and others that it was a       7       A. The one that was canceled, no, I did not.
      8   risk factor doing business with the NRA and not wise         8       Q. Okay. Are you traveling to Dallas for the
      9   and then, from what we understand, had back channel          9   meeting on Sunday, the 28th?
     10   communication and -- which we believe was clearly a         10       A. I will be.
     11   viewpoint discrimination. It was clearly a violation of     11       Q. Okay. And who -- how are you going to get to
     12   this organization's constitutional rights, and we have      12   Dallas?
     13   filed First Amendment cases against both the New York       13       A. The security is setting up private
     14   Department of Financial Services and the New York           14   transportation, and I will take -- take probably a board
     15   Attorney General with the support of the American Civil     15   member and some staff people with me.
     16   Liberties Union, who agrees with us that what is going      16       Q. Okay. Is there an agenda for the March 28
     17   on is not proper under the Constitution of the United       17   meeting?
     18   States.                                                     18       A. I have not seen an agenda. I know the notice
     19          And so I mean, we're -- as I said, when I            19   talked about a -- that went out publicly talked about a
     20   started down this path in 2017, I wasn't a lawyer, I'm      20   legal briefing, and I haven't seen an agenda beyond
     21   not a CPA, I'm not an accountant. But when Attorney         21   that.
     22   General Schneiderman told us that, I was determined to      22       Q. Is it customary to get agendas in advance for
     23   do whatever this organization needed to do to take a        23   the board meetings at the NRA?
     24   look at everything, every employee. If we needed to         24       A. For a regular full board meeting, there are
     25   self-correct, self-correct. If -- as you heard me say       25   agendas in advance that are given out, that's correct.
                                                           Page 298                                                        Page 300

      1   before, if I lost every friend I ever made, that's the       1       Q. Do you know if there's been a board book
      2   path we were going down because it was the right course      2   distributed with respect to the March 28 meeting?
      3   for the organization.                                        3       A. I do not.
      4       Q. So let me ask you, Mr. LaPierre. Did you know         4       Q. Who's responsible for preparing board books or
      5   that Michael Marcellin had a contract with the Lockton       5   board materials for board meetings at the NRA?
      6   Affinity people at the time that he was managing some        6       A. The secretary, Mr. Frazer.
      7   relationships with Lockton Affinity at the NRA?              7       Q. Okay. And to the best of your knowledge, he's
      8       A. I did not. I knew nothing about that.                 8   not prepared a board book for the March 28 meeting?
      9       Q. His -- did he get a consulting contract when          9               MR. GARMAN: Objection to form.
     10   he left the NRA?                                            10           Go ahead.
     11              MR. GARMAN: Objection to form.                   11       A. I haven't seen it if he has.
     12          Go ahead.                                            12       Q. (BY MR. SHEEHAN) Okay. Do you plan to ask
     13       A. I knew nothing about that. I now believe,            13   the board to ratify the filing of this bankruptcy case?
     14   based on information that's come to light, he did, but I    14               MR. GARMAN: Objection to the form of the
     15   knew nothing about it at all.                               15   question.
     16       Q. (BY MR. SHEEHAN) So you knew nothing about           16           I instruct you not to answer to the extent
     17   the -- his contract with Lockton Affinity. Correct?         17   that invades the attorney/client privilege and/or
     18       A. I knew nothing about his contract with Lockton       18   strategy.
     19   Affinity.                                                   19       A. I'm not -- I'm not sure what the strategy is
     20       Q. Did you know anything about his contract at          20   in terms of the board and what they plan to do on that.
     21   the end of his employment for consulting services?          21       Q. (BY MR. SHEEHAN) Have you discussed with
     22       A. I did not.                                           22   anyone else in the -- on the board or the special
     23       Q. Okay. With respect to the meeting that was           23   litigation committee whether the meeting will discuss
     24   scheduled for March 14th, did you travel to Dallas to go    24   the issue of ratification of the bankruptcy filing?
     25   to that meeting?                                            25               MR. GARMAN: Objection. I object to the
                                                           Page 299                                                        Page 301

                                                                                                         15 (Pages 298 - 301)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                          Page 57 of
                                        149
      1   question.                                                   1       A. You know, I don't. I have not asked John
      2          I instruct you not to answer. That invades           2   that. I know at the last one that we did and ended up
      3   the attorney/client privilege.                              3   being canceled, there were 47 that were planning on
      4              THE WITNESS: Okay.                               4   attending. I don't know what the number that he has on
      5       Q. (BY MR. SHEEHAN) Okay. I am not asking you           5   this one. I have not had a chance to talk with him.
      6   about Mr. Brewer. I am asking you about the three           6       Q. Are all the directors flying by coach class to
      7   members of the special litigation committee.                7   Dallas?
      8              MR. GARMAN: I understand.                        8              MR. GARMAN: Objection to the form of the
      9       Q. (BY MR. SHEEHAN) Have you discussed -- have          9   question.
     10   you had discussions with members -- I'm sorry.             10       A. As far as I know, they are.
     11              MR. GARMAN: I'm sorry, Counsel. Go              11       Q. (BY MR. SHEEHAN) Have you authorized any
     12   ahead. I was apologizing for interrupting you.             12   board member to fly other than by coach class?
     13              MR. SHEEHAN: Okay. Okay.                        13       A. I have not.
     14       Q. (BY MR. SHEEHAN) Have you discussed with            14       Q. And was there a board member flying down with
     15   members of the special litigation committee whether the    15   you on your private charter to the meeting on the 28th?
     16   subject of ratification should be discussed at the March   16       A. I intended to. Given the fact the plane was
     17   28 meeting?                                                17   going down there, I intended to offer Willes Lee, who
     18              MR. GARMAN: I instruct you not to answer        18   lives in this area, a chance to ride down and one or two
     19   to the extent those communications included your legal     19   staff people that -- given the fact the plane is going
     20   counsel.                                                   20   there anyway, an opportunity to go down that way.
     21              MR. CORRELL: This is Kent Correll. I'm          21       Q. During --
     22   also -- I object to the form of the question --            22       A. And --
     23              (Reporter clarification.)                       23       Q. I'm sorry.
     24              MR. CORRELL: This is Kent Correll. I            24       A. And I also intended -- intend to check with
     25   object to the form of the question, and I instruct the     25   counsel to see whether that's appropriate before I --
                                                          Page 302                                                                 Page 304

      1   witness not to answer the question to the extent that it    1 before I do that.
      2   would require him to divulge conversations he had with      2     Q. During the year of -- between March 15th of
      3   members of the SLC about litigation.                        3 2020 and today, how frequently do you go into the office
      4       A. I had -- the conversations with the SLC were         4 at the NRA?
      5   all conversations with attorneys that were -- I believe     5     A. I've been here quite a bit.
      6   the counsel is advising me not to talk about.               6     Q. Twice a week, three times a week?
      7          I had one conversation with Sandy Froman             7     A. A couple days a week. Again, a couple days a
      8   where -- where we talked about it, and I told her I         8 week.
      9   wasn't sure whether they were or were not going to ask      9     Q. Okay.
     10   specifically for a ratification of what -- of what -- of   10     A. And then I've been working from home a couple
     11   the bankruptcy. And we talked about the board in           11 days a week --
     12   general. And we talked about the fact that they should     12     Q. Do you --
     13   be able to ask all kinds of questions and they should be   13             (Reporter clarification.)
     14   able to be fully filled in on everything. And it should    14     A. -- about COVID and -- over the COVID exposure.
     15   be a very open dialogue in terms of everyone and because   15     Q. (BY MR. SHEEHAN) Do you know why the decision
     16   everything needed to get out in the open.                  16 was made not to allow attendance electronically at the
     17       Q. (BY MR. SHEEHAN) Is the March 28 meeting, is        17 Dallas meeting on the 28th?
     18   that in Dallas?                                            18             MR. GARMAN: Objection to the form of the
     19       A. Yes, it is.                                         19 question.
     20       Q. And is it in person?                                20     A. I don't, but I believe it was in relation to
     21       A. It is.                                              21 security concerns of somehow if they -- if they used
     22       Q. Will people be allowed to join electronically?      22 Zoom or something like that of security -- security
     23       A. I do not believe they will be.                      23 issues, although I'm not positive of that.
     24       Q. Do you know how many directors are confirmed        24     Q. (BY MR. SHEEHAN) Okay.
     25   to attend on March 28 meeting?                             25             MR. SHEEHAN: At this point I think I'm
                                                          Page 303                                                                 Page 305

                                                                                                                16 (Pages 302 - 305)
                                                   Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                   Page 58 of
                                        149
      1   finished. I just want to go off the record and talk to        1   it's not even my decision; it's the board of directors'
      2   my colleagues for a few minutes, but I think that the         2   decision. And I think whatever would happen, the board
      3   individual portion of Mr. LaPierre's deposition will be       3   of directors would be the one that would make the
      4   completed at that point.                                      4   decision after doing a search, and it would be their
      5          So let's take five minutes and then come back,         5   decision, not mine. So I don't know that I should even
      6   and then I may have one or two more questions.                6   speculate, given the fact that that is entirely a
      7              MR. MASON: Just to clarify, the NY AG's            7   decision to be made not by me, who works for the board,
      8   portion of the individual?                                    8   but by the board of directors. I mean, that's how I was
      9              MR. SHEEHAN: Correct. Correct.                     9   chosen, and that's how I've been reelected every year by
     10              THE VIDEOGRAPHER: We're off the record.           10   the board, and the board will make that decision. So I
     11   The time on the video is 10:52 a m.                          11   would hesitate to even throw out names, given the fact
     12              (Break from 10:52 a m. to 11:01 a m.)             12   that ultimately it's not my decision.
     13              THE VIDEOGRAPHER: We're back on the               13        Q. But do you have an opinion about the young
     14   record. The time on the video is 11:01 a m.                  14   people you mentioned before who could step into that
     15       Q. (BY MR. SHEEHAN) So Mr. LaPierre, I just have         15   role? That is, who they might be?
     16   one more question and then turn it over to Mr. Mason.        16              MR. GARMAN: Objection to the form of the
     17          If something were to happen to you, is there          17   question. I think he said no one was ready.
     18   anyone at the NRA that's in position to succeed you as       18        A. There's a lot of good people in this
     19   executive VP and has the training and experience?            19   organization that I'm sure the board would look at. I
     20              MR. GARMAN: Objection to the form of the          20   mean, I could -- I could throw out names like -- but
     21   question.                                                    21   it's not my decision. I mean, I'm sure they would look
     22       A. I think that that is -- that that is one of           22   at Doug Hamlin. I'm sure they would look at Jason
     23   the -- I have a concern and I know the board of              23   Ouimet. I'm sure they would look at Mr. Schropp. I'm
     24   directors has a concern of the fact that -- the fact         24   sure they would look at, you know, Mr. DeBergalis. I'm
     25   that I have been for 40 years the voice of our members       25   sure they would look at -- but they would also look
                                                            Page 306                                                          Page 308

      1   out there on television, in terms of, you know, being         1   probably at other can dates, and it's ultimately their
      2   their voice and fighting their fight and standing up for      2   decision.
      3   their freedoms. My fundraising signature and                  3          I just know that -- I think we have a really
      4   fundraising ability helps the organization. And I --          4   good staff here right now, and they're doing really good
      5   the fact that I've been out there with the members for        5   work, and I respect them all. And I wouldn't want to --
      6   40 years that are the ultimate -- what makes this             6   I wouldn't want to really at this point -- it's not my
      7   association work, I think I have a unique relationship        7   decision. It's the board's decision. I mean, I -- I
      8   with the membership in terms of -- and I think -- I           8   don't know how to say it beyond that. It is entirely
      9   think one of the concerns that we're all wrestling with       9   the board of directors' decision as to who they pick to
     10   is how that succession will take place when it takes         10   succeed me should I choose to retire.
     11   place and how it will affect the monetary situation of       11       Q. (BY MR. SHEEHAN) Have you had discussions
     12   the NRA.                                                     12   with the board about a succession plan?
     13       Q. (BY MR. SHEEHAN) So is there any person in            13              MR. GARMAN: Objection to the form of the
     14   your view who is currently in a position to take over        14   question.
     15   your position if you left?                                   15          Go ahead.
     16              MR. GARMAN: Objection to the form of the          16       A. I know the board is -- talks about that. I
     17   question.                                                    17   know the officers talk about that. I know they talk
     18          Go ahead and answer.                                  18   also about the fundraising issues that -- that will
     19       A. I -- there are a lot -- there are some smart          19   exist, based on the amount of money that -- I mean, a
     20   young people around here. I think they are growing, and      20   lot of years -- I mean, because NRA's money comes in
     21   I have confidence that they have the potential of            21   based on whether you're out there fighting on TV and
     22   growing into the job.                                        22   whether you're out there fighting the cause and whether
     23       Q. (BY MR. SHEEHAN) Who are they?                        23   you're out there battling.
     24       A. Well, I don't have a specific successor picked        24          And then, you know, we also have all these
     25   yet. I'm not so sure it -- I'm not so sure it's -- and       25   great programs, whether they're -- I talked about them,
                                                            Page 307                                                          Page 309

                                                                                                           17 (Pages 306 - 309)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                         Entered 04/03/21 02:48:03                   Page 59 of
                                        149
      1   the 130,000 safety instructors, 14,000 law enforcement     1   management of that litigation in any way and am
      2   instructors, the child safety programs, the great          2   completely out of the process. It's being managed by
      3   magazines we publish. I mean, all the work the NRA does    3   the special litigation committee.
      4   on a day-to-day basis that's not legislative or            4       Q. So does that include all litigation, including
      5   political.                                                 5   the Ackerman McQueen litigation?
      6           And it -- it is a -- and ultimately, the 5         6       A. The special litigation committee is managing
      7   million members that elect the board of directors, a       7   all that litigation, because I think the belief is it's
      8   third of them each year, control the organization. And     8   all directly related to the New York state issues.
      9   it's a very robust process, and I'm sure that the          9       Q. Is the special litigation committee managing
     10   successor -- you know, the board will look at all of      10   the litigation with Under Wild Skies?
     11   those factors when they make the decision.                11       A. The special litigation committee is -- is
     12              MR. SHEEHAN: All right. At this point I        12   managing that legislation.
     13   will turn it over to Mr. Mason on behalf of Ackerman      13       Q. Is the special litigation committee managing
     14   McQueen for questioning.                                  14   the litigation that the NRA has against Mark Dycio?
     15                   EXAMINATION                               15       A. The special litigation committee is managing
     16   BY MR. MASON:                                             16   that litigation also.
     17        Q. Good morning, Mr. LaPierre. Are you ready --      17       Q. So all of the current litigation that the NRA
     18        A. Good morning.                                     18   has is being managed by the special litigation
     19        Q. -- to proceed?                                    19   committee. Do I understand that correctly?
     20        A. Yes. Good morning.                                20       A. That's -- that's my understanding.
     21        Q. My name is Brian Mason. I'm a partner at          21       Q. And Mr. Frazer has recused himself from
     22   Dorsey & Whitney in Dallas, and I represent Ackerman      22   involvement with the special litigation committee
     23   McQueen. Do you understand who I am and who I             23   because of the New York AG action?
     24   represent?                                                24               MR. GARMAN: Objection to the form of the
     25        A. I do.                                             25   question.
                                                         Page 310                                                          Page 312

      1       Q. I want to ask you a few follow-up questions        1        A. He has.
      2   from earlier this morning.                                2        Q. (BY MR. MASON) And you have also --
      3          With respect to the money that you were            3        A. I'm not -- I'm saying to the best of my
      4   testifying about that was set aside in the Brewer trust   4    knowledge on this. I mean, I'm not an expert on --
      5   account, was that in reference to the $5 million?         5    you'd have to ask John Frazer whether he's involved in
      6             MR. GARMAN: Objection to the form of the        6    any of this legislation that in some way they may
      7   question.                                                 7    consider different than the New York legislation.
      8          Go ahead if you understand.                        8        Q. But as you sit here right now, your
      9       A. Yes, it was $5 million that was put in the         9    understanding is --
     10   Brewer trust account to be used on reorganization        10               MR. CORRELL: Excuse me, Mr. Mason. This
     11   matters with -- yes.                                     11    is Kent Correll. I just want to note that Mr. LaPierre
     12             MR. CORRELL: This is Kent Correll.             12    has twice used the word "legislation" rather than
     13   Mr. Mason, with Mr. Sheehan we had an agreement that any 13    "litigation."
     14   objection made by the NRA would be joined by             14               THE WITNESS: Yes. I meant "litigation."
     15   Mr. LaPierre individually. Can we have that same         15               MR. CORRELL: Thank you.
     16   agreement?                                               16        Q. (BY MR. MASON) But as you sit here right now,
     17             MR. MASON: Yes, we can.                        17    Mr. LaPierre, it's your understanding that all of the
     18             MR. CORRELL: Thank you.                        18    litigation that the Brewer law firm is handling is being
     19       Q. (BY MR. MASON) You also testified that the        19    managed by the special litigation committee?
     20   Brewer firm was handling the litigation matters under    20               MR. GARMAN: Objection to the form of the
     21   the management of the special litigation committee. Did  21    question.
     22   I understand that correctly?                             22        A. I believe -- I believe it is.
     23       A. That is correct. Because I was individually       23        Q. (BY MR. MASON) You also said that the Brewer
     24   named by the New York AG's Office and John Frazer was 24       firm was responsible for running down any whistleblower
     25   individually named, I cannot be involved in the          25    complaints. Do you recall that?
                                                         Page 311                                                          Page 313

                                                                                                         18 (Pages 310 - 313)
                                                   Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 60 of
                                        149
      1       A. I did, because they all related to the -- the        1       Q. And that includes the entire board, not just a
      2   New York -- the New York AG litigation.                     2   portion of the board. Correct?
      3       Q. Has the NRA had any whistleblower complaints         3              MR. GARMAN: Objection to the form of the
      4   that the Brewer law firm was not involved with in the       4   question.
      5   last -- in the last two years?                              5           But go ahead.
      6               MR. GARMAN: Objection to the form of the        6       A. It includes the -- it includes the whole of
      7   question.                                                   7   the board of directors as a -- as a body. Not an
      8           Go ahead and answer.                                8   individual board member, but the -- the -- the board of
      9       A. I think in the last two years, the -- when the       9   directors in its entirety and in terms of -- in other
     10   whistleblower complaints started to come forward, the      10   words, while I do everything I can to work with
     11   Brewer firm was -- was charged with running down those     11   individual board members, I actually work for the board
     12   internal whistleblower complaints and then checking them   12   as a whole. The power rests in the board as a whole and
     13   out, making sure the whistleblower was protected, and      13   their votes and their consensus as a majority of the
     14   seeing whether there was truth or not truth and, if        14   board of directors.
     15   there was truth, getting to the bottom of it and dealing   15       Q. (BY MR. MASON) And you've previously
     16   with it appropriately.                                     16   testified that the ultimate authority for the governance
     17       Q. (BY MR. MASON) And was that done at your            17   of the NRA rests with the entire board. Right?
     18   direction?                                                 18              MR. GARMAN: Objection to the form.
     19       A. Absolutely. I wanted -- I mean, going back          19           Go ahead.
     20   to 2017 after the call from Attorney General               20       A. It absolutely does.
     21   Schneiderman --                                            21       Q. (BY MR. MASON) Do you believe it's important
     22       Q. Mr. LaPierre, my question was much simpler.         22   to be open and transparent with the board?
     23   It was just was that done at your direction?               23              MR. GARMAN: Objection to form.
     24       A. Yes. I -- one of the things that we were            24       A. I believe I've always believed it's very
     25   involved with, this New York litigation, the potential     25   important to be open and transparent with the board.
                                                          Page 314                                                         Page 316

      1   of it.                                                      1        Q. (BY MR. MASON) Do you believe it's important
      2           We were already involved with the Department        2   to be honest with the board?
      3   of Financial Services, which was the first part of it.      3                MR. GARMAN: Objection, form.
      4           Whistleblower complaints started to come            4        A. I've always believed it's important to be
      5   forward that we believed would directly relate to the       5   honest with the board.
      6   litigation involving New York, and one of the things        6        Q. (BY MR. MASON) Do you trust the NRA board to
      7   that we asked Mr. Brewer to do was to -- the Brewer firm    7   oversee the NRA?
      8   to do was to run down these whistleblower complaints and    8        A. I do trust the NRA board to oversee the NRA.
      9   check them out and get to the bottom of it and protect      9   That's why I've always said it's very important that NRA
     10   the whistleblower and do everything appropriate that       10   do everything it can to get very distinguished and
     11   should be done in that type situation.                     11   accomplished people on our board of directors that have
     12       Q. Okay. Yesterday morning you were asked              12   experience and intellect and vision and -- and
     13   whether you had reviewed any documents prior to your       13   resourcefulness, because ultimately this entire staff in
     14   deposition yesterday, and you indicated that you had       14   this building works for the board; and if the board in
     15   not.                                                       15   some way is not outstanding, it affects the morale of
     16           Did you review any documents in preparation        16   the entire staff in this building.
     17   for your deposition today, between yesterday evening and   17        Q. Do you trust the NRA board to make decisions
     18   this morning?                                              18   that are in the best interest of the NRA?
     19       A. I did not.                                          19        A. I do trust the NRA board. I think it's a --
     20       Q. As executive vice president, do you report to       20   it's a -- it's a very responsible board.
     21   the NRA board of directors?                                21        Q. And that includes all board members?
     22       A. I work for the NRA board of directors.              22                MR. GARMAN: Objection to the form.
     23   They -- they can hire me. They can fire me. They -- I      23        A. You know, I always give my respect to -- or
     24   work completely for the board of directors. I am           24   try to, to all board members, to tell you the truth, and
     25   their -- their employee.                                   25   treat them with respect. That doesn't mean I always
                                                          Page 315                                                         Page 317

                                                                                                         19 (Pages 314 - 317)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                    Page 61 of
                                        149
      1   agree with them all, but I always try to respect them       1   confidence, that the NRA exercised almost no genuine
      2   all and listen to them and -- and be civil and decent.      2   oversight on the NRA executive leadership?
      3       Q. (BY MR. MASON) Do you trust the board to keep        3              MR. GARMAN: Objection to the form of the
      4   information confidential if you -- if you ask them to do    4   question.
      5   so?                                                         5       A. No, I did not tell Mr. Powell that.
      6              MR. GARMAN: Objection to form.                   6   Mr. Powell -- I haven't read his book. From what people
      7          Go ahead.                                            7   have told me about it, he appears to be making up a lot
      8       A. I don't think it's any secret if you were to         8   of things that are not accurate.
      9   talk to our -- most of our board, is the board of           9       Q. (BY MR. MASON) But he also appears to be
     10   directors realizes that in recent years they have had a    10   making statements that are also true. Right?
     11   problem with leaks out of the board meeting, even in       11              MR. GARMAN: Objection to the form.
     12   executive session, real-time information being passed      12       A. I don't know.
     13   out -- out of executive session to various individuals     13              MR. GARMAN: Objection to the form of the
     14   or the media, and it is a problem that the board of        14   question.
     15   directors is wrestling with as to how to -- how to         15       A. I don't know. I haven't read his book.
     16   function as a board when that type of activity has been    16       Q. (BY MR. MASON) Mr. LaPierre, as you sit here
     17   going on.                                                  17   today, are you aware whether the NRA board was told on
     18       Q. (BY MR. MASON) And that's a problem here and        18   January 7 that the NRA was going to be filing for
     19   now today on March 23rd. Right?                            19   Chapter 11 bankruptcy?
     20       A. I think it is an ongoing concern of a good          20              MR. GARMAN: Objection to the form of the
     21   number of our board of directors. I don't think they       21   question.
     22   know who is doing it. I don't think they -- but I just     22          I instruct you not to answer the contents of
     23   know that they all believe it has been happening.          23   executive session. Otherwise, you can answer the
     24       Q. Does it make it difficult to be open and            24   question.
     25   transparent with the NRA board if you're concerned about   25       A. I was not in that session. I -- I do not know
                                                          Page 318                                                          Page 320

      1   leaks?                                                    1     what the discussion was because I was not in it. All I
      2              MR. GARMAN: Objection to form.                 2     know is that out of that session, I was -- came out of
      3           Go ahead.                                         3     contract that involved me, and a part of that contract
      4       A. Well, that's one of the concerns the board has     4     included a delegation of authority to the executive vice
      5   had, is the fact that it makes it difficult for them to   5     president to reorganize the association.
      6   be open and transparent in executive session if they      6        Q. (BY MR. MASON) So is it your testimony that,
      7   believe that there's a possibility it will be leaked.     7     as you sit here right now, you do not know whether the
      8       Q. (BY MR. MASON) So how can you trust the NRA 8            board was advised of the Chapter 11 bankruptcy on
      9   board to make governance decisions that are in the best   9     January the 7th?
     10   interest of the NRA if you're concerned that information 10               MR. GARMAN: Objection to the form of the
     11   shared with them could be leaked?                        11     question.
     12              MR. GARMAN: Objection to the form of the      12            Go ahead.
     13   question.                                                13        A. I was not in that session. I was not privy to
     14       A. Well, I think the board struggles in the best     14     the discussion as to what took place.
     15   as they can with that circumstance and try to be as open 15        Q. (BY MR. MASON) I understand you were not
     16   and transparent as they can, given the fact they are     16     present, but my question is more simple than that.
     17   aware that that type of situation has been occurring.    17            As you sit here right now, are you aware
     18   It's a problem they wrestle with, but I know they try to 18     whether or not the NRA board was advised about the
     19   be as open and transparent as they can be, recognizing a 19     Chapter 11 bankruptcy on January the 7th?
     20   reality that has existed.                                20               MR. GARMAN: Objection to the form of the
     21       Q. (BY MR. MASON) Mr. Powell in his book stated, 21         question.
     22   And as Wayne admitted to me in confidence, they, being   22            Go ahead.
     23   the NRA board, exercised almost no genuine oversight on 23         A. To the best of my knowledge, the board
     24   the NRA executive leadership.                            24     delegated authority to the executive vice president to
     25           Did you ever tell Mr. Powell that -- in          25     make decisions on reorganization. And at that point, I
                                                          Page 319                                                          Page 321

                                                                                                          20 (Pages 318 - 321)
                                                   Veritext Legal Solutions
                                                        800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                  Page 62 of
                                        149
      1   don't -- a decision had not been made on whether or not      1          You said that you've spoken with board members
      2   the NRA was going to move to filing Chapter 11               2   since the bankruptcy filing that have indicated to you
      3   bankruptcy. As I said, without that delegation of            3   that they did not know at the January 7 meeting that
      4   authority by the board to the EVP, I certainly wouldn't      4   what they were doing was authorizing -- purportedly
      5   have moved forward with it.                                  5   authorizing the NRA to file Chapter 11 bankruptcy. And
      6              MR. MASON: Objection, nonresponsive.              6   so my question is who are those board members that you
      7       Q. (BY MR. MASON) Have you had conversations             7   have had those conversations with?
      8   with board members since the bankruptcy filing on            8              MR. GARMAN: Objection to form.
      9   January the 15th?                                            9       A. They didn't -- I wouldn't say they all put it
     10       A. I have had conversations with board members.         10   in exactly the terms you just described, but I talked
     11       Q. Have any of those board members indicated to         11   with numerous board members that -- that have expressed
     12   you that they were not advised that the NRA was going to    12   the need for -- they would -- and I -- and I believe
     13   be filing for Chapter 11 bankruptcy on January the 7th?     13   this, for an open session where everybody can get
     14       A. I've had board members tell me that they --          14   everything out in the open, everyone can ask their
     15   that they -- they -- yeah, that they did not realize        15   questions.
     16   that, they -- they -- and that's one of the reasons that    16          And now that the NRA has made the decision,
     17   I thought it was a good idea to get them all together       17   based on the delegation of authority with the SLCs to
     18   and let everyone ask their questions, because I don't       18   file the Chapter 11, they have a discussion about the
     19   think some of them bothered to read the delegation of       19   whole thing. I've talked to board members, from Susan
     20   authority to the executive VP to reorganize the             20   Howard to Sandy Froman to -- to Joel Friedman, to --
     21   association or ask questions about it.                      21   to -- gosh, I would have to have a list of the board
     22          And in executive session, even though I wasn't       22   members in front of me to -- but I talked to probably
     23   there, any board member could have asked any question       23   10, 15, 20 of them about -- you know, and everyone
     24   that they wanted to, and I assume the officers would        24   agrees that it would be good to get everyone together
     25   have responded. But a decision had not been made at         25   and have a full, open discussion of everything.
                                                           Page 322                                                        Page 324

      1   that point to go that route. I guess it's something          1       Q. (BY MR. MASON) Did any of those board members
      2   they could have talked about, but a decision had not         2   express concerns that they wish that there was that
      3   been made at that point.                                     3   discussion that happened -- let me start over.
      4       Q. Who are the board members that you're                 4          Did any of those board members express
      5   referring to that you spoke with and had that                5   concerns to you that -- about those discussions and how
      6   conversation with?                                           6   they should have occurred on January the 7th?
      7              MR. GARMAN: Objection to the form of the          7             MR. GARMAN: Objection to form.
      8   question.                                                    8       A. I wouldn't say it was so much in relation to
      9           Go ahead.                                            9   those discussions and how they should have occurred.
     10       A. About -- about the need for more discussion on       10   It was that they expressed a desire to get everything
     11   everything?                                                 11   out in the open, ask questions, have a full discussion
     12       Q. (BY MR. MASON) Yeah, about the board not             12   of everything, everybody get their questions answered,
     13   being told that, hey, we're about to go file for            13   and -- and that would be -- that's a good thing for the
     14   Chapter 11 bankruptcy?                                      14   board and the association, because some of them clearly
     15              MR. GARMAN: Objection to the form of the         15   did not pay attention or -- or from what -- or follow
     16   question.                                                   16   that part on the reorganization.
     17       A. Well --                                              17          I had one of them tell me, for example, the
     18              MR. CORRELL: This is Mr. Correll. I              18   only part that he really read was the part that involved
     19   would just like to instruct the witness not to reveal       19   my contract and didn't really pay attention to any of
     20   the substance of any communications with any members of     20   the rest of the resolution. So I think there -- I think
     21   the special litigation committee that related to            21   it would be good for the association to have a board
     22   litigation strategy.                                        22   meeting and a full discussion of everything and
     23       A. Yeah, I'm sorry, could you state the question        23   everybody get everything out in the open.
     24   again?                                                      24       Q. (BY MR. MASON) And a full disclosure with the
     25       Q. (BY MR. MASON) Sure.                                 25   board, right, because that didn't happen on January
                                                           Page 323                                                        Page 325

                                                                                                         21 (Pages 322 - 325)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 63 of
                                        149
      1   the 7th?                                                  1     do when you're facing that type situation, where we
      2              MR. GARMAN: Objection to the form of the       2     believed that we were being -- viewpoint discriminated
      3   question.                                                 3     against by the State of New York, and we believed that
      4       A. Well, keep in mind, that discussion could have     4     plan that Attorney General Schneiderman had laid out in
      5   gone anywhere the board took it. I wasn't in there, but   5     2017 was in full operation and in violation of the
      6   in every executive session, every board member has the    6     organization's constitutional rights. And that's why we
      7   right to ask any question that they have at all. And      7     have two First Amendment cases pending against the
      8   the person that was chairing the meeting or the other     8     Department of Financial Services --
      9   board members have an opportunity to take the mic and     9         Q. (BY MR. MASON) I understand. I understand.
     10   talk about it. And I wasn't in there. I don't -- I       10     You've answered my question.
     11   mean, if -- if questions weren't asked, they weren't     11            Who is Duane Liptak?
     12   asked, but that's -- that's -- I mean, I wasn't in the   12               MR. CORRELL: Excuse me. This is Kent
     13   room.                                                    13     Correll. Please don't interrupt the witness and
     14       Q. (BY MR. MASON) On January 6, 2021, did you        14     allow -- and please do allow the witness to finish his
     15   know that if your employment agreement was approved by 15       answer.
     16   the board on January 7, that you would be having -- that 16         Q. (BY MR. MASON) Mr. LaPierre, who is Duane
     17   you would believe that you had the authority to file     17     Liptak?
     18   Chapter 11 bankruptcy on behalf of the NRA?              18         A. Duane Liptak is a member of the board, or was
     19             MR. GARMAN: Objection to form.                 19     a member of the board.
     20           Go ahead and answer if you understand.           20         Q. How long was he a member of the board?
     21             MR. CORRELL: Yeah. And to the extent --        21            Well, let me ask you this. Why is he no
     22   this is Mr. Correll. To the extent that you had any      22     longer a member of the board?
     23   conversations with attorneys on that subject, not saying 23         A. He sent in a resignation letter saying that --
     24   you did, but if you did, please steer clear of those     24     I can't remember exactly what it said. I know he said
     25   conversations.                                           25     that he continues to support the organization, he'll do
                                                         Page 326                                                          Page 328

      1      A. Well, all of my conversations I had prior to          1   anything he can to -- to help it. I honestly don't
      2   that were with -- were with attorneys in regard to my       2   remember what the rest of the letter said. I read it,
      3   contract and what was in it in terms of -- in terms of      3   but I just don't remember.
      4   the reorganization.                                         4       Q. Let's take a look at -- if we can get
      5      Q. (BY MR. MASON) And who were those attorneys?          5   Exhibit -- Ackerman Exhibit 148, please.
      6      A. I had discussions on my contract with Kent            6              (AMc Exhibit 148 marked.)
      7   Correll, my personal attorney. I had discussions            7       Q. (BY MR. MASON) And if you'll let me know,
      8   with -- with Bill Brewer.                                   8   Mr. LaPierre, when you've got Exhibit 148 up.
      9      Q. You testified at the first 341 creditors              9              MR. GARMAN: We are pulling it up right
     10   meeting that you made the decision for -- to file for      10   now.
     11   bankruptcy a couple weeks before January 15. Do you        11          Brian, it's Greg. I keep refreshing, but it's
     12   remember that?                                             12   not there yet. Is it in the folder deposition of Wayne
     13              MR. GARMAN: Objection to form.                  13   LaPierre, 3/23 under Marked Exhibits?
     14      A. I think we made the actual final decision a          14              MR. CORRELL: It should be. Can I get
     15   couple of days before. As I said, if we had not had        15   delegated access to share my screen please?
     16   that delegation of authority at the board meeting          16              MR. GARMAN: Yeah, the screen is pretty
     17   through the executive VP to reorganize the NRA, I would    17   far from us. We'll do our best, but it's probably a
     18   not have gone ahead, at least I wouldn't have, and filed   18   good 15 feet from us. But you can try. We'll do our
     19   for that reorganization. So I mean, it -- that's the       19   best.
     20   case.                                                      20              MR. CORRELL: Let's go off the record
     21          There had been discussions of all kinds of          21   real quick. Let me get this figured out. Just for one
     22   different options that the NRA might take, but no          22   or two minutes.
     23   decisions had been made, strategic alternatives to -- to   23              MR. GARMAN: We won't leave.
     24   dealing with what we believed was a not fair -- fair       24              THE VIDEOGRAPHER: We are going off the
     25   playing field in New York state and how -- what do you     25   record. The time on the video is 11:37 a.m.
                                                         Page 327                                                          Page 329

                                                                                                         22 (Pages 326 - 329)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 64 of
                                        149
      1               (Break from 11:37 a m. to 11:42 a.m.)            1   attorney/client privilege, but otherwise you can answer.
      2               THE VIDEOGRAPHER: We're back on the              2       A. Yeah, the only discussions I had were with
      3   record. The time on the record is 11:47 -- I'm sorry --      3   counsel and with the SLC.
      4   11:42 a.m.                                                   4       Q. (BY MR. MASON) And that was prior to January
      5       Q. (BY MR. MASON) Mr. LaPierre, I've got up on           5   7?
      6   my screen Ackerman Exhibit 148. Can you see the              6       A. That is correct.
      7   document on the screen and specifically the email at the     7       Q. And who was the counsel that you're referring
      8   top from Mr. Liptak?                                         8   to?
      9       A. Let me -- it's taking me a minute because it's        9       A. That would be Bill Brewer and the special
     10   a long way away. I'm struggling to read it. I see           10   litigation committee.
     11   to -- from Duane Liptak to John Frazer. Subject,            11       Q. So did you have conversations with the special
     12   announcement from Wayne LaPierre. And it says -- I can      12   litigation committee specifically prior to January 7
     13   read it now.                                                13   relating to the NRA filing Chapter 11 bankruptcy?
     14           (Witness reading to himself.)                       14              MR. GARMAN: Objection to the form of the
     15           I read -- just read that.                           15   question.
     16       Q. Have you seen this email before?                     16           I again give you the same instruction.
     17       A. I have not seen that email.                          17       A. And I did not have independent -- any
     18       Q. Have you had any conversations with Mr. Liptak       18   discussions were in the presence of counsel.
     19   since January the 15th?                                     19       Q. (BY MR. MASON) And I'm not asking you to get
     20       A. I have not.                                          20   into those discussions. I'm asking you -- well, let me
     21       Q. Do you believe -- do you believe Mr. Liptak          21   ask it this way.
     22   would have sent this email to Mr. Frazer if the             22           Did you ever tell Charles Cotton prior to
     23   Chapter 11 bankruptcy had been discussed at the January     23   January 7 that the NRA is seriously considering about to
     24   7th board meeting?                                          24   file Chapter 11 bankruptcy in Texas?
     25               MR. GARMAN: Objection to the form of the        25              MR. GARMAN: Objection to the form of the
                                                           Page 330                                                         Page 332

      1   question.                                                    1   question.
      2       A. Well, I'm speculating. I mean, I --                   2          Same instruction. You can otherwise answer.
      3             MR. GARMAN: No, no, no. We're not going            3       A. We were -- we were working with Charles Cotton
      4   to speculate. I also object to foundation.                   4   on -- and Charles Cotton was actually having meetings
      5       Q. (BY MR. MASON) Are you going to answer my             5   with the governor of Texas and with other people,
      6   question, Mr. LaPierre?                                      6   because Texas was, along with about 20 other states,
      7       A. I'd answer your question that I wasn't in the         7   really were doing everything they can to encourage NRA
      8   room, but when a resolution was passed, any board member     8   to leave the toxic environment in New York, which they
      9   had the opportunity to ask any question that they wanted     9   considered, based on their reading of the news and the
     10   to ask. And if someone wanted to ask a question in          10   information they were receiving from their -- from their
     11   relation to the reorganization and what that entailed,      11   contacts that -- and to reorganize in their state. And
     12   which was delegated to the EVP, they had a full             12   I had the discussions with Charles Cotton about the work
     13   opportunity to do it. I mean, obviously, you know, I        13   he was doing with the -- with the governor of Texas and
     14   wasn't in the room, so I -- I don't -- I don't know the     14   with -- in relation to that.
     15   full extent of the discussion or how close they got to      15       Q. (BY MR. MASON) Okay. So prior to January 7,
     16   it or what they discussed.                                  16   did you specifically tell Mr. Cotton that we are on the
     17       Q. Prior to the January 7th board meeting, did          17   verge of making a decision to file Chapter 11 bankruptcy
     18   you have any discussions with anyone about not telling      18   and reincorporate in Texas?
     19   the board of directors at the January 7th meeting that      19              MR. GARMAN: Objection to the form of the
     20   the NRA was considering filing for Chapter 11               20   question.
     21   bankruptcy?                                                 21          I give you the same instruction.
     22             MR. GARMAN: Object to the form of the             22       A. I -- I think that Charles was aware that that
     23   question.                                                   23   was one of the options. I don't think -- a decision had
     24          And simply to the extent your answer would           24   not been made. It -- but I had discussions with Charles
     25   include counsel, I instruct you not to invade the           25   in terms of reorganizing and -- and moving NRA to a --
                                                           Page 331                                                         Page 333

                                                                                                          23 (Pages 330 - 333)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                           Page 65 of
                                        149
      1   somewhere that wanted the organization, would offer a        1   about someone I'm saying I really don't know very well.
      2   fair regulatory environment where the organization could     2   I'm not trying to be evasive on the issue; it's just
      3   grow and prosper.                                            3   that if you -- if you -- I mean, if you don't know
      4          A decision had not been made on how that would        4   somebody very well, it's hard to make an assessment. I
      5   be done, whether it would be Chapter 11, whether it          5   mean, I guess I take everybody at face value, as I
      6   would be bankruptcy. I think that every -- every option      6   believe there's good in everybody that I meet, you know.
      7   was being explored, but a decision had not been made.        7       Q. (BY MR. MASON) Prior to --
      8       Q. (BY MR. MASON) Who is Phillip Journey?                8       A. I hope there is.
      9       A. Phillip Journey is a member of the board of           9       Q. Prior to January 15, did Judge Journey ever
     10   directors, a previous member of the board of directors,     10   say or do anything that made you question his integrity?
     11   and he is a former state legislator, I believe. And         11               MR. GARMAN: Objection to the form of the
     12   he's a judge now, to the best of my knowledge.              12   question.
     13       Q. How long have you known Judge Journey?               13       A. As I've said, the last 15 or 20 years, every
     14       A. Gosh, probably 20, 25 years.                         14   time I've met Phil Journey, Judge Journey, he's been
     15       Q. Do you consider him a friend?                        15   nice and we had a nice conversation and nothing happened
     16       A. I mean, I -- I'm friendly with everybody. I          16   in those conversations that -- that made me question his
     17   respect everybody. I mean, do we -- do we pal around        17   integrity.
     18   together? No, we don't. But I've run into Phil at           18           I remember back in the days of the '97 and '98
     19   numerous meetings on -- speaking on the road over the       19   when he was on the board, I thought that -- when there
     20   years, and we've always had very friendly conversations     20   was an issue going on, I thought some of the decisions
     21   and -- yes.                                                 21   that he made -- was making in terms of how he voted
     22       Q. Have you known him to be an honest and               22   was -- I thought was the wrong way, but -- and was the
     23   truthful person?                                            23   wrong decision, but that was a long, long time ago and,
     24             MR. GARMAN: Objection to form.                    24   you know, people change. And I'm somebody that
     25          Go ahead.                                            25   understands people change, and that's why I responded
                                                           Page 334                                                                 Page 336

      1       A. You know, all I can say is I've had -- I've           1 the way I responded when the -- when the person called
      2   had friendly conversations with him, like all kinds of       2 me about, What do you think about Phil being nominated
      3   other people you have friendly conversations with.           3 for the board? I said, I've got a lot of -- I've run
      4       Q. (BY MR. MASON) Prior to January 14, did you           4 into him a lot of times and he was friendly and nice.
      5   consider Mr. -- Judge Journey an honest and truthful         5 And I -- basically, I said I've had very nice
      6   person?                                                      6 conversations with him, even though I think back in the
      7              MR. GARMAN: Objection to the form of the          7 '90s some of the positions he took on the board I -- I
      8   question.                                                    8 disagreed with, to the best of my recollection. I
      9       A. You know, again, I don't have -- I don't have         9 didn't think it was in the best interest of the NRA.
     10   a deep relationship with -- I'm not trying to disparage     10     Q. (BY MR. MASON) Was the NRA's filing of
     11   Mr. Journey in any way; it's just I don't have the type     11 Chapter 11 bankruptcy a major decision for the NRA?
     12   of relationship or the amount of experience in terms of     12             MR. GARMAN: Objection to the form of the
     13   working with to -- you know, I mean, Mr. Journey has        13 question.
     14   always appeared to me to be, you know, nice and he was      14     A. Yes, the NRA's decision to file Chapter 11 was
     15   friendly.                                                   15 a -- was a major decision.
     16          In fact, prior to his nomination to the board,       16     Q. (BY MR. MASON) The NRA has been in New York
     17   someone called me on the board and said, What do you        17 for 150 years. Right?
     18   think of Phil Journey? And I said, Well, I've run into      18     A. They have.
     19   him several times and he's always been nice and we've       19     Q. This was -- this was a historic decision,
     20   had nice conversations. And that was my answer.             20 wasn't it?
     21       Q. (BY MR. MASON) Prior to January 15, did you          21             MR. GARMAN: Objection to the form of the
     22   believe that Judge Journey was a man of integrity?          22 question.
     23              MR. GARMAN: Objection to the form of the         23     A. Well, it was a decision that -- as I said, the
     24   question.                                                   24 NRA for years has been talking on and off about the need
     25       A. Again, you're asking me to make a judgment           25 to reincorporate in somewhere that offered a friendlier
                                                           Page 335                                                                 Page 337

                                                                                                                 24 (Pages 334 - 337)
                                                    Veritext Legal Solutions
                                                         800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                   Entered 04/03/21 02:48:03                 Page 66 of
                                        149
      1   environment than New York state to the organization.                 1   decision to do it at that point and would not have done
      2   There were also ongoing discussions even about the NRA's             2   it if the board did not delegate that authority.
      3   principal place of operation here in Virginia, that                  3       Q. (BY MR. MASON) If the board did not delegate
      4   maybe -- maybe it would be better for our employees to               4   that authority, are you aware of any other NRA corporate
      5   move into a friendlier place.                                        5   governance document that provided you with the authority
      6          So these discussions have been going on for                   6   to file Chapter 11 bankruptcy on behalf of the NRA?
      7   many, many years, long before the issue of General                   7              MR. GARMAN: Objection to the form of the
      8   Schneiderman's telephone call, Governor Cuomo, DFS,                  8   question, calls for legal conclusion.
      9   General James or General James' statement during her                 9       A. Yeah, I am not aware, but I'm not a lawyer and
     10   campaign about the NRA being a criminal terrorist                   10   I'm not an expert on all of the NRA documents and
     11   organization and --                                                 11   bylaws.
     12       Q. (BY MR. MASON) Mr. LaPierre, my question was                 12           But as I said, I would not -- without that
     13   much more -- was much more simple than that. Let's move             13   specific delegation of authority from the board in that
     14   on.                                                                 14   resolution that delegated me the ability to reorganize,
     15          Would you agree --                                           15   I certainly would not have moved forward.
     16              MR. CORRELL: This is Kent Correll.                       16       Q. You testified yesterday that on January 15th,
     17   Mr. Mason, again, I would just caution you to allow the             17   the day that the NRA filed for bankruptcy, you had a
     18   witness to finish his answers and not --                            18   telephone call with the SLC. Is that right?
     19              MR. MASON: Not if he's just going to                     19              MR. GARMAN: Objection to the form of the
     20   filibuster, not if I'm asking him simple questions,                 20   question.
     21   so --                                                               21           Go ahead.
     22              MR. CORRELL: Mr. Mason, you have a                       22       A. Yes, I did.
     23   duty --                                                             23       Q. (BY MR. MASON) And on that telephone call was
     24              MR. MASON: Let's move on.                                24   yourself and Ms. Meadows and Mr. Cotton and Mr. Lee. Is
     25              MR. CORRELL: Excuse me, Mr. Mason. You                   25   that correct?
                                                                   Page 338                                                        Page 340

      1 have a duty as an officer of the court and under the                   1      A. That is correct.
      2 rules of this court to allow a witness to finish an                    2      Q. Was that the first time that you told the
      3 answer. It's not for you to decide when the witness is                 3   members of the SLC that you had made a final decision
      4 done.                                                                  4   with respect to filing Chapter 11 bankruptcy?
      5     Q. (BY MR. MASON) Mr. LaPierre, would you agree                    5             MR. GARMAN: Objection to the form of the
      6 that if a company is going to file for Chapter 11                      6   question.
      7 bankruptcy, that that bankruptcy must be authorized?                   7             MR. CORRELL: Also, this is Mr. Correll.
      8           MR. GARMAN: Objection to the form of the                     8   I would instruct the witness not to divulge any
      9 question, calls for a legal conclusion.                                9   communications that were made to the SLC for purposes of
     10     A. The -- the board -- as I've said before, the                   10   obtaining legal advice or assistance for the
     11 board in the resolution that they passed at the January               11   organization.
     12 meeting specifically allocated to the executive VP, and               12      A. The discussions that I had with the SLC at
     13 also did it in consultation with the SLC, the authority               13   that point included -- included legal advice from
     14 to reorganize the organization. If they had not done                  14   counselors.
     15 that, I certainly would not have moved forward.                       15      Q. (BY MR. MASON) Were there any attorneys on
     16     Q. (BY MR. MASON) And on January 6, did you know                  16   that -- on that phone call?
     17 that? Did you know that the authorization -- the                      17      A. Yes.
     18 approval of your employment agreement would provide you               18      Q. Mr. Cotton?
     19 that authorization?                                                   19             MR. GARMAN: Objection to form.
     20           MR. GARMAN: Objection, asked and                            20      Q. (BY MR. MASON) Or were there other -- were
     21 answered.                                                             21   there other attorneys on besides the four of you?
     22         Go ahead again.                                               22             MR. CORRELL: Objection to the form of
     23     A. I -- I knew that within that delegation that                   23   the question. This is Mr. Correll.
     24 was being proposed, it would open up the option of doing              24      A. But I also had -- I also had an independent
     25 that, if we chose to do it, but we had not made a                     25   call with --
                                                                   Page 339                                                        Page 341

                                                                                                                 25 (Pages 338 - 341)
                                                              Veritext Legal Solutions
                                                                   800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 67 of
                                        149
      1       Q. (BY MR. MASON) Mr. LaPierre, I'm asking about         1       A. Well, there was tremendous concern among the
      2   who was on the call. I believe you said -- I asked you       2   special litigation committee, in particular, about leaks
      3   if there was attorneys on the call, and you said yes.        3   and the fact that -- and as we talked about, there was
      4   You said there was four people on the telephone call,        4   an ongoing process of leaks, unfortunately, in real-time
      5   yourself, Mr. Cotton, Mr. Lee and Ms. Meadows. Is that       5   from the -- from the board. And the special litigation
      6   correct?                                                     6   committee, in particular -- but I shared the same
      7              MR. GARMAN: Objection to the form of the          7   concern, but they were very concerned that a leak on
      8   question.                                                    8   this with the clear intent of General James to dissolve
      9          You can answer that.                                  9   the National Rifle Association in what we believed, as I
     10       A. Yeah, that's the one I was just going to say.        10   said numerous times, was an improper use of government
     11   I had conversation with the three officers of the SLC       11   authority, that she would -- if leaked, she would
     12   and myself where we made the final decision to file --      12   immediately attempt to put the NRA into receivership,
     13   file for bankruptcy.                                        13   which would, in effect, destroy the organization.
     14       Q. So prior to that phone call, had you made a          14          And we, the SLC and I, had a -- I mean, my
     15   final decision on the decision to file for bankruptcy?      15   gosh, it's a wonderful organization with 5 million
     16       A. No, that phone call is when we made the final        16   members. It does all kinds of amazing things, as we
     17   decision to do it.                                          17   talked about, safety training, education, political and
     18       Q. How long did that phone call last?                   18   legislative advocacy. It's one of the oldest civil
     19       A. I don't remember.                                    19   rights organizations in the country, and it sure doesn't
     20       Q. Was that the first time that you told the SLC        20   deserve to be dissolved or put into receivership, so --
     21   that you had made a final decision to file Chapter 11       21   and that's why.
     22   bankruptcy?                                                 22       Q. Okay. Were there any other reasons, as you
     23              MR. GARMAN: Objection to the form of the         23   sit here right now, that you can think of?
     24   question.                                                   24       A. No.
     25       A. No. We had had discussions about it earlier          25       Q. With respect to New York putting the NRA into
                                                           Page 342                                                         Page 344

      1   in the week and had -- had just not come to a final --       1   receivership, is that a concern that you came up with on
      2   final decision on if and when or the time in which we        2   your own?
      3   were going to do it.                                         3              MR. GARMAN: So I object.
      4              MR. MASON: Let's do this. We've been              4          I instruct you not to divulge the
      5   going about an hour. Why don't we go ahead and take a        5   attorney/client privilege, and any information you
      6   five-minute break, if that's okay.                           6   received from counsel on that point, I instruct you not
      7              MR. GARMAN: Sure.                                 7   to respond with.
      8           Brian, when do you want to take a lunch break,       8       Q. (BY MR. MASON) Are you going to answer my
      9   so we can plan?                                              9   question, Mr. LaPierre?
     10              THE VIDEOGRAPHER: Do you want to go off          10       A. No, I'm not. I'm going to take the advice of
     11   the record?                                                 11   counsel on that issue.
     12              MR. GARMAN: Okay. Yeah, we can go off            12       Q. And who was the counsel that you're
     13   the record.                                                 13   referencing in refusing to answer that particular
     14              MR. MASON: It's up to y'all and                  14   question?
     15   Mr. LaPierre.                                               15              MR. CORRELL: Objection. This is
     16              THE VIDEOGRAPHER: We're going off the            16   Mr. Correll. Objection to the extent that the question
     17   record. The time on the video is 12:04 p.m.                 17   implies that any particular counsel was -- was giving
     18              (Break from 12:04 p.m. to 12:19 p m.)            18   any advice on that issue.
     19              THE VIDEOGRAPHER: We're back on the              19          My instruction to the witness is to the extent
     20   record. The time on the video is 12:19 p.m.                 20   that you can answer the question without divulging
     21       Q. (BY MR. MASON) Mr. LaPierre, after you and           21   communications with attorneys, you can do so. Otherwise
     22   the special litigation committee made the final decision    22   your instruction is not to answer the question.
     23   to file Chapter 11 bankruptcy, why did you not go back      23       Q. (BY MR. MASON) And I am not asking you for
     24   to the NRA board before actually pulling the trigger and    24   any communications, Mr. LaPierre. I am just asking for
     25   filing?                                                     25   the identity of the lawyers that you're refusing to
                                                           Page 343                                                         Page 345

                                                                                                          26 (Pages 342 - 345)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                             Entered 04/03/21 02:48:03                        Page 68 of
                                        149
      1   answer the question based upon the attorney/client            1 usually have to pull out the bylaws and -- as do most
      2   privilege.                                                    2 people, and try to find the section and see what it
      3              MR. CORRELL: Mr. Mason, you're asking              3 says.
      4   him, in effect, to identify lawyers who advised him on        4     Q. Are you bound by the NRA bylaws?
      5   the issue of whether -- of litigation strategy with           5             MR. GARMAN: Objection to the form of the
      6   respect to the pending litigation in New York. I think        6 question.
      7   that's an improper question. Maybe you can try to             7     A. Yes. I work for the board of directors and
      8   rephrase your question and we can get to a place where        8 the bylaws that the organization operates under.
      9   we're more comfortable with your question.                    9     Q. (BY MR. MASON) Did your employment agreement,
     10      Q. (BY MR. MASON) Let me ask it this way.                 10 your January 2021 employment agreement, amend or modify
     11          Mr. LaPierre, was the concern that you had            11 the NRA bylaws in any way?
     12   with receivership, was that -- was that a concern based      12             MR. GARMAN: Objection to the form of the
     13   upon communications with counsel?                            13 question.
     14              MR. GARMAN: So I am going to give you             14     A. Not -- not that I'm aware of.
     15   the same instruction. You can answer that question yes       15     Q. (BY MR. MASON) Let's take a look at -- if we
     16   or no.                                                       16 can look at Ackerman Exhibit 11.
     17      A. Yeah.                                                  17             MR. GARMAN: We have Ackerman Exhibit 148
     18      Q. (BY MR. MASON) Who was that counsel?                   18 and then we have Exhibits 7 through 10.
     19      A. Actually, it was -- it was more than one               19             MR. MASON: Hopefully it's going to drop
     20   counsel.                                                     20 in any second.
     21      Q. Okay. Who -- who were the more than one?               21             MR. GARMAN: We'll keep refreshing.
     22              MR. GARMAN: So I don't understand the             22             (AMc Exhibit 11 marked.)
     23   relevance of this. I'm going to instruct him not to          23     Q. (BY MR. MASON) Let's come back to that.
     24   divulge even who the advice came from. I don't see its       24 Let's come back to that if it's not going to be dropped
     25   relevance.                                                   25 in there.
                                                            Page 346                                                                Page 348

      1              MR. MASON: Relevance is not a proper               1          On January 6, were you aware that there was an
      2   objection, and it is not improper. He's already               2   officer's compensation committee meeting?
      3   testified that there was a concern about the NRA going        3      A. That would be the -- I assume that would be
      4   into receivership and that was based upon communications      4   the meeting that took place during the -- during the
      5   with counsel. It's a perfectly appropriate question to        5   board of directors meeting. Was that the date of the
      6   ask who those communications were with without going          6   board of directors meeting, the 6th?
      7   into anything else.                                           7      Q. This is the day before.
      8              MR. CORRELL: This is Mr. Correll. I                8      A. Well, I was -- I was with the officers that
      9   respectfully disagree, and I think that if the question       9   day who represent the special compensation committee and
     10   is designed to elicit information as to which counsel        10   who are the members of the special compensation
     11   expressed opinions or gave advice on the issue of            11   committee. I don't know that they had a meeting. They
     12   whether receivership was -- was something that might be      12   might have.
     13   appropriately -- well, receivership might be a concern       13      Q. So as you sit here right now, you were not
     14   in New York, I think that it's -- you're asking for who      14   aware as to whether the officers compensation committee
     15   advised him on those issues.                                 15   was having a meeting on January 6 with respect to your
     16              MR. GARMAN: I join in that.                       16   employment agreement?
     17           And I instruct you not to answer.                    17              MR. GARMAN: Objection to form.
     18       Q. (BY MR. MASON) Mr. LaPierre, are you going to         18          Go ahead.
     19   follow your counsel's instruction?                           19      A. I was -- I was in a meeting with all three of
     20       A. I am.                                                 20   those -- all three of those officers on the 6th, but I
     21       Q. Did you personally come up with the concern           21   wouldn't have been in the part of the meeting where they
     22   about -- strike that. I'll come back to that.                22   did the special compensation committee part.
     23           Are you familiar with the NRA's bylaws?              23      Q. (BY MR. MASON) Was the meeting that you were
     24       A. More or less. I wouldn't say I'm an expert on         24   with the SLC on January 6, was that in person? Was
     25   the NRA bylaws, but I mean, when a question comes up, I      25   everybody there in person?
                                                            Page 347                                                                Page 349

                                                                                                                 27 (Pages 346 - 349)
                                                     Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                  Page 69 of
                                        149
      1      A. They were. I think they were. I can't                 1   me -- we had talked about this. He asked me if I was
      2   remember whether Carolyn -- Carolyn Meadows, I think,       2   okay --
      3   was on the phone.                                           3       Q. I don't -- I don't want to get into
      4      Q. And were you -- where were the rest of you?           4   conversations with -- with your counsel.
      5   Were you at the Brewer firm offices on January 6?           5          So let me ask this question. When did you
      6      A. That's correct.                                       6   first execute your employment agreement?
      7      Q. Okay. Let's try this again. Let's see if we           7       A. I'm sorry. I don't understand the question.
      8   can drop Exhibit 109. It looks like it may be up in         8       Q. Sure.
      9   the --                                                      9          Well, let me ask it this way. Prior to the
     10              (AMc Exhibit 109 marked.)                       10   board meeting on January the 7th, did you -- did you
     11              MR. GARMAN: Yeah, it's loaded.                  11   sign your employment agreement?
     12      Q. (BY MR. MASON) And if you will, please scroll        12       A. No, I believe I signed it after -- after the
     13   down to page 11 of 16, please.                             13   board meeting -- after the board meeting approved the
     14           Can you see 11 of 16, Mr. LaPierre? At the         14   employment -- the contract.
     15   top, it says National Rifle Association of America         15       Q. Did you have a chance to fully review and
     16   report of the officers compensation committee?             16   approve the employment agreement before it was presented
     17      A. I do see that.                                       17   to the board on January the 7th?
     18      Q. Okay. And then if you go down to the third           18       A. Yeah, I believe the special compensation
     19   paragraph, it says the committee was presented with and    19   committee showed me what they were going to propose on
     20   considered an employment agreement negotiated by counsel   20   the 6th, and it was what I had agreed to with my
     21   for the NRA and counsel for Mr. LaPierre. Questions and    21   attorney.
     22   discussion ensued.                                         22       Q. Are you aware that the -- the employment
     23           Do you see that?                                   23   agreement that was presented to the board on January 7th
     24      A. I do see that.                                       24   did not have a choice of law or choice of venue
     25      Q. Had you seen a copy of your -- a draft copy of       25   provision in it?
                                                          Page 350                                                        Page 352

      1   your employment agreement as of January the 6th?            1      A. I -- I wasn't aware of that. I'm not a
      2       A. I think I saw a copy of it on January 6th of         2   lawyer. I wouldn't have been looking for that.
      3   what they -- what they had proposed or were proposing.      3      Q. As you sit here today, do you know why your
      4       Q. Prior to January 6th, were you involved at all       4   employment agreement that was presented to the board on
      5   in the negotiations with respect to your employment         5   January 7th did not have a choice of law or choice of
      6   agreement?                                                  6   venue provision?
      7             MR. GARMAN: Objection to form.                    7      A. I do not. I mean, those are legal questions
      8       A. I had talked about it with my --                     8   that I just would not have focused on.
      9             MR. CORRELL: Excuse me. This is                   9      Q. Who would be the people to ask to find the
     10   Mr. Correll.                                               10   answer to that question?
     11       Q. (BY MR. MASON) And I don't want to get into         11      A. I think the special compensation committee.
     12   conversations between you and Mr. Correll.                 12      Q. Anyone else?
     13             MR. CORRELL: Thank you.                          13      A. Well, whoever the special compensation
     14       Q. (BY MR. MASON) So to the extent that you had        14   committee worked with from a legal standpoint, if they
     15   a conversation, I don't want to get into the substance.    15   worked with someone.
     16   My question is just simply -- well, let me ask it this     16      Q. Did you notice when reviewing your employment
     17   way.                                                       17   agreement that was going to be presented to the board
     18          Prior to January 6th, were you aware of any         18   that it did not have a choice of law or choice of venue
     19   negotiations relating to your employment agreement?        19   provision?
     20       A. The communications I -- in terms of this            20              MR. GARMAN: Objection to form.
     21   employment agreement took place between myself and --      21           Go ahead.
     22   and my attorney, Mr. Correll.                              22      A. I did not. I mean, that would be something
     23       Q. Was Mr. Correll present at the Brewer office        23   that I did not -- not being a lawyer, would not have
     24   on January the 6th?                                        24   focused on, did not understand, would not even realize
     25       A. No, I don't believe he was, but he had called       25   that needed to be in there, if it did.
                                                          Page 351                                                        Page 353

                                                                                                        28 (Pages 350 - 353)
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                                                        800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 70 of
                                        149
      1       Q. (BY MR. MASON) As you sit here today, do you          1   my name for fundraising if they decided they wanted to
      2   know that the employment agreement that was presented to     2   do it, at their discretion, not mine.
      3   the board on January 7th did not have a choice of law or     3       Q. Do you know all of the people -- or let me ask
      4   choice of venue provision?                                   4   it this way. Do you know the people that reviewed a
      5       A. I did not know that.                                  5   draft of your employment agreement before it was
      6       Q. You still did not know that as you sit here           6   presented to the board on January the 7th?
      7   today?                                                       7       A. I don't know. I know the -- I know the -- I
      8       A. No, I -- I did not know that until after the          8   know the officers did. I don't know whether any other
      9   board -- board meeting when I remember -- when I sat         9   board members did or not.
     10   down and signed the agreement after the board meeting,      10       Q. Why did your employment agreement that was
     11   after it had been approved, I noticed that it said          11   presented to the board on January 7th not include
     12   something about the state of Texas and -- on it. That's     12   specific language delegating you the power to file
     13   the first I noticed it.                                     13   Chapter 11 bankruptcy on behalf of the NRA?
     14       Q. Are you aware of any negotiations that took          14              MR. GARMAN: Objection to the form of the
     15   place with respect to the choice of law or choice of        15   question.
     16   venue provision in the employment agreement that you        16       A. Why did my employment agreement not include
     17   ultimately executed?                                        17   that language?
     18       A. I am not. The first I saw it was when I was          18       Q. (BY MR. MASON) Yes.
     19   there with -- I believe sitting there with Charles          19              MR. GARMAN: Objection to the form of the
     20   Cotton and I signed the agreement.                          20   question.
     21       Q. Do you know if any other -- any other states         21       A. Because it was my -- the part I had was my
     22   or forums besides Texas were considered for the choice      22   contract with the -- with the -- involving my employment
     23   of law and venue provision in your employment agreement?    23   with the NRA.
     24              MR. GARMAN: Objection to form.                   24       Q. (BY MR. MASON) But if I understand your
     25           Go ahead.                                           25   testimony --
                                                           Page 354                                                         Page 356

      1       A. I don't, because I did not even understand            1       A. I saw -- I saw it on the 6th, a second part of
      2   that that was necessary to be put in there or that there     2   that contract that talked about the delegation to the
      3   was a discussion going on around it or that it was going     3   EVP about reorganizing the association.
      4   to happen. I just -- not being a lawyer, it's just not       4       Q. When you reviewed that contract on January
      5   something that I would have looked for or understood.        5   6th, did you understand that that reorganization
      6       Q. (BY MR. MASON) Fair enough.                           6   language in the employment agreement would have provided
      7           So is it fair to say that you just left that         7   you with the authority to file Chapter 11 bankruptcy on
      8   up to the attorneys?                                         8   behalf of the NRA?
      9       A. I -- the fair thing to say is that I noticed          9              MR. GARMAN: Objection to the form of the
     10   that it was there when I signed the contract and had not    10   question.
     11   noticed anything about it until I happened to see it        11           Go ahead and answer.
     12   when I was signing the contract.                            12       A. I think I understood that it would give the
     13       Q. How did you notice it after when you were            13   EVP wide latitude in terms of strategic alternatives
     14   signing the contract if you didn't notice it when you       14   to -- in terms -- in terms of how it proceeded forward
     15   originally reviewed the employment agreement before the     15   with the NRA and that one of them would have been --
     16   January 7th board meeting?                                  16   would have been pursuing the Chapter 11.
     17              MR. GARMAN: Objection to form.                   17       Q. (BY MR. MASON) So why was -- why was that not
     18           Go ahead.                                           18   put into the employment agreement? Why -- why was --
     19       A. Because I don't -- I don't think it was there        19   why was there not bankruptcy language added into the
     20   in the original draft that I -- that I saw.                 20   employment agreement?
     21       Q. (BY MR. MASON) And so --                             21              MR. GARMAN: Objection to the form of the
     22       A. It was the part that I talked about with my          22   question and the characterization.
     23   attorney in terms of the conditions of employment and       23       A. I don't know. I don't know. All I know is I
     24   the -- you know, and the fact that NRA, not me, had         24   read the -- I read the piece of paper all the way
     25   certain -- at their discretion, certain rights to -- to     25   through, and I don't know the why.
                                                           Page 355                                                         Page 357

                                                                                                          29 (Pages 354 - 357)
                                                    Veritext Legal Solutions
                                                         800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 71 of
                                        149
      1       Q. (BY MR. MASON) Is that something that you             1      Q. On section a here, it says repeal or amend the
      2   relied on your lawyers for?                                  2   bylaws or adopt new bylaws. Do you see that?
      3             MR. CORRELL: This is Mr. Correll.                  3      A. Repeal or amend -- yeah, I do see that.
      4   Objection to the form.                                       4      Q. So is it your understanding that the board of
      5       A. The part that I was focused on was my part of         5   directors has the power to -- strike that.
      6   the contract. I know that the -- the -- you know, the        6          Is it your understanding that the board of
      7   SLC or somebody added the second part to it.                 7   directors has the sole power to repeal or amend the
      8             MR. MASON: Let's do this. Why don't we             8   bylaws or adopt new bylaws?
      9   go ahead and take a lunch break, if that's works for         9              MR. GARMAN: Objection to the form of the
     10   everybody.                                                  10   question.
     11             MR. GARMAN: Sure.                                 11      A. Yeah, I mean, I am not a lawyer, but that's
     12             THE VIDEOGRAPHER: We're going off the             12   the way -- that's they way that reads.
     13   record. The time on the video is 12:45 p.m.                 13      Q. (BY MR. MASON) Okay. If you'll go down to
     14             (Break from 12:45 p.m. to 1:36 p m.)              14   the next page, please, section f. Do you see where it
     15             THE VIDEOGRAPHER: We're back on the               15   says the board has the power to adopt and disseminate a
     16   record. The time on the video is 1:36 p m.                  16   fundamental change of view or basic policy or basic
     17       Q. (BY MR. MASON) Mr. LaPierre, are you ready to        17   organizational structure of the association? Do you see
     18   proceed?                                                    18   that?
     19       A. I am.                                                19      A. I do.
     20       Q. Hopefully you've got Exhibit -- Ackerman             20      Q. Is it your understanding that the board has
     21   Exhibit 11 in front of you. Do you recognize those to       21   the sole authority to adopt and disseminate a
     22   be the most recent NRA bylaws?                              22   fundamental change of view or basic policy or basic
     23       A. I do.                                                23   organizational structure of the association?
     24       Q. Okay. Could you go to page 23 for me, please?        24              MR. GARMAN: Object to the form of the
     25          Let me know when you're there, please?               25   question.
                                                           Page 358                                                          Page 360

      1             MR. GARMAN: Hey, Counsel, the way we're            1          You can answer.
      2   set up in here, I have to do the scrolling. It's Greg.       2      A. From what I -- from what I understand, that
      3   So we're almost there. Okay.                                 3   the board also had the power to delegate to the EVP's
      4       Q. (BY MR. MASON) Do you see article VI,                 4   office the authority to restructure the organization.
      5   Mr. LaPierre, executive committee?                           5          I've heard -- well, I shouldn't get into
      6             MR. GARMAN: Oh, you mean 23 -- do you              6   privileged conversation with lawyers on this, but --
      7   mean 23 of the bylaws or the page of the exhibit?            7              MR. GARMAN: Right. Stop there.
      8             MR. MASON: Page 23 of the bylaws. I                8              THE WITNESS: Yeah.
      9   guess it looks like page 27 of 60 on the PDF.                9      Q. (BY MR. MASON) So is it -- is it your
     10             MR. GARMAN: We're on page 23. Go ahead.           10   understanding that your January 2021 employment
     11       Q. (BY MR. MASON) Do you see the section titled         11   agreement modified or changed the section f that we just
     12   article VI, Mr. LaPierre?                                   12   read here?
     13       A. I do.                                                13              MR. GARMAN: Object to the form of the
     14       Q. And that's related to the executive committee.       14   question.
     15   Right?                                                      15      A. My understanding is that in my -- that 2020
     16       A. That's correct.                                      16   employment agreement, it delegated the board -- the full
     17       Q. And then do you see at the bottom, section 2,        17   board delegated to the EVP's office the authority to
     18   powers and duties?                                          18   reorganize the -- the association.
     19       A. I do.                                                19      Q. (BY MR. MASON) Okay. So it's your
     20       Q. And it says the executive committee shall            20   understanding then that, according to f here, that the
     21   exercise all of the powers of the board of directors        21   executive vice president now has the power to adopt and
     22   when said board is not in session, other than the powers    22   disseminate a fundamental change of view or basic policy
     23   to -- and then there's a list of various things. Do you     23   or basic organizational structure of the association?
     24   see that?                                                   24              MR. GARMAN: Objection to the form of the
     25       A. I do.                                                25   question.
                                                           Page 359                                                          Page 361

                                                                                                          30 (Pages 358 - 361)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                             Entered 04/03/21 02:48:03                  Page 72 of
                                        149
      1       A. I understand that the full board has the                1               MR. GARMAN: Objection to the form of the
      2   power -- has the power to delegate to the executive vice       2   question.
      3   president the authority to reorganize the association          3        A. They -- they delegated through the EVP's
      4   and the full board operates under the bylaws of the            4   office the authority to reorganize the -- the
      5   association.                                                   5   association.
      6       Q. (BY MR. MASON) My question is a little bit              6               MR. MASON: Objection, nonresponsive.
      7   more simple than that.                                         7        Q. (BY MR. MASON) Do you know what the word
      8          Did the full board authorize the executive              8   "merger" means?
      9   vice president to adopt and disseminate a fundamental          9               MR. GARMAN: Objection to the form of the
     10   change of view or basic policy or basic organizational        10   question to the extent that it calls for a legal
     11   structure of the association?                                 11   conclusion.
     12             MR. GARMAN: Objection to the form of the            12               MR. CORRELL: Also, I object to your
     13   question.                                                     13   objection. I don't think you can object to your own
     14       A. The board delegated to the executive vice              14   question. If you're moving to strike, I think that
     15   president in a -- in a resolution that they passed at         15   would be the proper response.
     16   the board meeting in Dallas the authority to reorganize       16        Q. (BY MR. MASON) Do you know what "merger"
     17   the association.                                              17   means, Mr. LaPierre?
     18       Q. (BY MR. MASON) So is the answer to my                  18               MR. GARMAN: Same objection.
     19   question yes?                                                 19        A. Tell me what it means.
     20             MR. GARMAN: No, objection to the form of            20        Q. (BY MR. MASON) I'm asking you if you know
     21   the question.                                                 21   what it means.
     22       A. No, my answer is that the board delegated the          22        A. I -- I don't know exactly what it means as
     23   authority to the executive vice president at the full         23   it's -- as it's stated there. I mean, what I do know is
     24   board meeting in Dallas to do a reorganization.               24   that board at that board meeting passed a resolution
     25       Q. (BY MR. MASON) Do you see the word                     25   giving the EVP the authority to reorganize the
                                                             Page 362                                                        Page 364

      1   "reorganization" anywhere in subsection f?                     1   association, and it was with that authority that I and
      2              MR. GARMAN: Objection to the form of the            2   the SLC did what we did. And there was an opportunity
      3   question.                                                      3   for full debate at that board meeting. I wasn't in the
      4       A. No, I don't see the word, but that's what was           4   session, but that's what happened.
      5   in the resolution that was passed by our full board of         5      Q. Did the NRA board designate the executive vice
      6   directors at the board meeting.                                6   president with the power to petition for judicial
      7       Q. (BY MR. MASON) Let's go down to subsection i.           7   dissolution or adopt a plan of merger, consolidation or
      8   Do you see where it says present a petition for judicial       8   nonjudicial dissolution in your January 2021 employment
      9   dissolution or to adopt plans of merger, consolidation,        9   agreement?
     10   or nonjudicial dissolution? Do you see that?                  10             MR. GARMAN: Objection to the form of the
     11       A. I do.                                                  11   question.
     12       Q. Would you agree with me that the board has the         12      A. They -- they passed a resolution authorizing
     13   sole authority to present a petition for judicial             13   the EVP to reorganize the association and -- and beyond
     14   dissolution or adopt plans of merger, consolidation or        14   that, I would be getting into discussions, all kinds of
     15   nonjudicial dissolution?                                      15   discussions with lawyers as to what that authority
     16              MR. GARMAN: Objection to the form of the           16   involved.
     17   question.                                                     17      Q. (BY MR. MASON) Let's go town to subsection k.
     18       A. I would agree that that language -- that's             18   Do you see where it says formulate such other corporate
     19   what that language says. On the other hand, the board         19   policy decisions or perform corporate activities of the
     20   of directors at the Dallas meeting delegated the              20   association of such major significance as to warrant
     21   authority to the executive vice president's office to do      21   action by the full board of directors? Do you see that?
     22   a re -- to reorganize the association, and that is who I      22      A. I do.
     23   work for, is the board of directors.                          23      Q. Do you believe that the filing of Chapter 11
     24       Q. (BY MR. MASON) Did the board of directors              24   bankruptcy is an activity of the association of such
     25   designate you the power to adopt a plan of merger?            25   major significance?
                                                             Page 363                                                        Page 365

                                                                                                           31 (Pages 362 - 365)
                                                     Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                 Page 73 of
                                        149
      1             MR. GARMAN: Objection to the form of the           1   filed individual charges against John Frazer and also
      2   question.                                                    2   against me personally, the Brewer firm recused
      3       A. I'll give you -- I mean, I'll give you the            3   themselves from representing me. And I -- I found a
      4   same answer. I mean, I understood that with that             4   lawyer to represent me, Kent Correll. And John Frazer
      5   resolution passed by the full board of directors, they       5   found out that the Brewer firm made it very clear they
      6   were delegating to the EVP's office, the executive vice      6   could no longer represent us individually.
      7   president's office, the authority to reorganize the          7       Q. Are you aware you're an individual defendant
      8   association, and it was under that authority delegated       8   in the litigation between the NRA and Ackerman McQueen?
      9   by the full board of directors to the EVP's office that      9              MR. GARMAN: Objection to form.
     10   I, in consultation with the SLC, took the action that we    10       A. I am aware of a lawsuit Ackerman McQueen filed
     11   took.                                                       11   against -- against me.
     12       Q. (BY MR. MASON) Was the filing of Chapter 11          12       Q. (BY MR. MASON) And prior to the -- prior to
     13   bankruptcy a major action for the NRA?                      13   the filing of the New York Attorney General lawsuit, do
     14             MR. GARMAN: Objection to the form of the          14   you know who represented you in your individual
     15   question.                                                   15   capacity?
     16       A. I think I've already said it was -- it was a         16       A. Prior to the filing of the attorney general's
     17   major -- major item. Significant.                           17   lawsuit against the NRA and against John Frazer and
     18       Q. (BY MR. MASON) Yeah. Okay.                           18   myself?
     19          Do you intend to ask the board of directors to       19       Q. Correct.
     20   ratify the filing of the bankruptcy on March the 28hth?     20       A. The Brewer firm was representing the NRA.
     21             MR. GARMAN: Objection to the form of the          21       Q. Were they representing you as well
     22   question.                                                   22   individually?
     23          And I instruct you not to answer to the extent       23       A. Not individually. They were representing
     24   that your answer would constitute our legal strategy and    24   me -- they were representing NRA, who I work for.
     25   the discussions with counsel.                               25       Q. But you aren't aware -- you're not aware if
                                                           Page 366                                                       Page 368

      1       A. I will take the advice of counsel on that.            1   the Brewer firm was ever representing you in your
      2              MR. CORRELL: This is Mr. Correll. I add           2   individual capacity in the district court litigation
      3   that instruction. I join in that instruction.                3   against Ackerman McQueen?
      4       Q. (BY MR. MASON) Mr. LaPierre, the employment           4              MR. GARMAN: Objection to the form of the
      5   agreement that you've been referencing that provides you     5   question.
      6   the authorization to reorganize the Chapter 11 -- I'm        6              MR. CORRELL: Timeframe? Is there a
      7   sorry, let me back up.                                       7   timeframe on that question?
      8          The employment agreement that you have been           8      Q. (BY MR. MASON) Let me ask it this way.
      9   referencing here today that discusses the power of you       9          In early 2020, Mr. LaPierre, who was
     10   reorganizing the National Rifle Association, is -- is       10   representing you in your individual capacity in the
     11   that employment agreement the one that was reviewed and     11   district court litigation against Ackerman McQueen?
     12   approved by the board of directors on January the 7th?      12              MR. CORRELL: Objection to the form.
     13       A. That would be correct.                               13   This is Mr. Correll.
     14       Q. The one that was approved by the board of            14      A. I think that district court -- that
     15   directors, though, it didn't have the choice of law or      15   legislation (sic) was against the National Rifle
     16   choice of venue provision in it, did it?                    16   Association at that time, as far as I know.
     17       A. Again, I wasn't -- I wasn't in that board            17      Q. (BY MR. MASON) Are you aware that you've been
     18   meeting. I was -- I was not -- because it involved me,      18   an individual defendant in the district court litigation
     19   I wasn't there. I testified earlier that I did not see      19   with Ackerman McQueen since the fall of 2019?
     20   that choice of venue provision until I actually sat down    20              MR. CORRELL: This is Mr. Correll.
     21   to sign the contract after that board meeting was over.     21   Objection to form.
     22       Q. At one point the Brewer firm represented both        22      A. I -- I believed until that -- that recent
     23   the NRA and yourself individually. Isn't that true?         23   lawsuit that -- that Ackerman McQueen legislation (sic)
     24       A. No. The Brewer firm represented the National         24   was against the National Rifle Association.
     25   Rifle Association, and the minute General James' office     25      Q. (BY MR. MASON) Okay. So prior to the New
                                                           Page 367                                                       Page 369

                                                                                                         32 (Pages 366 - 369)
                                                    Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                   Entered 04/03/21 02:48:03                  Page 74 of
                                        149
      1 York Attorney General's lawsuit that was filed in August               1       A. I did.
      2 of last year, you were not aware that you were an                      2              MR. GARMAN: Objection to the form of the
      3 individual defendant in the litigation between Ackerman                3   question.
      4 McQueen and the NRA in Dallas, Texas federal court?                    4          Go ahead.
      5              MR. CORRELL: This is Mr. Correll.                         5       A. Yes, I did.
      6 Objection to form.                                                     6       Q. (BY MR. MASON) During that meeting, was there
      7     A. As far as I knew, that legislation (sic) was                    7   a discussion -- let me back up.
      8 against the National Rifle Association.                                8          During that meeting, did members of --
      9     Q. (BY MR. MASON) Okay. So the answer to my                        9   representatives of Ackerman McQueen express concerns
     10 question is, no, you did not know that?                               10   with respect to the Brewer law firm?
     11              MR. CORRELL: Objection to form.                          11              MR. GARMAN: Objection to form.
     12 Mr. Correll.                                                          12          Go ahead.
     13     A. I don't think -- I don't think I did.                          13       A. You know, the purpose of that meeting was to
     14     Q. (BY MR. MASON) When you -- when the New York                   14   try to find cost reductions for the budget going forward
     15 AG action was filed and you decided to find a different               15   from 2018 into 2019, and it was -- I remember the
     16 attorney, how did -- well, let me ask you this.                       16   Ackerman McQueen people were incredibly hostile. I
     17 Mr. Correll was the one that ultimately agreed to                     17   remember Angus McQueen pointing his finger at me and
     18 represent you. Correct?                                               18   saying, You're dead to me. Don't you understand it?
     19     A. That's correct.                                                19   You're dead to me.
     20     Q. And how were you introduced to Mr. Correll?                    20          And all I was trying to do was, given the
     21     A. He was a reference from -- from the Brewer                     21   budget situation of the NRA and given the fact that I
     22 firm.                                                                 22   felt that NRATV -- we had gotten to the point where we
     23     Q. Who is Wit Davis?                                              23   were putting a huge amount into NRATV and we couldn't
     24     A. Wit Davis is general counsel to the board of                   24   see the return --
     25 directors.                                                            25       Q. (BY MR. MASON) Mr. LaPierre, I asked you a
                                                                   Page 370                                                        Page 372

      1       Q. How was he -- or do you know who recommended                  1   very simple question.
      2   Mr. Davis for the counsel position to represent the                  2              MR. CORRELL: Excuse me. Please --
      3   board?                                                               3              MR. MASON: No. I asked him a very
      4             MR. GARMAN: Objection to form.                             4   simple question.
      5          Go ahead.                                                     5              MR. CORRELL: Excuse me. Excuse me. I'm
      6       A. I'm not sure. It -- I'm not sure. It may                      6   representing this witness, sir. Please hear my
      7   have been the Brewer firm. It may not have. I know                   7   objection. My objection is that you are not allowing
      8   that he was interviewed by -- I don't think I                        8   the witness to answer the question. You are
      9   interviewed him. He was interviewed by several members               9   interrupting him because apparently you don't like the
     10   of the board of directors, and they agreed to hire --               10   answer.
     11   and they hired him.                                                 11              MR. MASON: No.
     12       Q. (BY MR. MASON) Are you aware that Mr. Davis                  12              MR. CORRELL: It is not for you, sir, to
     13   is a former client of Mr. Brewer's?                                 13   decide -- you are not the judge here. Excuse me, sir.
     14       A. I had heard that.                                            14   It's not for you to decide whether the judge hears this
     15       Q. Are you aware that Mr. Correll is a former                   15   testimony or not. Okay. Please let him continue.
     16   partner of Mr. Brewer's?                                            16              MR. MASON: Okay. So just so I'm clear,
     17       A. I did know that, and I knew they had been on                 17   your position is whatever question I ask, the witness
     18   the same side and on opposite sides of some cases over              18   can just talk for seven hours and I have no right to
     19   the years, is what -- in discussions with my lawyer.                19   stop that?
     20       Q. Mr. Marschall Smith, the former proposed CRO,                20              MR. CORRELL: I will suggest that you ask
     21   was he recommended by Mr. Brewer as well?                           21   your questions in a manner that promotes a succinct
     22       A. I believe he was.                                            22   exchange, and if you ask a why question or an open-ended
     23       Q. Did you attend a meeting in October of 2018                  23   question, you are inviting the witness to explain and to
     24   with Craig Spray and various representatives from                   24   give you a full explanation and not just the answer you
     25   Ackerman McQueen?                                                   25   want.
                                                                   Page 371                                                        Page 373

                                                                                                                  33 (Pages 370 - 373)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                  Entered 04/03/21 02:48:03                  Page 75 of
                                        149
      1              MR. MASON: And that's exactly what I                     1          And he just went into a complete rant.
      2   did. Let's move on.                                                 2       Q. So you never heard Mr. Brewer, Josh Powell or
      3       Q. (BY MR. MASON) Mr. LaPierre, during that                     3   Steve Hart say anything about the FBI raiding Ackerman
      4   October 2018 meeting, did representatives of Ackerman               4   McQueen's offices?
      5   McQueen express concerns to you about the Brewer firm?              5       A. I did not.
      6       A. You know, Ackerman McQueen had been -- ever                  6       Q. Around that same time, did you ever hear from
      7   since we started down this course reduction -- course               7   Mr. Brewer or anyone else that Mr. Brewer was going to
      8   correction and to look at every employee and every                  8   have Ackerman McQueen brought up on RICO charges?
      9   vendor and see all their records, Ackerman McQueen had              9       A. I don't think I did. All we were trying to do
     10   been incredibly hostile towards -- towards Mr. Brewer.             10   was do a review of records so that if something was
     11   And it had been incredibly hostile toward Mr. Brewer,              11   being done -- and we didn't think anyone was doing
     12   despite the fact that he was simply defending NRA on               12   anything wrong -- that was out of compliance with New
     13   litigation involving the Department of Financial                   13   York state not-for-profit law, we wanted to do exactly
     14   Services in New York state and other issues that might             14   what Attorney General Schneiderman told us to do, which
     15   arise from the AG and attempting to do the right thing             15   was to self-correct, and that's why we were trying to do
     16   in terms of looking at everyone's records. And we                  16   the review. No other reason at all.
     17   didn't think anyone was doing anything wrong, just to              17       Q. So when did -- when did you come to the
     18   make sure that we were in compliance with New York state           18   conclusion that Ackerman wasn't complying with the NRA's
     19   not-for-profit law.                                                19   request?
     20       Q. Did --                                                      20             MR. GARMAN: Objection to form.
     21       A. And there was an incredible amount of                       21       A. Well, this went on throughout 2018. I
     22   hostility from the very start, early -- well, let me say           22   remember during the summer of 2019 numerous
     23   early on, maybe not from the very start, toward                    23   conversations with Angus on the phone where he was using
     24   Mr. Brewer.                                                        24   all kinds of cuss words at me, you know, about you're
     25       Q. Mr. LaPierre, in the summer around that 2018                25   not going to see our records and what's wrong with you
                                                                  Page 374                                                        Page 376

      1 time period, were you aware of -- did you ever hear                   1   and, you know, culminating at that meeting in October
      2 anyone say that the FBI was going to raid Ackerman's                  2   where he's pointing at me and saying you're dead to me
      3 offices?                                                              3   right now and don't you understand?
      4             MR. GARMAN: Objection to the form of the                  4          And then it became very apparent to us in 2019
      5 question.                                                             5   that they had no intention of letting us see their
      6        Go ahead.                                                      6   records. And in order -- we did what we had to do,
      7     A. No, I didn't hear anyone say that.                             7   which we sued for our right under the contract to -- to
      8     Q. (BY MR. MASON) So you're not aware of                          8   see the records.
      9 Mr. Brewer stating that the FBI was going to raid                     9       Q. (BY MR. MASON) Were you aware that the NRA
     10 Ackerman McQueen's offices?                                          10   had conducted any audits of Ackerman around that time?
     11     A. I'm not --                                                    11             MR. GARMAN: Objection to the form.
     12             MR. CORRELL: This is Mr. Correll. I                      12          Go ahead.
     13 object to the form of the question.                                  13       A. I thought that the NRA was doing constant --
     14     A. I am not aware of that. What I am aware of is                 14   the NRA's treasurer's office was doing constant audits
     15 from the very first time I asked that we wanted to do a              15   of Ackerman every year.
     16 review of the Ackerman McQueen records, I remember Angus             16       Q. (BY MR. MASON) But were you aware that in the
     17 McQueen going off on a rant on the AG in New York has no             17   fall of 2018 and the beginning part of 2019, were you
     18 right to see our records, the AG -- we're a Texas                    18   aware that there was three different audits that the NRA
     19 company, an Oklahoma company, the AG will never see our              19   did of Ackerman McQueen's books and records?
     20 records. And -- and I remember they have no right to.                20             MR. GARMAN: Objection to form.
     21        And I remember that he went off and then said                 21          Go ahead.
     22 and you're a complete fool to have sued the governor of              22       A. I'm aware that there was -- there was
     23 New York and the Department of Financial Services,                   23   something that was done, a little bit done by, I don't
     24 they're probably popping the champagne corks up there                24   know, some company that -- I know NRA was trying
     25 because that's exactly what they want you to do.                     25   numerous ways to look at the records. And to the best
                                                                  Page 375                                                        Page 377

                                                                                                                34 (Pages 374 - 377)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                  Entered 04/03/21 02:48:03                 Page 76 of
                                        149
      1   of my memory, those attempts never got far enough to --             1      Q. Were you aware that the NRA had retained
      2   to serve the purpose that NRA needed to to fulfill its              2   Forensic Risk Alliance in early 2019 to conduct an
      3   obligations, to look at all the records to see if                   3   audit -- a third audit of Ackerman McQueen's books and
      4   something was out of compliance and, therefore, correct             4   records?
      5   it, that those -- I'm aware that a number of different              5              MR. GARMAN: Objection to form.
      6   attempts were made, but they never were allowed to get              6          Go ahead.
      7   to the point where they would fulfill the mission that              7      A. I believe I was aware of that.
      8   the NRA was trying to achieve.                                      8      Q. (BY MR. MASON) Do you know how long that
      9        Q. (BY MR. MASON) Were you aware that between                  9   audit lasted?
     10   August -- or September of 2018 and February 2019, there            10      A. I don't. All I know is from what I
     11   was three separate audits that the NRA did where they              11   understood, that was one of them that never was allowed
     12   physically went to the Ackerman McQueen's business and             12   to get to the point where -- to see all the records
     13   inspected their books and records? Are you aware of                13   where they could do the diligence to say they had seen
     14   that, as you sit right here today?                                 14   everything and whether something needed to be corrected
     15        A. When you say the "NRA," what do you mean by                15   or not.
     16   the NRA?                                                           16      Q. And so what --
     17        Q. The NRA or the NRA's representatives.                      17      A. I think the last thing NRA wanted to do was
     18           Well, let me ask it this way. Were you aware               18   sue Ackerman McQueen. We didn't believe they were doing
     19   that the Brewer firm went to Ackerman McQueen's offices            19   anything wrong. They had been a long-time partner of
     20   and conducted an audit?                                            20   the association. They had done great work for the
     21              MR. GARMAN: Objection to form.                          21   association. And I just kept saying, look, we don't
     22           Go ahead.                                                  22   think you've done anything wrong, we just need to see
     23        A. I -- from what I understand, that whatever any             23   the records.
     24   of those attempts, they never were allowed to see the              24      Q. And as you sit here right now, you don't
     25   amount of information they needed to see to fulfill the            25   actually have personal knowledge of whether Ackerman
                                                                  Page 378                                                       Page 380

      1 duty to look at the records to make an assessment as to               1   complied with the records request in all those three
      2 whether there was something that needed to be                         2   audits, do you?
      3 self-corrected. And there was tremendous frustration on               3               MR. GARMAN: Objection to the form of the
      4 the part of the NRA and its attorneys that those                      4   question.
      5 attempts were never allowed to get far enough to do the               5       A. I wasn't personally on the scene, but I --
      6 diligence that the NRA needed to do to see if there was               6   what I would be responding to would be conversations
      7 something that was out of compliance that needed to be                7   with attorneys as to what they told me.
      8 corrected.                                                            8       Q. (BY MR. MASON) And you're aware of
      9     Q. (BY MR. MASON) How do you know that Ackerman                   9   Mr. Brewer's relationship with the McQueen family.
     10 McQueen did not comply with the audits and the documents             10   Right?
     11 that were being requested? How do you know that?                     11       A. I am.
     12     A. That gets into conversations with attorneys.                  12       Q. And you're aware that there are -- you're
     13 It's conversations with attorneys.                                   13   aware that there has been prior hostilities between
     14           MR. CORRELL: This is Mr. Correll. I                        14   Mr. Brewer and certain members of the McQueen family.
     15 instruct the witness not to answer the question as it                15   Right?
     16 would require him to divulge attorney/client                         16               MR. GARMAN: Objection to form.
     17 communication with attorneys.                                        17       A. I don't know the extent of the hostilities.
     18     Q. (BY MR. MASON) And without going into any of                  18   I -- all I know is that Mr. Brewer married the daughter
     19 the communications, were those communications with the               19   of Angus McQueen, and I -- apparently there was some
     20 Brewer law firm?                                                     20   unhappiness about that.
     21     A. They were.                                                    21       Q. (BY MR. MASON) Did you ever tell anyone from
     22     Q. The -- the final audit -- do you know -- have                 22   Ackerman McQueen that Mr. Brewer was the only one that
     23 you heard of Forensic Risk Alliance before? Does that                23   could keep you out of jail?
     24 ring a bell for one of the audits?                                   24       A. No, I did not.
     25     A. I've heard that name.                                         25       Q. Did you ever tell anyone from Ackerman McQueen
                                                                  Page 379                                                       Page 381

                                                                                                                35 (Pages 378 - 381)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 77 of
                                        149
      1   anything about going to jail?
      2       A. No, I did not.
      3       Q. Did you ever tell Mr. Powell that Mr. Brewer
      4   was the only one that could keep you from going to jail?
      5       A. No, I did not.
      6       Q. Did you ever tell Steve Hart that Mr. Brewer
      7   was the only person that could keep you from going to
      8   jail?
      9       A. No, I did not.
     10       Q. Did you ever tell Colonel North that
     11   Mr. Brewer was the only person that could keep you from
     12   going to jail?
     13       A. No, I did not. You can put all that down with
     14   the intern story about -- that I did not have an affair
     15   with either.
     16       Q. Have you read the sworn testimony from those
     17   various individuals that have stated that you did tell
     18   them that? Have you read that?
     19             MR. GARMAN: Objection to form.
     20       A. No, I haven't, but I know the truth doesn't
     21   seem to bind a lot of these people these days, the last
     22   year or two.
     23       Q. (BY MR. MASON) So why should the Court               23     Q. (BY MR. MASON) Mr. LaPierre --
     24   believe you as opposed to them?                             24           MR. CORRELL: Excuse me, sir. Could you
     25             MR. GARMAN: Objection to form.                    25 let him finish his answer?
                                                           Page 382

      1      A. Because it's the truth, as is the fact that I          1              MR. MASON: No, I want the original
      2   didn't have an affair with the intern that they keep         2   question read back.
      3   flowing out.                                                 3              MR. CORRELL: This is Kent Correll. I
      4      Q. (BY MR. MASON) Let's take a look at                    4   object. Allow the witness to finish his answer.
      5   Exhibit 59, if we could drop that into the shared            5              MR. MASON: I am not going to let him
      6   folder, please.                                              6   just filibuster. Can I have the original question read
      7             (AMc Exhibit 59 marked.)                           7   back, please?
      8      Q. (BY MR. MASON) If you can let me know when             8              MR. CORRELL: Why don't we go off the
      9   you have this up, Mr. LaPierre.                              9   camera for a moment and let's talk about this and maybe
     10             MR. GARMAN: We have the first page up.            10   we should call the judge and ask for some guidance.
     11      Q. (BY MR. MASON) Mr. LaPierre, have you seen            11              MR. MASON: That would be great.
     12   Exhibit 59 before?                                          12              MR. CORRELL: Let's do it.
     13      A. I don't think I have.                                 13              MR. MASON: Get him on the phone.
                                                                      14              THE VIDEOGRAPHER: We're going off the
                                                                      15   record. The time is 2:17 p m.
                                                                      16              (Break from 2:17 p m. to 2:20 p m.)
                                                                      17              THE VIDEOGRAPHER: We're back on the
                                                                      18   record. The time on the video is 2:20 p m.




                                                           Page 383                                                         Page 385

                                                                                                          36 (Pages 382 - 385)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                             Entered 04/03/21 02:48:03                 Page 78 of
                                        149
                                                                         1   relating to the Brewer law firm, do you believe it is
                                                                         2   appropriate for the Brewer law firm to be conducting
                                                                         3   investigation into that complaint?
                                                                         4             MR. CORRELL: Objection as to form.
                                                                         5             MR. GARMAN: Object to the form of the
                                                                         6   question. Sorry.
                                                                         7       A. I think if the -- if a whistleblower complaint
                                                                         8   was against the Brewer law firm in particular, that it
                                                                         9   would be -- you would find a neutral party to
                                                                        10   investigate that.
                                                                        11       Q. (BY MR. MASON) Let's switch gears a little
                                                                        12   bit. So I think we've talked a lot -- you've talked a
                                                                        13   lot about how during your time at the NRA, you've had
                                                                        14   various concerns with respect to security and
                                                                        15   confidentiality. Is that fair?
                                                                        16       A. Yes, that's true.
                                                                        17       Q. And were those concerns expressed to Ackerman
                                                                        18   McQueen throughout your relationship with them?
                                                                        19             MR. GARMAN: Object to the form.
                                                                        20          Go ahead and answer.
                                                                        21       A. That was -- yes, Ackerman McQueen was a
                                                                        22   trusted partner, and I think one of the reasons NRA --
                                                                        23   for example, some of NRA's donor information involving
                                                                        24   Mr. Schropp was under Ackerman McQueen for
                                                                        25   confidentiality reasons. Now that's one of the things,
                                                             Page 386                                                        Page 388

                                                                         1   when we went through the course correction involving the
                                                                         2   state of New York and their nonprofit law, that we
                                                                         3   understood we had to self-correct on, that that would be
                                                                         4   out of compliance with New York state not-for-profit
                                                                         5   law. But we trusted the Ackerman McQueen firm for
                                                                         6   sensitivity to leaks. We didn't want our ad buys
                                                                         7   leaked. We didn't want our work product leaked. And we
                                                                         8   trusted them as a partner in terms of security.
                                                                         9       Q. (BY MR. MASON) It was a really good
                                                                        10   relationship for decades that y'all had. Right?
                                                                        11       A. That's correct.
     12              MR. GARMAN: Okay. Let's let him ask his            12       Q. And you mentioned -- you mentioned
     13   next question.                                                13   Mr. Schropp. Are you -- are you specifically referring
     14              MR. MASON: Thank you, Mr. Garman.                  14   to the credit card that Mr. Schropp had with Ackerman
     15       Q. (BY MR. MASON) Mr. LaPierre, do you think              15   McQueen?
     16   that it's appropriate for the Brewer firm to investigate      16       A. I just know that some of Mr. Schropp's
     17   whistleblower complaints relating to the Brewer firm?         17   expenses involving donors was under Ackerman McQueen.
     18              MR. GARMAN: Object to the form of the              18       Q. And you knew that prior to the relationship --
     19   question.                                                     19   the fallout of the relationship. Right?
     20       A. I don't know that -- I'm not aware that --             20              MR. GARMAN: Objection to form. I might
     21   that there was a whistleblower complaint on the Brewer        21   have just missed a word.
     22   firm at the time Brewer started running them down.            22          If you understand it, go ahead.
     23       Q. (BY MR. MASON) Sure. Fair enough.                      23       A. Yeah, I think I did know that, that they were
     24           Let me ask you this, though. If there were --         24   there for sensitivity reasons to protect the donor.
     25   if there was a whistleblower complaint at the NRA             25       Q. (BY MR. MASON) Is it --
                                                                                                                             Page 389

                                                                                                           37 (Pages 386 - 389)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                  Page 79 of
                                        149
      1       A. And it was discovered that that was out of           1       A. Yeah, I do.
      2   compliance with New York state not-for-profit law and it    2       Q. And then do you see, the third line down,
      3   was one of the things you were going to have to correct.    3   pass-through expenses? Do you see that?
      4       Q. Did you know that the NRA was running                4       A. Yeah, I do see that.
      5   pass-through expenses through Ackerman McQueen prior        5       Q. Do you know what -- what those pass-through
      6   to --                                                       6   expenses were for?
      7       A. No, I didn't.                                        7             MR. GARMAN: Object to form, object to
      8             MR. GARMAN: Hold on. Hold on.                     8   foundation.
      9         Objection to form.                                    9       A. I don't know what they're for. I've never
     10         Go ahead.                                            10   even focused on that before.
     11       A. No, I did not.                                      11       Q. (BY MR. MASON) Do you recall ever asking what
     12       Q. (BY MR. MASON) You were not aware of that?          12   the pass-through expenses were?
     13       A. No.                                                 13             MR. GARMAN: Objection to the form,
     14             MR. GARMAN: Objection to form.                   14   objection to foundation.
     15       A. No.                                                 15       A. I don't. I didn't -- as I said, I did not
     16       Q. (BY MR. MASON) Let's take a look at                 16   spend much time at all building the Ackerman McQueen --
     17   Exhibit 152, if we could get that loaded.                  17   if any, building the Ackerman McQueen budget each year.
     18             (AMc Exhibit 152 marked.)                        18   I mean, I was focused more on what I just talked about
     19       Q. (BY MR. MASON) Mr. LaPierre, while that's           19   earlier. I would see the final -- the final figures,
     20   getting pulled up, did you attend budget meetings with     20   but I don't remember being in a whole number of budget
     21   Ackerman on an annual basis?                               21   meetings with Ackerman McQueen as their budget was put
     22       A. You know, most of the budget of Ackerman was        22   together.
     23   put together by -- by the treasurer's office in terms of   23       Q. (BY MR. MASON) So I just want to be sure that
     24   building the budget. I remember being in the 2018          24   the record is clear. It's your testimony, Mr. LaPierre,
     25   meeting with Craig Spray with Ackerman about the budget.   25   that you do not know what the pass-through expenses were
                                                         Page 390                                                          Page 392

      1   I -- most of my interaction with Ackerman McQueen wasn't    1   between Ackerman and the NRA?
      2   from a fiscal standpoint. It was from a branding, PR,       2              MR. GARMAN: Objection to the form.
      3   crisis management, speeches, me doing all the               3           Go ahead and answer.
      4   television, the strategy on media campaigns, all of that    4       A. I don't.
      5   type of activity. The fiscal relationship with Ackerman     5              MR. MASON: Let's do this. We can go off
      6   McQueen tended to be managed by the treasurer's office.     6   the record and see where we're at with time, and we'll
      7       Q. If you could take a look at Exhibit 152 and go       7   go from there.
      8   down to the second page. Let me know when you're there,     8              THE VIDEOGRAPHER: We are off the record.
      9   please.                                                     9   The time on the video is 2:32 p m.
     10              MR. GARMAN: We have page 2 open.                10              (Break from 2:32 p m. to 2:49 p m.)
     11       Q. (BY MR. MASON) Do you recall, when you were         11              THE VIDEOGRAPHER: We are back on the
     12   having some of your budgeting meetings with Ackerman,      12   record. Time on the video is 2:49 p m.
     13   looking at charts such as this one right here?             13       Q. (BY MR. MASON) Mr. LaPierre, you previously
     14              MR. GARMAN: Objection to form.                  14   testified that you didn't know anything about the
     15           Go ahead and answer it.                            15   out-of-pocket expenses or the pass-through expenses, but
     16           He's reviewing the document, Counsel.              16   how did you -- how did you think that Tyler Schropp's
     17       A. I remember looking at some and involving            17   expenses were being handled with Ackerman McQueen?
     18   particularly NRATV and what the budget would be, and       18              MR. GARMAN: Objection to form.
     19   I -- I don't remember all these specific charts. Like I    19           Go ahead and answer.
     20   remember what First Freedom cost. I remember -- I          20       A. I heard talk somewhere of the fact that to
     21   remember looking at something like this with Craig Spray   21   protect donor secrecy. And I can't even remember when I
     22   at the meeting I was in with him.                          22   heard it. It might have even been when we started the
     23       Q. (BY MR. MASON) Okay. If you -- do you see           23   course correction, safety check stuff, that his expenses
     24   the second -- the second bucket of categories, Mercury     24   were to protect donor -- donor security under Ackerman
     25   Group? Do you see that?                                    25   McQueen. I can't remember the time when I heard it, but
                                                         Page 391                                                          Page 393

                                                                                                         38 (Pages 390 - 393)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 80 of
                                        149
      1   I know I heard it and I knew it was one of the things I      1   allowed the full disclosure, we felt we had to go to
      2   heard that needed to be self-corrected under New York        2   court and sue for our right to see the records under the
      3   state's not-for-profit law in terms of the course            3   contract.
      4   correction.                                                  4       Q. If I represent to you, Mr. LaPierre, that the
      5       Q. (BY MR. MASON) So prior to January of 2019,           5   board meeting in September occurred on or about
      6   did you know that Tyler Schropp had a credit card that       6   September 8, 2018, do you have any reason to dispute
      7   was in the name of Ackerman?                                 7   that?
      8       A. I don't think I did know that.                        8       A. With the board meeting September 8th, I mean,
      9       Q. If we could take a look at Exhibit 70, please.        9   it would be the same thing.
     10   It should be, hopefully, in the folder.                     10          As a result of what I just said, Ackerman
     11             (AMc Exhibit 70 marked.)                          11   McQueen was also involved in what we, I, the NRA,
     12             MR. GARMAN: We have it.                           12   clearly considered an extortion attempt against me, that
     13       Q. (BY MR. MASON) Mr. LaPierre, do you see              13   if we didn't -- if we did not -- if I did not resign,
     14   Ackerman depo Exhibit No. 70.                               14   they were going to smear me to the point where I
     15       A. I am reading it right now.                           15   couldn't walk down the street, and I better withdraw
     16          Yes, I do remember that.                             16   that lawsuit against them or the smear campaign was
     17       Q. So you've seen -- you've seen Exhibit 70             17   going to take place, and step down and let -- and let
     18   before?                                                     18   Ollie North get reelected.
     19       A. I've seen this letter before, yes.                   19          And I felt the end result of that extortion
     20       Q. Did you draft this letter?                           20   attempt, if I went along with it, would be the ultimate
     21             MR. CORRELL: Objection to form.                   21   demise of the NRA, because the whole course correction
     22          And to the extent that it would require you to       22   would have been thrown off course, the stuff that we
     23   reveal any communications with attorneys, I would           23   needed to do to be in compliance with New York state
     24   instruct you not to answer.                                 24   not-for-profit law. I felt the Brewer firm would be
     25       A. I will take my lawyer's advice.                      25   fired, which would -- which would cripple NRA's effort
                                                           Page 394                                                          Page 396

      1       Q. (BY MR. MASON) So you're not going to answer          1   to self-correct and be in compliance with New York state
      2   the question yes or no whether you drafted this letter?      2   law and --
      3              MR. CORRELL: Again, same instruction.             3       Q. Mr. LaPierre, you've answered my question.
      4       Q. (BY MR. MASON) Are you going to follow your           4               MR. CORRELL: Excuse me, sir. Excuse me,
      5   counsel's advice?                                            5   Mr. Mason. That was a why question, and Mr. LaPierre
      6       A. I think it would be the wise thing to do.             6   had not finished his answer. Please allow him to
      7       Q. Why did you send this letter to Mr. Dycio?            7   finish.
      8       A. Because -- because Mr. Dycio has represented          8       A. Anyway, that's -- that's -- that's pretty much
      9   the NRA and did bill the NRA quite a bit of money over       9   it. I felt that there was a --
     10   the years for his services, and all of a sudden he -- he    10           The other thing is Mark Dycio had set in, as
     11   starts representing a party that by this time had become    11   it says in this letter, as the NRA lawyer. And we
     12   adverse to the NRA, and we felt it was not proper.          12   identified him as an NRA lawyer when the executive
     13       Q. If you go down in the -- to the first                13   session started at -- at one of Mr. Brewer's
     14   paragraph, about halfway down, do you see where you         14   confidential privileged briefings to the board of
     15   state, The NRA and I have common legal interests in the     15   directors. And there were only a few people allowed to
     16   litigation against Ackerman McQueen which crystallized      16   stay in the room to hear Mr. Brewer's confidential
     17   before the September board meeting and colored the          17   presentation, and one of them was Mr. Mark Dycio, that
     18   discussion that day?                                        18   was clearly identified by the secretary as allowed to
     19           Do you see that?                                    19   stay in the room.
     20       A. I do.                                                20       Q. (BY MR. MASON) And that was in September of
     21       Q. What was the litigation against Ackerman             21   2018. Right?
     22   McQueen that you were referring to here?                    22       A. I think that probably would have been right
     23       A. The fact that NRA had sued Ackerman McQueen          23   when Mr. Dycio sat in the room, yes.
     24   to -- for our right under the contract with them to see     24       Q. So the litigation against Ackerman
     25   their records and that we -- because we had not been        25   crystallized before the September 2018 board meeting,
                                                           Page 395                                                          Page 397

                                                                                                          39 (Pages 394 - 397)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                          Page 81 of
                                        149
      1   according to you. Right?                                  1     part of the NRA going back to summer of 2018 to take a
      2       A. It did -- no, the litigation against Ackerman      2     full look at the Ackerman McQueen records. And I -- I
      3   crystallized before the either April or May 2019 board    3     just knew that was ongoing, all the way through the rest
      4   meeting. It was, I think, sometime in March or early      4     of the year.
      5   April we brought the litigation.                          5         Q. (BY MR. MASON) And the basis for your
      6       Q. Then why -- why did you say that the               6     knowledge was -- was based upon communications with
      7   litigation against Ackerman crystallized before the       7     counsel. Do I understand that correctly?
      8   September board meeting and colored the discussion that   8         A. That's correct.
      9   day?                                                      9         Q. And that counsel being the Brewer firm.
     10       A. Where -- I'm sorry, you're losing me. I mean,     10     Correct?
     11   is it in this letter you're referring to?                11         A. The Brewer firm. And in -- in 2018 even --
     12       Q. We just read it. First paragraph, about           12     even other counsels too, other counsels also.
     13   halfway down. The NRA and I have common legal interests 13          Q. Before Mr. Brewer was hired in 2018, over the
     14   in the litigation against Ackerman McQueen, and then you 14     course of the nearly 40-year relationship between the
     15   state, which crystallized before the September board     15     NRA and Ackerman, do you recall any instance where
     16   meeting and colored the discussion that day.             16     Ackerman denied the NRA access information or
     17           Do you see that?                                 17     documentation that they had requested?
     18       A. (Witness reading to himself.)                     18               MR. GARMAN: Objection to form.
     19           Well, we were trying to see their records, and   19            Go ahead and answer.
     20   they were not letting us see their records. And, you     20         A. I don't know because, as I said, my
     21   know, Mr. Dycio at the September board meeting sat in on 21     relationship with Ackerman was primarily -- was actually
     22   the privileged, confidential briefing from Mr. Brewer as 22     was -- really involved the brand, the marketing, the
     23   an NRA attorney.                                         23     advertising, the speeches, being the voice on
     24       Q. Did --                                            24     television, building the brand, the advertising
     25       A. And part of that was the effort on the part of    25     campaign, the PR strategy, the television appearances
                                                          Page 398                                                                 Page 400

      1   the NRA to look at all the records of all the vendors       1 and the preparation for that, speeches. I wasn't the
      2   and if we needed to self-correct on something.              2 guy that would have been asking to see their records in
      3       Q. Was the NRA anticipating litigation against          3 relation to anything. That would have been our
      4   Ackerman as of that September 2018 board meeting?           4 treasurer's office. So I wouldn't be aware of -- or
      5              MR. GARMAN: So I am going to object to           5 wasn't made aware of any of those types of issues.
      6   the form of the question.                                   6     Q. (BY MR. MASON) Let's switch gears a little
      7          And to the extent your answer constitutes            7 bit. You have testified that Colonel North had a
      8   attorney/client communications privilege, I am going to     8 conflict of interest when he was attempting to conduct a
      9   instruct you not to answer. So, Mr. LaPierre, if the        9 review of the Brewer firm's bills because he is an
     10   only basis for your answer is the conversations with       10 employee of Ackerman. Do I understand that correctly?
     11   your attorneys, I instruct you not to answer, but          11           MR. CORRELL: This is Kent Correll.
     12   otherwise you can answer.                                  12 Objection to form.
     13       A. We -- we were going back and forth with the         13     A. I -- I -- I consistently was -- the more
     14   attorneys on -- we had to see -- we had to have a full     14 Colonel North started to interfere with our attempt to
     15   disclosure of Ackerman McQueen's records, and at some      15 do this safety check and this course correction and
     16   point if they wouldn't do that, NRA would end up having    16 getting in compliance with New York state not-for-profit
     17   to sue for it to exercise its right under the contract     17 law, it became very clear that Colonel North was -- he
     18   to see the records.                                        18 was doing an NRATV show on NRATV network for Ackerman
     19       Q. (BY MR. MASON) Were you aware that none of          19 McQueen for NRA, and that he was adamant and hostile
     20   the three audits that the NRA conducted of Ackerman had    20 toward Mr. Brewer, trying to get Mr. Brewer fired
     21   occurred as of the September 2018 board meeting?           21 constantly, to the point where I kept telling him you
     22              MR. GARMAN: Objection to the form of the        22 need to stay out of this. I mean, you have a conflict
     23   question.                                                  23 of interest. You are -- you work with Ackerman McQueen.
     24          Go ahead and answer.                                24 They are our largest vendor.
     25       A. I know that there was a constant effort on the      25        And I kept informing him over and over and
                                                          Page 399                                                                 Page 401

                                                                                                              40 (Pages 398 - 401)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 82 of
                                        149
      1   over to back off. You know, you're out of your lane. I       1   Colonel North, I don't know -- I don't know whether to
      2   mean, we're trying to do the right thing here for the        2   believe that or not, because -- I don't know that that's
      3   NRA, and you're trying to derail -- derail all this.         3   actually accurate.
      4          And I even gave him letters telling him he had        4       Q. Do you think it's important to actually read
      5   a conflict of interest in terms of all of his attacks        5   what somebody testified to under oath in order to figure
      6   on -- on Mr. Brewer. He was upset that Mr. Brewer was        6   out what actually happened?
      7   involved in terms of the whole Russia issue, trying to       7              MR. GARMAN: Objection to the form of the
      8   check out all the facts in regard to that for us so we       8   question.
      9   would -- we would be able to 100 percent understood          9       A. I do, but I also know what happened in terms
     10   if -- what the story was on all that, if there was any.     10   of my involvement with Colonel North. And I know that
     11          On that Russian trip, I remember Ollie in the        11   starting in -- in late -- in 2018, and really continuing
     12   room with --                                                12   through early 2019, Colonel North was doing everything
     13       Q. (BY MR. MASON) Mr. LaPierre --                       13   he possibly could to derail Mr. Brewer. Get him fired,
     14       A. I'm sorry. I'm sorry, I'll back off.                 14   get a phony audit in terms of Mr. Brewer's bills, which
     15       Q. Let's take a look at -- let's take a look at         15   they already -- which they told me they already had the
     16   Exhibit 74.                                                 16   guy picked who was going to do it, so I -- I knew it was
     17             (AMc Exhibit 74 marked.)                          17   a setup. And everything he could to derail -- derail
     18       Q. (BY MR. MASON) Have you read the deposition          18   Mr. Brewer, which, in my opinion, if he had succeeded,
     19   testimony of Colonel North?                                 19   would have helped destroy the National Rifle
     20       A. No, I have not.                                      20   Association. Because we were doing a heck of a job to
     21       Q. Okay. Let's take a look at Exhibit 74. Page          21   try to get in compliance with New York state
     22   156, please.                                                22   not-for-profit law, and Colonel North was basically
     23             MR. GARMAN: 156 of the condensed?                 23   laying down on the railroad track to prevent that
     24             MR. MASON: Yes.                                   24   principled path of correction -- self-correction from
     25             MR. GARMAN: Okay. We have it.                     25   succeeding and doing everything he could to derail it.
                                                           Page 402                                                         Page 404

      1       Q. (BY MR. MASON) If you'll look, Mr. LaPierre,          1       Q. (BY MR. MASON) Or he was just trying to
      2   at line 6, do you see where the question is: When you        2   comply with his fiduciary duties as the president of the
      3   were in the process of trying to get information about       3   NRA. Right?
      4   Mr. Brewer's engagement letters or Mr. Brewer's invoices     4             MR. GARMAN: Objection. That's a bit
      5   or his billing records, had you ever talked to anybody       5   argumentative.
      6   at Ackerman McQueen about that? And he says no.              6       A. I don't believe that for a minute, that that's
      7          Do you see that?                                      7   what he was trying to do. He never understood things
      8       A. I'm sorry. Where are you?                             8   like the Lockton settlement. He -- he was constantly
      9              MR. GARMAN: Counsel, do you mind if I             9   trying to get me to do things that -- like we told him
     10   point out the testimony on the page?                        10   he could look at Mr. Brewer's invoices in Mr. Frazer's
     11              MR. MASON: That's fine.                          11   office, just not the ones involving his employer, but he
     12       A. (Witness reading to himself.)                        12   tried to get me to say that that whole Russia trip along
     13              MR. GARMAN: So he asked if you see this          13   with -- along with Jim Porter and a couple of the rest
     14   testimony.                                                  14   of them was an NRA trip, when it wasn't, when I had done
     15       A. Yeah, I see that testimony. I don't know it          15   everything I could to stop it, including to get the
     16   to be true.                                                 16   president to cancel and all the NRA staff. I told them
     17       Q. (BY MR. MASON) Okay. Let's go down to line           17   they couldn't go and no NRA money could be spent. I
     18   20 on the same page. Do you see where it says: Well,        18   mean, Colonel North was off base on -- on so many issues
     19   let me ask you this. Did anybody at Ackerman McQueen        19   that -- and I'll give an example. We were paying for
     20   ever ask you to start looking into Mr. Brewer's invoices    20   him to do his television show on NRATV --
     21   or his engagements or his work for the NRA?                 21       Q. (BY MR. MASON) Mr. LaPierre, I appreciate --
     22          And what does Mr. -- what is Colonel North's         22   you have answered my question.
     23   response?                                                   23          Let's -- you've mentioned the extortion. Have
     24       A. He says no, but I don't know that that --            24   you reviewed the sworn testimony of Millie Hallow
     25   based on what I know with my personal interaction with      25   relating to the alleged extortion?
                                                           Page 403                                                         Page 405

                                                                                                          41 (Pages 402 - 405)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                  Page 83 of
                                        149
      1       A. No, I haven't. I was there --                         1       A. Colonel North talked on the phone to Carolyn
      2       Q. Have you reviewed the -- the sworn deposition         2   Meadows and Millie Hallow, and they wrote down what --
      3   testimony of Carolyn Meadows relating to the extortion?      3   what he said. There were notes of what he said that
      4       A. No, I haven't.                                        4   were relayed to about 35 members of the board of
      5       Q. And Carolyn Meadows is the president of the           5   directors right after it happened.
      6   NRA right now. Right?                                        6       Q. (BY MR. MASON) And then they testified under
      7       A. That's correct.                                       7   oath about exactly what happened, and you haven't gone
      8       Q. And she is somebody that you trust. Right?            8   back to read what they said, have you?
      9       A. I trust Carolyn, you're right. I think she's          9              MR. GARMAN: Objection to form, asked and
     10   a good person.                                              10   answered.
     11       Q. Have you ever reviewed the testimony of former       11       A. I was in the room when they were going through
     12   board member Dan Boren relating to the alleged              12   their notes with the 20 or 30 other board members.
     13   extortion?                                                  13       Q. (BY MR. MASON) You weren't on the phone,
     14       A. I have not, although I know what Dan Boren           14   though, were you?
     15   said about the fact he realized why Ackerman McQueen        15              MR. GARMAN: Objection to form, asked and
     16   couldn't let anybody see their records, because they        16   answered.
     17   were charging NRA 100 percent for employees that were       17       A. I wasn't on the phone.
     18   actually working on other accounts.                         18       Q. (BY MR. MASON) Let's take a look at Exhibit
     19       Q. Have you read Dan Boren's deposition testimony       19   65. Now you have previously testified that the -- well,
     20   where he said that that is absolutely not true, what you    20   let's do this. Do you have it up?
     21   just said is absolutely not true?                           21              MR. GARMAN: It's opening now.
     22              MR. GARMAN: Objection to the form of the         22       Q. (BY MR. MASON) Mr. LaPierre, you previously
     23   question. Objection, foundation.                            23   testified that the Dallas house was Angus McQueen's idea
     24       A. Well, I haven't read it, but that's -- that's        24   and that when you found out the NRA was going to pay for
     25   what he said at the time.                                   25   it, you killed it. Isn't that true?
                                                           Page 406                                                        Page 408

      1      Q. (BY MR. MASON) Have you read Colonel North's           1       A. That's exactly what happened.
      2   deposition testimony with respect to the extortion?          2       Q. Okay. Let's take a look at Exhibit 65.
      3      A. I have not, but I know what happened.                  3              (AMc Exhibit 65 marked.)
      4      Q. Don't you think it's important to review the           4              MR. GARMAN: Counsel, is the top of this
      5   sworn testimony of all the people that were involved         5   redacted? I just want to make sure I --
      6   with the alleged extortion before coming to a conclusion     6              MR. MASON: It is.
      7   about it?                                                    7       Q. (BY MR. MASON) If you scroll down to the
      8              MR. GARMAN: Objection to the form of the          8   first page.
      9   question.                                                    9              MR. GARMAN: We did.
     10      A. You know, I lived it. I know what happened.           10       Q. (BY MR. MASON) Have you -- have you seen this
     11   I know what they did. I mean, I don't -- I don't think      11   email before, Mr. LaPierre?
     12   I need -- that's why I didn't read Josh Powell's book.      12       A. I know that there was some email traffic
     13   I don't need to read a lot of fiction. I mean, these        13   that -- let me look at this one.
     14   people just make stuff up. I know what happened. I          14              MR. GARMAN: So he's asking a specific
     15   lived it. I went through it. I was the one that stood       15   question, though, that I want to know the answer to;
     16   up to it all and took all the heat.                         16   have you seen this email?
     17      Q. (BY MR. MASON) Just to be clear, nobody --            17       A. Okay.
     18   Dan Boren never called you and made any threats. Right?     18       Q. (BY MR. MASON) And it was your understanding
     19              MR. GARMAN: Objection to form.                   19   that Ackerman was going to buy the Dallas house. Right?
     20          If you understand the question --                    20   That's what you testified to previously?
     21      A. He did not -- he did not call me.                     21       A. Here is what the truth is --
     22      Q. (BY MR. MASON) And just to be clear, Colonel          22       Q. Mr. LaPierre --
     23   North never called you on the phone and made any            23              MR. GARMAN: Answer the question.
     24   threats. Correct?                                           24       Q. (BY MR. MASON) It's a yes or no question.
     25              MR. GARMAN: Objection to form.                   25   You previously testified that you understood that
                                                           Page 407                                                        Page 409

                                                                                                         42 (Pages 406 - 409)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 84 of
                                        149
      1   Ackerman McQueen was going to buy the Dallas house.         1   leaves me with a foundation objection.
      2   Isn't that true?                                            2           And then, second, we are out of time. I will
      3       A. My initial understanding was that Ackerman           3   let you finish this -- I will let you finish this up,
      4   McQueen had an investment company, they invest in real      4   but those are one comment and one foundation objection.
      5   estate; that Angus McQueen said, Wayne, nobody can live     5       A. Can I make a comment on this?
      6   like you guys are living, it's going to drive you crazy,    6       Q. (BY MR. MASON) No. I'm trying to get through
      7   you can't stay on the road all the time. Like the NRA       7   my time, Mr. LaPierre.
      8   told me, to get out of town, they can't protect me in my    8           If you go down to page 2, do you see the
      9   house.                                                      9   bullet points? Do you see the last bullet point that
     10           Angus said here is what I propose. Our             10   says golf cart if possible?
     11   investment company will buy a house. You guys can use      11       A. Yeah, I do see that.
     12   it as a safe house. And he said nobody loses money on      12       Q. Was it your understanding that Ackerman was
     13   real estate in North Dallas, and by the way, we'll get     13   going to be buying you a golf cart as well?
     14   our Realtor to come in here -- or you go out and take a    14               MR. CORRELL: Objection to the form.
     15   look at some houses and everything.                        15   This is Mr. Correll.
     16           And, you know, my understanding at that point      16       A. You know, this whole thing, Angus proposed it.
     17   is it was going to be an Ackerman McQueen investment       17   We were so beaten up, from the threats and everything
     18   and -- and we could use it as a safe house.                18   else, that we did go look at a bunch of houses. We did
     19       Q. Okay. So on Exhibit 65, this is an email from       19   look at this house. I understand some email traffic
     20   Melanie Montgomery to Bill Winkler, and Susan LaPierre     20   went back and forth between my wife and Melanie
     21   your wife is cc'd on it. Do you see that?                  21   Montgomery and the retailer that's a friend of Melanie
     22       A. I do.                                               22   Montgomery's. But the bottom line to the whole thing is
     23       Q. And you know Ms. Montgomery and Mr. Winkler,        23   when I found out they wanted to use NRA money to buy
     24   don't you?                                                 24   this -- this house, I killed it. No one else killed it.
     25       A. I know both of them.                                25   Not the audit committee, not the co-committees, not the
                                                          Page 410                                                          Page 412

      1      Q. Okay. And so Ms. Montgomery says, Hi Bill,            1   board. I said, no, this is not happening, and I killed
      2   Susan, copied here, and I spoke this morning. Following     2   it.
      3   are my notes from the conversation to assist you in the     3          And then my wife, I believe, informed Melanie
      4   offer documents -- in the offer document, excuse me.        4   Hill that the whole thing was dead. And that's the end
      5   Susan also plans to talk with Amy, so it's likely Amy       5   of the story. I killed it. I --
      6   will have more information.                                 6       Q. (BY MR. MASON) If you look a little bit
      7           Do you see that?                                    7   further down the page, it says we need to discuss how to
      8              MR. GARMAN: Counsel, I am going to               8   acquire a social membership to the club. Do you see
      9   object. I don't think we have foundation for this.          9   that?
     10           But go ahead and answer.                           10       A. I do see that.
     11      A. Yeah, I know that we --                              11              MR. GARMAN: Again -- again, I'm going to
     12              MR. GARMAN: Do you see this? He's               12   make a foundation objection.
     13   asking whether you see this.                               13       Q. (BY MR. MASON) Was it your understanding
     14      A. I do see it.                                         14   that -- well, let me ask you this. Did you have any
     15      Q. (BY MR. MASON) Let me ask you this,                  15   conversations with Ackerman, either you or your wife
     16   Mr. LaPierre. Have you seen Exhibit 65 before?             16   that you're aware of, relating to a social membership to
     17      A. I have.                                              17   the club?
     18      Q. Okay. So if you'll come down to at the bottom        18       A. I didn't. My wife may have. I was out on the
     19   of page 1, Ms. Montgomery says equipment/furnishings to    19   road doing NRA business here and there and there.
     20   retain as part of offer. Do you see that? And then         20          And this whole thing was a fantasy. Angus
     21   there's a list of bullet points that flows on to page 2.   21   proposed it. We were so beaten up, we did look at
     22              MR. GARMAN: So Counsel, a couple of             22   houses, but when I found out that -- that he wanted to
     23   things. I don't want to make this a speaking objection,    23   use NRA money, I said no and I killed it.
     24   but it looks to me like he's seen this simply because it   24          So I don't know why this is such a big deal.
     25   was put in front of him at a deposition, which still       25   It wasn't my idea. It was Angus' idea. It was -- the
                                                          Page 411                                                          Page 413

                                                                                                          43 (Pages 410 - 413)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                 Page 85 of
                                        149
      1   whole thing was a fantasy, and when I found out they      1                  MR. GARMAN: Do you want a break? We'll
      2   wanted to use NRA money, I killed it and nothing ever     2       do five. We'll do a short break.
      3   happened, and not a penny of NRA money ever ended up      3                  MR. DRAKE: Come back on at half past.
      4   being lost in this --                                     4                  THE VIDEOGRAPHER: We're going off the
      5             MR. GARMAN: Brian, did he answer your           5       record. The time on the video is 3:24 p m.
      6   question to this one?                                     6                  (Break from 3:24 p m. to 3:34 p m.)
      7             MR. MASON: No, but I'll ask a couple            7                  THE VIDEOGRAPHER: We're back on the
      8   more, and then we'll -- we'll wrap it up.                 8       record. The time on the video is 3:34 p m.
      9      Q. (BY MR. MASON) Mr. LaPierre, the NRA did send 9                             EXAMINATION
     10   Ackerman $70,000 with respect to the house. Right?       10       BY MR. DRAKE:
     11      A. I understand that at some point Mr. Phillips'      11           Q. Good afternoon, Mr. LaPierre. My name is
     12   office sent earnest money of $70,000 that was returned   12       Scott Drake. I'm one of the lawyers that represents the
     13   after I got back from wherever I was and said this whole 13       Official Committee of Unsecured Creditors.
     14   thing is not happening and killed the deal.              14           A. Good afternoon.
     15      Q. So you did not tell Mr. Phillips to send that      15           Q. Without getting into all the specifics, are
     16   money to Ackerman?                                       16       you familiar just generally with what the Official
     17      A. I did not. I think he probably got talked          17       Committee of Unsecured Creditors is in a Chapter 11
     18   into that by Ackerman.                                   18       case?
     19      Q. At the bottom, it says two vehicles will need      19           A. More or less I am, yes.
     20   to be purchased prior to move in as well. Do you see     20           Q. Okay. Well, obviously over the past two days
     21   that?                                                    21       you've been questioned by lawyers for the New York
     22      A. Yeah. I don't know anything about that.            22       Attorney General and Ackerman McQueen, and obviously
     23      Q. Did you -- did you expect that Ackerman was        23       you're familiar with both of those groups from other
     24   going to be buying two vehicles as well as the           24       litigation. Right?
     25   $6 million house?                                        25           A. Yes, I am.
                                                            Page 414                                                        Page 416

      1       A. I did not -- I did not expect anything. I              1       Q. Okay. And I'll just represent to you,
      2   didn't write this. The whole thing to me is a fantasy         2   generally the Official Committee of Unsecured Creditors
      3   that never happened, that I didn't propose and I killed       3   is a committee of certain creditors of the NRA appointed
      4   it. And that's the whole story.                               4   by the US Trustee who represent all the unsecured
      5          And they sure have marketed it to the media,           5   creditors of the National Rifle Association in these
      6   because the house ended up in the paper and then they         6   Chapter 11 cases. So --
      7   tried to say that I suggested it, which I didn't. And         7       A. Okay. I understand.
      8   they tried to say that they killed it, not me. And you        8       Q. So Mr. LaPierre, I may try to jump around a
      9   know, the lies just go on and on and on.                      9   little bit because I'm going to try to be as quick as
     10              MR. GARMAN: So, Brian, I think unless             10   possible. I have some follow-up based on some of the
     11   you've got more on this, we're probably done.                11   things I've heard over the past two days.
     12              MR. MASON: Yeah, I'm just making sure I           12           So I want to first focus on the filing of the
     13   don't have any -- any final couple questions.                13   bankruptcy. Both Mr. Sheehan and -- asked you about --
     14          All right. Mr. LaPierre, I am going to pass           14   Mr. Mason asked you about who all was told about the
     15   the witness at this time. I appreciate the time.             15   filing and at what point. My questions are a little bit
     16              THE WITNESS: Thank you. Appreciate it.            16   different.
     17              MR. DRAKE: Greg, do you guys want to              17           I understand from your testimony that
     18   take five minutes, or what's your preference?                18   obviously you personally were involved in the decision
     19              MR. GARMAN: Yeah, Scott. Not to put               19   for the NRA to file. Correct?
     20   words in your mouth, are we talking 30, 45 minutes? Is       20       A. That's correct.
     21   that what you're expecting?                                  21       Q. And the members of the SLC, which are
     22              MR. DRAKE: That's what I expect. I                22   Ms. Meadows, Mr. Cotton, and Mr. Lee, they were involved
     23   would be surprised if it was -- I mean, I expect it to       23   in the decision as well?
     24   be under an hour and, hopefully, closer to 30 minutes        24       A. Yes, that's correct.
     25   than an hour, but --                                         25       Q. And I believe you consulted with counsel,
                                                            Page 415                                                        Page 417

                                                                                                          44 (Pages 414 - 417)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                    Page 86 of
                                        149
      1   which includes people from the Brewer firm and also the     1   it went out?
      2   Neligan firm. Is that right?                                2        A. I did.
      3      A. That is correct.                                      3        Q. And so, Mr. LaPierre, I would just like to ask
      4      Q. Was anyone else from the NRA, besides you and         4   about a couple of -- couple of things. If you'll scroll
      5   the three members of the SLC, was anyone else at the NRA    5   down to the second page, you will see at the bottom
      6   involved in the decision to file for Chapter 11?            6   there's a subheading underlined that says building our
      7      A. Not in the decision. Andrew Arulanandam knew          7   strengths. Do you see that?
      8   about it because he had to be involved with getting --      8        A. Yes.
      9   getting press reaction prepared.                            9        Q. And here you say, I have added Marschall Smith
     10      Q. But as far as the people who actually made the       10   as our chief restructuring officer. Do you see that?
     11   decision, it was just you and the three SLC members        11        A. Yes, I do.
     12   along with advice of counsel?                              12        Q. And so were you -- or let me strike that.
     13      A. That's correct, based on the authority               13          Who all was involved in the decision to at
     14   delegated to us by the board in their resolution.          14   this time add or contemplate adding Mr. Smith as the
     15      Q. I would like to look --                              15   chief restructuring officer?
     16             MR. DRAKE: I believe I put, Greg, in the         16        A. Well, ultimately I guess I made the decision,
     17   folder, there's three exhibits, kind of halfway in the     17   but he was recommended by the -- by the Brewer firm.
     18   folder below the AMc exhibits. You should see UCC-1, 2     18        Q. Did you consult with any other potential
     19   and 3. Do you have guys those?                             19   candidates besides Mr. Smith?
     20             MR. GARMAN: Refreshing. Hold on.                 20        A. I did not.
     21          Yeah, we got them.                                  21        Q. Did you personally have an understanding as
     22             MR. DRAKE: Pull up number 1, please.             22   what a chief restructuring officer does in a bankruptcy?
     23             (UCC Exhibit 1 marked.)                          23        A. Well, my understanding is he was going to help
     24      Q. (BY MR. DRAKE) Mr. LaPierre, can you see UCC         24   in terms of looking at the organization, streamlining
     25   Exhibit 1?                                                 25   it, looking for cost efficiencies and any way we could
                                                         Page 418                                                           Page 420

      1       A. Yes, I do.                                           1   improve the -- the structure of the organization.
      2       Q. And do you recognize this as an email that           2       Q. Did you personally believe, Mr. LaPierre, that
      3   Mr. Frazer sent out on January 15 of 2021, with a           3   it would be beneficial for the NRA to have a chief
      4   subject line of announcement from Wayne LaPierre.           4   restructuring officer look at the type of things that
      5       A. Yes, I do.                                           5   you just described?
      6       Q. Did -- did you prepare the body of the email         6       A. If any of them could be improved as we go
      7   that starts with "Dear Board of Directors"?                 7   through this process, I would be all in favor of it. So
      8              MR. GARMAN: Scott, give him one second           8   I -- I thought it was a good idea to have someone else
      9   to review it.                                               9   take a look at it.
     10              MR. DRAKE: Sure.                                10       Q. And looking at the bottom line of page 2
     11       A. No. No, I did not prepare it. It was                11   there, did the -- did the things that you envisioned the
     12   prepared by Andrew Arulanandam, who was our director of    12   CRO might look at include the NRA's compliance efforts?
     13   public affairs, working with Travis, who works public      13       A. I would hope so. I mean, we would -- we want
     14   affairs with the -- with the Brewer firm.                  14   everyone to look at that. I mean, it's -- it is a way
     15       Q. (BY MR. DRAKE) And as I understand it from          15   of life around this place right now that has been
     16   Mr. Frazer, the purpose of this message was to inform      16   ingrained in every division. And yes, I would
     17   the entire board of directors about the fact that the      17   definitely want him to look at that.
     18   NRA had filed for reorganization under Chapter 11 in       18       Q. And would you have also wanted Mr. Smith to
     19   Dallas. Is that correct?                                   19   look into the NRA's corporate governance?
     20              MR. GARMAN: I am going to object to             20       A. Yeah.
     21   form.                                                      21       Q. And why -- why did you believe it was worth
     22          But go ahead and answer.                            22   having an outside person look at the NRA's corporate
     23       A. Yes, that is correct.                               23   governance in the context of a bankruptcy?
     24       Q. (BY MR. DRAKE) Did you -- I understand you          24              MR. GARMAN: Objection to form.
     25   had other people prepare it. Did you review it before      25           Go ahead and answer.
                                                         Page 419                                                           Page 421

                                                                                                          45 (Pages 418 - 421)
                                                   Veritext Legal Solutions
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                  Page 87 of
                                        149
      1       A. Well, I just think -- and I'm kind of winging          1   together, but it was put out by the two of them.
      2   it here on that, but if in any way our corporate              2   Everything on the website is done by the two of them.
      3   governance could be improved, we would -- we would want       3       Q. And you'll see in it looks like the fourth
      4   him to take a look at it.                                     4   paragraph, it looks like there's a quote from you.
      5       Q. (BY MR. DRAKE) And Mr. LaPierre, what's --             5       A. Yes, I see it.
      6   what was your understanding of why Mr. Smith ultimately       6       Q. So do you recall whether you reviewed this
      7   was not appointed as chief restructuring officer?             7   letter before it went out to the vendors?
      8       A. You know, my understanding is it was kind of           8       A. You know, I review so many letters. I
      9   strange, because he was here the day the bankruptcy was       9   probably took a look at this one. I can't remember
     10   announced and he was sitting in on meetings. And then        10   specifically whether I saw -- I saw this one.
     11   all of a sudden about 3:30, he acted sick or a crisis        11       Q. And as I understand from your testimony over
     12   had come up, and he said -- he said to me, I apologize,      12   the past couple days, you -- you personally interact
     13   I have some emergency, I have to leave. And he left and      13   with many of the NRA's vendors. Is that right?
     14   went back home. And then the following week, I find out      14       A. Well, the ones I interact most with are the
     15   that he wasn't going to -- for whatever reason had come      15   ones involved in raising money and in the branding and
     16   up, he wasn't going to be able to do the job. I assumed      16   the image and the PR crisis management and the -- the
     17   it was some medical issue or something like that.            17   advertising and the -- I mean, all the things that --
     18       Q. Would you personally, Mr. LaPierre, still             18   that raise money for the NRA and project NRA's image and
     19   support having someone serve in such a role to look at       19   keep us in the mainstream of American society, which
     20   the NRA's compliance and corporate governance through        20   allows NRA to prosper and thrive.
     21   the bankruptcy process?                                      21       Q. And --
     22              MR. GARMAN: Objection to the form of the          22       A. Those were the vendors.
     23   question.                                                    23       Q. -- do those vendors play an important role in
     24       A. I wouldn't have any problem with anyone               24   allowing the NRA to prosper and thrive?
     25   looking at NRA's structure and corporate governance          25       A. They do. They have.
                                                            Page 422                                                        Page 424

      1   through the restructuring process.                            1       Q. And is it important to you, Mr. LaPierre, that
      2       Q. (BY MR. DRAKE) And if the right person were            2   through this bankruptcy the NRA can reorganize in a way
      3   found, that would include supporting a chief                  3   that you can continue -- the NRA can continue to do
      4   restructuring officer?                                        4   business with those vendors going forward?
      5             MR. GARMAN: Objection to the form of the            5       A. Yes, with some of them.
      6   question.                                                     6       Q. And Mr. LaPierre, if you'll look at the bottom
      7       A. Yes. If they could come up with suggestions            7   of page 1, second to last paragraph, it looks like the
      8   that would improve this place, I would be all in favor        8   first bold paragraph. It says, as part of the
      9   of it.                                                        9   restructuring, the NRA will propose a plan providing
     10             MR. DRAKE: Greg, if you want to pull up            10   payment in full of all valid creditors' claims. Do you
     11   number 2.                                                    11   see that?
     12             (UCC Exhibit 2 marked.)                            12       A. That is correct. We wanted --
     13             MR. GARMAN: All right. It's up.                    13       Q. Go ahead.
     14       Q. (BY MR. DRAKE) Mr. LaPierre, if you want to           14       A. I'm sorry.
     15   take a second to look at UCC Exhibit 2, I will represent     15       Q. No, go ahead.
     16   to you this is something off the NRA Forward website         16       A. We wanted to let the vendors know that.
     17   dated January 15, 2021, that is apparently a letter to       17       Q. And was that something that was personally
     18   the NRA's vendors. Have you seen this before?                18   important to you, for the vendors to understand that
     19       A. Yes, I have. It was put out by -- I'm sorry.          19   they would be paid in full for all valid creditor
     20       Q. No, go ahead. I was going to ask -- I think           20   claims?
     21   you were anticipating my question. So who put this out?      21       A. That's correct. We thought that was the
     22       A. This was put out on our website by Andrew             22   proper thing to do, and we wanted to make it clear that
     23   Arulanandam and Billy, who -- one of our staff people        23   NRA was -- was on solid financial footing and that our
     24   that works with him. I think they also worked with           24   vendors would be paid.
     25   Travis in the Brewer team in terms of putting the copy       25       Q. And Mr. LaPierre, that sentence also says that
                                                            Page 423                                                        Page 425

                                                                                                          46 (Pages 422 - 425)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 88 of
                                        149
      1   the NRA will propose a plan. Are you generally familiar      1   just to sort of refamiliarize yourself. I know you've
      2   with the term "plan of reorganization"?                      2   looked at a lot of documents. If you go back up to page
      3       A. I am not generally familiar with that term,           3   5, that's actually the first page. This is the
      4   no.                                                          4   January 7 resolution authorizing Chapter 11
      5       Q. Okay. Well, do you have any awareness at all          5   reorganization and related retention of counsel. Is
      6   that a debtor in a Chapter 11 proceeding files a             6   that right?
      7   document that's called a plan of reorganization, which       7              MR. GARMAN: This is the resolution we
      8   is a legal document under the bankruptcy code which          8   looked at.
      9   describes the proposed terms by which the debtor will        9       A. Okay. Yes.
     10   reorganize under Chapter 11 and then emerge from            10       Q. (BY MR. DRAKE) Okay. So now the question I
     11   bankruptcy?                                                 11   have is on the next page, which is page 6 of 16. And
     12       A. Yes, I know we are -- we are in the process of       12   you'll see the second paragraph is the resolution that
     13   beginning to put that together.                             13   empowers the NRA and Sea Girt to retain the Neligan
     14       Q. And I understand from Mr. Frazer that                14   firm. Correct?
     15   Mr. Neligan and his law firm is -- is working on a plan     15       A. Yes, that's correct.
     16   of reorganization for the NRA. Are you personally           16       Q. Okay. And so is this what you're talking
     17   involved in -- in the development of the plan of            17   about, Mr. LaPierre, that ultimately it was your
     18   reorganization?                                             18   decision along with the three members of the SLC?
     19       A. I have not been at this point, but I -- I            19       A. Yes.
     20   intend to be.                                               20       Q. All right. And so the next question I have is
     21       Q. And do you have an understanding as to who           21   the next paragraph then says resolved that the NRA and
     22   else from the NRA, not its outside advisers but actually    22   Sea Girt shall retain the firm of Brewer, Associates &
     23   from the NRA, who is involved in the plan process?          23   Counselors as special counsel to prosecute and defend
     24              MR. GARMAN: Objection to form.                   24   certain non-bankruptcy matters during the course of such
     25          Go ahead and answer if you can.                      25   Chapter 11 proceeding, including the pre-petition
                                                           Page 426                                                         Page 428

      1       A. Well, I think it will be some of our -- our           1   matters presently handled by BAC. Do you see that?
      2   key valued people that have been around here and we          2      A. I do.
      3   place a tremendous amount of trust in. Probably Sonya        3      Q. And so do I understand that as of January 7,
      4   Rowling, is our chief financial officer. Jason Ouimet.       4   you were not intending to engage the Brewer firm for
      5   People like Joe DeBergalis, who that we -- that help run     5   bankruptcy matters; is that correct?
      6   the association. I think they need to be involved in         6             MR. GARMAN: Objection. Counsel, you
      7   it, people like that.                                        7   referenced January 7. I think this is a January 15
      8       Q. (BY MR. DRAKE) Mr. -- Mr. LaPierre, you were          8   document.
      9   asked some questions by Mr. Mason about the retention of     9             MR. CORRELL: Oh, thanks. I apologize.
     10   the Neligan firm, and I believe that you met with them      10      Q. (BY MR. DRAKE) So as of the date of this
     11   sometime in Dallas in 2021. Is that right?                  11   resolution, is it true that the NRA did not intend to
     12       A. That's correct.                                      12   engage the Brewer firm for bankruptcy matters?
     13       Q. Who from the NRA actually made the decision to       13      A. Well, we hired -- we -- we executed an
     14   engage the Neligan firm?                                    14   agreement with the Neligan firm and the Garman firm to
     15       A. The final decision was made -- I made it along       15   help us on bankruptcy matters specifically.
     16   with the special litigation committee, Charles Cotton       16      Q. Right. And I was going to ask about
     17   and Willes Lee and Carolyn Meadows.                         17   Mr. Garman's firm.
     18             MR. CORRELL: Greg, if you could pull up           18         At the time of this resolution, it was just
     19   Exhibit 9, which I think was from the New York AG. Just     19   the Neligan firm. Correct?
     20   Exhibit 9. It's the petition.                               20      A. I believe that's correct.
     21             MR. GARMAN: All right. We have it.                21      Q. And then later, I believe the NRA realized it
     22             MR. DRAKE: If you'll go to page 6 of              22   needed additional --
     23   that, please.                                               23      A. Yes.
     24             MR. GARMAN: Okay.                                 24      Q. -- I'll say manpower or attorney power, and so
     25       Q. (BY MR. DRAKE) And Mr. LaPierre, if you want,        25   Mr. Garman's firm was also brought on to assist the
                                                           Page 427                                                         Page 429

                                                                                                          47 (Pages 426 - 429)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                  Page 89 of
                                        149
      1   Neligan firm on bankruptcy matters. Right?                   1   be avoided going forward in the future?
      2       A. That is correct.                                      2       A. I think we have -- I think we have done a
      3       Q. And so are you aware of any resolutions that          3   complete self-correction on anything NRA was doing that
      4   the NRA adopted that retained the Brewer firm for            4   was out of compliance with nonprofit law. We
      5   bankruptcy matters?                                          5   self-corrected it.
      6       A. I am not aware of a resolution that the -- in         6          I think that if you talk to people in this
      7   terms of the Brewer firm on bankruptcy matters, although     7   building, compliance is now a way of life for every
      8   the Brewer firm is involved in litigation, all               8   employee. There are -- there are procedures in place so
      9   litigation matters with us regarding New York state and      9   controls cannot be overwritten. And I think -- I think
     10   regarding this whole issue in -- the whole issue in         10   if anyone interviews any of our financial people that
     11   general.                                                    11   are here today, they will -- they will support what I'm
     12       Q. Correct. And some of those are referenced in         12   saying, including the ones that were initially
     13   the last line of this resolution where it says,             13   whistleblowers that thought things needed to be
     14   including the pre-petition matters presently handled by     14   corrected or might be out of -- out of -- out of line.
     15   BAC?                                                        15       Q. Do you -- do you think that the -- the
     16       A. Yes. Yes. And the Brewer firm continues to           16   compliance efforts and sort of, I guess, public
     17   work with us on those issues.                               17   reputation of the NRA with respect to compliance with
     18       Q. So Mr. LaPierre, changing focus, throughout          18   nonprofit laws is something that's important to NRA's
     19   the last two days you've referenced things about            19   membership?
     20   complete compliance or -- I don't remember your exact       20       A. I do. I think that -- I think it's important
     21   words -- thankfully we have a court reporter -- but sort    21   to the organization. I think it's important to the
     22   of a self-examination that the NRA did. Were you --         22   membership. I think that's the type of organization
     23   were you personally involved in some of those efforts to    23   that they want to be a member of.
     24   do kind of the self-examination and correction efforts      24              MR. CORRELL: Greg, could you pull up UCC
     25   that the NRA undertook over the past couple of years?       25   3?
                                                           Page 430                                                        Page 432

      1      A. Yes, I was. I was the one that -- that                 1              MR. GARMAN: Yes.
      2   started it. I was the one that insisted the NRA go down      2              (UCC Exhibit 3 marked.)
      3   that path. Regardless of who liked it or who didn't          3       Q. (BY MR. DRAKE) So Mr. LaPierre, if you look
      4   like it, we were going to go down that path. And we          4   at the first page of this document, you'll see it's a
      5   were going to look at every employee, every vendor,          5   filing in these Chapter 11 cases. I will represent to
      6   everything NRA was doing. If there was something we          6   you that it's something filed by the debtors, which is
      7   were doing that was not in compliance, we were going to      7   titled at the top of page 2, omnibus opposition to
      8   self-correct and become fully compliant with -- well,        8   Ackerman McQueen -- and I'm paraphrasing -- motion to
      9   New York not-for-profit law at that point. And I             9   dismiss or in the alternative for a trustee, and also
     10   personally took the lead from the time we started down      10   the State of New York's motion to dismiss or in the
     11   that path, virtually every day, insisting that that's       11   alternative a trustee, and also the District of
     12   the path we're going down whether you like it or not.       12   Columbia's motion to appoint a Chapter 11 trustee.
     13   And if you don't like it, sorry, but this is where we're    13           Mr. LaPierre, I just don't know. Do you -- do
     14   going.                                                      14   you review legal filings like this on behalf of the NRA
     15           And that's what we've done. And we never --         15   or do you rely on others at the NRA to do that?
     16   we never let anyone divert us from going down that path,    16              MR. GARMAN: Scott, this one might be a
     17   which is why, as I said, we were so proud that we --        17   little messy. Would you mind if we have 30 seconds to
     18   where we are today. I mean, we got a totally clean          18   talk about the privilege before you --
     19   audit with -- from a brand new audit firm that knew all     19              MR. DRAKE: Yeah. No, that's fine.
     20   the issues and everything else in 2019, and we have         20              MR. GARMAN: I am going to put you on
     21   completely turned around the financial picture of the       21   mute then, or we can just go off the record.
     22   NRA in 2020.                                                22              THE VIDEOGRAPHER: We are going off the
     23      Q. And Mr. LaPierre, what gives you confidence           23   record. The time on the video is 4:03 p m.
     24   that the -- the allegations that were made a few years      24              (Break from 4:03 p m. to 4:05 p.m.)
     25   ago have been addressed so that any -- any missteps can     25              THE VIDEOGRAPHER: We are back on the
                                                           Page 431                                                        Page 433

                                                                                                          48 (Pages 430 - 433)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                   Entered 04/03/21 02:48:03                  Page 90 of
                                        149
      1 record. The time on the video is 4:05 p.m.                             1   Mr. Schneiderman's warning, that's referring to what
      2     Q. (BY MR. DRAKE) Mr. LaPierre, we're back on                      2   you've testified to about the past two days?
      3 the record after a break for you to consult with                       3        A. That's correct.
      4 counsel.                                                               4        Q. And I believe -- again, I'll paraphrase, but
      5            MR. DRAKE: Could you read the question                      5   in your words, led to the NRA deciding to take a look at
      6 back to him, please, Julie?                                            6   its own governance. Is that generally what you've been
      7            THE REPORTER: Yes.                                          7   referring to?
      8            (Requested testimony read.)                                 8        A. Yes. That's what Attorney General
      9     A. Yes, I -- I have been in conversation about                     9   Schneiderman advised us to do. He, as I said -- and
     10 this document in terms of counsel describing it to me                 10   I'll keep it short. He said there was a plan that had
     11 what it contained. It was -- this was prepared by                     11   been cooked up by some of the anti-NRA NGOs and they
     12 counsel and in discussion also with key NRA employees.                12   were -- to improperly use the government of New York
     13 That's how it was put together.                                       13   state to target the NRA and attack us, and he thought it
     14     Q. (BY MR. DRAKE) Okay. And Mr. LaPierre,                         14   was an improper use of government. He said but they're
     15 just -- just so you're clear -- and I think after                     15   going to do it. And he said there's tremendous pressure
     16 getting towards the end of day two, you probably have an              16   to do it. And he went on to say that -- although he
     17 understanding. Like Mr. Sheehan and Mr. Mason, I am not               17   disagreed with the NRA on the Second Amendment issues
     18 trying to get into your conversations with the NRA's                  18   altogether, he just thought it was an improper use of
     19 lawyers or your personal counsel. So I'm sure they'll                 19   government. And he said, but I think it's going to
     20 caution you if they think the question calls for it, but              20   happen, and you would be wise -- New York state law, a
     21 just so you know, I don't want to know about those                    21   lot of it's been changed in recent years. He said
     22 communications.                                                       22   there's a lot of people out of compliance, probably no
     23        But do you understand -- again, I know you're                  23   one is in full compliance, but that doesn't matter
     24 not a lawyer, but you understand that certain parties,                24   because they're going to target you guys, so you really
     25 including Ackerman McQueen and the State of New York and              25   ought to take a full look at the entire organization and
                                                            Page 434                                                               Page 436

      1   the District of Columbia, have moved either to dismiss               1   make sure you're in complete compliance with New York
      2   the bankruptcy entirely or for the appointment of what's             2   state not-for-profit law, because there's a safe harbor
      3   called a Chapter 11 trustee. Do you understand that                  3   provision, if you do that and you self-correct, your
      4   generally?                                                           4   organization will be in good shape.
      5       A. Yes, I do.                                                    5          That made perfect sense to me. And from that
      6       Q. I would like to ask you about a couple of                     6   moment forward, I decided that's the course we're going
      7   statements in here. If you'll go to page 13 of 54. Do                7   to go down, whether people like it or not, and there is
      8   you see, Mr. LaPierre, in the middle there's a heading,              8   nothing that is going to stop us from going down that
      9   Roman numeral II, jurisdiction?                                      9   course.
     10              MR. GARMAN: I'm sorry. Scott, are                        10             MR. GRUBER: This is Mike Gruber.
     11   you -- oh, yeah, yeah. We're on it.                                 11   Objection to form for every -- all the hearsay. Thank
     12              MR. DRAKE: Okay.                                         12   you.
     13       Q. (BY MR. DRAKE) So Mr. LaPierre, if you see                   13             MR. DRAKE: Just so I'm clear, Mike, are
     14   right above that heading jurisdiction, the paragraph                14   you talking about my question or his answer?
     15   above it starts with a sentence that says the facts are             15             MR. GRUBER: I'm talking about his answer
     16   that the NRA, acting in the wake of Mr. Schneiderman's              16   was --
     17   warning -- and then it continues on. Do you see that                17             MR. DRAKE: Okay.
     18   paragraph?                                                          18             MR. GRUBER: -- nothing but three minutes
     19       A. Yes. Yes, I do.                                              19   of hearsay. Thank you.
     20       Q. Okay. And Mr. LaPierre, you've testified I                   20             MR. DRAKE: Okay. I just -- I didn't
     21   think multiple times over the past two days about                   21   know.
     22   Mr. Schneiderman's call to you.                                     22       Q. (BY MR. DRAKE) Mr. LaPierre, do you see the
     23       A. Actually it was Mr. Tom King on our board of                 23   third line of that paragraph? It says took steps to
     24   directors.                                                          24   redress or obviate nearly every item the NYAG cites in
     25       Q. Okay. I apologize. Is that reference here                    25   its dissolution lawsuit. Do you see that?
                                                                   Page 435                                                        Page 437

                                                                                                                  49 (Pages 434 - 437)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                   Page 91 of
                                        149
      1       A. I do.                                                  1   election every year, and they report -- they answer
      2       Q. In your personal opinion, do you think the NRA         2   directly to the members, and they have to run for
      3   has, in fact, taken steps to redress or obviate nearly        3   election. I think that gives us a pretty independent
      4   every item in the New York AG lawsuit?                        4   board that expresses the will of the membership, which
      5       A. I do. I think we have -- we have                       5   is ultimately what makes this organization successful.
      6   self-corrected, and we continue to -- if anyone -- we         6           So I -- I know it's the subject of debate, but
      7   encourage people to step forward if they see anything         7   I know there are a lot of people that think, well, the
      8   else. But, yes, I believe we have taken every step            8   NRA board ought to be 15 or 20 people rather than as
      9   possible to -- to self-correct and to bring NRA into          9   large as it is. I kind of believe the size of the board
     10   full compliance.                                             10   is a strength of the organization, because the strength
     11       Q. Do you have any concerns, sir, that -- that           11   of the organization is ultimately based on the
     12   many of the people who were in management positions at       12   membership and the board representing that membership.
     13   the NRA at the time prior to the New York AG lawsuit,        13       Q. And Mr. LaPierre, I have another question
     14   that the allegations or concern are still in management      14   about the membership. If you'll scroll down to page 47,
     15   positions at the NRA today?                                  15   specifically page -- excuse me -- paragraph 83. If
     16             MR. GARMAN: Objection to form.                     16   you'll read that paragraph 83 and let me know when
     17          Go ahead and answer.                                  17   you've had a chance to read it, please.
     18       Q. (BY MR. DRAKE) Does that give you any                 18       A. I've read it.
     19   concern?                                                     19       Q. Do you agree, Mr. LaPierre, with this second
     20       A. I think the people that are -- we talked about        20   sentence that says the removal of the members' selected
     21   some of them. I think that the people here that are in       21   leadership and the installation of a third-party trustee
     22   management positions are doing a good job and they're --     22   appointed by the government will have a devastating
     23   they're doing a very good job, and I think you see that      23   impact on the NRA's ability to collect dues and raise
     24   in the performance of the organization over the last         24   donations from its members? Do you agree with that?
     25   year and a half.                                             25              MR. THOMPSON: This is Stephen Thompson.
                                                            Page 438                                                         Page 440

      1      Q. Mr. LaPierre, if you could turn to page 24 of           1   Objection to form.
      2   54.                                                           2       A. I actually do agree with that. It -- it's one
      3              MR. GARMAN: Okay. We're on page 24.                3   of my biggest concerns, we talked about a little bit
      4       Q. (BY MR. DRAKE) Do you see paragraph b?                 4   earlier, in terms of succession. As I get toward
      5       A. Yes, I do.                                             5   retirement, the fact that -- the fact that I have been
      6       Q. So you can either -- I can read it, or if you          6   the voice of the NRA literally for 40 years out in front
      7   want to just take a minute to read it, read the few           7   of the membership, my signature raises hundreds of
      8   sentences.                                                    8   millions of dollars for the organization. It has
      9       A. Yeah. Okay. Yeah, I'll read it right now.              9   actually raised billions of dollars for the
     10          Yes, I've read paragraph b.                           10   organization, based on the fact that they've seen me out
     11       Q. Okay. Do you agree, Mr. LaPierre, with the            11   there fighting and they've -- for what they believe in
     12   last part of that, that the NRA would benefit from           12   and for their constitutional rights, and therefore, they
     13   modernization to ensure its continued existence as a         13   are responsive based on -- based on -- based on the
     14   going concern for the benefit of the NRA's creditors and     14   relationship that I formed with them, based on that
     15   members?                                                     15   they -- well, I've been with them probably 35, 40 years
     16       A. Well, the NRA certainly can benefit from a --         16   on the road with them also.
     17   from a look at any way we can be more efficient and          17          So if you were to put a trustee, or someone to
     18   we can -- all of that. I think -- the one issue I would      18   put a trustee over this organization, you're going to
     19   take -- this is a subject of debate and we'll probably       19   massively crash the amount of revenue coming into this
     20   debate it as we get into this reorganization plan -- is      20   organization and which will have a devastating impact on
     21   when you talk about the charter and the -- and the board     21   it. I mean, one of the reasons -- one of the ways we
     22   in particular.                                               22   were so successful last year in reducing our debt by 40
     23          I -- I think one of the strengths of the              23   million and the NRA -- including accounting and paying
     24   NRA -- some people think it's a weakness -- is the fact      24   off the loans, and NRA ran 33 million in the black, was
     25   that we have 76 board members. A third of them run for       25   that even with COVID we came within 7 percent of our
                                                            Page 439                                                         Page 441

                                                                                                           50 (Pages 438 - 441)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 92 of
                                        149
      1   preCOVID budget projection on revenue. And that was         1   York Attorney General is done with questioning for
      2   phenomenal, given the COVID year and if you look at what    2   Mr. LaPierre in his individual capacity.
      3   happened to other nonprofits.                               3              MR. GARMAN: Brian, just confirming? I
      4          And one of the ways we did that was to trust         4   think it's a formality. We're out of time, but --
      5   that the membership placed -- places -- placed in the       5              MR. MASON: Yeah, that's fine. We have
      6   relationship. And I'm not saying -- heck, everybody is      6   some 30(b)(6) time, so --
      7   dispensable. I mean, I am not trying to build myself up     7              MR. GARMAN: Yeah. Okay. Do you guys
      8   or anything else, but part of that is the relationship      8   have an estimate of how long you -- I'm not going to
      9   over 40 years that I built with those members and the --    9   hold you to it. I think you've got two hours and
     10   and then the ability to turn that into dollars, whether    10   one minute, by my calculation, left of 30(b)(6) time.
     11   it's email, direct mail or -- or digital communication     11   Do you guys have an estimate of how long you're going to
     12   with them. A trustee would be horrible for the future      12   go?
     13   of the National Rifle Association in terms of              13              MR. THOMPSON: Yeah, Greg, this is
     14   fundraising.                                               14   Stephen. I'm estimating about a half hour for my
     15        Q. (BY MR. DRAKE) Mr. LaPierre, with respect to       15   questions.
     16   your views on the board and the 76 member board and the    16              MR. MASON: And I -- I probably will not
     17   fact that, you know, a third of the board sits for         17   be more than that as well.
     18   election every year, how are the board candidates placed   18              MR. GARMAN: Okay. Let's take a break
     19   up for nomination?                                         19   then. It sounds like we could have up to an hour. And
     20        A. They -- there's two ways. There is a               20   what do we say? Let's take 15 minutes.
     21   nominating committee of the board of directors that        21              MR. THOMPSON: Thank you.
     22   nominates so many candidates each year. They usually       22              THE VIDEOGRAPHER: We are going off the
     23   nominate -- I think 25 are elected. They usually           23   record. The time on the video is 4:23 p m.
     24   nominate somewhere between -- let's say 26 and 32 or 33    24              (Break from 4:23 p m. to 4:43 p m.)
     25   qualified candidates after looking at all the petitions    25              THE VIDEOGRAPHER: We're back on the
                                                         Page 442                                                          Page 444

      1   that come in and recommendations. And then someone can      1   record. The time on the video is 4:43 p m.
      2   also run for the board of directors by gathering a          2                   EXAMINATION
      3   certain amount of petition signatures and so they -- and    3   BY MR. THOMPSON:
      4   be placed on the election ballot independently of the       4       Q. All right. Good afternoon, Mr. LaPierre.
      5   nominating committee.                                       5       A. Good afternoon.
      6       Q. How many people sit on the nominating                6       Q. My name is Stephen Thompson. I am an
      7   committee, if you know?                                     7   assistant attorney general in the New York State Office
      8       A. It's elected by our board of directors every         8   of the Attorney General. So we are switching gears. I
      9   year, and it's usually -- I think it requires six board     9   will now be asking you some questions in your capacity
     10   members and three nonboard members to be on it, I          10   as a corporate representative for the NRA for the
     11   believe.                                                   11   30(b)(6) deposition.
     12       Q. And each of those members is elected by --          12       A. Okay.
     13   actually by the board?                                     13       Q. So if -- there should be a new exhibit,
     14       A. That's correct. It's elected by the board of        14   Exhibit 11, in the shared folder. If you could please
     15   directors.                                                 15   let me know when you have that.
     16              MR. DRAKE: Mr. LaPierre, I appreciate           16             (Exhibit 11 marked.)
     17   your time, and at this time I'll pass the witness.         17             MR. GARMAN: I'm pulling it up now. One
     18              THE WITNESS: Thank you. I appreciate            18   second, Stephen. All right. It's up.
     19   it.                                                        19       Q. (BY MR. THOMPSON) So Mr. LaPierre, if you
     20              MR. GARMAN: Well, hearing no one come           20   would please scroll down to page 7 of 8 in this PDF --
     21   forward, does this -- does this conclude the deposition    21   oh, I'm sorry. Actually, to -- to the last page.
     22   by the notice -- by the parties who noticed today?         22       A. Okay.
     23              MR. THOMPSON: Mr. Garman, this is               23       Q. So if you could please take a moment to read
     24   Stephen Thompson just to confirm that we do still have     24   topics 12, 13 and 14. And just let me know if I am
     25   some 30(b)(6) questions for Mr. LaPierre, but the New      25   correct that you are prepared to act as a corporate
                                                         Page 443                                                          Page 445

                                                                                                         51 (Pages 442 - 445)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                         Entered 04/03/21 02:48:03                    Page 93 of
                                        149
      1   representative for the NRA with respect to these three     1   guess.
      2   topics.                                                    2       A. I don't know.
      3       A. Yes. Yes, I am.                                     3       Q. (BY MR. THOMPSON) Okay. And I believe that
      4       Q. Okay. Great. And can you tell me what you           4   you said that the special litigation committee was
      5   did to prepare for your 30(b)(6) deposition?               5   involved. Were all three members of the special
      6       A. I talked with our counselor here, Greg Garman,      6   litigation committee involved?
      7   and I also talked with -- we talked with Andrew            7       A. Yes, they all were involved. They all were
      8   Arulanandam, our public relations director at the          8   aware of what we were doing.
      9   National Rifle Association. And my attorney sat in on      9       Q. Okay. And then the -- the, sort of,
     10   it, but the preparation was actually done with            10   incorporation documents were ultimately filed by the
     11   discussion between Mr. Garman and Mr. Arulanandam and     11   NRA's chief of staff Vanessa Shahidi. Is that correct?
     12   myself.                                                   12       A. That's correct.
     13       Q. Okay. And other than Mr. Garman and                13       Q. Okay.
     14   Mr. Arulanandam and I believe you said -- was that Kent   14       A. That's correct.
     15   Correll, your individual lawyer was there for at least    15       Q. So turning now to topic 13, there should be a
     16   part of it?                                               16   new exhibit, Exhibit No. 12, in the share folder. If
     17       A. He sat in on it, but didn't -- didn't say          17   you could please let me know when you have that.
     18   anything.                                                 18              (Exhibit 12 marked.)
     19       Q. Okay. Other than -- other than those folks,        19              MR. GARMAN: Okay. We have Exhibit 12.
     20   did you speak with anyone else in preparation for your    20       Q. (BY MR. THOMPSON) Mr. LaPierre, do you
     21   30(b)(6)?                                                 21   recognize this document?
     22       A. I did not.                                         22       A. It's the minutes of a board of directors
     23       Q. And did you review any documents in                23   meeting.
     24   preparation for your 30(b)(6)?                            24       Q. Okay. And let me scroll down and give you a
     25       A. I did not.                                         25   PDF page number here.
                                                         Page 446                                                          Page 448

      1              MR. GARMAN: Counsel, just to be clear, I        1       A. Thank you.
      2   put the notices in front of him, but that's all.           2       Q. If you could please scroll down to PDF page 7,
      3              MR. THOMPSON: Okay. Thank you.                  3   which is page 5 of the minutes. And if you see towards
      4       Q. (BY MR. THOMPSON) So I am going to --               4   the -- halfway down the page, it starts, The chair
      5       A. These topics, yeah.                                 5   called for if new business. Mr. Frazer stated that he
      6       Q. All right. So I am --                               6   had received one resolution, as follows.
      7       A. I'm sorry. The notice, yes, these topics were       7           Do you see that?
      8   put in front of me.                                        8       A. Yes, I do.
      9       Q. Right. Okay. Thank you.                             9       Q. And is the resolution that follows the
     10           So starting first with topic 12, which was        10   resolution that formalized the delegation of corporate
     11   related to Sea Girt, can you tell me who at the NRA was   11   authority by the NRA board of directors to the special
     12   involved in the formation of Sea Girt?                    12   litigation committee?
     13       A. I was involved in it and the special               13       A. That's correct. The board of directors needed
     14   litigation committee, which is Carolyn Meadows, Charles   14   to -- in order for the special litigation committee to
     15   Cotton and Willes Lee. And we worked with counsel on it   15   represent the board as a whole, the board needed to
     16   in terms of -- in terms of setting it up and filing.      16   officially bless the creation of the special litigation
     17       Q. And can you tell me, without providing me the      17   committee where they would have the authority of the
     18   substance of any of your communications, which counsel    18   board behind them.
     19   were involved?                                            19       Q. At the time of this -- this meeting of the
     20       A. The Brewer firm.                                   20   board on January 7th, did the board of directors have
     21       Q. Was the Neligan firm involved?                     21   any vacancies?
     22       A. The Brewer firm was involved. I don't -- I         22       A. I'm not sure whether they did or not. I
     23   know the Brewer firm was involved. The Neligan firm --    23   don't -- my answer is I doubt it because what happens is
     24   this goes back to November.                               24   if someone drops off, the next person in line moves up
     25              MR. GARMAN: If you don't know, don't           25   and fills that spot. And there are usually three or
                                                         Page 447                                                          Page 449

                                                                                                         52 (Pages 446 - 449)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 94 of
                                        149
      1   four or five people in line, where if someone were to        1   special litigation committee, which, as I said, are the
      2   have a health problem or something and drop off, the         2   three officers of the board.
      3   next person would move up.                                   3       Q. (BY MR. THOMPSON) Okay. Is it the NRA's
      4       Q. Got it.                                               4   position that this bankruptcy is an additional legal
      5       A. So I don't think there was a vacancy.                 5   proceeding arising from the same facts, circumstances or
      6       Q. And that is what happened after Mr. Liptak            6   allegations as sub Roman i, ii and iii in the resolution
      7   resigned. Is that correct?                                   7   on page 6 of this Exhibit 11 -- or 12? I'm sorry.
      8       A. That is correct.                                      8               MR. GARMAN: Objection to the form of the
      9       Q. Okay. So turning to the -- what is the page 6         9   question. I object that I believe it's outside the
     10   of the minutes, page 8 of the PDF, still staying within     10   scope of the 30(b)(6) witness.
     11   this resolution -- well, before I get to this, can you      11           But answer if you can.
     12   tell me what role does the special litigation committee     12       A. I'm sorry, could -- it's kind of the end of
     13   have with respect to this bankruptcy?                       13   the day. Could you repeat the question, please?
     14              MR. GARMAN: Objection to the form of the         14       Q. (BY MR. THOMPSON) Sure.
     15   question.                                                   15           Is it the NRA's position that this bankruptcy
     16           Go ahead and answer, if you can.                    16   is -- falls within the scope of sub Roman iv of this
     17       A. I have been consulting them all the way              17   resolution?
     18   through on this because they also represent the three       18               MR. GARMAN: I incorporate the same
     19   officers of the National Rifle Association. And so they     19   objection.
     20   are -- they have been a co-partner with the EVP's office    20           Answer to the extent you can.
     21   in -- in this process.                                      21       A. Well, this flows out of the fact that NRA came
     22       Q. (BY MR. THOMPSON) Does the special litigation        22   to believe that the New York state was not a fair
     23   committee have the authority to direct you with respect     23   playing field for the organization in terms of it to
     24   to -- direct you as executive vice president with           24   operate. And the organization looked for a vehicle to
     25   respect to the bankruptcy?                                  25   facilitate a possible transition. Sea Girt was formed.
                                                           Page 450                                                          Page 452

      1            MR. GARMAN: Objection to the form of the            1   And -- and with the approval of a federal judge after we
      2   question.                                                    2   file Chapter 11, we could hopefully find a home for the
      3          Go ahead and answer if you can.                       3   NRA with a fairer playing field from a -- well, let's
      4             MR. CORRELL: Yeah, and if I could just             4   just say a fairer playing field for the organization to
      5   get the same agreement on objections, that I will be         5   grow and prosper in. So it -- I mean, as I said
      6   joining them without having to say it separately. Is         6   earlier, we have been looking, talking for quite a while
      7   that acceptable to you?                                      7   about, even before any of this came up about finding
      8             MR. THOMPSON: Yes. Thank you,                      8   another home for the NRA out of New York state or even
      9   Mr. Correll.                                                 9   finding another home for our main facility here where
     10       A. I am not trying to be evasive. That's a legal        10   most of our employees are, a more favorable area to
     11   question that I am not sure I know the answer to, to        11   operate out of, and it was the outgrowth of all of that.
     12   tell you the truth. I've done this as a partner with        12       Q. (BY MR. THOMPSON) So just because I want to
     13   them all the way through it, and I -- that would be a       13   make sure that I have -- to go back to my question, my
     14   legal opinion that I -- I don't know the answer to in       14   question is whether the NRA believes that this
     15   terms of direct.                                            15   bankruptcy falls within the scope of sub Roman iv of
     16       Q. (BY MR. THOMPSON) Okay. Is it fair to say            16   this resolution?
     17   that the special litigation committee has the authority     17             MR. GARMAN: Hold on. Objection to form.
     18   to supervise the bankruptcy?                                18   Objection, I believe it falls outside the scope of
     19             MR. CORRELL: Again, Mr. Correll. I am             19   question 13.
     20   objecting as to form, calls for legal conclusion.           20          Answer to the extent you can under romanette
     21       A. Yeah, that -- I'm not a lawyer. I'm not              21   iv.
     22   trying to be evasive. I just don't know whether they        22             MR. CORRELL: And this is Mr. Correll. I
     23   have the authority to supervise the bankruptcy or not.      23   object to the form to the extent that it calls for a
     24   I just know that everything I've been doing in my spot      24   legal conclusion.
     25   as EVP I've been doing in complete coordination with the    25       A. It's really a legal question you're asking me
                                                           Page 451                                                          Page 453

                                                                                                          53 (Pages 450 - 453)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                   Entered 04/03/21 02:48:03                  Page 95 of
                                        149
      1   that I -- I'm not sure of what the answer is, to tell                1   believe.
      2   you the honest truth. I mean --                                      2              (Exhibit 13 marked.)
      3       Q. (BY MR. THOMPSON) So if there were to be a                    3       Q. (BY MR. THOMPSON) Okay. The exhibit should
      4   disagreement between you as the executive vice president             4   be available if you refresh.
      5   and the special litigation committee about any decisions             5       A. It's here now.
      6   that need to be made with respect to the bankruptcy, who             6              MR. GARMAN: All right. We're looking at
      7   would have the ultimate authority to make the decision               7   page 1, questions and answers.
      8   between you as executive vice president and the special              8              MR. THOMPSON: Yes.
      9   litigation committee?                                                9       Q. (BY MR. THOMPSON) Mr. LaPierre, do you
     10               MR. GARMAN: Objection to the form of the                10   recognize -- I apologize for the formatting of this
     11   question, and objection it falls outside the scope of               11   document, but are you able to tell what it is?
     12   question 13.                                                        12       A. Yes. This is a question and answer document
     13           Answer if you can.                                          13   that was prepared by our public -- public relations
     14       A. Well, I -- I think if we -- if we -- if a                    14   staff in consultation with Travis with the Brewer firm.
     15   disagreement of that type occurred between the EVP and              15       Q. Great. So if you could please go down to the
     16   the special litigation committee, I think we would -- we            16   bottom of the second page under the question, By filing
     17   would seek further input from the board of directors, to            17   for Chapter 11, is the NRA admitting it mismanaged donor
     18   tell you the truth.                                                 18   funds? Do you see that question?
     19       Q. (BY MR. THOMPSON) Okay. Is it the NRA's                      19       A. I do see that question.
     20   position that prior to -- let me step back for a second.            20       Q. Okay. And then right underneath that question
     21           Is it the NRA's position that prior to the                  21   do you see where it says: Not at all. We have utilized
     22   resolution adopting your employment agreement that was              22   all donor contributions in furtherance of the NRA's
     23   adopted at the January 7th meeting, did you as the                  23   mission. This action is necessitated primarily by one
     24   executive vice president have the authority to file a               24   thing, the unhinged and political attack against the NRA
     25   Chapter 11 bankruptcy petition on behalf of the National            25   by the New York Attorney General.
                                                                   Page 454                                                        Page 456

      1 Rifle Association?                                                     1           Do you see that?
      2           MR. GARMAN: Objection to the form of the                     2       A. I do see that.
      3 question. It calls for a legal conclusion, and it falls                3       Q. Does the NRA agree with this statement?
      4 outside the scope of the designated questions.                         4       A. Well, as I said earlier, it -- not to be
      5        Go ahead and answer.                                            5   repetitive, but going back to general -- Attorney
      6     A. Yeah, as I -- I -- I would not have proceeded                   6   General Schneiderman and we believe -- we became
      7 in terms of the executive vice president position to                   7   convinced that -- I became convinced in my deposition
      8 move ahead with filing without that resolution from that               8   the first time that -- where there seemed to be no
      9 board of directors delegating authority to the EVP's                   9   interest in the self-correction, tremendous pain the NRA
     10 office to reorganize. Without that, I would not have                  10   was going through to self-correct and look at everyone
     11 proceeded.                                                            11   and to be in complete compliance with New York state
     12     Q. (BY MR. THOMPSON) Okay. So let's go ahead                      12   law, which we were proud of.
     13 and turn to topic 14. So I believe during your                        13           And then when the -- General James filed for
     14 individual deposition you testified that the contents of              14   dissolution of the NRA, this 5 million member
     15 the NRA Forward website were prepared by Mr. Arulanandam              15   organization that does all these great safety and
     16 and his team with some input from Mr. Carter at the                   16   training and education and programs, as well as
     17 Brewer firm. Is that correct?                                         17   political advocacy, that the atmosphere in New York --
     18     A. That is correct.                                               18   there didn't seem to be any good faith effort in terms
     19     Q. Okay. Sitting here today, does the NRA have                    19   of all the work NRA had done on compliance, to even
     20 any reason to believe that any statements on the NRA                  20   recognize any of that and as -- or the safe harbor
     21 Forward website are inaccurate?                                       21   provision that Attorney General Schneiderman had talked
     22     A. I don't think we have any reason to believe                    22   about, that we honestly felt that we had -- in terms if
     23 that. Not that I know of.                                             23   you cared about the NRA and its programs and its mission
     24     Q. Okay. So I want to -- give me a moment to                      24   and our members, our -- it gotten to the point where our
     25 actually mark it, but I am going to mark Exhibit 13, I                25   one alternative was to file Chapter 11 and seek a
                                                                   Page 455                                                        Page 457

                                                                                                                  54 (Pages 454 - 457)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                   Page 96 of
                                        149
      1   federal judge's approval on reincorporating in another        1   personally.
      2   state.                                                        2      Q. (BY MR. THOMPSON) Okay. And that was my
      3          We had tried -- and I will be quick. But               3   follow-up question, was without -- without itemizing for
      4   through 2017, after the Schneiderman call, in 2018, in        4   me who was involved in each particular conversation, can
      5   2019, not to leave New York, but to actually look at          5   you tell me generally who at the NRA who isn't a lawyer
      6   everything, self-correct and -- and ensure that we were       6   representing the NRA was involved in those
      7   in complete compliance with New York state law, but it        7   conversations?
      8   just got to the point where, based on what happened, if       8             MR. GARMAN: I object to the extent this
      9   you cared about the NRA we felt we had no other               9   calls outside of question 13.
     10   alternative but to take this course.                         10          Go ahead and answer if you can.
     11       Q. Okay. And I appreciate the context,                   11      A. Charles Cotton talked with the governor of
     12   Mr. LaPierre, but I just want to go back to my question.     12   Texas directly. Randy Kozuch on our staff had
     13       A. I'm sorry.                                            13   conversations with -- I know he had conversations with
     14       Q. So my question is whether the NRA agrees with         14   the attorney general of Arizona. I think he also had
     15   this statement at the bottom of page 2 of Exhibit 13?        15   conversations with the governor of Arkansas. I may have
     16       A. Yes, we do -- I do -- we do agree with it.            16   said Arizona. Arkansas. I believe the governor of
     17       Q. Okay. Thank you.                                      17   Arkansas also mentioned it to me personally in -- when I
     18             MR. THOMPSON: Mr. Garman, if we just               18   was talking with him. Ah --
     19   take a two-minute break, that may be the end of my           19      Q. (BY MR. THOMPSON) I'm sorry. Go ahead.
     20   30(b)(6) questioning, but I just want to have a moment       20      A. No, I'm just trying to recall any -- I'm
     21   to confer with my colleagues.                                21   thinking through the -- the governor of Tennessee
     22             MR. GARMAN: Sure. Take whatever time               22   expressed an interest in setting up a meeting to talk
     23   you need. We'll go off the record.                           23   about it. Those are the ones that specifically come to
     24             MR. THOMPSON: Okay. Thank you.                     24   mind.
     25             THE VIDEOGRAPHER: We're going off the              25      Q. Who is Mr. Kozuch?
                                                            Page 458                                                         Page 460

      1   record. The time on the video is 5:09 p m.                    1       A. Randy Kozuch works for NRA in the Office of
      2             (Break from 5:09 p m. to 5:12 p m.)                 2   Advancement, but he is -- he is very close to most of
      3             THE VIDEOGRAPHER: We are back on the                3   the governors and probably most of the attorney generals
      4   record. The time on the video is 5:12 p m.                    4   in the country.
      5       Q. (BY MR. THOMPSON) So Mr. LaPierre, just one            5       Q. And does he -- he works under Mr. Schropp. Is
      6   last question from me relating to topic 13, the process       6   that correct?
      7   by which the NRA determined to file for bankruptcy.           7       A. That is correct.
      8   During your individual deposition, you mentioned that         8       Q. And other than Mr. Cotton, prior to the filing
      9   there were some conversations that were occurring with        9   of the bankruptcy on January 15, were any members of the
     10   leaders in other states, or I believe you specifically       10   board informed about any of the conversations that we
     11   mentioned the governor of Texas about a potential move       11   were discussing with Arkansas, West Virginia, Texas or
     12   for the NRA. Were there conversations with any other         12   Tennessee?
     13   states about a potential move?                               13              MR. GARMAN: Objection to the extent this
     14             MR. GARMAN: So objection to the form of            14   question falls outside the scope of the identified
     15   the question. Objection to the extent this falls             15   questions.
     16   outside of question 13.                                      16          Go ahead and answer if you can.
     17          Go ahead and answer if you can.                       17       A. I don't -- I don't think any of them from our
     18       A. Yes, there were -- there were conversations           18   end were informed or -- I know you had a lot of
     19   with -- I know for a fact Arkansas, West Virginia,           19   discussion going on among our board about the NRA ought
     20   definitely Texas. I am trying to think, because we've        20   to move to Texas, the NRA ought to move to North -- to
     21   been contacted by -- those are the three that I am           21   South Dakota, the NRA ought to move to, you know
     22   specifically aware of, although I know there were many       22   Kentucky, Tennessee. I mean, everyone seemed to have an
     23   others that also have expressed interest. I just -- I        23   opinion, and that was kind of a free-flowing discussion
     24   just don't want to misstate the states by -- but I know,     24   going on just in general, not specifically related to
     25   for example, the governor of West Virginia called me         25   this, but it was just conversational talk going on among
                                                            Page 459                                                         Page 461

                                                                                                           55 (Pages 458 - 461)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                         Entered 04/03/21 02:48:03                   Page 97 of
                                        149
      1   our board.                                                 1              MR. CORRELL: Don't speculate.
      2             MR. THOMPSON: Okay. So thank you very            2       A. I'm speculating, but -- I know Travis Carter
      3   much, Mr. LaPierre. With that, I will pass the witness     3   did.
      4   back to Mr. Mason.                                         4              MR. GARMAN: Hold on. So on this, I want
      5             THE WITNESS: Thank you.                          5   to be clear. I want you to testify to what you know,
      6             MR. MASON: Mr. LaPierre, are you ready           6   and I want you to testify to what Andrew told us when we
      7   to continue, or would you like to take a break?            7   asked him these questions.
      8             THE WITNESS: I'm fine.                           8       A. Yeah, he worked with Travis Carter.
      9             MR. MASON: Okay.                                 9       Q. (BY MR. MASON) How much time did you spend
     10             THE WITNESS: If you are.                        10   preparing for your 30(b)(6) deposition today?
     11             MR. MASON: I am good.                           11       A. We talked -- we chatted maybe 30 -- 30 minutes
     12             MR. GARMAN: Brian, let me find your             12   with Andrew and Mr. Garman and --
     13   video. One second, please. There we are. You were         13       Q. Okay. So once your individual deposition was
     14   just a voice from beyond before. We're ready.             14   done, you spent about 30 minutes preparing for your
     15                FURTHER EXAMINATION                          15   corporate representative deposition. Is that true?
     16   BY MR. MASON:                                             16       A. That's true.
     17       Q. Mr. LaPierre, when did the NRA and the Brewer      17       Q. Who prepared the first draft of Wayne's
     18   firm begin preparing the NRA Forward website?             18   Letter?
     19             MR. GARMAN: Objection to the form of the        19       A. That was prepared by -- by Andrew Arulanandam
     20   question.                                                 20   and Travis Carter.
     21       A. I -- I don't know the exact date that the NRA      21       Q. Did Mr. Arulanandam or Mr. Carter prepare the
     22   began preparing the -- the website. I said that Andrew    22   first draft?
     23   Arulanandam was brought in on the process to work with    23              MR. GARMAN: Objection to the form of the
     24   Travis and the Brewer firm, but I can't give you an       24   question.
     25   exact date as to when. I just don't know.                 25          But go ahead and answer.
                                                         Page 462                                                         Page 464

      1       Q. (BY MR. MASON) Did the NRA and the Brewer           1       A. As far as I know, based on my conversation
      2   firm begin working on the NRA Forward website before       2   with Andrew, that -- that is -- is what happened.
      3   January the 7th?                                           3       Q. (BY MR. MASON) Did Mr. Carter prepare the
      4       A. I don't know the answer to that.                    4   initial draft of the Wayne's Letter that ultimately is
      5       Q. Who are all the people at the Brewer firm that      5   on -- currently on the NRA Forward website?
      6   were involved and had input on the content on the NRA      6       A. I think they both -- they both worked together
      7   Forward website?                                           7   on all of that.
      8       A. As far as I know, the one that worked with          8       Q. Do you know how long it took them to prepare
      9   Andrew was Travis.                                         9   that letter?
     10       Q. And what's the basis for that knowledge?           10       A. I don't.
     11       A. Just the fact that that's the one that in          11       Q. Do you know when they began preparing that
     12   talking with me Andrew always told me he would talk       12   letter?
     13   with.                                                     13       A. I think they started working on it a couple of
     14       Q. Have you made any attempts to determine            14   days before.
     15   whether anyone else at the Brewer firm besides            15       Q. When did you first review Wayne's Letter
     16   Mr. Carter was involved in reviewing the content that     16   that's on the NRA Forward website?
     17   was going to be going on the NRA Forward website?         17       A. I think I was in here that whole day that we
     18       A. I haven't.                                         18   filed and was looking over material all day as we
     19       Q. You're familiar with Wayne's Letter on the NRA     19   prepared to file.
     20   Forward website. Correct?                                 20       Q. Did you make any changes to Wayne's Letter
     21       A. Yes, I am. I think Bill probably looked at         21   before it was posted to the NRA Forward website?
     22   some of it, too, Bill Brewer, before -- before it went    22       A. I can't -- I don't remember, to tell you the
     23   forward also.                                             23   truth. If I did, they were minor.
     24       Q. Do you know that? Is that your testimony on        24       Q. Did you review the entirety of Wayne's Letter
     25   behalf of the NRA?                                        25   before it was posted to the NRA Forward website?
                                                         Page 463                                                         Page 465

                                                                                                        56 (Pages 462 - 465)
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                                                        800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                        Entered 04/03/21 02:48:03                    Page 98 of
                                        149
      1      A. Yeah. Yes, I believe I did.                         1       A. To the -- to the best of my knowledge, the
      2      Q. Is it fair to say that a lot of time and            2   statements on the NRA website are -- are -- are accurate
      3   effort went into preparing the NRA Forward website?       3   and parallel the legal facts.
      4             MR. GARMAN: Objection to the form of the        4       Q. (BY MR. MASON) Do you believe that the
      5   question.                                                 5   statements on the NRA Forward website accurately reflect
      6      A. I'm sure that Andrew and Billy in working with      6   why the NRA filed for Chapter 11 bankruptcy?
      7   Travis spent -- spent a lot of time on it, worked very    7             MR. CORRELL: This is Kent Correll.
      8   hard for a couple days.                                   8   Objection to the form, also calls for legal conclusion.
      9      Q. (BY MR. MASON) Why did the Brewer firm need         9       A. To the best of my knowledge, they do
     10   to be involved in the preparation of the NRA Forward     10   accurately reflect why the NRA filed for Chapter 11.
     11   website?                                                 11       Q. (BY MR. MASON) There was a press release that
     12             MR. GARMAN: Objection to the form of the       12   was also issued or also listed on the NRA Forward
     13   question.                                                13   website. Are you familiar with that press release?
     14          Go ahead and answer if you can.                   14       A. I have read a number of press releases that we
     15      A. Well, I think Andrew and Billy actually --         15   did in relation of that -- to this. I don't know which
     16   actually did the website. It -- I think that Travis      16   one you're specifically referring to.
     17   Carter would have been involved in some of the content   17       Q. Let's see. Let's take a look at exhibit --
     18   working with Andrew.                                     18   Ackerman Exhibit 90.
     19      Q. (BY MR. MASON) Would you agree that it is          19             (AMc Exhibit 90 marked.)
     20   important that all of the content on the NRA Forward     20       Q. (BY MR. MASON) It should be in the folder.
     21   website is -- is accurate?                               21             MR. GARMAN: It's there.
     22             MR. GARMAN: Objection to the form of the       22       A. Yeah, I'm looking at it right now.
     23   question.                                                23       Q. (BY MR. MASON) Are you familiar with this
     24      A. I think it's always important to try to be         24   press release, Mr. LaPierre?
     25   accurate.                                                25       A. I am.
                                                        Page 466                                                           Page 468

      1       Q. (BY MR. MASON) Words matter. Right?                1       Q. Who prepared the first draft of this press
      2       A. They do.                                           2   release?
      3             MR. GARMAN: Objection to the form of the        3       A. It was prepared by Andrew Arulanandam and
      4   question.                                                 4   Travis Carter.
      5          Go ahead.                                          5       Q. Did Mr. Arulanandam or did Mr. Carter prepare
      6       A. Yes, I agree with that.                            6   the initial draft?
      7       Q. (BY MR. MASON) Would you agree that -- well,       7              MR. GARMAN: Objection to the form of the
      8   strike that.                                              8   question.
      9          And you would agree with me that on the NRA        9       A. To the best of my knowledge, they worked as a
     10   Forward website, it's important to make accurate         10   team together on this and they collaborated together on
     11   statements to all of your NRA members. Correct?          11   it.
     12             MR. GARMAN: Objection to the form of the       12       Q. (BY MR. MASON) When was the first draft
     13   question.                                                13   prepared?
     14          Go ahead.                                         14       A. I think they were working on it a couple days
     15       A. We always try to make accurate statements to      15   before -- before the -- the bankruptcy was filed. I
     16   all of our members, yes, I agree.                        16   know they were working like around the clock on the
     17       Q. (BY MR. MASON) Would you agree that the           17   couple days before the bankruptcy was filed on -- on all
     18   public statements made on the NRA Forward website are    18   of this type of material.
     19   consistent with the NRA's legal positions in the         19       Q. Let's take a look at Exhibit 76, please.
     20   bankruptcy?                                              20              (AMc Exhibit 76 marked.)
     21             MR. GARMAN: Objection to the form of the       21       Q. (BY MR. MASON) It should be in the shared
     22   question.                                                22   folder.
     23             MR. CORRELL: Yeah, I just want to also         23              MR. GARMAN: It's up.
     24   object on the grounds that it calls for legal            24       Q. (BY MR. MASON) Mr. LaPierre, do you see
     25   conclusion.                                              25   Ackerman Exhibit 76?
                                                        Page 467                                                           Page 469

                                                                                                        57 (Pages 466 - 469)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                           Entered 04/03/21 02:48:03                   Page 99 of
                                        149
      1       A. I do.                                                 1   but he doesn't -- he doesn't do it usually on his own --
      2       Q. And it looks like there's -- at the top it            2   sometimes he might -- without -- without also seeking
      3   says leadership quotes. Do you see that?                     3   input or running it by somebody.
      4       A. I do see that.                                        4       Q. And when you say "running it by somebody," are
      5       Q. And there's a statement from yourself, and            5   you referring to running it by somebody at the NRA or
      6   then if you keep going through, there's a statement from     6   running it by somebody at the Brewer firm?
      7   Ms. Meadows and then there's a statement from Mr. Brewer     7       A. Well, I'm talking about at the NRA, but as I
      8   and then there's a statement from Mr. King. Do you see       8   said, he works with -- if it's a legal issue, he works
      9   that?                                                        9   with Travis Carter at the Brewer firm on it if it
     10       A. I do.                                                10   involves any of these litigation matters or -- or this
     11       Q. Who made the decision as to which leadership         11   type of matter.
     12   quotes were going to be -- well, let me back up.            12       Q. Why was John Frazer not quoted on the
     13           Who made the decision as to which leaders were      13   leadership quotes page on the NRA Forward website?
     14   going to be quoted on this particular page?                 14             MR. GARMAN: Objection to form.
     15             MR. GARMAN: Objection to form.                    15       A. I don't have any idea. These are the names
     16           Go ahead and answer.                                16   Andrew suggested be there, and I -- you'd have to ask
     17       A. I believe Andrew Arulanandam came up with the        17   Andrew why they didn't decide to -- I mean, other people
     18   list of who he thought should be quoted.                    18   aren't quoted either. I mean, I don't think it was
     19       Q. (BY MR. MASON) Did Mr. Arulanandam consult           19   anything particularly involving John Frazer or aimed at
     20   with anyone else at the NRA before this was posted on       20   John Frazer. It was just these are the people Andrew
     21   the NRA Forward website?                                    21   came up with that he thought should be quoted.
     22       A. I believe he -- I'm pretty sure he mentioned         22       Q. (BY MR. MASON) Do you agree that Mr. Brewer
     23   to me in terms of these are people I'm thinking of using    23   is one of the leaders within the NRA?
     24   quotes from, and he mentioned one from me and then he       24             MR. GARMAN: Objection to the form of the
     25   mentioned these others.                                     25   question.
                                                           Page 470                                                         Page 472

      1       Q. Did Mr. Brewer ask if he could be quoted on           1       A. No. Mr. Brewer is litigation counsel working
      2   the leadership quotes page?                                  2   for the NRA. I would not say he's a leader of the NRA.
      3             MR. CORRELL: Objection. This is                    3       Q. (BY MR. MASON) Let's take a look at
      4   Mr. Correll.                                                 4   Exhibit 128, please.
      5          To the extent that it calls for you to reveal         5               (AMc Exhibit 128 marked.)
      6   any communications with attorneys about litigation, I        6               MR. GARMAN: Okay. We have it.
      7   instruct you not to answer.                                  7       Q. (BY MR. MASON) Mr. LaPierre, have you seen
      8       A. Well, as I said, I -- the one I talked to             8   this before, this article before?
      9   about this was Andrew. So Andrew would have the              9               MR. GARMAN: Counsel, Mr. LaPierre hasn't
     10   knowledge on whether it was his idea or whether he had a    10   read it. I'm either going to ask that he read it or you
     11   conversation with Mr. Brewer.                               11   represent what it is.
     12       Q. (BY MR. MASON) Does --                               12               MR. MASON: Sure.
     13       A. I know I didn't have a conversation with             13       A. I have not seen it.
     14   Mr. Brewer about it.                                        14       Q. (BY MR. MASON) Sure.
     15       Q. Does Mr. Arulanandam have complete control as        15       A. I have not seen the article before.
     16   to the NRA's public relations and the statements that       16       Q. Let me back up and ask one question.
     17   are put out by the NRA?                                     17          Mr. LaPierre, you testified that I believe on
     18       A. He is director of public affairs for the             18   January 15, the day that the NRA was filing for
     19   National Rifle Association, and he directs that             19   bankruptcy, you reviewed the various materials that were
     20   operation. He -- he runs by -- statements by a number       20   going to be posted on the NRA Forward website. Is
     21   of people. He runs -- depending on what the subject, he     21   that -- is that accurate?
     22   runs it by me. He runs them by Jason Ouimet, the ILA        22       A. I reviewed all kinds of material that day.
     23   director, Institute for Legislative Action. He runs         23   I -- yes, I reviewed a lot of material that day. I
     24   them by Joe DeBergalis, the director of general             24   don't know whether I reviewed everything that was going
     25   operations. It depends on the nature of the subject,        25   to be posted on the website, but I reviewed a lot of --
                                                           Page 471                                                         Page 473

                                                                                                          58 (Pages 470 - 473)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                                 Entered 04/03/21 02:48:03                  Page 100 of
                                        149
      1   a lot of press releases and letters to vendors and                  1   statement in the press -- well, let me ask you this. As
      2   letters to the board and other things like that.                    2   you sit here today, are you aware of any statements that
      3       Q. Okay. So going back to Ackerman Exhibit 128,                 3   Mr. Brewer has made in the press relating to the
      4   this is a press release that was put out by Stephen                 4   bankruptcy that have been run or approved by you first?
      5   Gutowski that is titled "NRA Board to Hold Emergency                5       A. No, I don't -- I don't know of any statement
      6   Hearing Amid Bankruptcy Turmoil."                                   6   that Mr. Brewer has made that -- a press release or
      7           And if you will, Mr. LaPierre, I would like                 7   anything that was run by me. I know that in this quote,
      8   for you to scroll down to the second page, please.                  8   the plan was widely endorsed by the board members. I
      9              MR. GARMAN: Counsel, this is a press                     9   mean, since we have had an overwhelming support from
     10   release?                                                           10   board members and NRA members and elected officials in
     11              MR. MASON: Well, I'm sorry. It's not a                  11   terms of -- since the filing. I mean, people have --
     12   press release from the NRA. It's a news article. Thank             12   our members have been cheering, to tell you the truth,
     13   you for that correction.                                           13   and so have elected officials.
     14       Q. (BY MR. MASON) And if you will, the first                   14       Q. So when Mr. Brewer says this plan was
     15   full paragraph. It states, You could have seen the top             15   undertaken in full compliance with the NRA policy, do
     16   of my car blow off with my head, Journey said, because I           16   you understand that he is stating that the plan to file
     17   knew what that meant. It meant that those three lawyers            17   Chapter 11 bankruptcy? Is that your understanding?
     18   committed a lie of omission of material facts to the               18             MR. GARMAN: Objection to the form of the
     19   board of directors. Nobody said bankruptcy.                        19   question.
     20           Do you see that?                                           20       A. Yeah, I think he's accurately stating the
     21       A. I do see that.                                              21   truth, that it was -- the authority to file was
     22              MR. GARMAN: So I am going to object.                    22   delegated to the EVP's office, and I worked with the
     23   You haven't laid foundation for this document, but go              23   SLC, which is in compliance with NRA policy.
     24   ahead.                                                             24       Q. (BY MR. MASON) Who are all the board members
     25       Q. (BY MR. MASON) And then Mr. Brewer, it                      25   that supported the NRA filing Chapter 11 bankruptcy in
                                                                  Page 474                                                         Page 476

      1 states, Counsel to the NRA says that Journey is                       1   Dallas, Texas, prior to the January 7th board meeting?
      2 mistaken. Judge Journey purportedly supports the                      2              MR. GARMAN: Objection to the form of the
      3 mission of the NRA and claims not to oppose the                       3   question, objection to foundation.
      4 association seeking to reincorporate in Texas, he said                4      A. We discussed it at length. The resolution
      5 in a statement. Unfortunately, he seems to mistakenly                 5   that was passed delegated to the EVP's office the
      6 believe that the NRA reorganization plan did not follow               6   authority to reorganize, and I consulted with the
      7 board and internal protocol. This plan was undertaken                 7   special litigation committee, Carolyn Meadows, Willes
      8 in full compliance with the NRA policy. The plan has                  8   Lee, Charles Cotton. We were very concerned about
      9 been widely endorsed by NRA board members, NRA members,               9   leaks, as I've said on this, because if it had leaked --
     10 elected officials and other key stakeholders.                        10   given from her own statements, we believed General
     11        Do you see that?                                              11   James, had she been informed of it by through a leak,
     12     A. Yeah.                                                         12   would have tried to put the NRA into receivership, which
     13     Q. So my first question for you is who at the NRA                13   would have destroyed the NRA. So --
     14 authorized Mr. Brewer to make this statement?                        14              MR. MASON: Could I have my question read
     15           MR. GARMAN: Objection first -- objection                   15   back, please?
     16 to the form of the question and objection, lacks                     16              (Requested testimony read.)
     17 foundation.                                                          17              MR. GARMAN: Counsel, I believe he
     18           MR. CORRELL: I would also -- this is                       18   answered your question.
     19 Kent Correll. I object to the extent that it calls for               19              MR. CORRELL: Same objections.
     20 disclosure of any confidential attorney/client                       20      Q. (BY MR. MASON) Prior to the January 7th board
     21 communication.                                                       21   meeting.
     22     A. It would be a conversation between Andrew                     22              MR. GARMAN: Object to the form of the
     23 Arulanandam and Mr. Brewer. I haven't seen this                      23   question, asked and answered.
     24 article, and I haven't seen this quote.                              24          You can identify the same individuals again.
     25     Q. (BY MR. MASON) When Mr. Brewer makes a                        25      A. I consulted with Carolyn Meadows, Willes Lee,
                                                                  Page 475                                                         Page 477

                                                                                                                 59 (Pages 474 - 477)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                         Entered 04/03/21 02:48:03                  Page 101 of
                                        149
      1   Charles Cotton, and the authority was delegated to the      1       A. I see that.
      2   EVP's office to reorganize at that board meeting. And I     2       Q. And the NRA states here, This process begins
      3   wasn't in the room, so I don't know all the discussions     3   immediately. The NRA is expected to emerge from these
      4   that took place on that resolution.                         4   proceedings within the next six months.
      5       Q. (BY MR. MASON) Since January 15, have any            5          Do you see that?
      6   other board members besides Mr. Liptak resigned from the    6       A. I do see that.
      7   NRA board?                                                  7       Q. Is it your testimony that it was just
      8             MR. GARMAN: Object to the -- object to            8   Mr. Arulanandam and Mr. Travis Carter that were involved
      9   it being outside the scope.                                 9   in preparing the answer to this question?
     10          Go ahead and answer.                                10              MR. GARMAN: Objection to the form of the
     11       A. Not that I'm aware of.                              11   question.
     12       Q. (BY MR. MASON) We can take a look at                12       A. I believe -- my belief on this question is
     13   Exhibit 91, please.                                        13   that you would have to ask Andrew, but I would probably
     14             (AMc Exhibit 91 marked.)                         14   bet that on the specific legal issue of proceed within
     15       Q. (BY MR. MASON) And while your counsel is            15   the next six months, they probably consulted legal
     16   pulling that up, Mr. LaPierre, are you aware of any        16   counsel.
     17   leaks relating to the executive committee meeting that     17       Q. (BY MR. MASON) What's the factual basis for
     18   took place on January 7th?                                 18   the statement that the NRA is expected to emerge from
     19             MR. GARMAN: Object to the form of the            19   these proceedings within the next six months?
     20   question, object that it's outside the scope of the        20              MR. GARMAN: Objection to the form of the
     21   examination.                                               21   question.
     22          Go ahead.                                           22       A. I have no personal knowledge of that. You
     23       A. I am not aware of any leaks that took place at      23   would need to ask -- it would be a question for the
     24   that January 7th meeting, no, I'm not.                     24   attorneys and the bankruptcy attorneys, and I don't have
     25       Q. (BY MR. MASON) Is the reason that there were        25   the -- I don't have the answer.
                                                          Page 478                                                        Page 480

      1   not any leaks because Chapter 11 bankruptcy was not         1       Q. (BY MR. MASON) You are the NRA's corporate
      2   discussed?                                                  2   representative designated on the NRA Forward website.
      3             MR. GARMAN: Objection to the form of the          3   Is that right?
      4   question.                                                   4              MR. GARMAN: Objection. He's our
      5             MR. CORRELL: Objection to the form and            5   designated representative for question 8.
      6   no foundation.                                              6       Q. (BY MR. MASON) Is that true, Mr. LaPierre?
      7       A. I don't know the answer to that.                     7       A. I am the designee for the question -- the
      8       Q. (BY MR. MASON) If you could take a look at           8   Ackerman questions here today on -- that are
      9   Exhibit 91. I believe this -- we may have looked at         9   highlighted.
     10   this before. This is the questions and answers section     10              MR. GARMAN: Counsel, for clarity of the
     11   of the NRA Forward website. Do you see that?               11   record, I have a highlighted copy of the -- of the
     12       A. Yes, I do.                                          12   notice in front of me. That's simply all that's here.
     13       Q. Was anyone else involved with the preparation       13       Q. (BY MR. MASON) And just to be clear,
     14   of these questions and answers besides Mr. Arulanandam     14   Mr. LaPierre, you were the corporate representative on
     15   and the Brewer law firm?                                   15   the Ackerman topics 5 and 8. Is that correct?
     16       A. Not that I know of, based on my discussions         16              MR. GARMAN: The witness is referring to
     17   with -- with Andrew Arulanandam earlier today.             17   my copy --
     18       Q. When did the NRA begin preparing Exhibit 91?        18       A. That's correct, 5 and 8.
     19       A. As I've said, I think they worked on it a           19       Q. (BY MR. MASON) And with respect to topic 8,
     20   couple of days before the -- the bankruptcy was            20   did you review any of the contents on the NRA Forward
     21   announced. They were working around the clock on this      21   website before testifying as the NRA corporate
     22   stuff.                                                     22   representative today?
     23       Q. If you'll go down to the third page about           23       A. I did not. I had conversations with Andrew
     24   two-thirds of the way down. Do you see the question        24   Arulanandam about who -- about the process and who he
     25   when will the restructuring process be completed?          25   worked with, and that's the conversations I had along,
                                                          Page 479                                                        Page 481

                                                                                                        60 (Pages 478 - 481)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21                            Entered 04/03/21 02:48:03                      Page 102 of
                                        149
      1   with counsel from the Garman firm.                            1           CHANGES AND SIGNATURE
      2             MR. MASON: All right. Let's go off the              2 WITNESS NAME: WAYNE LAPIERRE
      3   record. I think I'm about done. Let me see if I've got        3 DATE OF DEPOSITION: MARCH 23, 2021
      4   any other questions.                                          4 PAGE    LINE    CHANGE        REASON
      5             MR. GARMAN: Sure.                                   5 _______________________________________________________
      6             THE VIDEOGRAPHER: We're going off the               6 _______________________________________________________
      7   record. The time on the video is 5:49 p m.                    7 _______________________________________________________
      8             (Break from 5:49 p m. to 5:51 p.m.)                 8 _______________________________________________________
      9             THE VIDEOGRAPHER: We're back on the                 9 _______________________________________________________
     10   record. The time on the record is 5:51 p.m.                  10 _______________________________________________________
     11      Q. (BY MR. MASON) Mr. LaPierre, the general               11 _______________________________________________________
     12   counsel of the National Rifle Association, John Frazer       12 _______________________________________________________
     13   on Thursday testified that if the filing of the              13 _______________________________________________________
     14   bankruptcy was not authorized then it could not be filed     14 _______________________________________________________
     15   in good faith. My question for you is do you agree with      15 _______________________________________________________
     16   that statement                                               16 _______________________________________________________
     17             MR. GARMAN: I object to the form of the            17 _______________________________________________________
     18   question. I object to the extent it calls for a legal        18 _______________________________________________________
     19   conclusion.                                                  19 _______________________________________________________
     20      A. I said earlier if the board had not delegated          20 _______________________________________________________
     21   the authority to the EVP's office to reorganize, I would     21 _______________________________________________________
     22   not have proceeded ahead with a reorganization.              22 _______________________________________________________
     23             MR. MASON: All right. I am going to                23 _______________________________________________________
     24   pass the witness at this point, save the -- reserve the      24 _______________________________________________________
     25   rest of our 30(b)(6) time, unless Mr. Thompson has any       25    Job No TX4510606
                                                            Page 482                                                                Page 484

      1   other questions.                                              1        I, WAYNE LAPIERRE, have read the foregoing
      2             MR. THOMPSON: No. Thank you. I will                 2 deposition and hereby affix my signature that same is
      3   pass the witness as well.                                     3 true and correct, except as noted above.
      4             MR. DRAKE: This is Scott Drake. On                  4
      5   behalf of the Committee, we have no further questions of      5            ___________________________________
      6   Mr. LaPierre.                                                 6                   WAYNE LAPIERRE
      7             MR. GARMAN: Thank you, Scott.                       7
      8          Mr. Videographer, if you would put on the              8 THE STATE OF __________)
      9   record the amount of time each of the parties used on         9 COUNTY OF _____________)
     10   the 30(b)(6) before we go off, I think we would all          10        Before me, ___________________________, on
     11   appreciate it.                                               11 this day personally appeared WAYNE LAPIERRE, known to me
     12             THE VIDEOGRAPHER: Yes. Mr. Thompson                12 (or proved to me under oath or through
     13   used 32 minutes and Mr. Mason used 32 minutes.               13 ___________________________) (description of identity
     14             MR. GARMAN: Good.                                  14 card or other document) to be the person whose name is
     15             MR. MASON: Consistent. Okay. I've got              15 subscribed to the foregoing instrument and acknowledged
     16   nothing else.                                                16 to me that they executed the same for the purposes and
     17          Thank you, Mr. LaPierre.                              17 consideration therein expressed.
     18             THE WITNESS: Thank you.                            18        Given under my hand and seal of office this
     19             THE VIDEOGRAPHER: This concludes today's           19 __________ day of ________________________, __________.
     20   deposition. The time on the video is 5:53 p.m. We are        20
     21   off the record.                                              21
     22              (Proceedings ended at 5:53 p.m.)                  22            ___________________________________
     23                                                                23            NOTARY PUBLIC IN AND FOR
     24                                                                24            THE STATE OF ______________________
     25                                                                25
                                                            Page 483                                                                Page 485

                                                                                                               61 (Pages 482 - 485)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 103 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 104 of
                                        149




                                   EXHIBIT 7
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 105 of
                                        149




                                                     AMc DEPOSITION
                                                        EXHIBIT
                                                           12
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 106 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 107 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 108 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 109 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 110 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 111 of
                                        149
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 112 of
                                        149




                                   EXHIBIT 8
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 113 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER

  1                       UNITED STATES DISTRICT COURT
  2                        NORTHERN DISTRICT OF TEXAS
  3                                DALLAS DIVISION
  4
  5
          IN RE:                                )
  6                                             )
                                                )
  7       NATIONAL RIFLE                        ) Case No.
          ASSOCIATION OF AMERICA                ) 21-30085-hdh-11
  8       AND SEA GIRT, LLC,                    )
                                                )
  9           Debtors.                          )
10
11       ******************************************************
12                REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
13                          HONORABLE PHILLIP JOURNEY
14                                 MARCH 18, 2021
15         CONFIDENTIAL PURSUANT TO PROPOSED PROTECTIVE ORDER
16       ******************************************************
17
18
19
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21
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23
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25

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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 114 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
                                                                                  1 FOR THE NATIONAL RIFLE ASSOCIATION OF AMERICA:
      1    REMOTE ORAL AND VIDEOTAPED DEPOSITION OF HONORABLE                     2   Dylan Ciciliano
      2 PHILLIP JOURNEY, produced as a witness at the instance                        William Noall
                                                                                  3   Talitha Gray Kozlowski
      3 of the New York State Office of the Attorney General,                         GARMAN TURNER GORDON LLP
                                                                                  4   7521 Amigo Street, Suite 210
      4 and duly sworn, was taken remotely in the above-styled                        Las Vegas, Nevada 89119
      5 and numbered cause on the 18th day of March, 2021, from                   5   702.777.3000
                                                                                      dciciliano@gtg.legal
      6 4:10 p.m. to 7:57 p.m., via Zoom, before Julie C.                         6
                                                                                  7 FOR THE PEOPLE OF THE STATE OF NEW YORK:
      7 Brandt, RMR, CRR, and CSR in and for the State of Texas,                  8   Lucas McNamara
                                                                                      Monica Connell
      8 reported by machine shorthand, with the witness located
                                                                                  9   Yael Fuchs
      9 in Wichita, Kansas, pursuant to the Federal Rules of                          OFFICE OF THE ATTORNEY GENERAL OF THE
                                                                                 10       STATE OF NEW YORK
     10 Civil Procedure and the provisions stated on the record                       28 Liberty Street, 18th Floor
                                                                                 11   New York, New York 10005
     11 or attached hereto.
                                                                                      212.416.8401
     12                                                                          12   lucas.mcnamara@ag.ny.gov
                                                                                 13   Jonathan Conley
     13                                                                               NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
                                                                                 14   The Capitol
     14
                                                                                      Albany, New York 12224
     15                                                                          15   212.416.8108
                                                                                      jonathan.conley@ag.ny.gov
     16                                                                          16
                                                                                 17 FOR THE OFFICE OF THE U.S. TRUSTEE:
     17                                                                          18   Lisa L. Lambert
     18                                                                               Marc F. Salitore
                                                                                 19   UNITED STATES TRUSTEE PROGRAM
     19                                                                               1100 Commerce Street, Room 976
                                                                                 20   Dallas, Texas 75242
     20                                                                               214.767.8967
     21                                                                          21   lisa.l.lambert@usdoj.gov
                                                                                 22
     22                                                                             FOR THE PROPOSED SPECIAL COUNSEL FOR DEBTORS:
                                                                                 23
     23                                                                               Svetlana M. Eisenberg
     24                                                                          24   BREWER ATTORNEYS & COUNSELORS
                                                                                      750 Lexington Avenue, 14th Floor
     25                                                                          25   New York, New York 10022
                                                                        Page 2                                                         Page 4
      1            REMOTE APPEARANCES                                             1     212.224.8817
      2
      3 FOR THE NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL:                          sme@brewerattorneys.com
      4   Gerrit Pronske                                                          2
          Eric Van Horn
      5   Jason Kathman                                                           3 ALSO PRESENT:
          SPENCER FANE LLP                                                        4   Jennifer Jones
      6   2200 Ross Avenue, Suite 4800 West
          Dallas, Texas 75201                                                     5   Jeremy Economos
      7   214.750.3610                                                            6   Dave Hamrick
          gpronske@spencerfane.com
      8                                                                           7   Dave Webster
      9 FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS:                        8   David Dell'Aquila
     10   Nick Hendrix
          Emma Persson
                                                                                  9
     11   NORTON ROSE FULBRIGHT US LLP                                              VIDEOGRAPHER:
          2200 Ross Avenue, Suite 3600
     12   Dallas, Texas 75201
                                                                                 10
          214.855.8341                                                                Zack Mata - Veritext
     13   nick.hendrix@nortonrosefulbright.com
     14
                                                                                 11
        FOR THE HONORABLE PHILLIP JOURNEY:                                       12
     15                                                                          13
          Jermaine Watson
     16   BONDS ELLIS EPPICH SCHAFER JONES LLP                                   14
          420 Throckmorton Street, Suite 1000                                    15
     17   Fort Worth, Texas 76102
          817.529.2724                                                           16
     18   jermaine.watson@bondsellis.com                                         17
     19
        FOR ACKERMAN MCQUEEN, INC.:                                              18
     20                                                                          19
          Brian Mason
     21   Joseph Acosta
                                                                                 20
          DORSEY & WHITNEY LLP                                                   21
     22   300 Crescent Court, Suite 400
          Dallas, Texas 75201
                                                                                 22
     23   214.981.9929                                                           23
          mason.brian@dorsey.com
     24
                                                                                 24
     25                                                                          25
                                                                        Page 3                                                         Page 5

                                                                                                                              2 (Pages 2 - 5)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 115 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1                   INDEX                                                  1              MR. WATSON: Jermaine Watson. I
                                         PAGE
      2                                                                          2   represent Judge Journey. I'll be defending this
        Appearances.................................... 3                        3   deposition. I am a partner at Bonds Ellis Eppich
      3 Proceedings.................................... 7                        4   Schafer Jones, LLP.
        Stipulations................................... 8
      4                                                                          5           And before we go any further, I wanted to
        HONORABLE PHILLIP JOURNEY                                                6   point out to all the parties that we agreed to do this
      5    Examination by Mr. Pronske................ 10
                                                                                 7   on very short notice. My client is a sitting judge, and
           Examination by Mr. Mason.................. 86
      6    Examination by Mr. Ciciliano.............. 100                        8   he had a docket today. And we only made him available
           Further Examination by Mr. Pronske........ 148                        9   with the understanding or the agreement, rather, that he
      7    Further Examination by Mr. Mason.......... 165
      8 Signature and Changes.......................... 171
                                                                                10   would be subjected to two hours or up to two hours, is
        Reporter's Certificate......................... 173                     11   what it was explained to me. We don't have an official
      9                                                                         12   agreement with any party to go beyond that. To the
     10 DEPOSITION EXHIBITS                               IDENTIFIED
     11 Exhibit 1     NRA Bylaws as Amended                                     13   extent necessary, I will check with my client at the end
                  September 14, 2019.............. 37                           14   of two hours and see if he wants to continue. But I am
     12                                                                         15   not going to promise parties that we're going to keep
        Exhibit 2     Employment Agreement of Wayne
     13           R. LaPierre..................... 41                           16   him much longer than that unless he consents. So with
     14                                                                         17   that, I will let everyone else make their appearance.
     15
                                                                                18              MR. CICILIANO: This is Dylan Ciciliano
     16
     17                                                                         19   from Garman Turner Gordon on behalf of the Debtors.
     18                                                                         20   Along with me are Talitha Gray Kozlowski and William
     19
                                                                                21   Noall. As well to add to that objection, I do believe
     20
     21                                                                         22   that we've discussed in this case remote videographers
     22                                                                         23   may or may not be admissible. I would also object. And
     23
     24                                                                         24   this is with speaking to the judge before the
     25                                                                         25   deposition. He doesn't have an additional means to --
                                                                       Page 6                                                            Page 8

      1               PROCEEDINGS                                                1   to transmit his video, but we do have an objection to it
      2             THE VIDEOGRAPHER: Today's date is                            2   being from the courtroom just on appearance sake. I
      3   March 18, 2021. The time is 4:10, and we are on the                    3   don't imagine I am going to stop the deposition from
      4   record. This is the beginning of the remote video                      4   going forward, but I do want to preserve that just for
      5   deposition of the Honorable Phillip Journey.                           5   the appearance sake. Thank you.
      6          This deposition is being held via Zoom due to                   6             MS. EISENBERG: Good afternoon. I'm
      7   the COVID-19 pandemic.                                                 7   Svetlana Eisenberg from Brewer Attorneys and Counselors,
      8          My name is Zack Mata from the firm Legal Video                  8   Proposed Special Counsel for the Debtors.
      9   of Texas. And I am the videographer. The court                         9             MR. HENDRIX: Nick Hendrix, Norton Rose
     10   reporter is Julie from the firm Veritext. I am not                    10   Fulbright, here on behalf of the Official Committee of
     11   authorized to administer an oath. I am not related to                 11   Unsecured Creditors. And I am joined by several members
     12   any party in this action, nor am I financially                        12   of the committee as well.
     13   interested in the outcome.                                            13             MR. ACOSTA: This is Joe Acosta. I am
     14          Counsel and all present in the room and                        14   here with Brian Mason. We represent Ackerman McQueen.
     15   everyone attending remotely will now state their                      15             MR. MCNAMARA: Good afternoon. This is
     16   appearances and affiliations for the record. If there                 16   Lucas McNamara. I'm Assistant Attorney General with the
     17   are any objections to this proceeding being held via                  17   New York State Office of Attorney General.
     18   Zoom, please state them at the time of your appearance,               18             THE REPORTER: Anyone else want to
     19   beginning with the noticing attorney.                                 19   identify?
     20             MR. PRONSKE: I am Gerrit Pronske. And I                     20             MR. WATSON: I think one of the trial
     21   represent the New York Attorney General, along with Eric              21   attorneys from the UST's office is logging in. Lisa,
     22   Van Horn and Jason Kathman; all three of us with the law              22   are you going to enter your appearance? Lisa?
     23   firm of Spencer Fane. And we have on the line with us                 23          Could you mute her?
     24   Monica Connell, who is an attorney at the New York                    24          Lisa, can you hear us?
     25   Attorney General's office.                                            25             MS. LAMBERT: Yes, I can hear you.
                                                                       Page 7                                                            Page 9

                                                                                                                            3 (Pages 6 - 9)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 116 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1             MR. WATSON: Okay. Are you going to                   1   year you were elected to the board?
      2   identify yourself for the deposition?                          2      A. Okay. The first time I was elected, it was
      3             MS. LAMBERT: This is Lisa Lambert with               3   from -- for a period of time from 1995 to '98, so about
      4   the Office of the United States Trustee, representing          4   25 years ago.
      5   William Neary, the US Trustee.                                 5      Q. Okay.
      6             THE REPORTER: Okay. If that's everyone,              6      A. And then I was elected in the 2020 election,
      7   I will swear in the judge.                                     7   but I wasn't able to be sworn in until after the annual
      8             (Witness sworn.)                                     8   meeting had been postponed twice. So I officially
      9          MR. PRONSKE: Okay. Are you ready for me to              9   joined the board on October 24th of 2020.
     10   proceed?                                                      10      Q. Okay. And how long is that term?
     11             THE REPORTER: Ready.                                11      A. It's a three-year term.
     12             HONORABLE PHILLIP JOURNEY,                          12      Q. Okay. Thank you.
     13   having been first duly sworn and having confirmed that        13          Are you appointed to any committees of the NRA
     14   he is The Honorable Phillip Journey, testified remotely       14   board?
     15   as follows:                                                   15      A. I just got my notice. I know it was
     16                  EXAMINATION                                    16   grassroots and youth development.
     17   BY MR. PRONSKE:                                               17      Q. Okay. And do you sit on the executive
     18       Q. Judge Journey, my name is Gerrit Pronske. I'm          18   committee as well?
     19   with the law firm of Spencer Fane and represent the New       19      A. No.
     20   York Attorney General.                                        20      Q. Okay. So I'm going to refer to a board
     21          Could you -- and actually, as Mr. Ciciliano            21   meeting that was held on January 7, 2021 and the
     22   was objecting, I was thinking that you have a really          22   executive sessions of that board meeting. I'm just
     23   beautiful courtroom there. So congratulations for that.       23   going to refer to that as the board meeting. Can we
     24       A. Thank you. It's one of the newer ones. The             24   have that agreement?
     25   reason I chose the courtroom was they just spent $40,000      25      A. Sure.
                                                              Page 10                                                           Page 12

      1   on sound equipment so y'all can hear me nice and clear.        1       Q. It's my understanding from a deposition taken
      2   And I tried doing it in chambers and I couldn't get the        2   of John Frazer at this morning's session, he
      3   camera to work, so I gave up this morning.                     3   characterized that board meeting as having been
      4       Q. Well, we can -- we can hear you very well, so           4   separated into three sections that he called the full
      5   thanks for that.                                               5   board meeting; and the executive session one, which
      6          Can you please state your name for the record?          6   dealt with the Wayne LaPierre employment contract
      7       A. Phillip Journey.                                        7   approval; and then the executive session two, which was
      8       Q. And can you tell the Court what, if anything,           8   the formation of the special litigation committee.
      9   that you did to prepare for this deposition?                   9           Does that sound accurate?
     10       A. I reviewed the motion, looked through some of          10       A. That's pretty close. There was a lot of
     11   the files on my computers. You know, I mean, it's a           11   little stuff we did at the beginning and then wrapped
     12   pretty narrow scope, so I didn't think there was a whole      12   up. You know, it only took about an hour and a half.
     13   lot to do. And I've had a really crazy week, so right         13       Q. Okay. The -- and you attended that board
     14   now I am trying to clear up the one on the 29th, if I         14   meeting. Correct?
     15   can, so we'll see.                                            15       A. Yes.
     16       Q. Okay. And I am not going to give you all the           16       Q. The minutes show -- of that board meeting show
     17   normal depo instructions since you're a jurist, but I         17   that there were 37 members of the 76 board members
     18   will ask that we both be particularly cognizant of not        18   present. Does that sound correct to your view?
     19   talking over one another, given this video format. Can        19       A. Well, I didn't count noses, but that's
     20   we have that agreement?                                       20   probably about right.
     21       A. Sure. You sound just like me every day.                21       Q. And was that both attendance by remotely and
     22       Q. And we're both wearing blue shirts, you know,          22   physically present?
     23   so go figure.                                                 23       A. The only thing I remember was a video
     24       A. Yeah.                                                  24   presentation by Carolyn Meadows, but that was not a live
     25       Q. So can you tell the Court approximately what           25   link from what I could see.
                                                              Page 11                                                           Page 13

                                                                                                                 4 (Pages 10 - 13)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 117 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1       Q. Were the rest of the board members there                   1   changes made for that version?
      2   physically present there?                                         2       A. I remember there were two bylaws events that
      3       A. Yes.                                                       3   were voted on in the October 24th meeting. I do not
      4       Q. Okay. Can you tell the Court, looking at page              4   recall the topics. I do recall that I voted for both of
      5   4 of the minutes -- we don't need to go to that, but did          5   them.
      6   you hear a request by Ms. Froman that the record reflect          6       Q. Okay. And now let's go to that board meeting,
      7   that she was not present?                                         7   and I want to ask you when the board broke up to have
      8       A. Yes.                                                       8   the executive session relating to the Wayne LaPierre
      9       Q. And can you provide any context on that                    9   employment contract, were you present in that executive
     10   statement that was put into the record?                          10   session?
     11       A. I am not sure what you're asking for.                     11       A. Yes.
     12       Q. Do you know the reason that she requested that            12       Q. And can you tell the Court, was the sole
     13   the record reflect that she was not present?                     13   purpose of that executive session to review and approve
     14             MR. WATSON: Objection, speculation.                    14   the employment contract of Wayne LaPierre?
     15          You can answer, Judge Journey, if you know.               15             MR. WATSON: Objection. There may be a
     16             THE WITNESS: Thank you.                                16   privilege here, but I'll let the NRA assert that
     17       A. I am uncertain as to why she did that.                    17   privilege.
     18       Q. (BY MR. PRONSKE) Okay. Can you tell the                   18             MR. CICILIANO: Yeah, I would likewise
     19   Court in general terms what is the difference between            19   object to the extent that it calls for the disclosure of
     20   the function of the full board and the executive                 20   attorney/client communications or work product. I would
     21   committee?                                                       21   direct you not to answer on behalf of the NRA, but
     22             MR. CICILIANO: Objection, lack of                      22   generally --
     23   foundation.                                                      23             MR. WATSON: I'm sorry. Are you done,
     24             MR. WATSON: Did we get your objection,                 24   Dylan?
     25   Mr. Ciciliano?                                                   25             MR. CICILIANO: Yes.
                                                                 Page 14                                                          Page 16

      1           MR. CICILIANO: I would just generally                     1              MR. WATSON: I am going to instruct you
      2 object on foundation. Go ahead.                                     2   not to answer that, Judge --
      3           MR. WATSON: Okay. Go ahead.                               3              THE WITNESS: Thank you.
      4     A. It's my recollection that the executive                      4              MR. WATSON: -- on that basis.
      5 committee's purpose is basically to fill in when the                5      Q. (BY MR. PRONSKE) So Judge Journey, are you
      6 board is not in session to make decisions or provide                6   refusing to answer that question?
      7 guidance to staff through resolutions.                              7      A. I'm sorry, what?
      8     Q. (BY MR. PRONSKE) Okay. And have you reviewed                 8      Q. Are you refusing to answer that question on
      9 the bylaws of the National Rifle Association?                       9   your attorney's advice?
     10     A. Which version? You know, they change about                  10      A. I think I should rely on my counsel's advice,
     11 every week, it seems like, but at least every three or             11   yes.
     12 four months.                                                       12      Q. Okay. So were -- was -- when that committee
     13     Q. I would be talking about the version that                   13   broke up -- broke into session, was the full board told
     14 would be effective as of the board meeting.                        14   that this -- that there was going to be an executive
     15     A. I have not gotten a copy of the bylaws as they              15   session?
     16 were amended in the October 24th meeting.                          16      A. Generally, an executive session is moved by
     17     Q. Okay. Would the bylaws -- do you know that if               17   one of the members of the board and then voted on
     18 the bylaws were significantly changed at that point in             18   whether they should go into executive session. So it's
     19 time?                                                              19   not like anybody tells you except by making the motion.
     20           MR. CICILIANO: Objection, form.                          20      Q. Okay. And that motion was made in the full
     21           MR. WATSON: And you can answer, Judge.                   21   board session. Is that right?
     22     A. I'm sorry. Ask the question again.                          22      A. Yes.
     23     Q. (BY MR. PRONSKE) Yeah. You said you hadn't                  23      Q. And the full board would have had all of the
     24 seen that most recent version of the bylaws, and I'm               24   board of directors and other individuals that would
     25 asking you if you know whether there were significant              25   have -- there would have been attorneys and then there
                                                                 Page 15                                                          Page 17

                                                                                                                    5 (Pages 14 - 17)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 118 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   would have been other individuals there. Is that          1       object to the extent that it requires the judge to
      2   correct?                                                  2       actually opine as to what was discussed in a privileged
      3       A. Yes. There were -- there's the board counsel,      3       session in order to answer the question, as it
      4   Wit. And then, of course, there's the general counsel,    4       presupposes the privilege, the nature of the
      5   the secretary. They were both present, and I believe      5       communication.
      6   Mr. Brewer was present also. I know he came in and out    6           Q. (BY MR. PRONSKE) You can answer the question.
      7   of the room a couple times.                               7           A. The board goes into executive session when a
      8       Q. Would there -- would that -- would the full        8       member of the board makes a motion and it's seconded,
      9   board session be a session that would be considered       9       and then the board votes on that motion. If the
     10   privileged?                                              10       board -- so someone would bring up the topic, and then
     11             MR. CICILIANO: Objection, calls for a          11       someone would say let's go into executive session, and
     12   legal conclusion.                                        12       then the board votes, and they go into executive session
     13       Q. (BY MR. PRONSKE) Or just the executive            13       if it passes. I mean, it's not like they say we're
     14   session?                                                 14       going to do this at that time and we'll be here.
     15             MR. WATSON: I'm going to object. It            15           Q. Was the board aware that there was going to be
     16   does call for a legal conclusion.                        16       an executive session where the Wayne LaPierre employment
     17       Q. (BY MR. PRONSKE) You can answer, if you know. 17           contract was going to be discussed and approved?
     18             MR. WATSON: You can answer. You can go         18                  MR. WATSON: Objection, asked and
     19   ahead and answer, Judge.                                 19       answered or --
     20       A. Okay. What was the question again?                20               Could you restate the question, Gerrit?
     21       Q. (BY MR. PRONSKE) The question is is it just       21           A. I don't think there was any advance notice
     22   the executive sessions that are considered to be         22       like an agenda. You know, you all have copies of the
     23   privileged, or is the full board session also considered 23       agenda. It doesn't say we're going into executive
     24   privileged?                                              24       session here.
     25       A. I --                                              25           Q. (BY MR. PRONSKE) Okay. Can you tell the
                                                             Page 18                                                        Page 20

      1             MR. WATSON: I'm going to object. Same               1   Court which attorneys were present in the executive
      2   objection.                                                    2   session to discuss the employment contract?
      3          Before you answer, Judge, let me object.               3             MR. CICILIANO: I would just object on
      4             THE WITNESS: Okay.                                  4   the same point to the nature of the question and
      5             MR. WATSON: Calls for a legal                       5   presupposing what was discussed.
      6   conclusion.                                                   6         You can answer who was at the executive
      7          But you can answer.                                    7   session, what attorneys.
      8       A. It's my understanding that the regular board           8      A. I don't remember if Brewer was in the room
      9   meeting is reflected in the minutes and, therefore, it's      9   during that conversation, but I believe Mr. Frazer was.
     10   not privileged because everybody has access to the           10   He was there the entire time. And I believe board
     11   minutes.                                                     11   counsel was present.
     12       Q. (BY MR. PRONSKE) Okay.                                12      Q. (BY MR. PRONSKE) Is that William Davis?
     13       A. So I believe the privilege extends to the             13      A. Yes.
     14   executive session.                                           14      Q. Okay.
     15       Q. Okay. So then I'm going to go back to my              15      A. That's Wit. That's all I know, Wit. Yeah,
     16   original question that was objected to, which is did the     16   you're right, William Davis, okay.
     17   full board -- was the full board aware that there was        17      Q. And was Sara Rogers present?
     18   going to be an executive session where the sole issue to     18      A. I'm not sure.
     19   be reviewed would be the Wayne LaPierre employment           19      Q. Were there any staff members present in that
     20   contract?                                                    20   executive session?
     21             MR. WATSON: Same objection, calls for              21             MR. CICILIANO: Objection, vague.
     22   speculation. He can't testify to what the other board        22      A. You presume I know everybody. I don't know.
     23   members knew. He can only testify to what he observed        23      Q. (BY MR. PRONSKE) Okay. During that executive
     24   or his impression of what happened.                          24   session, were the members that were sitting in that
     25             MR. CICILIANO: And I would further                 25   session provided with a copy of Mr. LaPierre's
                                                             Page 19                                                        Page 21

                                                                                                              6 (Pages 18 - 21)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 119 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   employment contract to be approved?                           1   witness not to answer.
      2       A. They were not given a copy, no. There were             2              MR. WATSON: And I, too, am going to
      3   two copies at two tables, and you had to sit there and        3   direct you not to answer that, Judge Journey.
      4   read it and turn it back in.                                  4              THE WITNESS: Okay.
      5       Q. And did you go over and open that contract and         5       A. Okay. I can't tell you what they did say, but
      6   review it?                                                    6   I think I can tell you what they didn't say. And nobody
      7       A. Yes, I read it.                                        7   during that --
      8       Q. Was there a presentation made by someone with          8              MR. CICILIANO: I would object -- I would
      9   respect to that contract?                                     9   object, Judge, and direct you that what was said or was
     10       A. Mr. Cotton was the -- is the first vice               10   not said is covered by the attorney/client privilege,
     11   president of the NRA, and as President Meadows was not       11   and I would direct you not to answer. The NRA is not
     12   at the board meeting, he ran the meeting. So there was       12   waiving that privilege.
     13   another lawyer in the room, too, by the way. You know,       13              THE WITNESS: Okay.
     14   you'll have to ask him what he said.                         14       A. Nobody said the word "bankruptcy."
     15       Q. Okay. And was Mr. LaPierre present in that            15       Q. (BY MR. PRONSKE) Okay. And did anyone say
     16   session?                                                     16   the word -- and let me ask you this question. As far as
     17       A. No. No.                                               17   not answering the question regarding a discussion about
     18       Q. This morning --                                       18   authority to file bankruptcy, are you refusing to answer
     19       A. Mr. LaPierre came for about three minutes and         19   that question?
     20   left and did not return to the board meeting.                20       A. No. You know, I think my motion speaks for
     21       Q. Okay. So he attended the full board meeting           21   itself.
     22   or this executive session?                                   22       Q. Okay.
     23       A. He was not in either of the executive                 23       A. Doesn't it?
     24   sessions.                                                    24              MR. CICILIANO: Mr. Pronski, we ought to
     25       Q. Okay. So Mr. Frazer testified this morning he         25   be clear here that the privilege is not his to assert or
                                                             Page 22                                                          Page 24

      1   was in that executive session. Is he just incorrect on        1   to waive. The privilege is for the NRA to assert and
      2   that?                                                         2   waive. And if you are going to insist on getting -- and
      3             MR. WATSON: Objection, assumes facts not            3   with respect to Mr. Journey, he may want to talk about
      4   in evidence. Judge Journey wasn't present this morning        4   it.
      5   at Mr. Frazer's deposition.                                   5          But to the extent you're going to insist that
      6       Q. (BY MR. PRONSKE) Let me rephrase that.                 6   he break or attempt to break the privilege that's owned
      7          If Mr. Frazer said at a deposition this                7   by the NRA, I will have to shut the deposition down to
      8   morning that Mr. LaPierre was in that session, would he       8   seek a protective order under Rule 3OG or 30D.
      9   be incorrect?                                                 9          I don't intend to interfere with the rest of
     10       A. My recollection is that the way the board             10   his testimony. So if that's your intent to do so, I say
     11   meeting runs is we all go in and we do the roll call and     11   we draw a box around this and move on to other subject
     12   then the officers give us their reports, like the EVP,       12   matters.
     13   Mr. LaPierre. And he came in, gave his report. It was        13             MR. PRONSKE: Well, I think you're going
     14   very short. And he left. And I don't remember seeing         14   to have a hard time shutting the deposition down because
     15   him enter the room again --                                  15   I'm insisting on something when all I've done,
     16       Q. Okay.                                                 16   Mr. Ciciliano, is ask questions, and I am going to
     17       A. -- during the board meeting.                          17   continue to ask questions, and I am going to ask him --
     18          So you know, maybe Frazer -- but I'm looking          18   when he doesn't want to answer a question, I am going to
     19   forward and Frazer is looking back. So he may have           19   ask him if he refuses to answer the question. If you
     20   entered behind me and I had not seen it. I don't know.       20   interpret that as insisting, then by all means file
     21   All I know is what I saw in front of me.                     21   whatever you need to file.
     22       Q. Was there a discussion in that session of             22       Q. (BY MR. PRONSKE) Judge Journey, can you tell
     23   authority to file for bankruptcy?                            23   the Court, you've said that the word "bankruptcy" was
     24             MR. CICILIANO: I would just object                 24   not used in that session. Was the word "Chapter 11"
     25   pursuant to the attorney/client privilege and direct the     25   used in that session?
                                                             Page 23                                                          Page 25

                                                                                                                7 (Pages 22 - 25)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 120 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1             MR. CICILIANO: I am going to object and           1       A. That's correct.
      2   direct you not to answer pursuant to the attorney/client    2       Q. As a board member of the NRA, do you believe
      3   privilege, and if you insist on answering, the              3   that those -- that that sentence approved or authorized
      4   deposition will be terminated right now.                    4   the filing of a bankruptcy by the NRA?
      5       Q. (BY MR. PRONSKE) Are you refusing to answer          5              MR. CICILIANO: I would just object, and
      6   that question, Judge Journey?                               6   to the extent that your belief is based on what has been
      7             MR. WATSON: I am going to direct you not          7   told to you by the counsel of the NRA, I would direct
      8   to answer, Judge Journey.                                   8   you not to answer. To the extent you have an individual
      9             THE WITNESS: Okay. Okay. All right, I             9   recollection, you may.
     10   will follow your lead, Mr. Watson.                         10              MR. WATSON: Judge Journey, you can
     11       Q. (BY MR. PRONSKE) Was the word                       11   answer based on your -- based on your knowledge or
     12   "reorganization" used in that executive session?           12   observations.
     13             MR. CICILIANO: I will once again object          13              THE WITNESS: Okay.
     14   and direct the witness not to answer pursuant to the       14       A. So what was the question again? You guys, I'm
     15   attorney/client privilege.                                 15   having too much fun watching y'all. I'm sorry, I'm
     16             MR. WATSON: I will direct you not to             16   distracted, okay.
     17   answer, Judge Journey.                                     17       Q. (BY MR. PRONSKE) The question, Judge Journey,
     18             THE WITNESS: Thank you.                          18   is that that sentence that I read from the employment
     19       Q. (BY MR. PRONSKE) Are you refusing to answer,        19   contract, do you believe that those words authorized or
     20   Judge Journey?                                             20   approved a bankruptcy filing of the NRA?
     21       A. I reluctantly am, yeah.                             21       A. You know, when I read that -- we reorganize
     22       Q. Was the word -- were either the word "court"        22   the NRA all the time. We create committees, and we do
     23   or the word "filing" used in that executive session?       23   all kinds of things that are not what would have been
     24             MR. CICILIANO: I will once again object          24   contemplated as what occurred. So, you know, I did
     25   pursuant to the attorney/client privilege and direct the   25   not -- I'm a little mad at myself because I didn't make
                                                           Page 26                                                          Page 28

      1   judge not to answer.                                        1   that link.
      2             MR. WATSON: Judge, don't answer the               2       Q. You didn't make that connection. There was
      3   question. I'm instructing you not to answer.                3   certainly no discussion of bankruptcy that would have
      4             THE WITNESS: Okay.                                4   allowed you to make that connection. Is that right?
      5      A. I'm sorry, I have to say no, I can't answer.          5              MR. CICILIANO: I am going to object
      6      Q. (BY MR. PRONSKE) Judge Journey, as you -- as          6   pursuant to the attorney/client privilege and direct the
      7   you know, the LaPierre employment agreement says -- that    7   witness not to answer what occurred in the executive
      8   was approved says that Wayne LaPierre is empowered,         8   session.
      9   quote, to reorganize or restructure the affairs of the      9              MR. WATSON: Yes, Judge, don't -- don't
     10   association for purposes of cost minimization,             10   answer the question.
     11   regulatory compliance or otherwise, closed quote. Are      11       A. Yeah, I don't have to answer that one. That's
     12   you aware of that language?                                12   self-apparent.
     13      A. Yes.                                                 13       Q. (BY MR. PRONSKE) So to be apparent and to be
     14      Q. Was there any discussion during the executive        14   clear, your testimony is, am I correct, Judge Journey,
     15   committee session whatsoever regarding that sentence of    15   that you did not make any correction -- any correlation
     16   the agreement?                                             16   in your mind between that sentence of the employment
     17             MR. CICILIANO: I am going to object              17   contract or any other sentence in the employment
     18   pursuant to the attorney/client privilege and direct the   18   contract and the filing of a bankruptcy. Is that
     19   judge not to answer.                                       19   correct?
     20             MR. WATSON: Yeah, Judge, don't -- I'm            20              MR. CICILIANO: I would just to -- I
     21   going to instruct you not to answer that question.         21   would just object. To the extent that that requires you
     22             THE WITNESS: All right. That's fine.             22   to divulge what's in your mind with respect to what was
     23      Q. (BY MR. PRONSKE) Your testimony, I believe,          23   informed to you by counsel of the NRA, I would direct
     24   Judge Journey, is that you did read the entire agreement   24   you not to answer to that extent.
     25   before it was approved?                                    25              MR. WATSON: Judge, you can answer the
                                                           Page 27                                                          Page 29

                                                                                                              8 (Pages 26 - 29)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 121 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   question based upon what you know and your recollection.     1   US Trustee as far as the authorization issue?
      2              THE WITNESS: Thank you.                           2       A. That -- that was one of the questions, was how
      3       A. You know, I just want to say "sustained" or           3   corporations authorize the filing of a bankruptcy.
      4   "overruled." I don't know.                                   4       Q. What was the substance of that conversation
      5          But anyway, you know, there was -- there was          5   regarding authorization?
      6   no hint in my little feeble mind that anyone was             6       A. Oh, my gosh. That was so long ago. That was
      7   contemplating bankruptcy.                                    7   like on January 16, you know. We had -- we had many
      8       Q. (BY MR. PRONSKE) All right. And was the               8   conversations over the next three days, because I would
      9   resolution to approve the employment contract ultimately     9   seek clarification and he would send me more research.
     10   adopted by the executive session?                           10   I thought he was going to send me his Colyers and just
     11       A. It was adopted, and then it was reflected in         11   get it over with, you know.
     12   the minutes when we came out.                               12       Q. Did you tell that -- did you tell that US
     13       Q. And was that adoption unanimous?                     13   Trustee during any of those conversations that you
     14       A. I -- I know I voted for it, but I'm not sure.        14   believed that the filing of the bankruptcy by the NRA
     15   I suppose so. I don't remember anybody sticking             15   was not authorized?
     16   their -- else sticking their head out of the trench.        16              MR. WATSON: Objection, calls for a legal
     17       Q. Right.                                               17   conclusion.
     18          Do you -- have you had any discussions with          18          You can answer.
     19   board members about the bankruptcy filing after it was      19       A. That was my impression, yes, and that was what
     20   filed?                                                      20   I related to Mr. Nazar.
     21       A. Sure.                                                21       Q. (BY MR. PRONSKE) And did you tell the United
     22       Q. How many would you say you've spoken with?           22   States Trustee during those conversations that the
     23       A. (Laughter.) I talk to a lot of people. I             23   filing of bankruptcy was not discussed in the board
     24   mean, you know, I called the US Trustee for Kansas, who     24   meetings?
     25   just retired who is a really good friend of mine. I         25              MR. CICILIANO: I would just object here.
                                                            Page 30                                                            Page 32

      1   talked to him. I talked to lots of people after the          1   First of all, I think you're mischaracterizing. He
      2   filing of the bankruptcy, sure.                              2   wasn't the US Trustee.
      3       Q. So can you -- let's drill down on that                3          But second of all, to the extent that you did
      4   conversation with the US Trustee. Can you tell me about      4   disclose anything covered by the attorney/client
      5   that conversation?                                           5   privilege, I would direct you not to disclose it again.
      6       A. He is a really good friend, been my friend for        6   That's not a waiver. You don't have the ability to
      7   over 30 years, Ed Nazar. He just retired as the trustee      7   waive it.
      8   for the district of Kansas. And I talked to him about        8             THE WITNESS: Thank you. One thing I
      9   the bankruptcy. And he was so kind. He sent me               9   would like to clarify --
     10   mountains of research, and I learned all about              10             MR. WATSON: I instruct you not to answer
     11   Chapter 11 in about four days.                              11   the question, Judge.
     12       Q. Did you have any discussion with that United         12             THE WITNESS: I just want to make sure
     13   States trustee about any concerns that you had that that    13   they say the retired trustee, because he's retired and
     14   bankruptcy was not authorized in the board meeting?         14   playing with his grandkids in Kansas City, and that's
     15       A. Yes.                                                 15   where I found him, you know. He -- he retired like six
     16              MR. WATSON: Objection.                           16   months ago or something like that. He had been a
     17              THE WITNESS: Sorry.                              17   trustee for 30 years ago.
     18              MR. WATSON: Objection. It calls for              18      Q. (BY MR. PRONSKE) So are you refusing to
     19   speculation, and it calls for a legal conclusion based      19   answer that question under advice of counsel?
     20   upon -- to the extent it calls for a legal conclusion, I    20      A. I think we could go there for that, for this
     21   am instructing him not to answer, but he can answer         21   one right now, yeah.
     22   generally as to what his understanding is of how            22      Q. Okay. Do you believe, Judge Journey, as a
     23   bankruptcy works.                                           23   board member that only the full board of directors of
     24       Q. (BY MR. PRONSKE) Actually, that's not the            24   the NRA can authorize a bankruptcy filing?
     25   question. The question is what was discussed with the       25             MR. WATSON: Objection, calls for legal
                                                            Page 31                                                            Page 33

                                                                                                                9 (Pages 30 - 33)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 122 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   conclusion.                                                   1              MR. WATSON: And speculation.
      2           But you can answer, Judge.                            2              (Reporter clarification.)
      3             MR. CICILIANO: Yeah, I would just object            3              MR. WATSON: Yes, Judge, could you wait
      4   to the extent you've been informed by counsel one way or      4   until I'm done objecting?
      5   the other of the NRA; but to the extent you have a            5              THE WITNESS: Okay.
      6   personal opinion, go ahead.                                   6              MR. WATSON: Okay. Now you can answer.
      7       A. My personal review of the statutes and the             7       A. I don't think that the bankruptcy petition was
      8   case law tells me that the board has to authorize it.         8   a petition to dissolve the NRA.
      9       Q. (BY MR. PRONSKE) Okay. And do you think that           9       Q. (BY MR. PRONSKE) If you know the answer to
     10   the filing of bankruptcy can be delegated to the             10   this. If the bankruptcy of the NRA, if it's potentially
     11   executive committee?                                         11   unsuccessful, for example, if it's converted to a case
     12             MR. WATSON: Same objection, calls for a            12   under Chapter 7, could the filing of the bankruptcy
     13   legal conclusion.                                            13   result in a dissolution?
     14             MR. CICILIANO: Same.                               14              MR. WATSON: Same objection. That calls
     15           And to the extent that it's informed by              15   for legal conclusion. Judge Journey is not a bankruptcy
     16   counsel, don't answer that, but in your personal             16   practitioner or an expert in bankruptcy.
     17   knowledge, go ahead.                                         17          But you can answer the question to the extent
     18       A. I think it's possible that the board can              18   you know --
     19   delegate some authority under the bylaws. And whether        19       A. If it gets converted to --
     20   that delegation occurred properly under the bylaws and       20              MR. WATSON: Hold on, Judge. Hold on.
     21   whether that delegation was done knowingly, of course,       21              THE WITNESS: Okay.
     22   is a question of fact somebody we all know is going to       22              MR. WATSON: To the extent that your
     23   end up answering.                                            23   opinion is informed by other than counsel, your counsel
     24       Q. (BY MR. PRONSKE) Would you -- Judge, would            24   or the NRA's counsel, you can answer.
     25   you consider the filing of a bankruptcy petition -- as a     25              THE WITNESS: Thank you.
                                                             Page 34                                                           Page 36

      1   board member, would you consider the filing of a              1       A. If a Chapter 11 is converted to a Chapter 7,
      2   bankruptcy petition of the NRA to be the performance of       2   it does require dissolution, as I understand the
      3   a corporate activity of the NRA of such major                 3   statutes, or if it goes back to New York. That's what
      4   significance as to warrant action by the full board?          4   the Attorney General of New York wants.
      5             MR. CICILIANO: I would --                           5       Q. (BY MR. PRONSKE) Let's look at --
      6             MR. WATSON: Same objection. Hold on,                6              MR. PRONSKE: If we could go ahead and
      7   Dylan. Same objection, calls for a legal conclusion.          7   put up page 17 of the bylaws.
      8   Go ahead.                                                     8              MR. VAN HORN: Okay. One second.
      9             MR. CICILIANO: I would similarly object.            9              MR. CICILIANO: And Gerrit, are you
     10   Furthermore, I would object to the extent that that's        10   moving to introduce the entire set of the bylaws or are
     11   informed by the legal advice of counsel of the NRA.          11   you just going to do one page?
     12          But in your personal opinion, I guess go              12              MR. PRONSKE: We'll go ahead and admit
     13   ahead.                                                       13   the entire set of the bylaws.
     14      A. If I had thought otherwise, I don't think I            14              MR. VAN HORN: All right. Almost there.
     15   would have filed the motion, do you, Gerrit?                 15   Okay. Bylaws should be in the marked exhibit folder.
     16      Q. (BY MR. PRONSKE) Well, I'm asking you. So              16              (Exhibit 1 marked.)
     17   your answer is that you believe that the filing would be     17              MR. VAN HORN: And while we're waiting to
     18   a corporate activity of major significance?                  18   do the screen share, there's an agreement on the record
     19      A. Yes.                                                   19   for the prior deposition about objecting only to form or
     20      Q. Okay. Would you consider the filing of a               20   objection to privilege. While I'm waiting to get this
     21   bankruptcy petition of the NRA to qualify as a petition      21   on screen share, can that agreement be reached for
     22   for a judicial dissolution?                                  22   purposes of this deposition?
     23             MR. WATSON: Objection, calls for a legal           23              MR. WATSON: No, not on our side. Sorry.
     24   conclusion.                                                  24   And I will try to keep my objections short.
     25             MR. CICILIANO: Join.                               25              MR. VAN HORN: Okay. Does everyone see
                                                             Page 35                                                           Page 37

                                                                                                               10 (Pages 34 - 37)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 123 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   the bylaws?                                                1   am about to ask the question.
      2              MR. CICILIANO: Yes.                             2       Q. (BY MR. PRONSKE) Judge Journey, if you could
      3              MR. VAN HORN: Okay. And what page,              3   please look at subparagraph C, which is the duties of
      4   Gerrit?                                                    4   the executive vice president. Do you see that?
      5              THE WITNESS: Those are not the version          5       A. Yes.
      6   that was in effect at the time of the meeting. That's      6       Q. Do you see anything in the duties of the vice
      7   September 2019, I think, or September '19. Go back --      7   president that -- that would authorize the executive
      8   yeah, it's the 2019 version. They've been amended at       8   vice president to approve a bankruptcy filing?
      9   least three times since then. So why are we asking me      9       A. No.
     10   questions about the wrong set?                            10       Q. And I want you to look at subparagraph D,
     11       Q. (BY MR. PRONSKE) Do you have any reason,           11   which is the -- the duties of the secretary. And --
     12   Judge Journey, to believe -- and I want you to look at    12   yeah, and let's look at specifically subparagraph 3. Do
     13   paragraph C on page 17 and ask you think that has         13   you see that subparagraph 3?
     14   been -- if the duties of the vice president have been     14       A. Yes.
     15   altered from the year prior bylaws?                       15       Q. And do you see that that gives the secretary
     16              MR. WATSON: I am going to object. He           16   the -- the secretary's duties would include duties as
     17   has already indicated that this isn't the most recent     17   may be assigned by the board of directors?
     18   version, and to get him to answer would be speculative    18       A. Yes.
     19   and it's not the best evidence because it's not the       19       Q. Do you see that same provision in the
     20   actual version of the bylaws.                             20   executive vice president's duties, in other words,
     21          I'm not trying to be an obstructionist, but --     21   allowing the executive vice president to perform tasks
     22   Dylan, do you have a copy of it?                          22   that are assigned or delegated by the board of
     23              MR. CICILIANO: These are the bylaws that       23   directors?
     24   were produced by the NRA pursuant to the 341 meeting of   24       A. To belabor the obvious, no.
     25   creditors after the first meeting on February 22. And I   25       Q. Do you believe that the board of directors has
                                                          Page 38                                                          Page 40

      1   understand there was amendments that were also produced    1   the ability to delegate the corporate authority to file
      2   with a red line after that meeting, and that was also      2   bankruptcy to the executive vice president?
      3   produced to the parties at the 341 meeting. And that's     3              MR. CICILIANO: I would just object,
      4   the only -- those are the documents the NRA provided as    4   calls for a legal conclusion.
      5   being representative of the current version of the         5              MR. WATSON: You can answer, Judge.
      6   bylaws, this set that we're looking at and then the red    6      A. No.
      7   line of a provision that we're not talking about right     7      Q. (BY MR. PRONSKE) Okay.
      8   now.                                                       8              MR. PRONSKE: Eric, you can take that off
      9              MR. WATSON: Okay. And I am not trying           9   the sharing. Thank you.
     10   to take up much more time, guys, but with that            10          So Eric, can you put up the employment
     11   representation, Judge, I will let you answer the          11   contract, the first page of it, please, the one that was
     12   question.                                                 12   approved?
     13              THE WITNESS: Okay.                             13              MR. VAN HORN: Yes.
     14              MR. WATSON: But we didn't get a copy of        14              (Exhibit 2 marked.)
     15   it. So -- and we were at the 341 meeting.                 15              THE WITNESS: Wow, I haven't got to see
     16           Can either Dylan or you, Gerrit, or Eric          16   this in a long time.
     17   provide me with a copy of it, please.                     17              MR. CICILIANO: And Gerrit, just as he's
     18              MR. VAN HORN: I'll email it right now,         18   putting it up, we have the agreement for this deposition
     19   but it's also in the Exhibit Share folder.                19   to go forward that we were entitled to half the time. I
     20              MR. WATSON: That's good enough for me.         20   know Judge Journey's indicated you maybe only have two
     21           With that representation, Judge, you can          21   hours. I just want to make sure we're still good with
     22   answer the question.                                      22   that agreement, how to handle it so that we don't just
     23           Could you repeat -- could you read back the       23   invalidate the entire deposition.
     24   question for Judge Journey, Julie?                        24              MR. PRONSKE: Yeah, well, we have a
     25              MR. PRONSKE: There isn't a question. I         25   notice of deposition that's noticed specifically for
                                                          Page 39                                                          Page 41

                                                                                                           11 (Pages 38 - 41)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 124 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   four hours, and we have an agreement with you to share        1               MR. WATSON: Objection, calls for
      2   that time. We intend to go two hours.                         2   speculation.
      3              MR. CICILIANO: Okay. I mean, if we're              3           But you can answer, Judge.
      4   denied the opportunity to cross, it's a violation of the      4               MR. CICILIANO: And I would further
      5   agreement we had.                                             5   object to form.
      6              MR. WATSON: We weren't a part of that              6        A. Yeah, that one's a little tough to answer.
      7   agreement, and that's all I'm trying to get you guys to       7        Q. (BY MR. PRONSKE) Okay. What I'm asking you
      8   see. We'll see how he feels after two hours and see if        8   is that if there was no discussion or if that provision
      9   we can continue. We're not trying to deny either side         9   was not pointed out in that session as being something
     10   equal time. It's just that he had a docket today. And        10   that was authorizing bankruptcy, would that, in your
     11   the agreement that I reached with the New York AG was        11   opinion, be inappropriate and add to the
     12   for two hours.                                               12   inappropriateness of that delegation of corporate
     13              MR. CICILIANO: And I appreciate that,             13   authority?
     14   Jermaine. And my only point was we were unaware that         14               MR. WATSON: Same objection. I think
     15   when they noticed it for four, there wasn't actually an      15   it's speculative.
     16   agreement for four. I assumed that that was cleared          16               MR. CICILIANO: Objection, form.
     17   with you guys, so that's a little bit of a surprise to       17               MR. PRONSKE: It's only speculating
     18   hear that.                                                   18   because you won't let him answer.
     19              MR. WATSON: Well, Gerrit made it known            19               MR. WATSON: No, he can answer. I'm just
     20   on the record yesterday at yesterday's hearing, but we       20   doing my job, Gerrit. Go ahead.
     21   don't need to get into that.                                 21               THE WITNESS: Okay. Okay.
     22          You can go ahead, Gerrit.                             22        A. No.
     23              MR. PRONSKE: Okay. Thank you.                     23        Q. (BY MR. PRONSKE) Is the filing of the
     24      Q. (BY MR. PRONSKE) All right. Do you see,                24   bankruptcy of the NRA something that could potentially
     25   Judge Journey, in paragraph 2A of the contract, the          25   have impacted you as a board member?
                                                             Page 42                                                          Page 44

      1   second sentence of that clause in paragraph 2A says that      1             MR. CICILIANO: Objection, calls for
      2   among his authorities, employee shall be empowered to         2   legal conclusion and speculation.
      3   exercise corporate authority in furtherance of the            3             MR. WATSON: You can answer, Judge.
      4   mission and interests of the NRA, including without           4       A. I am trying to figure out where you're going
      5   limitation to reorganize or restructure the affairs.          5   with that one. I'm not sure what you mean by affect.
      6           Do you see that?                                      6       Q. (BY MR. PRONSKE) Yeah, let me give you an
      7       A. Yes.                                                   7   example. Sometimes when an individual is seeking a loan
      8       Q. So to the extent that this employee is being           8   from a bank, you're going to have to answer a question
      9   empowered to exercise corporate authority and to the          9   whether you are involved in a corporation or a board
     10   extent that that corporate authority is to file              10   member of a corporation that filed bankruptcy.
     11   bankruptcy, do you believe that the board has the            11          My question to you is, is the filing of the
     12   authority under the bylaws to delegate that corporate        12   bankruptcy of the NRA something that you believe could
     13   authority to the executive vice president?                   13   potentially have negatively impacted you?
     14              MR. WATSON: I am going to object because          14             MR. CICILIANO: Object --
     15   it calls for a legal conclusion.                             15             MR. WATSON: Hold on. Hold on.
     16           But you can answer, Judge.                           16   Objection, speculation.
     17       A. I do not believe so.                                  17             MR. CICILIANO: Form and foundation as
     18       Q. (BY MR. PRONSKE) Okay. Judge Journey, in              18   well, and characterization that counsel made.
     19   your opinion as a board member, would in the event -- I      19       A. I'm going to tell you I had not considered
     20   am not asking you to testify as to what happened at the      20   that possibility, but I see where you're going.
     21   meeting. But in the event that that provision being          21       Q. (BY MR. PRONSKE) Well, let ask you this, and
     22   used -- or let me ask you this way.                          22   let me make it more simple. As a board member, would
     23           Would the lack of pointing out this provision        23   you have liked to have known that the entity that you're
     24   or having a discussion about it add to its                   24   a board member of was going to file bankruptcy?
     25   inappropriateness?                                           25       A. That's obvious, yes.
                                                             Page 43                                                          Page 45

                                                                                                              12 (Pages 42 - 45)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 125 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1     Q. The board minutes --                                            1      A. Not that I'm aware of. I mean, I don't know
      2             MR. PRONSKE: And Eric, you can take down                   2   who was on the other end of the phone, but, you know --
      3 the bylaws. Thank you.                                                 3      Q. And your -- your opinion or displeasure, or
      4     Q. (BY MR. PRONSKE) The board minutes of the NRA                   4   just factually, was it discussed with any of those board
      5 say that the full board -- or that the full board                      5   members that bankruptcy was not discussed during the
      6 approved the employment contract. So would it be                       6   board meeting?
      7 correct to say that that employment contract was                       7             MR. CICILIANO: I would just object to
      8 approved both by the executive session and by the full                 8   the extent that it calls for attorney/client privilege
      9 board?                                                                 9   and instruct you not to answer.
     10     A. When -- okay. So the board goes into                           10             MR. WATSON: Yeah, I am not going to let
     11 executive session. It votes. And then when we go out                  11   you answer it.
     12 of executive session, they record in the full board                   12          Could you rephrase the question, Gerrit?
     13 meeting, as you describe it, what happened.                           13             MR. PRONSKE: Yeah.
     14     Q. Okay.                                                          14      Q. (BY MR. PRONSKE) And I'm asking you, Judge
     15     A. So we don't vote on it twice.                                  15   Journey, not to divulge any attorney/client privilege.
     16     Q. Okay. What other board members have you                        16   I am asking you to -- you were speaking board member to
     17 spoken to about the -- or let me ask this question.                   17   board member with no attorney present, and I am asking
     18          Is the first time that you knew that the NRA                 18   you during those conversations was it ever discussed,
     19 was going to file bankruptcy after the bankruptcy was                 19   with no lawyer present again, that there was no
     20 filed?                                                                20   discussion of the filing of bankruptcy at the time that
     21     A. Yes.                                                           21   this employment contract was approved by the board?
     22     Q. And have you spoken to any other board members                 22             MR. CICILIANO: I would similarly object
     23 about the bankruptcy filing of the NRA since its filing?              23   and state that the NRA asserts that even communications
     24     A. Yes.                                                           24   between board members regarding attorney/client
     25     Q. And which board members have you spoken to?                    25   privileged communications are still privileged. They're
                                                                    Page 46                                                          Page 48

      1       A. I need a book so I can, like, go through the                  1   within the privilege group. I would direct him not to
      2   names with you.                                                      2   answer.
      3       Q. Is it a number of them?                                       3             MR. WATSON: Yeah, Judge, I'm going to
      4       A. A lot, yeah. As many as I could get ahold of.                 4   direct you not to answer that.
      5       Q. And can you give me one example?                              5             THE WITNESS: Thank you.
      6       A. Todd Rathner was probably the first one I                     6      Q. (BY MR. PRONSKE) Are you --
      7   called and then Sandy Froman.                                        7      A. I'm afraid I will have to do that, not answer.
      8       Q. Can you repeat the name? I'm sorry.                           8      Q. Judge Journey, are you familiar with a
      9       A. Todd Rathner.                                                 9   Washington Free Beacon article dated March the 9th, 2021
     10       Q. Okay.                                                        10   that was published at 5:00 a.m. on that date?
     11       A. And Sandy Froman. I am trying to remember.                   11      A. Yes.
     12   Colonel Brown. Buzz -- Buzz, Buzz, Buzz -- I think it's             12      Q. Okay. And for purposes of this discussion, I
     13   Davis. There's a bunch of them I don't know. There's a              13   am going to refer to the Washington Free Beacon as the
     14   lot of them that I knew from when I was on the board 25             14   WFB. Can we have that understanding?
     15   years, so I basically went to the older ones that I had             15      A. Sure.
     16   known longer first.                                                 16      Q. Did you speak to -- prior to that article
     17       Q. And were those discussions by telephone?                     17   being published, did you speak with a reporter from the
     18       A. Yes.                                                         18   WFB?
     19       Q. And I'm assuming there were no other persons                 19      A. Yes.
     20   present other than you and the other person to the                  20      Q. When was that discussion in relation to the
     21   telephone call during those conversations. Is that                  21   date of the publication of the article?
     22   correct?                                                            22      A. Immediately preceding.
     23       A. Not that I'm aware of.                                       23      Q. The same day or the day before?
     24       Q. And certainly no lawyers present. Is that                    24      A. Day before.
     25   right?                                                              25      Q. Day before.
                                                                    Page 47                                                          Page 49

                                                                                                                     13 (Pages 46 - 49)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 126 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1          And the person that you spoke to, was that        1       made aware of the bankruptcy plan when it voted to
      2   Stephen Gutowski, the author of the article?             2       empower the committee in a January 7, 2021 meeting. He
      3       A. That's who he represented himself to be, yes.     3       said he found out about it when his daughter texted him
      4       Q. Okay. So that WFB article says, quote, Board      4       a news story, closed quote.
      5   member Phillip Journey accused NRA lawyers of misleading 5              Are you correctly quoted by the WFB in that
      6   the board about the creation of the special litigation   6       sentence?
      7   committee and the bankruptcy in a court filing, closed   7           A. Well, I know I'm not a Kansas City judge, but
      8   quote.                                                   8       other than that, I believe that was accurate.
      9          Are you quoted correctly by the WFB in that       9           Q. I'm sorry, I actually misread that. It says
     10   sentence?                                               10       a Kansas family court judge. Is that --
     11              MR. CICILIANO: I would just object.          11           A. Oh, okay.
     12          But go ahead.                                    12           Q. Is that correct?
     13          I would object to form. And also, it's in the    13           A. Kansas City is a long ways away from where I'm
     14   third person, so it didn't sound quite right without    14       at, yeah.
     15   seeing the article.                                     15           Q. What part of Kansas are you in?
     16              MR. WATSON: And I would object that the      16           A. I'm in the largest city in the state, Wichita.
     17   article itself would speak for itself. I mean, it's     17           Q. Okay. Okay. I have a lot of family in Kansas
     18   been published.                                         18       myself. They're all farmers.
     19       A. I do believe that quote was accurate.            19           A. That means they're way out west, yeah.
     20       Q. (BY MR. PRONSKE) And when you said that NRA 20                Q. So when the -- when the article says that you
     21   lawyers misled the board, which NRA lawyers are you     21       found out about the bankruptcy when your daughter texted
     22   referring to?                                           22       you a news story, is that a correct statement?
     23       A. I think that that would be -- assuming -- that   23           A. Yes.
     24   assumes that they knew, which information I have        24           Q. And presumably that was after the bankruptcy
     25   received subsequently tells me that Mr. Davis may not   25       filing. Is that right?
                                                            Page 50                                                          Page 52

      1   have known about the bankruptcy filing. So if we take        1       A. Yes.
      2   him out, then I'm looking at Cotton and Brewer who were      2       Q. But you didn't know about the bankruptcy
      3   in the room.                                                 3   filing until after the bankruptcy was filed. Is that
      4       Q. So your testimony is that you believe Cotton          4   correct?
      5   and Brewer misled the board about the filing of the          5       A. I had not checked my email when I left work
      6   bankruptcy. Is that correct?                                 6   that day, and I was on my way home.
      7       A. Presuming that they knew the filing was going         7       Q. And did you receive an email about the filing
      8   to happen.                                                   8   of the bankruptcy?
      9              MR. CICILIANO: I would object to the              9       A. Yes, from Mr. Frazer.
     10   extent it calls for attorney/client privilege. You're       10       Q. And was that email sent after the bankruptcy
     11   asking him what people he was referencing in the            11   was filed?
     12   article, and he can testify to that, but not to the         12       A. I believe so. It was about 4 o'clock that
     13   content of what happened at that board meeting.             13   afternoon on the 15th.
     14              MR. PRONSKE: Well, if he's testifying to         14       Q. So even if you had been checking your email
     15   misleading and fraud, there's a fraud exception in          15   that day, you still wouldn't have known about the
     16   attorney/client privilege, Mr. Ciciliano.                   16   bankruptcy until after it was filed. Is that right?
     17              MR. CICILIANO: Mr. Pronske, you don't            17       A. That's accurate.
     18   get to blow through the fraud privilege by merely           18       Q. Okay. The next I am going to call it colorful
     19   asserting it. It has to be demonstrated to the Court,       19   quote from the WFB article says, quote, You could have
     20   which hasn't been done, and that also has different         20   seen the top of my car blow off with my head, Journey
     21   standards, so you haven't proven the fraud privilege.       21   said, quote, because I knew what that meant. It meant
     22   Go ahead.                                                   22   that those three lawyers committed a lie of omission as
     23       Q. (BY MR. PRONSKE) Judge Journey, the article          23   to material facts to the board of directors. Nobody
     24   goes on to say, quote, Journey, a Kansas City family        24   said bankruptcy, closed quote.
     25   court judge, told the Free Beacon that the board was not    25          Is that quote that's attributed to you
                                                            Page 51                                                          Page 53

                                                                                                             14 (Pages 50 - 53)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 127 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   accurately attributed?                                       1   conclusion you're seeking, yes.
      2       A. I think so. I would have modified it, and I           2       Q. Okay.
      3   would have said at least up to three instead of all          3              MR. WATSON: Gerrit, could you let us
      4   three, because I think one may not deserve that.             4   know when you're at a stopping point? I need to check
      5       Q. And that quote then instead of saying three           5   in on the judge, because we want to be fair to everyone
      6   lawyers, up to three lawyers, that would be -- that          6   and give everyone equal time. But I do want you to
      7   would include Mr. Cotton and Mr. Brewer. Is that             7   finish, so I need to check on him, if that's okay.
      8   correct?                                                     8              MR. PRONSKE: I've got a few more
      9       A. Yes.                                                  9   relating to this article --
     10       Q. And when you said in that quote nobody said          10              MR. WATSON: Okay.
     11   bankruptcy, I'm assuming that means in the board meeting    11              MR. PRONSKE: -- and then that's a good
     12   or the executive session of the board meeting. Is that      12   point. Not finishing point, but breaking point.
     13   correct?                                                    13              MR. WATSON: Right, breaking point for
     14              MR. WATSON: Objection. Objection.                14   like five minutes or so.
     15          Mr. Ciciliano, do you have a privilege to            15       Q. (BY MR. PRONSKE) So Judge Journey,
     16   assert on behalf of the NRA?                                16   paragraph -- switching over just for a moment to your
     17              MR. CICILIANO: Yeah, I am objecting to           17   motion to appoint examiner, paragraph 16 of your motion
     18   the extent it's calling for the disclosure of what          18   says, quote, In direct violation of its own bylaws, the
     19   occurred during the board meeting.                          19   NRA did not disclose to the board of directors its
     20          If you're asking him what he said to the             20   intent to seek Chapter 11 relief. In further violation
     21   newspaper guy, I guess that's just verifying the quote.     21   of those bylaws, no solicitation for -- to the board for
     22              MR. PRONSKE: Actually, here is what I am         22   votes of approval of the filing was conducted. In fact,
     23   doing. And listen to me for a minute, all right? I am       23   one or more board members only became aware of this case
     24   not asking him what happened, and I am not asking him       24   through media outlets, closed quote.
     25   about anything that he said that -- where an attorney       25          Is that an accurate statement that's contained
                                                            Page 54                                                           Page 56

      1   was present.                                                 1   in your motion?
      2          I'm saying that when he said nobody said              2      A. I signed it, yes.
      3   bankruptcy, I'm asking him did he mean at that -- when       3      Q. Okay. And do you believe, Judge Journey, that
      4   he said that to a reporter with no lawyer present -- and     4   the board of directors would have approved of the filing
      5   let me pause for just a minute.                              5   of bankruptcy on January 7 if they had been asked to
      6       Q. (BY MR. PRONSKE) Judge Journey, was a lawyer          6   approve it?
      7   present when you spoke to the WFB?                           7      A. We may never know, but we'll see what happens
      8       A. No.                                                   8   on the 28th.
      9       Q. Okay. So --                                           9              MR. CICILIANO: I would just object,
     10       A. At least not one that was mine.                      10   calls for speculation.
     11             MR. PRONSKE: The question I'm asking is           11              MR. WATSON: Yeah, it does call for
     12   that when he said nobody said bankruptcy to the reporter    12   speculation.
     13   with no attorney present, did he mean, when he used         13      Q. (BY MR. PRONSKE) And what -- since -- yeah,
     14   those words to the reporter, that nobody said bankruptcy    14   what happens on the 28th, Judge Journey?
     15   in the board meeting?                                       15      A. New board meeting.
     16             MR. WATSON: I believe that question's             16      Q. And have you received any kind of written
     17   been asked and answered at least a few times. I think       17   materials on the board meeting that is going to take
     18   you've already gotten it in, Gerrit.                        18   place on the 28th?
     19             MR. PRONSKE: Okay.                                19      A. All I've gotten so far is the email of the
     20       Q. (BY MR. PRONSKE) You can answer, Judge               20   notice.
     21   Journey.                                                    21      Q. And does it contain any information as to an
     22       A. I think anybody who reads that would come to         22   agenda or what will take place at that board meeting?
     23   that same conclusion, I think, yes.                         23      A. I don't know. I've been busy all day. I only
     24       Q. And I'm sorry, I didn't hear the last part --        24   had 15 hearings, you know.
     25       A. I said anybody would come to that same               25      Q. Did that notice come today?
                                                            Page 55                                                           Page 57

                                                                                                              15 (Pages 54 - 57)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 128 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1       A. Yes, a few moments ago.                              1   members?
      2       Q. Okay. Do you have it in front of you, if you         2             MR. WATSON: Objection, calls for
      3   could review it?                                            3   speculation.
      4       A. If I close your screen down, I might be able         4       A. All I --
      5   to. Let me look. Let's see.                                 5       Q. (BY MR. PRONSKE) Okay.
      6              MR. CICILIANO: I am just going to                6       A. All I know is nobody's told me.
      7   object. Without the benefit, we're unable to assert         7       Q. Okay. The article further says, quote,
      8   privilege over it, depending on what it says.               8   Journey said that he had voted to support the committee
      9              MR. WATSON: Yeah, we're not able to look         9   but no -- but had no idea the group's leadership and
     10   at it either. I haven't seen it.                           10   legal advisors had planned to go into bankruptcy, closed
     11              MR. PRONSKE: Well, let's ask him if a           11   quote.
     12   lawyer signed it.                                          12          Are you correctly quoted by the WFB with that
     13              THE WITNESS: Mr. Frazer, I mean, you            13   sentence?
     14   guys just had him in his deposition. You should have       14       A. I believe so, yes.
     15   asked him. He's the one that sent it, I think. It has      15       Q. And is that statement accurate?
     16   gone out, but I have not seen it.                          16             MR. CICILIANO: I would just object to
     17              MR. CICILIANO: So Mr. Frazer is a               17   the extent it calls for you to rely on attorney/client
     18   lawyer. I am going to direct him prophylactically not      18   communications and direct you not to answer.
     19   to respond.                                                19             MR. WATSON: You can answer, Judge. You
     20              THE WITNESS: Thank you.                         20   can answer.
     21              MR. WATSON: Yes. Judge, don't answer            21       A. If you're saying it was an accurate rendition
     22   that.                                                      22   of the quote, I believe that's so.
     23              THE WITNESS: Okay.                              23       Q. (BY MR. PRONSKE) No, it's a different
     24       Q. (BY MR. PRONSKE) You're refusing to answer          24   question. There was two questions. There was that
     25   that question, Judge Journey?                              25   question, whether it was the accurate rendition of the
                                                          Page 58                                                            Page 60

      1        A. Thank you. Yeah.                                    1   quote, and then the second statement is is that
      2        Q. Okay.                                               2   statement an accurate statement?
      3        A. All right.                                          3             MR. CICILIANO: And same objection. I
      4        Q. The WFB article quotes Bill Brewer as saying,       4   direct you not to answer to the extent it requires you
      5   quote, This plan -- meaning the filing of the               5   to rely upon attorney/client communications and work
      6   bankruptcy -- this plan was undertaken in full              6   product.
      7   compliance with NRA policy, closed quote.                   7             MR. WATSON: You can answer to the best
      8           Do you agree with Bill Brewer that the              8   of your knowledge or your impression of it, Judge. With
      9   bankruptcy filing was in full compliance with NRA           9   that qualification, you can answer.
     10   policy?                                                    10       A. I'm sorry. What was it again?
     11               MR. CICILIANO: And I would just object         11       Q. (BY MR. PRONSKE) The quote says, Journey said
     12   to the extent it calls for you to rely upon                12   he had voted to support the committee but had no idea
     13   attorney/client privileged communications communicated     13   the group's leadership and legal advisors had planned to
     14   by the NRA.                                                14   go into bankruptcy, closed quote.
     15               MR. WATSON: And I would add to that that       15          And my question is, is that statement
     16   it's speculative and calls for a legal conclusion as       16   accurate?
     17   well.                                                      17       A. Yes.
     18           But you can answer, Judge.                         18       Q. The article goes on to say that -- I'm sorry,
     19        A. I don't agree with Mr. Brewer, no.                 19   I don't need to ask that.
     20        Q. (BY MR. PRONSKE) The article also says that        20          All right. The article goes on to quote you
     21   Brewer said, quote, The plan -- again, the bankruptcy      21   again saying, quote, It certainly was a fraud
     22   filing -- has been widely endorsed by NRA board members,   22   perpetrated on the Court. Journey said, quote, I told
     23   NRA members, elected officials and other key               23   them when I got on the board, look, I'm a judge, I'm a
     24   stakeholders.                                              24   mandatory reporter. Whatever we do, we've got to be on
     25           Is that statement true as to NRA board             25   the up and up.
                                                          Page 59                                                            Page 61

                                                                                                             16 (Pages 58 - 61)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 129 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1          The question is, is that -- are you accurately          1   advice of counsel. Thank you.
      2   quoted by the WFB in that sentence?                            2              MR. PRONSKE: So is the position that you
      3      A. Yes.                                                     3   all are taking is that anything that was discussed in
      4      Q. Okay.                                                    4   executive session is privileged by the attorney/client
      5             MR. PRONSKE: I can take a break right                5   privilege, every single thing that was said in that
      6   now if you want to -- this is a good time.                     6   session?
      7             MR. WATSON: Okay. Good. Go off the                   7              MR. CICILIANO: No, Gerrit. What I would
      8   record for five minutes. Do you need more time than            8   say is the executive sessions by themselves are not
      9   that, Judge?                                                   9   inherently privileged. However, if you do look at the
     10             THE WITNESS: No, I'm good.                          10   declaration of William Davis that was submitted, along
     11             MR. WATSON: Okay. Five minutes. Off                 11   with the motion, is that during the executive sessions
     12   the record.                                                   12   at issue, that's all that was discussed, were things
     13             THE VIDEOGRAPHER: The time is 5:15. We              13   that were based on the advice of counsel. So in this
     14   are off the record.                                           14   instance, they would be privileged, but not in all
     15             (Break from 5:15 to 5:27 p.m.)                      15   instances.
     16             THE VIDEOGRAPHER: The time is 5:27.                 16       Q. (BY MR. PRONSKE) Judge Journey, do you
     17   We're back on the record.                                     17   believe that Wayne LaPierre and/or other officers of the
     18             MR. PRONSKE: Okay. For the record, I                18   NRA knew that they needed board approval to file
     19   wanted to state that I believe that many of the               19   bankruptcy?
     20   objections that have been made are improper. They're          20              MR. CICILIANO: I would just object to
     21   improper speaking objections. The privilege objections        21   the extent it calls for you to disclose attorney/client
     22   are beyond the pale as to not allowing witnesses to           22   privilege and also just object to speculation.
     23   answer questions like what subject matters of                 23              MR. WATSON: Yeah, I object to
     24   discussions were or basically anything that happened in       24   speculation.
     25   executive session. It's way beyond what should be             25          But go ahead, you can answer, Judge.
                                                              Page 62                                                            Page 64

      1   objected to, and so we're going to reserve our rights to       1       A. I have no idea --
      2   come back after a discussion of the privilege issues           2       Q. (BY MR. PRONSKE) Do you believe --
      3   with the Court.                                                3       A. -- what other people thought, you know.
      4          So moving forward --                                    4       Q. Do you believe that Wayne LaPierre and/or
      5              MR. CICILIANO: And I would, likewise,               5   other officers of the NRA had a duty to disclose the
      6   place on the record that it's absurd to ask questions,         6   facts that they intended to file bankruptcy to the
      7   was this word said, was that word said with counsel.           7   board?
      8   That's absurd as well, but go ahead.                           8              MR. CICILIANO: I would just object,
      9              MR. PRONSKE: I note your opinion.                   9   calls for legal conclusion.
     10       Q. (BY MR. PRONSKE) Judge Journey, do you                 10              MR. WATSON: Yeah, same here.
     11   believe that Wayne LaPierre and/or other officers of the      11           But you can answer, Judge.
     12   NRA deliberately failed to disclose material facts to         12       A. I do believe they had a duty to advise the
     13   the board or the executive session regarding the              13   board on that and so many other things.
     14   impending filing of bankruptcy of the NRA?                    14       Q. (BY MR. PRONSKE) As of the date of the board
     15              MR. CICILIANO: I would just object,                15   meeting, was the board of directors ignorant of the
     16   number one, calls for speculation, foundation.                16   plans of LaPierre and/or the officers -- other officers
     17          I also direct you not to answer to the extent          17   to file bankruptcy for the NRA?
     18   that calls for you to disclose what occurred at the           18              MR. CICILIANO: I would just object to
     19   executive session as it was covered by the                    19   the extent it calls for speculation. Further object to
     20   attorney/client privilege.                                    20   the extent that it calls for you to reveal
     21              MR. WATSON: Yeah, I am going to instruct           21   attorney/client communications, as well as work product,
     22   you not to answer to the extent of the executive              22   and would direct you not to answer on those grounds.
     23   session, Judge.                                               23              MR. WATSON: And I would carry on to say
     24              THE WITNESS: All right.                            24   that, you know, board members is kind of broad, and it's
     25       A. I will have to say I can't answer that on              25   speculative to ask Judge Journey what the other board
                                                              Page 63                                                            Page 65

                                                                                                                17 (Pages 62 - 65)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 130 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   members thought.                                             1              MR. CICILIANO: I would just object to
      2       Q. (BY MR. PRONSKE) Go ahead, Judge.                     2   the extent that it causes you to reveal attorney/client
      3       A. Okay. Okay. Somebody like got in or got out,          3   communications.
      4   and the tone from their jumping in and out of the            4              MR. WATSON: You can answer, Judge.
      5   hearing kept me from hearing your question. So if you        5       A. The answer is no.
      6   would please repeat it for me, I'm sure they can simply      6       Q. (BY MR. PRONSKE) Were you present for the
      7   just continue their objection.                               7   entire executive session?
      8       Q. Okay. I am going to ask you first the                 8       A. Yes.
      9   question, were you ignorant of the plans of LaPierre and     9              MR. CICILIANO: Objection, vague.
     10   other officers to file a bankruptcy for the NRA as of       10       Q. (BY MR. PRONSKE) Pardon me?
     11   the date of the board meeting?                              11              MR. CICILIANO: Vague was the objection.
     12              MR. CICILIANO: I would just object to            12       A. Yes, I was there.
     13   the extent it calls for attorney/client communications      13       Q. (BY MR. PRONSKE) Paragraph 18 of your motion
     14   and direct you not to answer.                               14   to appoint an examiner says, quote, Also in direct
     15              MR. WATSON: You can answer, Judge.               15   violation of the NRA's own bylaws, the board of
     16       A. I appreciate your description other than             16   directors did not approve the formation of Sea Girt,
     17   ignorant, but I had not been informed of any plans.         17   LLC, the new corporation created by the NRA to bootstrap
     18       Q. (BY MR. PRONSKE) To your knowledge, Judge            18   the filing into this district and venue, closed quote.
     19   Journey, would the answer to that question be the same      19          Is that a correct statement of fact?
     20   as to other board members?                                  20              MR. CICILIANO: I will just object to the
     21              MR. CICILIANO: I would just object it            21   extent that it causes you to reveal attorney/client
     22   calls for speculation, as well as I would direct you not    22   communications. The document speaks for itself.
     23   to answer to the extent it requires you to disclose         23          And don't testify to what was told to you by
     24   attorney/client communications of what happened in any      24   counsel for the NRA. NRA is not waiving that privilege.
     25   executive board session with counsel.                       25       Q. (BY MR. PRONSKE) You can answer.
                                                            Page 66                                                        Page 68

      1              MR. WATSON: And I object because it's             1             MR. CICILIANO: Subject to the objection.
      2   speculative.                                                 2             THE WITNESS: Thank you.
      3           But you can answer, Judge, if you know.              3      A. I think the paragraph is accurate.
      4       A. You know, the board operates with different           4      Q. (BY MR. PRONSKE) Okay. And what facts do you
      5   levels of access, and there are some that have access        5   base that paragraph on?
      6   and some that do not. And I'm one that does not, and I       6      A. My personal observation.
      7   have no idea what those that may have access might know.     7             MR. CICILIANO: Once again, let me
      8       Q. (BY MR. PRONSKE) So let me ask you this way,          8   interpose the objection that you're not to disclose
      9   Judge. Are you aware of any board member that had            9   communications between the NRA's counsel and the board
     10   knowledge of the plans to file bankruptcy as of the date    10   members, including those that occurred during the
     11   of the board meeting?                                       11   executive session. Outside of that, you can answer.
     12              MR. CICILIANO: I would just object that          12             MR. WATSON: You can answer, Judge.
     13   it calls for speculation and, furthermore, to the extent    13             THE WITNESS: Thank you.
     14   it requires you to divulge attorney/client                  14      A. What was it again?
     15   communications or how that other board member learned       15      Q. (BY MR. PRONSKE) It said -- do you want me to
     16   them.                                                       16   read the quote again or the question?
     17              MR. WATSON: You can answer, Judge, if            17      A. Oh. On paragraph 18?
     18   you know.                                                   18      Q. Yeah.
     19       A. I do not know of any board member that was           19      A. The question regarding paragraph 18 was?
     20   aware of the filing prior to the board meeting or prior     20      Q. The question is what are the facts that you
     21   to the filing.                                              21   base paragraph 18, that sentence on?
     22       Q. (BY MR. PRONSKE) Do you believe as a board           22      A. Oh. Like I said, my personal observation.
     23   member, Judge Journey, that you authorized the filing of    23      Q. Okay. In paragraph 6 of your motion to
     24   a bankruptcy proceeding of the NRA on the date of the       24   appoint examiner, you said quote, Upon information and
     25   board meeting?                                              25   belief, the NRA has engaged in actions that violate its
                                                            Page 67                                                        Page 69

                                                                                                            18 (Pages 66 - 69)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 131 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   fiduciary duties under New York law, closed quote.          1      A. Yes, based upon my review of those documents I
      2          Do you believe that to be a correct statement?       2   previously referenced.
      3              MR. CICILIANO: Objection, vague.                 3      Q. (BY MR. PRONSKE) Okay. And in paragraph 12
      4              MR. WATSON: You can answer, Judge.               4   you say, The debtors -- quote, The debtors and Ackerman
      5      A. I think that's based upon my review of the New        5   engaged in a pass-through expense arrangement whereby
      6   York AG's petition in August.                               6   expenses would be paid by the debtor without written
      7      Q. (BY MR. PRONSKE) Okay. In paragraph 8 of              7   approvals, receipts or supporting business purpose
      8   your motion you stated that, quote, The debtors have        8   documentation under the debtors' policies and not
      9   improperly paid excessive compensation to current           9   disclosed to internal review by the debtors' internal
     10   management in base salaries, and perhaps more troubling,   10   audit committee, closed quote.
     11   via a series of excessive perks that were wholly for the   11          Do you believe that to be a correct statement?
     12   debtors' insiders' personal benefit, closed quote.         12              MR. CICILIANO: Objection, foundation.
     13          Is that a -- do you believe that to be a            13              MR. WATSON: You can answer, Judge.
     14   correct statement?                                         14              THE WITNESS: Thank you.
     15              MR. CICILIANO: Objection, foundation.           15      A. Yes. Once again, it's based upon my review of
     16              MR. WATSON: You can answer, Judge.              16   the documents we have previously referenced.
     17      A. That paragraph is also based upon news reports       17      Q. (BY MR. PRONSKE) Okay. Thank you.
     18   and the New York Attorney General's petition along with    18          And in paragraph 17 of your motion to appoint
     19   the petition by the District -- District of Columbia's     19   examiner, you state, quote, New York law, the NRA bylaws
     20   Attorney General.                                          20   and Robert's Rules of Order were routinely violated by
     21      Q. (BY MR. PRONSKE) Also in paragraph 8 you say,        21   the NRA's management, closed quote.
     22   quote, The debtors' insiders received hidden               22          Is that a correct statement?
     23   compensation for items via direct payment of purely        23              MR. CICILIANO: Objection, foundation,
     24   personal costs, closed quote.                              24   calls for a legal conclusion.
     25          Do you believe that to be a correct statement?      25              MR. WATSON: You can answer, Judge, to
                                                           Page 70                                                        Page 72

      1             MR. CICILIANO: Objection, foundation.             1   the extent of your impression or personal knowledge.
      2             MR. WATSON: You can answer, Judge.                2              THE WITNESS: Thank you.
      3             THE WITNESS: Thank you.                           3       A. Yes, I believe that's accurate based upon my
      4       A. Yes. That also is based upon my review of            4   review and personal knowledge.
      5   news reports, attorney generals' petitions from both New    5       Q. (BY MR. PRONSKE) And what in particular would
      6   York and Washington, D.C.                                   6   you have personal knowledge of as to those violations?
      7       Q. (BY MR. PRONSKE) Okay. But you do believe            7              MR. CICILIANO: Objection to the extent
      8   that to be a correct statement. Is that right?              8   it calls for you to disclose what occurred during board
      9       A. Based upon what was in those petitions, I do         9   meetings and/or executive board meetings where counsel
     10   believe that is accurate, because it was apparent to me    10   is present and legal advice was given.
     11   from reviewing the New York Attorney General's petition    11              MR. WATSON: You can answer, Judge, to
     12   that that was based upon depositions, documents produced   12   the extent of your personal knowledge and the basis of
     13   in discovery or interviews by the attorney general         13   your personal knowledge.
     14   staff.                                                     14       A. Well, based upon my personal knowledge, from
     15       Q. Okay. And then in paragraph 11 you say,             15   the review of those articles and the petitions and the
     16   quote, Upon information and belief, the debtors engaged    16   legal documents, I believe that that statement in
     17   in the practice of passing expenses through Ackerman to    17   paragraph 17 is accurate. My personal knowledge does
     18   conceal personal expenses by the debtors' insiders. Do     18   not go back very far, but based on my review of the
     19   you believe that -- closed quote.                          19   bylaws that I have access to, I do believe they exceeded
     20          Do you believe that to be a correct statement?      20   their authority.
     21             MR. CICILIANO: I would object. I would           21       Q. (BY MR. PRONSKE) Okay. I want to ask you a
     22   object, lack of foundation. Go ahead.                      22   few questions about the financial condition of the NRA
     23             MR. WATSON: You can answer, Judge. Go            23   as a board member. Is the board regularly informed and
     24   ahead.                                                     24   advised regarding the financial condition of the NRA?
     25             THE WITNESS: Thank you.                          25              MR. CICILIANO: Objection, vague -- or
                                                           Page 71                                                        Page 73

                                                                                                           19 (Pages 70 - 73)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 132 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   form. Go ahead.                                          1                    Q. Well, let's talk about that. Do you have --
      2             MR. WATSON: You can answer, Judge.             2                do you believe that the filing of bankruptcy by the NRA
      3             THE WITNESS: Thank you.                        3                was necessary for financial reasons?
      4       A. I believe they are advised to the extent that     4                           MR. CICILIANO: Objection, calls for
      5   the CFO or others under their control produce            5                speculation, evades the attorney/client privilege.
      6   information or documents to the board.                   6                        Don't answer to the extent your knowledge
      7       Q. (BY MR. PRONSKE) And Judge Journey, have you 7                     would come from communications with an attorney of the
      8   seen anything in the past 12 months that shows you that  8                NRA. Go ahead.
      9   the NRA has any financial problems?                      9                           MR. WATSON: You can answer, Judge, based
     10             MR. CICILIANO: Objection, calls for           10                on your understanding.
     11   speculation, form.                                      11                    A. You know, what I've seen in the media by them
     12             MR. WATSON: You can answer, Judge.            12                tells me that there was only one reason they filed the
     13             THE WITNESS: Okay.                            13                Chapter 11 and wanted to come to Texas, and it's not
     14       A. You guys, I know you don't know me, but I got    14                money.
     15   my first degree in accounting, all right, before I went 15                    Q. (BY MR. PRONSKE) So I'm sorry, I don't -- I
     16   to law school. And I said, oh, my God, this is boring,  16                didn't quite hear you. Could you repeat that or --
     17   I am not doing this for the rest of my life and went on 17                    A. Sure. I said based upon what, for example,
     18   to law school. So, you know, I can read a financial     18                Wayne LaPierre and other spokespersons have said, it was
     19   statement. I can review a balance sheet or a cash flow  19                not a financial problem that caused them to file the
     20   statement and have some comprehension of what it's      20                bankruptcy in Texas.
     21   trying to impart into us.                               21                    Q. Okay.
     22         I have to say that I have always felt that the    22                    A. That's pretty obvious.
     23   financial statements provided to the board have been    23                    Q. Why do you believe the NRA filed bankruptcy?
     24   lacking in clarity and especially under Mr. Phillips    24                           MR. CICILIANO: Objection. To the extent
     25   when I was on the board the first time. I have no       25                that it calls for attorney/client communications, I
                                                                     Page 74                                                         Page 76

      1 knowledge that NRA is in dire financial straits or                      1   direct you not to answer.
      2 insolvent at this time. All the representations I've                    2             MR. WATSON: Judge, you can answer to the
      3 reviewed in the press and the documents handed out at                   3   extent of your personal knowledge.
      4 the board meetings tell me that the cash flow is sound,                 4       A. The press reports, the press releases by NRA,
      5 the balance sheet is good and that we are not                           5   the statements of officers and spokespersons clearly say
      6 underwater. And the New York Attorney General, if she's                 6   that there was one reason, and that's because they want
      7 successful, is going to put a lot of money in her                       7   more sun than they could get in New York. No, I'm
      8 pocket.                                                                 8   kidding. But that they want to get away from the New
      9     Q. (BY MR. PRONSKE) Is -- this morning -- let me                    9   York AG.
     10 put it this way to hopefully avoid another speaking                    10       Q. (BY MR. PRONSKE) Judge Journey, would you be
     11 objection.                                                             11   surprised to learn that John Frazer, the general counsel
     12        If Mr. Frazer testified this morning that the                   12   of the NRA, was not aware that bankruptcy was going to
     13 financial condition of the NRA has never been as good as               13   be filed until after the filing?
     14 it is now, would you have any reason to dispute that?                  14             MR. CICILIANO: Objection, foundation,
     15           MR. CICILIANO: Objection, form,                              15   form, calls for speculation.
     16 foundation.                                                            16       A. That does not surprise me.
     17     A. It sure sounds --                                               17       Q. (BY MR. PRONSKE) Do you believe that he
     18           (Reporter clarification.)                                    18   should have been informed as general counsel as to a
     19     A. Sounds like puffing to me.                                      19   significant legal proceeding such as the filing of a
     20     Q. (BY MR. PRONSKE) Would you have any reason to                   20   Chapter 11?
     21 dispute that?                                                          21             MR. CICILIANO: Objection, form, calls
     22     A. I do not have access to that information to                     22   for speculation, calls for legal conclusion.
     23 draw the conclusions you're asking.                                    23       Q. (BY MR. PRONSKE) You can answer.
     24     Q. Okay.                                                           24             MR. WATSON: You can answer, Judge.
     25     A. I just know what it smells like.                                25       A. I think it would have been nice to tell the
                                                                     Page 75                                                         Page 77

                                                                                                                      20 (Pages 74 - 77)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 133 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   general counsel what they're planning, just like I think     1   meeting is to provide briefing to the board regarding
      2   it would have been nice to tell the board.                   2   the NRA's reorganization plan and the legal matters
      3       Q. (BY MR. PRONSKE) Would you --                         3   overseen by the special litigation committee and to take
      4              MR. CICILIANO: I would move to strike to          4   necessary action related to those -- directly related to
      5   the extent that that discloses attorney/client               5   those matters, closed quote.
      6   communications. Go ahead.                                    6          Is that a quote that you gave to the WFB, or
      7              THE WITNESS: Thank you.                           7   was it from some other source?
      8       Q. (BY MR. PRONSKE) Would you be surprised to            8       A. That was a quote from the email that announced
      9   learn that Craig Spray, the treasurer of the NRA, was        9   the meeting.
     10   not aware that bankruptcy was going to be filed until       10       Q. Okay. And did you send that email to the WFB?
     11   after the filing?                                           11       A. I think he already had it.
     12              MR. CICILIANO: I would object,                   12       Q. Okay. Do you know what the terms "to take any
     13   foundation, speculation.                                    13   necessary action related to those matters" means?
     14           Counsel, I hope you have a basis for asserting      14              MR. CICILIANO: Objection, calls for
     15   that. Go ahead.                                             15   speculation.
     16       Q. (BY MR. PRONSKE) You can answer.                     16          To the extent that you learned that from an
     17              MR. PRONSKE: And I do have a basis.              17   attorney/client communication from the NRA's counsel, I
     18       A. No, I'm not surprised.                               18   would direct you not to answer.
     19       Q. (BY MR. PRONSKE) And why are you saying that         19              MR. PRONSKE: It doesn't call for
     20   you're not surprised?                                       20   speculation. I'm asking him if he knows what that
     21              MR. CICILIANO: Objection to the extent           21   means.
     22   that it calls for you to reveal attorney/client             22       A. I think it means like anything else they want
     23   communications, including those that occurred at board      23   to do. I don't know.
     24   meetings or executive board meetings, I would direct you    24       Q. (BY MR. PRONSKE) Okay. Have you been
     25   not to answer. Outside of that, you may go ahead.           25   threatened by anyone about your earlier -- or your
                                                            Page 78                                                          Page 80

      1             MR. WATSON: You can answer based on your           1   filing of your motion to appoint examiner or the
      2   personal knowledge, Judge, and what you observed.            2   contents of the WFB article?
      3             THE WITNESS: Thank you.                            3       A. I don't know if you could quite call them as
      4       A. It's clear from my observation of the                 4   threats rather than advice, but there have been some
      5   operation and -- that there are, as I explained before,      5   statements made by others.
      6   kind of broaching on it, that there are circles within       6       Q. Have you been given advice regarding those
      7   circles, and the closer circles are more informed than       7   issues?
      8   those in the outer reaches. And I'm sure now I'm going       8       A. Yes.
      9   to be out there by Pluto somewhere so -- after filing my     9       Q. And who did you get that advice from?
     10   motion. You know, I may be, I don't know, outside the       10       A. Law enforcement.
     11   solar system. We'll see how the 28th goes.                  11       Q. And what advice was given to you by law
     12       Q. (BY MR. PRONSKE) Have you had any                    12   enforcement?
     13   conversations since the filing of the bankruptcy with       13       A. Keep my head on a swivel. Don't get in an
     14   Mr. Cotton, Mr. Lee, Mr. LaPierre or Ms. Meadows?           14   elevator alone.
     15       A. No. They're not calling me.                          15       Q. When you testified earlier regarding closer
     16       Q. Were you aware that there was a board meeting        16   circles, who is in these closer circles?
     17   set for March 14th and -- of this year and got called       17       A. You're going to have to ask somebody that
     18   off?                                                        18   makes the circles. I don't know.
     19       A. Yes.                                                 19       Q. You don't know who's in the closer circles?
     20       Q. Do you know why the meeting got called off?          20       A. I have no idea. I would presume it changes
     21       A. They said someone's been exposed to COVID.           21   periodically also.
     22             MR. CICILIANO: Go ahead.                          22       Q. Are you aware that the Brewer firm was paid
     23       Q. (BY MR. PRONSKE) The WFB article says that           23   $17 million in the 90 days prior to bankruptcy?
     24   this to be held board meeting -- or regarding this to be    24       A. Yes. I saw the filing.
     25   held board meeting that, quote, The sole purpose of the     25       Q. Do you know what that's for?
                                                            Page 79                                                          Page 81

                                                                                                             21 (Pages 78 - 81)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 134 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1       A. No, I do not.                                          1   discussion about the amount of fees is not
      2       Q. Do you know whether that amount was paid for           2   attorney/client privileged. So it sounds like you're
      3   services incurred during that period, or are those for        3   taking the position that anything that's discussed in an
      4   services that are older or past due invoices?                 4   executive session of the board is attorney/client
      5              MR. CICILIANO: Objection to form.                  5   privileged. Is that right?
      6       A. No, I do not.                                          6             MR. CICILIANO: That's certainly not the
      7       Q. (BY MR. PRONSKE) Is the board given                    7   case. Your question was broad enough to encompass even
      8   information regarding Brewer's fees?                          8   what's contained in those fees. And so if the question
      9              MR. CICILIANO: Objection to the extent             9   was did you discuss and they discussed the actual
     10   it calls for you to divulge attorney/client                  10   content of the billing statements, that would be
     11   communications.                                              11   privileged, that content. The amount of the fees
     12       A. I mean, I don't know how far he wants me to go        12   necessarily wouldn't be. But it's a mixed bag of
     13   back. I mean, it was the controversy at Indianapolis,        13   privilege and nonprivilege, and I am telling him to be
     14   and I was there at that meeting 2019.                        14   careful.
     15       Q. (BY MR. PRONSKE) And what was that                    15             MR. PRONSKE: I specifically said of the
     16   controversy?                                                 16   amount of the fees, and I specifically did not say was
     17       A. I think it's pretty clearly represented in the        17   contained in the billing statement. So let me reask the
     18   press, but essentially from what I read and what I saw       18   question and please listen.
     19   at that meeting, it became apparent that there was           19       Q. (BY MR. PRONSKE) And the question is: Has
     20   struggle politically between Mr. North and Mr. LaPierre.     20   there ever been a discussion in a board meeting when you
     21   I mean, I was there in the members meeting. I attended       21   were present as to the amount of Brewer's fees? And I
     22   the board meeting following the members meeting in 2019      22   am going to ask that first.
     23   in Indianapolis. That's what spurred me to try to get        23       A. No.
     24   back on the board.                                           24       Q. Has there ever been a discussion by the board
     25       Q. Do you believe as a board member that the             25   of oversight of the Brewer fees and -- of the Brewer
                                                             Page 82                                                           Page 84

      1   amount of the Brewer fees in the last couple of years         1   fees?
      2   have been reasonable?                                         2      A. I -- okay.
      3              MR. CICILIANO: Objection, foundation,              3              MR. CICILIANO: And I would generally
      4   calls for speculation.                                        4   object to the attorney/client privilege to the extent
      5              MR. WATSON: You can answer, Judge, on              5   that they are discussing the oversight of the fees.
      6   your personal knowledge.                                      6          It's a yes or no question. You can answer yes
      7              THE WITNESS: Yeah.                                 7   or no, but that's it.
      8       A. Again, without seeing the billings, I'm not            8              MR. WATSON: You can answer, Judge.
      9   sure what he's doing. It's hard to imagine. But even          9              THE WITNESS: Thank you.
     10   on the Internet -- what he has on the web page, his rate     10      A. No.
     11   is 1,400 bucks an hour. That's still an awful lot of         11              MR. PRONSKE: Okay. I think I am close
     12   hours. So, you know, I don't know.                           12   to being out of time, so I am going to pass the witness;
     13       Q. (BY MR. PRONSKE) Do you -- has there ever             13   but again, I reserve my rights to recall the witness
     14   been any discussion by the board that you've been a part     14   after discussion of the privilege issues with the Court.
     15   of as to either the amount of those fees or the              15              MR. WATSON: That's fine, Gerrit. And
     16   oversight or lack of oversight of those fees?                16   you know, we'll go there.
     17              MR. CICILIANO: I would just object to             17          How much time is left on the New York AG side,
     18   the extent that it calls for you to disclose anything in     18   Julie.
     19   one of the executive sessions in which you were              19              THE REPORTER: They've got 29 minutes.
     20   discussing with counsel, including meeting with the          20              MR. WATSON: Okay. Brian, you mentioned
     21   committee, special litigation committee. I direct you        21   that you have a few questions for Judge Journey.
     22   not to answer.                                               22              MR. MASON: I do. Do you want to keep
     23              MR. PRONSKE: Mr. Ciciliano, are you               23   going?
     24   taking the position that everything that happens in an       24              MR. WATSON: Yeah.
     25   executive session is privileged? Because certainly a         25              MR. MASON: Or Judge, do you need a
                                                             Page 83                                                           Page 85

                                                                                                               22 (Pages 82 - 85)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 135 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   break?                                                      1              MR. MASON: I was asking for his personal
      2              MR. WATSON: Are you okay, Judge?                 2   opinion.
      3              THE WITNESS: I'm good.                           3              MR. CICILIANO: Even as to personal
      4              MR. WATSON: Why don't you go ahead and           4   opinion, you're asking him to reveal the content of the
      5   finish, Brian.                                              5   communications because of what he feels was lacking.
      6              MR. MASON: Okay.                                 6              MR. WATSON: Judge, I am going to
      7                    EXAMINATION                                7   instruct you not to answer.
      8   BY MR. MASON:                                               8              THE WITNESS: Okay. I don't why he can't
      9       Q. Judge Journey, good evening. My name is Brian        9   just read the motion.
     10   Mason. I represent Ackerman McQueen. And I appreciate      10      Q. (BY MR. MASON) I want to be clear. During
     11   you sitting and visiting with us tonight.                  11   the first executive session motion -- I mean, I'm
     12       A. Tell Revan I said hello.                            12   sorry -- the first executive session regarding
     13       Q. I will do it.                                       13   Mr. LaPierre's employment agreement, it was Wit Davis,
     14           A few questions for you. Going back to the         14   John Frazer and then somebody from the Brewer firm. Is
     15   January 7th board meeting, what specifically was voted     15   that your recollection?
     16   on with respect to those two executive sessions?           16      A. I remember Mr. Brewer being present
     17              MR. CICILIANO: Objection to the extent          17   personally.
     18   it calls for attorney/client communications and            18      Q. Okay. Were copies of Mr. LaPierre's
     19   privilege.                                                 19   employment agreement passed out to board members during
     20           To the extent that it's reflected in the           20   that executive session?
     21   general minutes, you can testify to that.                  21      A. No.
     22              MR. WATSON: Yeah, Judge. I mean, you            22              MR. CICILIANO: Objection, asked and
     23   can testify to what you remember, so long as it's not      23   asked.
     24   privileged or confidential.                                24      A. I answered that. No, it wasn't.
     25       A. I have not had a chance to read those minutes.      25      Q. (BY MR. MASON) Without going into what was
                                                          Page 86                                                          Page 88

      1   They just arrived yesterday for me from the January 7th     1   said specifically, were there any questions relating to
      2   meeting, but the only two questions were those we've        2   Mr. LaPierre's employment agreement that were asked?
      3   been talking about all afternoon, and that's Wayne          3       A. Yes.
      4   LaPierre's employment contract and the empowerment of       4       Q. Who asked those questions?
      5   the special litigation committee.                           5             MR. CICILIANO: I would direct you not to
      6       Q. (BY MR. MASON) When voting on something as a         6   answer pursuant to the attorney/client privilege.
      7   board member, is it important to know what you're voting    7             MR. MASON: That's not a proper
      8   on?                                                         8   instruction.
      9       A. Of course.                                           9       A. I think if you review the minutes, it's quite
     10              MR. CICILIANO: Objection, vague.                10   clear that there became a question during that
     11       Q. (BY MR. MASON) Do you rely on the people            11   conversation regarding the question of the law that
     12   presenting you with information when you're voting to      12   would control the contract.
     13   provide complete and accurate information in order to      13       Q. (BY MR. MASON) So was there just one question
     14   exercise your vote as a board member?                      14   that was asked relating to Mr. LaPierre's employment
     15       A. I believe that what Reagan said was true, that      15   agreement?
     16   I trust but verify. I do my best to try to verify          16             MR. CICILIANO: Objection, calls for
     17   things or questions that have to come up before me, just   17   attorney/client communication.
     18   like I try to do it here where I'm sitting right now.      18          Now I am directing you not to answer.
     19       Q. In the executive session board meetings on          19             MR. MASON: I am not asking about the
     20   January 7, do you believe that there was information       20   subject of the question.
     21   that was intentionally withheld from the board?            21             MR. CICILIANO: You are asking about the
     22              MR. CICILIANO: I am going to object and         22   subject. You're saying is that the only question that
     23   direct you not to answer to the extent -- or not to        23   was asked. It's absolutely asking about the subject.
     24   answer as it would reveal attorney/client                  24   I'm directing him not to answer.
     25   communications.                                            25             THE WITNESS: Thank you.
                                                          Page 87                                                          Page 89

                                                                                                            23 (Pages 86 - 89)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 136 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1             MR. WATSON: Judge, don't answer.                    1   the state senate.
      2             THE WITNESS: Okay.                                  2          When I went to the board meeting in October, I
      3      Q. (BY MR. MASON) Mr. -- I mean, Judge Journey,            3   was aghast because the board meeting ran like a consent
      4   about how long -- well, let me back up.                       4   agenda. So they would say --
      5          You said that there was --                             5              MR. CICILIANO: And Judge, I would just
      6             MR. ACOSTA: I'm sorry. I'm sorry.                   6   warn you not to disclose what was said in the executive
      7   Someone is -- we're getting feedback from someone.            7   sessions, but go ahead beyond that.
      8             MR. ACOSTA: 202-437-5091, you're not                8              MR. WATSON: And Judge -- well, hold on.
      9   muted.                                                        9   Judge, you can answer as to what you observed that
     10             THE WITNESS: Washington, D.C.                      10   wasn't in executive session. So you can continue.
     11      Q. (BY MR. MASON) Earlier in the deposition, if           11              THE WITNESS: Sure.
     12   I understood your testimony, you made a comment that the     12      A. You know, and when they would bring an action
     13   NRA reorganizes all the time and has various committees.     13   item up, whether it was a modification of the bylaws --
     14   Did I recall that correctly?                                 14   I am not talking about in the executive session, but
     15      A. Yes.                                                   15   everything on the agenda that day in Tucson was a
     16      Q. Can you describe that for us a little bit              16   consent agenda. They would say, here is your action
     17   more?                                                        17   item, unanimous acclamation, are there any objections?
     18      A. Well, from time to time, questions come up,            18   And I had not had the opportunity to be in the board
     19   new shooting disciplines are being popular. One of the       19   meetings, mostly because they do a lot in executive
     20   many things that NRA does, that don't seem to make the       20   sessions when I wasn't on the board; and when I got
     21   news, is we run the national matches. There are from         21   inside, I was astounded. So they don't have committee
     22   time to time controversy in those competitions. It           22   meetings. They haven't had committee meetings for two
     23   requires rule changes. Sometimes you have to create a        23   board meetings. So how can they inform the finance
     24   select committee or a special committee to just look at      24   committee about the finances when it doesn't meet? How
     25   that one little question and kind of get the information     25   could they inform legislative policy about what they're
                                                             Page 90                                                         Page 92

      1   from all the competitors and try to figure out what the       1   doing if it doesn't meet? You know, we've had two board
      2   right answer is. Sometimes there are tasks or special         2   meetings and no committees. I finally got my committee
      3   projects that a committee is created to oversee or work       3   assignments a few weeks ago, and that was after the
      4   out the task for the staff to go implement. You know,         4   January 7th meeting. So there are no committee meetings
      5   it's a large organization that has a myriad of tasks to       5   planned for this special emergency meeting they're going
      6   complete, and it certainly required something more            6   to have in, what, ten days, you know. But, of course,
      7   flexible than a fixed commissioner.                           7   this way at least I get to go down to Dallas and only
      8        Q. You testified earlier, if I understand your           8   make one trip for a week while we're there on our trial.
      9   testimony, that you believe that Mr. LaPierre had a duty      9       Q. (BY MR. MASON) Aside from the bankruptcy, do
     10   to advise the board of the bankruptcy, and then I            10   you have concerns about the NRA's disclosure to the
     11   believe you said and so many other things. Assuming I        11   board the last two years?
     12   understood your testimony correctly, could you tell us       12             MR. CICILIANO: I would just object to
     13   about what those other things are?                           13   the extent it calls for you to disclose what's occurred
     14              MR. CICILIANO: I will just object to the          14   in the executive committee meetings that would be
     15   extent that it calls for attorney/client communications.     15   subject to privilege and direct you not to answer that.
     16              MR. WATSON: You can answer, Judge. You            16             MR. WATSON: You can answer, Judge, to
     17   can answer.                                                  17   the extent of your personal knowledge.
     18              THE WITNESS: All right.                           18             THE WITNESS: Thank you.
     19        A. Look, when I was on the board 25 years ago, I        19             MR. WATSON: So long as it's not in
     20   believe it operated properly. Our board meetings             20   executive session.
     21   25 years ago were four days long. We would have two          21       A. Yeah, I went back and looked in my files from
     22   days of committee action and two days of board action        22   25 years ago, and I saw the board packets they would
     23   based upon a committee request. It ran just like the         23   send me then and they would be about 4 inches. And they
     24   legislature. And that's where I initially learned            24   would send it to me about three weeks ahead of the
     25   legislative procedure, and I used it every day I was in      25   meeting so I had time to read everything. Now when I go
                                                             Page 91                                                         Page 93

                                                                                                              24 (Pages 90 - 93)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 137 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1 to the board meeting, it's sitting on the desk. And you              1       A. I think Judge Hale is going to answer that
      2 can't get into the room until just before the meeting,               2   question, not me. We'll see.
      3 so you've got no time to read it. I mean, who knows                  3       Q. (BY MR. MASON) Would --
      4 what they're giving me, you know, but I don't have time              4       A. I --
      5 to review it to figure out what the questions are, let               5       Q. I'm sorry, go ahead, Judge.
      6 alone what the answers should be.                                    6       A. I -- you know, I have my own personal opinion,
      7     Q. (BY MR. MASON) Are you aware of other board                   7   but I think another judge is probably going to give a
      8 members that share your same concerns?                               8   much sounder one than I.
      9     A. Yes.                                                          9       Q. Can you please share your personal opinion
     10     Q. Is it a significant number of board members                  10   with us?
     11 that share these same concerns?                                     11             MR. CICILIANO: I would just object to
     12           MR. WATSON: Objection, speculation.                       12   its relevance and speculation, foundation.
     13 Objection, that's speculative.                                      13           Go ahead if you have one.
     14           THE WITNESS: I appreciate that.                           14             MR. WATSON: You can answer, Judge, to
     15     A. One of the first persons I called was a former               15   the extent of your opinion.
     16 general counsel that I knew that had been general                   16       A. I think -- I think that the officers and
     17 counsel of NRA from 1977 to, I don't know, 2014 or so.              17   counsel have a duty to disclose to the board things like
     18 And I gave him a call, and he taught me a new word,                 18   filing a bankruptcy. I think it's the board's decision.
     19 supine. The board is supine.                                        19       Q. (BY MR. MASON) And they did not uphold their
     20     Q. (BY MR. MASON) You have mentioned a few times                20   duty in this particular instance, did they?
     21 during the deposition the upcoming March 28 board                   21             MR. CICILIANO: I would just object
     22 meeting. Is it your understanding that the NRA will ask             22   pursuant to the attorney/client privilege and direct you
     23 the board to ratify the bankruptcy on March 28?                     23   not to respond.
     24           MR. WATSON: Objection, speculation.                       24       A. Oh, my God, how many times do I have to answer
     25           MR. CICILIANO: And I would further                        25   that?
                                                                  Page 94                                                          Page 96

      1   object to the extent you acquired that knowledge through           1              MR. WATSON: Objection, that's been asked
      2   attorneys or counsel for the NRA.                                  2   and answered. I think he's answered that, Brian.
      3       A. I'm not sure what they're going to ask us.                  3       Q. (BY MR. MASON) With respect to the NRA's
      4   Really, I'm not.                                                   4   bankruptcy filing, do you feel like you were deceived?
      5       Q. (BY MR. MASON) Let me ask you this then. Do                 5              MR. WATSON: Same objection. I think
      6   you believe that it's good corporate governance for the            6   he's answered that as well.
      7   NRA to try to have the NRA board ratify the bankruptcy             7              MR. CICILIANO: And I would just object
      8   filing after it was already filed?                                 8   to the extent he relies on attorney/client privilege.
      9              MR. WATSON: I would object to that                      9       A. I think just as I told the Free Beacon editor
     10   because it calls for a legal conclusion and is                    10   reporter, that I believe it was an omission that was
     11   speculative.                                                      11   intentional and that they breached that duty to inform
     12              MR. CICILIANO: Join.                                   12   the board. I mean, you know, what's 1.03 in the Texas
     13       A. I got no idea what they're going to do. All I              13   code? Communication by attorneys.
     14   know is what they said.                                           14       Q. (BY MR. MASON) Have you spoken with other
     15       Q. (BY MR. MASON) You mentioned earlier that                  15   board members since January 15 that share your same
     16   your personal view -- or your personal review of the              16   concerns?
     17   statutes and the case law, you came to the conclusion             17              MR. CICILIANO: I would just object to
     18   that the board was required to authorize the NRA's                18   the extent that it calls for you to disclose
     19   bankruptcy filing. Do you believe that a bankruptcy can           19   attorney/client communications.
     20   be filed in good faith if it was not authorized?                  20          I would direct you not to answer to that
     21              MR. CICILIANO: Objection, calls for a                  21   extent.
     22   legal conclusion. The witness isn't an expert.                    22              MR. WATSON: You can answer, Judge, to
     23              MR. WATSON: Objection also because it's                23   the extent of the substance of those conversations that
     24   speculative.                                                      24   aren't reflected by any attorney/client communication.
     25          But go ahead, Judge.                                       25       A. I reached out to several that I believed I
                                                                  Page 95                                                          Page 97

                                                                                                                   25 (Pages 94 - 97)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 138 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   could have a candid conversation with.                    1    everyone here, I am going to try to make a quick push
      2       Q. (BY MR. MASON) Do you have concerns about the 2         and only have this be the last break.
      3   Brewer firm's representation of the NRA?                  3               MR. WATSON: Okay. Sounds good. Five
      4       A. Yes.                                               4    minutes?
      5       Q. What are those concerns?                           5               THE WITNESS: Okay.
      6              MR. CICILIANO: I would just object to          6               MR. CICILIANO: Let's make it 10 so I can
      7   the extent that they call you to call upon                7    use the restroom.
      8   attorney/client communications or things you learned      8               MR. WATSON: Okay, 10.
      9   through attorney/client privilege.                        9               THE VIDEOGRAPHER: The time is 6:13. We
     10              MR. WATSON: Judge, you can learn -- you       10    are off the record.
     11   can answer the question to the extent of your personal   11               (Break from 6:13 p.m. to 6:27 p.m.)
     12   knowledge and that you've become aware of since this     12               THE VIDEOGRAPHER: The time is 6:27 p.m.
     13   case has been filed.                                     13    We're back on the record.
     14              MR. CICILIANO: That doesn't involve           14                    EXAMINATION
     15   attorney/client communications.                          15    BY MR. CICILIANO:
     16              THE WITNESS: Thank you.                       16       Q. Judge, as I introduced myself earlier, I'm
     17              MR. WATSON: Well, things that are on the      17    Dylan Ciciliano. I represent the debtors in this case.
     18   record that have been filed in the case are --           18    I don't think I've had the pleasure to speak to you
     19              MR. CICILIANO: Agreed, Jermaine.              19    before, and I do say it's been an interesting honor to
     20              MR. WATSON: You can answer to that            20    be able to tell a judge to stop talking at times.
     21   extent, Judge.                                           21    Usually it's the other way around, so --
     22       A. I've read a lot of the firm's work, reading       22       A. That's the truth.
     23   all of these other cases and their filings in them, and  23       Q. So where we start out, I believe towards the
     24   I didn't think they were very well done. I thought it    24    end of the questioning you mentioned, in response to
     25   was more sophistry than substance, what I've read in the 25    Ackerman McQueen's counsel, that you were concerned with
                                                          Page 98                                                          Page 100

      1   dozens of pleadings that I've read by Brewer and his       1   some of the things that Brewer and his co-counsel had
      2   co-counsel.                                                2   filed. Is that co-counsel in reference to Garman Turner
      3       Q. (BY MR. MASON) Are you aware of other board         3   & Gordon, my firm?
      4   members sharing those same concerns?                       4       A. No. No. No. I mean, I'm talking about the
      5       A. I don't think as sophisticated, but yes.            5   filings I read in the New York AG's case. Some of the
      6       Q. Do you believe that Mr. LaPierre is currently       6   Ack-Mac litigation in Virginia and Dallas. The filings
      7   fit to lead the NRA?                                       7   in -- oh, what was it? The insurance case in New York.
      8       A. What?                                               8   I was trying to follow that as closely as I could.
      9       Q. Do you believe that Mr. LaPierre is currently       9       Q. And you were reviewing those filings just to
     10   fit to lead the NRA?                                      10   get a sense of what was going on as a board member?
     11              MR. CICILIANO: Objection to form.              11       A. Yes.
     12              MR. WATSON: You can answer, Judge, to          12       Q. And when was that done?
     13   the extent your opinion or your personal knowledge.       13       A. I started -- actually, I started monitoring --
     14       A. You know, I've known Wayne for a long, long        14   trying to monitor those things about three years ago
     15   time, and he's in such a hole, I don't see how he gets    15   and, you know, did my best to try to follow them.
     16   out.                                                      16       Q. And that's because they dealt with your
     17              MR. MASON: Thank you, Judge Journey. I         17   beloved organization, the NRA. Is that right?
     18   appreciate the time.                                      18       A. What?
     19              MR. WATSON: Did you pass the witness,          19       Q. And that's because -- you were reviewing them
     20   Brian?                                                    20   for the past three years because you care about the NRA;
     21              MR. MASON: Yeah, I'll pass the witness.        21   you wanted to know what was going on?
     22              MR. WATSON: Dylan, do you want to take a       22       A. Yes.
     23   break so I can check on my client, and then we can        23       Q. Okay. And I believe in this action -- let
     24   finish up?                                                24   me -- let me go in a little reverse order before I ask
     25              MR. CICILIANO: Absolutely. And just for        25   you some specific questions, but go back through what
                                                          Page 99                                                          Page 101

                                                                                                          26 (Pages 98 - 101)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 139 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   counsel asked you.                                           1   leading the witness with almost every question.
      2          Earlier -- I don't know if you recall -- you          2               MR. MASON: Yeah. Are you treating the
      3   were asked about several paragraphs in your motion to        3   witness as adverse, Dylan?
      4   appoint the examiner in which you recited that you had       4               MR. CICILIANO: It's crossing him, and
      5   some concerns with the governance, as well as things         5   it's at his deposition.
      6   that have happened at the NRA. Do you recall that?           6               MR. MASON: Okay. So he's an adverse
      7      A. Yes.                                                   7   witness, okay.
      8      Q. And I objected to foundation, and I think you          8               MR. CICILIANO: I didn't say he was an
      9   said, well, I have learned a lot of this stuff from          9   adverse witness.
     10   reading the New York AG's complaint. Do you recall          10               MR. MASON: You're treating him like one.
     11   that?                                                       11               MR. CICILIANO: You can object to form,
     12      A. Yes.                                                  12   if you want, Brian.
     13      Q. And you also are aware that the New York AG           13               THE WITNESS: I love this. Keep going,
     14   claims that Ackerman McQueen has also taken actions that    14   guys. Come on, I'm really enjoying this.
     15   were untoward. Isn't that right?                            15               MR. PRONSKE: Judge, I think we need you
     16      A. Yes.                                                  16   to rule on some of these evidence objections.
     17      Q. And is it because the New York AG says it that        17               THE WITNESS: I would be happy to, but I
     18   you believe it to be true?                                  18   don't think that's my prerogative at this time. I might
     19      A. No.                                                   19   be a little biased, too, so --
     20      Q. And in fact, you believe the New York AG has          20        Q. (BY MR. CICILIANO) Do you believe the
     21   an ulterior motive. Isn't that right?                       21   dissolution is a financial issue?
     22      A. I do believe she has a motive, yes.                   22        A. I think dissolution would be a tragedy.
     23      Q. And what --                                           23        Q. Right. And I believe in the testimony you
     24      A. She said so when she was campaigning for              24   said that you believe the New York Attorney General
     25   Attorney General.                                           25   wanted to put the money in her pocket?
                                                           Page 102                                                           Page 104

      1       Q. Right. And when she was campaigning, she said         1       A. Well, it's pretty obvious from the New York
      2   the NRA is akin to a terrorist organization. Isn't that      2   corporate code that if the dissolution is granted by the
      3   correct?                                                     3   New York courts, that she gets to keep the change and
      4       A. Among other things, yes.                              4   then she can give it to any similar organization she
      5       Q. And you don't believe any of that to be true?         5   wants. And I mean, you know, Handgun Control does have
      6       A. No.                                                   6   "gun" in the title.
      7       Q. Okay. And you believe in the mission of the           7       Q. I would -- I would dare to say that I've said
      8   NRA; isn't that right?                                       8   about the exact same statement. So to the point,
      9       A. Yes.                                                  9   though, is you don't want it to occur. Is that correct?
     10       Q. And that's why you've opposed the dismissal of       10       A. I'm sorry. What?
     11   the bankruptcy. Right?                                      11       Q. You don't want that to occur. Is that right?
     12       A. That's why what?                                     12       A. No, I do not.
     13       Q. You've opposed the dismissal of the                  13       Q. Now earlier in response to Mr. Mason, you said
     14   bankruptcy?                                                 14   tell Revan I said hello. Do you recall that?
     15       A. Yes.                                                 15       A. Yes.
     16       Q. And you've opposed the imposition of a               16       Q. Who is Revan.
     17   trustee. Correct?                                           17       A. Revan is Angus's son. Angus McQueen, Ackerman
     18       A. At this point, yes.                                  18   McQueen.
     19       Q. And you certainly don't support the New York         19             MR. MASON: Just for the record, it's
     20   AG's efforts to dissolve the NRA. Right?                    20   "Revan."
     21       A. That's correct.                                      21             THE WITNESS: Thank you so much. I
     22       Q. And you, in fact, believe that the dissolution       22   appreciate that. I do. "Revan," okay.
     23   of the NRA would pose a financial issue for the NRA.        23       Q. (BY MR. CICILIANO) And do you know Revan?
     24   Isn't that right?                                           24       A. No, I have not have the pleasure to meet him.
     25              MR. PRONSKE: Object to the form. You're          25       Q. Okay. So why did you say tell him hello?
                                                           Page 103                                                           Page 105

                                                                                                           27 (Pages 102 - 105)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 140 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1       A. Because I liked his father a lot.                    1       Q. Now you started a GoFundMe related to the NRA.
      2       Q. And so you knew his father?                          2   Isn't that correct?
      3       A. Yes.                                                 3       A. Yes.
      4       Q. And did you have dealings with his father?           4       Q. And what is that GoFundMe called?
      5       A. I had conversations with him, but I'm never          5       A. Restore NRA.
      6   the one that was in the deal, no.                           6       Q. Is anyone else involved in the formation of
      7       Q. When was the last time you had a conversation        7   that GoFundMe?
      8   with any of the McQueens?                                   8       A. Well, I had professionals help me, yes. I've
      9       A. Oh, 25 years ago, although I did see Tony            9   been kind of busy.
     10   Macerich at the Tulsa Gun Show with Wayne. Golly, that     10       Q. When you say "professionals," IT
     11   was ten years ago, 12, something like that.                11   professionals?
     12       Q. So out of the last ten years, you haven't seen      12       A. Political ones --
     13   anyone from -- either Angus McQueen or Revan McQueen?      13       Q. And who are those --
     14       A. Except perhaps at the NRA's annual meetings         14       A. -- who I've dealt with for decades in a
     15   that I would attend. That might be the only place. I       15   hundred campaigns I've worked on.
     16   just don't remember.                                       16       Q. And who are those professionals?
     17       Q. And since the litigation with the bankruptcy,       17       A. Singularis Group.
     18   have you seen or -- the litigation with Ackerman McQueen   18       Q. Anyone specifically at Singularis Group?
     19   or this bankruptcy, have you seen or spoken with Angus     19       A. Everybody that works there, I guess. Mr. Van
     20   or Revan?                                                  20   Meteren. You know, I know them all. I've known them
     21       A. No. Angus has passed, and no, I have not            21   all for a long time. They're NRA members, and they
     22   been able to -- I have not spoken with any of them.        22   wanted to help.
     23       Q. Have you attempted to get into contact with         23       Q. Outside of the Singularis Group, was anyone
     24   them?                                                      24   else involved in the formation of Restore The NRA?
     25       A. No.                                                 25       A. No.
                                                          Page 106                                                        Page 108

      1      Q. Do you doubt the allegations that the New York        1      Q. And what's the purpose of the GoFundMe?
      2   Attorney General made about Ackerman McQueen in its         2      A. To keep me from having to give Jermaine my
      3   complaint?                                                  3   cell tower.
      4      A. Well, as I said before, that it was apparent          4      Q. Is your retirement plan based on the cell
      5   to me from reading the petition on August 5th filed by      5   phone tower?
      6   the New York Attorney General that that petition was        6      A. No, the cell tower is my play money. You
      7   based upon discovery that had already been completed,       7   know, the cell tower is my play money. I have already
      8   documents produced, testimony provided at depositions or    8   invested in like three retirements, so --
      9   interviews by the attorney general staff. I mean, they      9      Q. So if I understand you, the Restore The NRA
     10   interviewed a hundred past board members.                  10   GoFundMe is being used to pay legal counsel in this
     11      Q. All right. And -- but you don't have personal        11   action?
     12   knowledge of any of what occurred there. Is that           12      A. Yes.
     13   correct?                                                   13      Q. Is anyone else, other than you personally or
     14      A. That's correct.                                      14   the GoFundMe, contributing to the payment of legal
     15      Q. And I believe you mentioned the October 2020         15   counsel?
     16   board meeting, and you said it was something more like a   16      A. Yes.
     17   consent agenda. Do you recall that?                        17      Q. And who is that?
     18      A. Yes.                                                 18      A. You know, there's a lot of people. I mean, I
     19      Q. And you said the board asked if anyone had any       19   don't know. I don't have that spreadsheet in front of
     20   objections. Do you recall?                                 20   me. It's probably over a hundred contributors.
     21      A. Yes.                                                 21             MR. WATSON: Object to the extent that
     22      Q. Now you could have objected. Right?                  22   you're going to speculate, Judge.
     23      A. Certainly.                                           23             THE WITNESS: Yeah.
     24      Q. Did you object?                                      24             MR. WATSON: If you don't know, you don't
     25      A. No.                                                  25   know.
                                                          Page 107                                                        Page 109

                                                                                                        28 (Pages 106 - 109)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 141 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1      A. Yeah, I don't know. Yeah, I don't have it in         1      A. Let me think. I would really need to look at
      2   front of me.                                               2   the list, you know. I really don't see how that's
      3      Q. (BY MR. CICILIANO) Do they only contribute to        3   relevant to anything here.
      4   you through the GoFundMe, or do they contribute to you     4              MR. WATSON: It's not, Judge.
      5   through other means?                                       5      A. I don't know what your motive is for asking.
      6      A. No, they would like mail me checks made              6              MR. WATSON: Judge, if you don't know
      7   payable to the law firm.                                   7   something, you don't need to speculate. I mean, he can
      8      Q. And how did you reach out to those people to         8   ask a question, but if you don't know, you don't know --
      9   solicit funds?                                             9              THE WITNESS: Yeah.
     10      A. By every means I could find.                        10              MR. WATSON: -- because it's not in front
     11             MR. WATSON: You know what? I am going           11   of you.
     12   to object to this scope of questioning because it's       12          Go ahead.
     13   outside of Gerrit's direct.                               13      Q. (BY MR. CICILIANO) Has Colonel North donated
     14             THE WITNESS: Yeah.                              14   money to you?
     15             MR. WATSON: I don't really -- this isn't        15      A. What?
     16   one of the topics that we agreed to.                      16      Q. Has Colonel North donated money?
     17             MR. CICILIANO: Certainly, it does go to         17      A. No. No.
     18   bias. It also goes to any of his motives here.            18      Q. Have the Knoxs provided you any money?
     19             MR. WATSON: Well, I mean you guys didn't        19      A. No.
     20   notice the deposition either, right?                      20      Q. Has Rocky Marshall provided you any funds?
     21             MR. CICILIANO: It's not a 30(b)(6)              21      A. I believe so.
     22   deposition. It's a percipient deposition, which           22      Q. And is Rocky Marshall's representation being
     23   means --                                                  23   paid through the Restore The NRA as well?
     24             MR. WATSON: That's true, but it's               24      A. I think he's paid for some himself. You'll
     25   outside the scope. If it's purely cross --                25   have to ask him.
                                                         Page 110                                                         Page 112

      1              MR. CICILIANO: It's not purely cross.           1       Q. Okay. In this action you are being deposed,
      2              MR. WATSON: So it is a purely cross.            2   the movants attempted to take your deposition all the
      3              MR. CICILIANO: It's not purely cross.           3   way back in February. Isn't that correct?
      4              MR. WATSON: Okay.                               4       A. I remember having a conversation with my
      5              MR. CICILIANO: And it also gets into,           5   counsel about that topic.
      6   like I said, the motives and the basis for the motion.     6       Q. And outside of -- and we have the emails. I
      7      Q. (BY MR. CICILIANO) Is anyone from Ackerman           7   am just trying to give you a date range. Outside of --
      8   McQueen providing you money?                               8   not with your counsel, I apologize.
      9      A. No.                                                  9          Outside of communications to your counsel,
     10      Q. Is anyone from the New York Attorney General        10   have you had any direct communications with counsel for
     11   providing you money?                                      11   the New York Attorney General or Ackerman McQueen?
     12      A. No.                                                 12       A. No.
     13      Q. The New York government?                            13       Q. And in your motion to appoint an examiner, you
     14      A. No.                                                 14   state that the -- you or your counsel states that the
     15      Q. Are you receiving money --                          15   movant is a creditor holding both a liquidated claim and
     16      A. I'm sure Cuomo is going to call me, yeah.           16   a contingent liquidated claim. What's your
     17      Q. I'm sure he's not making many calls.                17   understanding of your liquidated claim?
     18          But --                                             18              MR. WATSON: Objection, calls for legal
     19      A. Yeah.                                               19   conclusion. He's not a bankruptcy expert.
     20      Q. -- are past board members contributing money?       20              THE WITNESS: That's for sure.
     21      A. Yes.                                                21       A. Yeah, I only started learning about this on
     22      Q. Who are they?                                       22   January 16th.
     23      A. Sitting board members and past ones, yes.           23              MR. WATSON: And furthermore, it goes to
     24      Q. Let's start with the past board members. What       24   attorney/client privileges and things that have been
     25   past board members?                                       25   disclosed and discussed with him privately by his
                                                         Page 111                                                         Page 113

                                                                                                        29 (Pages 110 - 113)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 142 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   counsel, so I am instructing him not to answer that     1            A. I think --
      2   question.                                               2                   MR. WATSON: Objection, speculation.
      3             THE WITNESS: Thank you.                       3            A. I think my wife did. Yeah, someone had to
      4             MR. CICILIANO: And I am trying to             4        fill out the form. I think my wife sent it in for me.
      5   establish standing for his motion.                      5            Q. (BY MR. CICILIANO) But no one came to you and
      6       Q. (BY MR. CICILIANO) So what is your               6        said, Judge Journey, we would really like you to be on
      7   understanding of what your claim is?                    7        the board?
      8             MR. WATSON: Same objection.                   8                   MR. WATSON: Same objection, speculation.
      9             MR. CICILIANO: And you're directing him       9        Go ahead.
     10   not to disclose what his claim is?                     10            A. All right. No, there were -- there were
     11             MR. WATSON: I think he has disclosed         11        people, and I had several conversations at Indianapolis
     12   what his claim is. We filed it in 2019.                12        with --
     13       Q. (BY MR. CICILIANO) And what is your             13            Q. (BY MR. CICILIANO) And who were --
     14   understanding of what that was?                        14            A. -- some current board members.
     15             MR. WATSON: Judge, you can answer to the     15            Q. And who are those current board members?
     16   extent of your knowledge of what in general terms your 16            A. I remember having a conversation with Marion
     17   claims are.                                            17        Hammer and Sandy Froman and Herb Lanford and Dan --
     18             THE WITNESS: Thank you.                      18        there were several that I talked to that I can't
     19       A. I am due reimbursement for travel to the board  19        identify because I don't know them that well and I
     20   meetings, and they are listed in -- I think it was the 20        didn't remember their names, but I knew they had the
     21   third or the fourth filing in the bankruptcy. I'm in   21        little pin on and so I knew who to talk to.
     22   there.                                                 22            Q. All right. And in running for the NRA board,
     23       Q. (BY MR. CICILIANO) Okay. And do you have any 23           did you place or take out any ads?
     24   other claims against the NRA?                          24                   MR. WATSON: Objection to form.
     25       A. Not that I'm aware of.                          25                You can answer.
                                                           Page 114                                                      Page 116

      1       Q. And speaking of board meetings, you said the          1      A. I didn't have any ads.
      2   second time around you took -- I believe you got on the      2      Q. (BY MR. CICILIANO) Did you do any other type
      3   board in 2020. Is that correct?                              3   of campaigning?
      4       A. Yes.                                                  4             MR. WATSON: Objection to form.
      5       Q. And as a board member that second time around,        5      A. Yes.
      6   you've only been to the October and the January meeting?     6             MR. WATSON: You can answer.
      7       A. Yes.                                                  7      A. Yes. I had flyers. I went to the National
      8       Q. And when did you decide to run for the NRA            8   Gun Rights Policy Conference and spoke with lots of
      9   board the second time?                                       9   people there. And then I wrote some pieces that were
     10       A. At Indianapolis.                                     10   published on the Internet on gun forums, you know, on
     11             MR. WATSON: Objection, form.                      11   gun rights forums about what I wanted to do and why.
     12             THE WITNESS: Okay.                                12      Q. (BY MR. CICILIANO) And did you fund all that
     13             MR. WATSON: You can answer, Judge.                13   yourself?
     14       A. Well, I thought about it quite a while, and          14             MR. WATSON: Objection to form.
     15   then I went to Indianapolis and watched a meeting there     15         You can answer.
     16   and went to -- I didn't get to go to the Friday meeting     16      A. I do most of my own writing, yes.
     17   because I was at the legal seminar, but I went to the       17      Q. (BY MR. CICILIANO) Did you fund it --
     18   Saturday meeting that's the members meeting, and I          18      A. Although I do edit my own stuff, so I have
     19   watched all that unfold. And then I went to the board       19   somebody else proofread it for me.
     20   meeting on the following Monday and got bits and pieces     20      Q. I have the same problems. But did you fund,
     21   of that, watched what I could, and that was when I said     21   did you pay for the flyers and the like yourself?
     22   I need to go help.                                          22             MR. WATSON: Objection to form.
     23       Q. (BY MR. CICILIANO) Did someone ask or                23         You can answer.
     24   nominate you for the position?                              24      A. Yeah, I've still got the digital file
     25             MR. WATSON: Objection.                            25   somewhere. Yeah, I handed them out at gun shows. I
                                                           Page 115                                                      Page 117

                                                                                                        30 (Pages 114 - 117)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 143 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   went to gun shows all over the Midwest. I was going to      1   speculation.
      2   go to one in Vegas, but they didn't want me handing them    2        A. That one I don't. I think he was curious, I
      3   out there.                                                  3   guess.
      4       Q. (BY MR. CICILIANO) Did you speak or have you         4        Q. (BY MR. CICILIANO) He was curious about how
      5   spoken with anyone affiliated with the New York Attorney    5   to notice a special meeting?
      6   General?                                                    6              MR. WATSON: Objection to form.
      7              MR. WATSON: Objection, form. Objection           7        A. That's a big assumption. No. He was asking
      8   to form, and it calls for speculation.                      8   about the bylaws regarding calling the meeting, and then
      9              THE WITNESS: Yeah.                               9   he wasn't aware that -- he thought I had already had the
     10              MR. WATSON: And I think he's already            10   deposition, and I explained to him what happened at the
     11   answered the question.                                     11   previous setting and that we were going to go shortly
     12          So I'm thinking you don't need to answer that       12   and I had to let him go because I had to come meet you
     13   question, Judge.                                           13   all.
     14              MR. CICILIANO: It's a little bit                14        Q. (BY MR. CICILIANO) So you had previously
     15   different.                                                 15   spoken with Mr. Knox about your deposition. Is that
     16       Q. (BY MR. CICILIANO) Since the filing of the          16   correct?
     17   New York Attorney General action, have you spoken with     17        A. I think --
     18   anyone affiliated with the New York Attorney General's     18              MR. WATSON: Objection to form. It
     19   office?                                                    19   mischaracterizes his testimony. I think --
     20              MR. WATSON: Same objection. He's                20        A. I think --
     21   answered the question.                                     21              MR. WATSON: Hold on, Judge. Hold on
     22       A. And the answer's no.                                22   before you say anything else.
     23       Q. (BY MR. CICILIANO) When was the last time you       23          That mischaracterizes his testimony. That's
     24   spoke with Jeff Knox?                                      24   not what he said.
     25       A. About three hours ago.                              25        Q. (BY MR. CICILIANO) Have you previously spoken
                                                          Page 118                                                          Page 120

      1      Q. And what did you speak with Mr. Knox about?           1   with Mr. Knox about your deposition?
      2      A. How he got the bylaws wrong, saying that it           2       A. I believe we did communicate, and I told him
      3   was a 30-day window to call an emergency board meeting      3   that it was set and I was curious on your
      4   when the bylaws had been changed and it was only seven.     4   interrogatories how you want me to tell you about my
      5      Q. So you were consulting with Mr. Knox regarding        5   talking to reporters. I mean, I can talk about The New
      6   the nature -- when you say "the bylaws," the NRA's          6   York Times, The Wall Street Journal or others that I've
      7   bylaws?                                                     7   been in conversations with, too.
      8      A. I think it was the other way around. I think          8       Q. So when was the first --
      9   he was asking me.                                           9       A. And I know with Knox it's kind of personal
     10      Q. About the NRA's bylaws?                              10   with everybody back in Fairfax.
     11      A. Yes.                                                 11       Q. So when was the first time you talked with
     12      Q. Did you talk about anything else with him at         12   Mr. Knox about your deposition?
     13   that time?                                                 13       A. I don't know.
     14             MR. WATSON: Objection to the form,               14       Q. Shortly -- how many times have you talked with
     15   speculation.                                               15   Mr. Knox about your deposition?
     16      A. Just how much fun I was going to have this           16             MR. WATSON: Objection, asked and
     17   afternoon.                                                 17   answered.
     18      Q. (BY MR. CICILIANO) And what precipitated the         18       A. I don't know. I've been talking to a lot of
     19   conversation?                                              19   people. You know, it's hell when you're popular.
     20      A. He called me.                                        20       Q. (BY MR. CICILIANO) It's hell when you're
     21             MR. WATSON: Objection to form.                   21   what?
     22      A. Yeah, he called me.                                  22       A. It's hell when you're popular.
     23      Q. (BY MR. CICILIANO) And do you know why he            23       Q. When did you speak to The New York Times?
     24   called you?                                                24       A. They're waiting on a call.
     25             MR. WATSON: Objection to form,                   25       Q. So have you spoken to them yet?
                                                          Page 119                                                          Page 121

                                                                                                         31 (Pages 118 - 121)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 144 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1       A. Yes. We've been in communication.                    1   bottom of the controversies that have swirled around NRA
      2       Q. Have you provided them any documents?                2   for years. You know, I can't go to a gun club meeting.
      3       A. No. I haven't provided anybody documents.            3   I can't go to a gun show. I can't go to our Kroger
      4       Q. What did you tell The New York Times?                4   store and not have somebody ask me about this, because
      5       A. Actually, they were asking me questions. A           5   they all know that in Kansas I'm the guy. You know, I'm
      6   lot of them I won't answer. But essentially along the       6   the guy that wrote "Right to Carry." I'm the guy that
      7   same lines you all have been talking about, and I told      7   wrote "Preemption." I'm the guy that wrote,
      8   them I would prefer to wait until after this. So, you       8   "Legalization of Title II," "Firearms and Devices." In
      9   know -- because I knew what was going to happen with the    9   Kansas there's only one person that's been at the
     10   Free Beacon's interview.                                   10   forefront of this since the 1980s, and that's me. So
     11       Q. And when you say there was a lot of questions       11   everybody knows me. Everybody asks.
     12   you wouldn't answer from The New York Times, what were     12       Q. (BY MR. CICILIANO) And you're willing to tell
     13   those questions?                                           13   anyone who asks. Right?
     14       A. Very similar to the ones I wouldn't answer for      14       A. What?
     15   you all.                                                   15       Q. And you are willing to tell anyone that asks.
     16       Q. Regarding what occurred during the special --       16   Isn't that right?
     17       A. Yeah, they want to know what happened in the        17              MR. WATSON: Objection, calls for
     18   executive session.                                         18   speculation.
     19       Q. And when was the last time you spoke with The       19              MR. MASON: Misstates his testimony.
     20   Wall Street Journal?                                       20              MR. WATSON: It misstates facts in
     21       A. 48 hours ago.                                       21   evidence.
     22       Q. And what did you tell them?                         22              THE WITNESS: Yeah, I don't like that
     23       A. That I wanted to wait until after this.             23   question. That's not true, and I don't like the
     24       Q. "This" being the deposition?                        24   supposition that comes with it.
     25       A. Yes.                                                25              MR. WATSON: And you don't have to answer
                                                         Page 122                                                         Page 124

      1       Q. Okay. After this deposition, you intend to           1   it, Judge.
      2   speak to both The New York Times and The Wall Street        2              THE WITNESS: Thank you.
      3   Journal?                                                    3              MR. CICILIANO: So you're directing him
      4       A. Among others.                                        4   not to answer?
      5       Q. What are the others?                                 5              MR. WATSON: Well, is there a question or
      6       A. I've got to look at my phone. Let's see. Oh,         6   is it you testifying?
      7   ABC, somebody in Europe. I don't know who that is. And      7              MR. CICILIANO: Yeah, it's an absolute
      8   another guy in Australia, a friend of mine.                 8   question.
      9       Q. And the intent there is to give an interview         9              MR. WATSON: Okay. Would you restate it?
     10   to all those news outlets. Is that correct?                10              MR. CICILIANO: Yeah.
     11       A. We'll see. I may. I may not.                        11       Q. (BY MR. CICILIANO) You'll talk to anyone
     12              MR. WATSON: Objection. That's                   12   about the NRA that asks. Isn't that right?
     13   speculation.                                               13       A. No, that's not.
     14       A. That is, yeah.                                      14              MR. WATSON: Okay. There you go. You
     15       Q. (BY MR. CICILIANO) And what's your motivation       15   got your answer.
     16   for talking to The New York Times?                         16       Q. (BY MR. CICILIANO) So who have you refused to
     17              MR. WATSON: Objection, speculation,             17   talk to?
     18   because it assumes facts not in evidence.                  18              MR. WATSON: Objection, speculation.
     19       A. I would think that it would be obvious that         19       A. The ones I believe that would not be able to
     20   there would be a number of tasks that could be             20   add to the conversation or would use information to the
     21   accomplished. One, it would be to help with the            21   detriment of the association.
     22   fundraising to keep this issue in front of the public's    22       Q. (BY MR. CICILIANO) And I believe in your
     23   eye so that members know that there's somebody out there   23   article -- or I believe in your article that you posted
     24   that's trying to represent them and so that members know   24   when you were running for the board, you had commented
     25   that there's somebody out there trying to get to the       25   that The New York Times -- certainly you question the
                                                         Page 123                                                         Page 125

                                                                                                         32 (Pages 122 - 125)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 145 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   veracity of what The New York Times publishes. Isn't           1   reality that could occur, yes.
      2   that true?                                                     2       Q. And likewise, you said dismissing these
      3       A. Yes.                                                    3   bankruptcies could very likely result in the termination
      4       Q. But yet you would speak to them even though             4   of the NRA as a going concern. Isn't that right?
      5   they may not have the best interest of the NRA at heart.       5              MR. WATSON: Objection, calls for legal
      6   Right?                                                         6   conclusion.
      7              MR. WATSON: Objection, calls for legal              7       A. What paragraph?
      8   conclusion, calls for speculation, and also assumes            8       Q. (BY MR. CICILIANO) I was -- it was in your
      9   facts not in evidence.                                         9   opposition to the New York Attorney General's dismissal
     10          You can answer the question, Judge, but --             10   of the -- or request to dismiss the bankruptcy?
     11       A. I may not -- I may not believe The New York            11              MR. WATSON: I believe that if we're
     12   Times, but I don't mind using them.                           12   going to talk about documents that you're reading from,
     13       Q. (BY MR. CICILIANO) And that's using them               13   I think they should be put into evidence so he can know
     14   truly to get the message out that the NRA has a good          14   what you're referencing.
     15   purpose at its core. Isn't that right?                        15              MR. CICILIANO: Sure, that would be fine.
     16       A. I think my message is quite clear, because             16              THE WITNESS: That would be really
     17   you've read the article that I wrote on ammo. So, you         17   helpful, because I mean, you know, I've read hundreds of
     18   know, outside of that, I'm sure you've read the other         18   documents, you know. Think about what I do every day.
     19   articles I've written, too, about political action and        19              MR. CICILIANO: I appreciate that. And
     20   how to keep the election cycle from melting down as it        20   Counsel, I am trying not to string this along so we
     21   did.                                                          21   can -- so I will ask one more question, and I don't need
     22       Q. And so what -- I mean, just succinctly, what           22   to put the document up.
     23   is your message?                                              23       Q. (BY MR. CICILIANO) But do you believe
     24       A. My message is that I want to restore trust             24   dismissing these bankruptcy cases could likely --
     25   between the leadership and the membership of NRA.             25              MR. WATSON: Okay. Before you go
                                                             Page 126                                                          Page 128

      1       Q. And that only occurs through the continued              1   further, then I would object and I would say that the
      2   existence of the NRA. Isn't that correct?                      2   pleadings speak for themselves, but go ahead.
      3       A. I certainly want the NRA to continue to exist,          3              MR. CICILIANO: Okay.
      4   yes.                                                           4       Q. (BY MR. CICILIANO) Do you believe, Judge,
      5       Q. Now I believe in -- you don't -- or pardon me.          5   that dismissing these bankruptcy cases could very likely
      6          You spoke at length, I believe, with my                 6   result in the termination of the NRA as a going concern?
      7   colleagues on the other side about whether or not there        7              MR. WATSON: Objection, calls for legal
      8   was authority to file the bankruptcy. Do you recall            8   conclusion.
      9   that?                                                          9          But to the extent you're not making a legal
     10       A. Yes.                                                   10   judgment, Judge, you can answer based on your
     11       Q. And despite your position that you think that          11   understanding.
     12   there may not have been authority, you don't oppose the       12       A. Yeah, I don't know what the judge in the
     13   bankruptcy. Correct?                                          13   bankruptcy case is going to do, you know. I mean, this
     14       A. I don't know about that. You know, I don't             14   thing could go so many different ways. And I know that
     15   oppose the move to Texas, is what we said in the              15   the way I would like to see it go would be to restore
     16   petition. I don't know that the bankruptcy was                16   corporate governance, put the safeguards -- turn the
     17   necessary to accomplish that. And I think the                 17   safety switches back on, restore trust and relationship
     18   motivation, as I see it for the bankruptcy, told me a         18   between the leadership and the membership and keep
     19   lot about the quality of the lawsuit in New York.             19   general operations running, because I think everybody
     20       Q. And in fact, your pleadings, though, do say            20   else, except for the debtors' counsel and us, want to
     21   these bankruptcy cases may represent the only path            21   kill the cow rather than milk it.
     22   forward to preserve the NRA for the benefit of its            22       Q. (BY MR. CICILIANO) You're saying that
     23   creditors, members and other interested parties. Isn't        23   debtors' counsel wants to kill the cow or --
     24   that right?                                                   24       A. No. I'm saying you're the only one with me
     25       A. I think that's a recognition of the legal              25   that doesn't want to kill the cow.
                                                             Page 127                                                          Page 129

                                                                                                            33 (Pages 126 - 129)
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                                                          800-336-4000
Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 146 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1      Q. Well, I appreciate you saying that. And I               1   out here is are you aware that the unsecured creditors
      2   do -- so you do believe that through the bankruptcy it's      2   committee has the power to investigate claims?
      3   possible to restore the corporate governance and restore      3      A. Yes.
      4   the trust in those other factors you talked about?            4      Q. Okay. And they have the ability to examine
      5      A. That's -- that's my goal.                               5   the debtors' pre- and post-petition management?
      6      Q. And is there any reason that you -- well, do            6      A. Yes.
      7   you doubt the independence of the unsecured creditors         7      Q. And are you aware that the unsecured creditors
      8   committee?                                                    8   committee has the ability to monitor the -- or
      9              MR. WATSON: Objection. Objection to                9   investigate the management practices being employed by
     10   form, and it calls for speculation and possible motives      10   the operation of the NRA?
     11   of a party that's not even present. I think they have        11              MR. WATSON: Objection. Objection, calls
     12   representatives, but they're not even active in this         12   for legal conclusions. The judge is not a bankruptcy
     13   deposition.                                                  13   lawyer. He's not -- he just said that he hasn't read
     14          But subject to those objections, Judge, you           14   the most recent filing of the committee, so I don't
     15   can give your opinion about what you think -- your           15   think it's fair to have him speculate about what the
     16   feelings on the committee.                                   16   committee's powers are. And he's not aware of it.
     17      A. Well, the creditor's committee. Isn't that             17              MR. CICILIANO: I appreciate that. And
     18   special? That, you know, we end up with what the New         18   the learned judge has also testified to what he believes
     19   York Attorney General could call a co-conspirator end up     19   requires corporate authority. So I am just asking
     20   running the investigation and act as a trustee on the        20   whether or not he was aware that the unsecured creditors
     21   creditor's committee. I don't know how anybody gets          21   committee has the ability to investigate the management
     22   around that concept.                                         22   practices of the NRA.
     23      Q. (BY MR. CICILIANO) And you're talking about            23              MR. WATSON: But do you know -- to the
     24   Ackerman McQueen?                                            24   extent you know that, Judge, you can answer to the
     25      A. Yes.                                                   25   extent you know; but if you don't know, then you don't
                                                            Page 130                                                         Page 132

      1       Q. You're aware that the creditor's committee,            1   know.
      2   though, has opposed the request that they seek. Right?        2      A. My -- my very limited understanding that I
      3       A. I thought Ackerman McQueen filed a motion to           3   have gained of Chapter 11 law since January 15th tells
      4   dismiss the case and appoint a trustee.                       4   me that the creditors committee acts kind of like the
      5       Q. Yes, but the creditor's committee has opposed          5   trustee until a trustee or an examiner is appointed.
      6   that relief. Are you --                                       6   You know, I could be wrong on that. I probably need to
      7              MR. WATSON: I am going to object to the            7   ask Jermaine.
      8   instruction.                                                  8      Q. (BY MR. CICILIANO) Okay. And I certainly
      9       A. I don't know about that.                               9   don't want you to ask Jermaine here. I'm just
     10              MR. WATSON: Well, hold on, Judge.                 10   wondering -- I'm just wondering is there a reason why
     11              THE WITNESS: Okay.                                11   the creditors committee can't do the same things that
     12              MR. WATSON: To the extent you know                12   you're proposing an examiner would do?
     13   something, you can testify to it; and to the extent you      13              MR. WATSON: Again, calls for legal
     14   don't, you shouldn't. Okay?                                  14   conclusion and speculation about things that, you know,
     15              THE WITNESS: Thank you.                           15   he doesn't have knowledge of. He's not an expert in
     16              MR. WATSON: Do you want to reask your             16   bankruptcy.
     17   question, Dylan?                                             17          And again, Judge, to the extent you understand
     18              MR. CICILIANO: Yeah, sure.                        18   what a committee does and what it can and cannot do, you
     19       Q. (BY MR. CICILIANO) Are you aware that the             19   can answer; but to the extent you don't, I am going to
     20   unsecured creditors committee has objected to the relief     20   instruct you not to answer.
     21   sought by Ackerman McQueen to dismiss the action and         21      A. I don't know what they're doing. I haven't
     22   appoint a trustee?                                           22   seen anything that they've done that would be along
     23       A. I have not had an opportunity to review that          23   those lines of an investigation, but, you know, you guys
     24   filing.                                                      24   are all inside. I have listened to a couple of 341
     25       Q. And honestly, sir, what I am trying to figure         25   meetings and I think the hearing on Monday, and that was
                                                            Page 131                                                         Page 133

                                                                                                           34 (Pages 130 - 133)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 147 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   about it. I really enjoyed that first motion docket.          1   every day I end up with he said/she said in family law.
      2   That was fun to watch. When you had like a hundred            2   And you know, I knew I couldn't do the investigation. I
      3   lawyers on the screen, that was the craziest thing I've       3   don't have time for it. And once they went into
      4   ever seen.                                                    4   bankruptcy court, I wanted to look at my options and I
      5       Q. (BY MR. CICILIANO) We may be able to agree to          5   thought the examiner position was the best to find out
      6   that.                                                         6   what's going on. Now, you know, depending on what the
      7           What I am trying to get to here is that you           7   examiner finds, I may change my position.
      8   filed a motion to appoint an examiner, and I am trying        8       Q. (BY MR. CICILIANO) But right now you're just
      9   to understand what you think the examiner can do that         9   trying to get to the bottom of things. That's accurate?
     10   the unsecured creditors committee won't do.                  10       A. That's exactly -- that's a nice way to put it,
     11              MR. WATSON: I am going to object to that          11   yeah.
     12   question because I think the pleadings that Judge            12       Q. Now I marked some of the same paragraphs that
     13   Journey has authorized, both in our motion and in the        13   opposing counsel did to ask you about, and I just want
     14   response to the other pending motions, speak for             14   to follow up and just confirm.
     15   themselves and are the best evidence of what he              15           When you would say things, I believe in your
     16   understands an examiner's position to be.                    16   pleadings, upon information and belief the NRA violated
     17           But to the extent you know, Judge -- to the          17   its fiduciary duties under New York law, that was based
     18   extent you can answer his question that you know, you        18   on what you read from the AG's complaint. Is that
     19   know --                                                      19   right?
     20              THE WITNESS: Yes --                               20              MR. WATSON: Objection to form. I think
     21              MR. WATSON: -- definitively, you can              21   it calls for legal conclusions.
     22   answer.                                                      22           But go ahead, Judge.
     23       A. The reason I asked for an examiner was because        23              THE WITNESS: Okay. I'm sorry. I'm
     24   I felt it was necessary, given the past history, that a      24   sorry, Jermaine.
     25   neutral and objective investigator and factfinder needed     25              MR. WATSON: And -- well, and I have
                                                            Page 134                                                          Page 136

      1   to go in because I had essentially staff, counsel or          1   another objection, too.
      2   others I believe misrepresent things to me, and so the        2           To the extent it mischaracterizes his
      3   trust I had evaporated on January 15th.                       3   testimony, because I don't believe he testified to that.
      4       Q. (BY MR. CICILIANO) I appreciate that. And              4   I believe he said it was his opinion, and he gave the
      5   going back to, I think, what you said earlier, you don't      5   basis for his opinion.
      6   have any reason to doubt or question my firm. Is that         6           But subject to those objections, you can
      7   right?                                                        7   answer, Judge.
      8       A. I don't have any reason to question you, no.           8              THE WITNESS: Thank you.
      9       Q. Okay. And you believe that the appointment of          9       A. The New York Attorney General's petition was
     10   a trustee would be overly destructive to the NRA's           10   not the only source of information, that it includes
     11   operations. Is that correct?                                 11   thousands of articles that have been in magazines or
     12             MR. WATSON: I am going to object to the            12   newspapers over the past five to six years that I have
     13   extent you're reading from pleadings filed in the case       13   compiled as I followed the association.
     14   because they speak for themselves.                           14       Q. (BY MR. CICILIANO) And I believe you
     15           And to the extent --                                 15   testified that you think the corporate governance needs
     16             MR. CICILIANO: I am reading from my                16   to be restored. Is that correct?
     17   notes.                                                       17       A. Yes.
     18             MR. WATSON: Okay. But to the extent you            18       Q. And what's the basis for that belief?
     19   are, those pleadings speak for themselves.                   19       A. The fact that -- there's so many things. It
     20           But Judge, to the extent you know, you can           20   appeared to me in reviewing the articles, my personal
     21   answer.                                                      21   observations at functions, such as the NRA board
     22       A. I thought the examiner path was the best path         22   meetings, at the annual meetings, that the review of the
     23   to take because it was the way to find out whether the       23   newspaper articles, the petitions filed by the New York
     24   accusations that have been surrounding NRA for so long       24   Attorney General and don't forget the Washington, D.C.
     25   are true or not true. Because, you know, every day --        25   one, too, all gave me great concern regarding the
                                                            Page 135                                                          Page 137

                                                                                                            35 (Pages 134 - 137)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 148 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1   corporate governance and essentially the safety switches     1       Q. And so every three years, you have a new
      2   all being bypassed, whether it's the audit committee or      2   batch of directors. Is that right? Well, sorry, not a
      3   other subentities inside the NRA.                            3   new batch. Let me take a step back.
      4       Q. I believe you testified to the effect that you        4          At least every three years, each director is
      5   don't know how Wayne LaPierre can get out of this. Is        5   then up for reelection again. Is that right?
      6   that right?                                                  6              MR. WATSON: Objection. Objection, it
      7              MR. WATSON: Objection.                            7   calls for speculation.
      8       A. I don't --                                            8          And you can answer to the extent that you
      9              MR. WATSON: Objection. Objection. Hold            9   know, Judge, but --
     10   on. That mischaracterizes his testimony.                    10              THE WITNESS: Yeah, thank you.
     11              THE WITNESS: Yeah.                               11       A. Board members are generally elected for a
     12              MR. WATSON: That wasn't the complete             12   three-year period, but if they're elected to fill an
     13   nature of his testimony.                                    13   unexpired term of a member that's resigned of the board,
     14          But you can answer. You can answer, Judge.           14   then they could be elected. For example, there were --
     15       A. I --                                                 15   I think in the last election, there were 25 three-year
     16       Q. (BY MR. CICILIANO) You don't see how he gets         16   terms, two or three two-year terms, and one or two
     17   out, is that what you said? Sorry.                          17   one-year terms that all were on the same ballot because
     18              MR. WATSON: Same objection.                      18   they were filling the slots for people that had left the
     19          Go ahead, Judge.                                     19   board.
     20       A. You know, I've got to tell you that when I was       20       Q. (BY MR. CICILIANO) Okay. Put another way,
     21   at the January board meeting, when I saw Wayne, I had       21   though, at least once every three years directors are
     22   great concern for him and his health. It was apparent       22   accountable to the members who can either elect them or
     23   to me that he is subject to a significant amount of         23   not elect them. Correct?
     24   stress because of all of these things going around.         24       A. That's true.
     25   And, you know, I want to say that I empathized with him,    25       Q. And every year the directors are able to elect
                                                           Page 138                                                          Page 140

      1   and I can't imagine what he's going through right now.       1   the EVP. Is that correct?
      2          You know, you have to understand that I've            2      A. That's true.
      3   known all these people for decades. You know, it's not       3      Q. And in fact, you yourself approved the
      4   like I walk in off the street and meet a stranger. You       4   contract of Mr. LaPierre. Is that right?
      5   know, I knew Wayne before he was EVP, when he was            5      A. Yes. He was elected EVP on October 24th.
      6   running in Iowa, and I went and interviewed for a job        6      Q. And I believe you said you started reading
      7   with him.                                                    7   about the lawsuits with the NRA three years ago. Right?
      8      Q. (BY MR. CICILIANO) So I may have                       8      A. Yes.
      9   misunderstood you. When you said you don't see how he        9      Q. And you were certainly aware of the New York
     10   gets out and then talked about concerns about his health    10   Attorney General's allegations well before January.
     11   and the like, are you saying you don't know how he could    11   Correct?
     12   personally weather this or how he could -- how this         12      A. Yes. I read that opinion on the 5th, on
     13   could resolve with him still being in charge of the NRA?    13   August 5th. I actually threw up about 40 pages in.
     14      A. All of the above.                                     14             MR. CICILIANO: And counsel, if I could
     15      Q. Okay. And the EVP is appointed. Isn't that            15   have probably five minutes just to confer with my
     16   right?                                                      16   colleagues, I may be done.
     17      A. No, the EVP is elected by the board.                  17             MR. WATSON: Sure. How much more time do
     18      Q. Okay. And how often is he elected?                    18   you anticipate?
     19      A. Annually.                                             19             MR. CICILIANO: I don't know that I'll
     20      Q. And the members elect -- the members elect            20   need any more time is what I'm saying. I just want to
     21   one-third of the directors every three years. Is that       21   check.
     22   right?                                                      22             MR. WATSON: Okay. Sure. We can go off
     23      A. Essentially, yes, but there are fluctuations          23   the record.
     24   because there have been so many resignations from the       24             THE VIDEOGRAPHER: The time is 7:16. We
     25   board.                                                      25   are off the record.
                                                           Page 139                                                          Page 141

                                                                                                          36 (Pages 138 - 141)
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Case 21-30085-hdh11 Doc 468-2 Filed 04/03/21 Entered 04/03/21 02:48:03 Page 149 of
              CONFIDENTIAL PURSUANT149   TO PROPOSED PROTECTIVE ORDER
      1             (Break from 7:16 p.m. to 7:23 p.m.)                1       Q. You said perhaps in some instances. Do you
      2             THE VIDEOGRAPHER: The time is 7:23.                2   have evidence that they were inaccurate?
      3   We're back on the record.                                    3       A. I have evidence that they're sure as hell hard
      4       Q. (BY MR. CICILIANO) Judge Journey, previously          4   to read, that they don't impart a reasonable view or
      5   we testified -- or we talked about some of the               5   description of the financial status. Often they're
      6   allegations in the New York AG's complaint. You're           6   brought out of context and without the juxtaposition
      7   familiar with the allegations they make. Is that             7   next to previous years for comparison purposes. I
      8   correct?                                                     8   certainly would like to have a more easily
      9       A. Yes.                                                  9   understandable picture presented to the board and to me
     10       Q. Do you have personal percipient knowledge of         10   about the financial circumstances surrounding any period
     11   the allegations in the complaint?                           11   of time that they oversee the NRA's operations.
     12       A. No.                                                  12       Q. So it would be fair to say you're looking for
     13       Q. You're familiar with the allegations that the        13   robust accounting?
     14   Washington, D.C. Attorney General has made. Is that         14             MR. WATSON: Objection, mischaracterizes
     15   correct?                                                    15   testimony.
     16       A. Yes.                                                 16       A. Well, among other things.
     17       Q. Do you have personal percipient knowledge of         17       Q. (BY MR. CICILIANO) And other things,
     18   those allegations?                                          18   comparisons to previous years. That's one of them?
     19       A. No.                                                  19       A. Well, if one is going to determine where
     20       Q. You talked about governance failures at the          20   you're at, you need to know where you've been. It's
     21   NRA. Do you have personal knowledge of governance           21   like following a roadmap. If you see trends occurring
     22   failures.                                                   22   over a five-year period, it may give you an indication
     23       A. Only what I saw.                                     23   that something needs to happen or something needs to be
     24       Q. Okay. And aside from what may have occurred          24   corrected. But when you're looking at a financial
     25   in special sessions or otherwise in the presence of         25   statement for the last quarter without the context, it's
                                                           Page 142                                                         Page 144

      1   counsel providing advice, what did you see as far as         1   much more difficult to come to any reasonable conclusion
      2   governance failures?                                         2   other than what they tell you.
      3       A. Well, I explained earlier how shocked I was at        3      Q. As a member of the board, have you looked at
      4   the way the board operated at the October 24th board         4   the bylaws to see what you could propose to make those
      5   meeting following the annual meeting in Tucson, that it      5   changes?
      6   ran like a consent agenda. I know what that is. I know       6             MR. WATSON: Objection to form,
      7   what its purpose is under Robert's Rules of Order, and       7   speculation -- speculative.
      8   it quite clearly was abused at that place and time.          8      A. I don't know that the bylaws would provide the
      9       Q. So aside from that instance at that meeting in        9   answer to the question that needs to be corrected. It's
     10   October, have you seen any other -- or do you have          10   not the bylaws themselves. It's the application of
     11   personal knowledge of any other governance failures?        11   those bylaws by staff and officers that has come up
     12       A. I think it was apparent at the January 7th           12   short. I don't know that the bylaws aren't fine. It's
     13   meeting that the governance failure was at the hand that    13   just they don't seem to follow them until they need to.
     14   is at the heart of my motion.                               14      Q. (BY MR. CICILIANO) And as a board member,
     15       Q. All right. So aside from what's in your              15   what have you done to promote management and staff
     16   motion, was there anything else?                            16   following the bylaws?
     17       A. Not that comes to mind at this moment.               17      A. I have expressed concerns over a much longer
     18       Q. You mentioned, I believe, accounting failures.       18   period of time than my short service in this term on the
     19   Are you -- do you have any personal knowledge of            19   board. I mean, you know, of the last, what, since
     20   accounting failures occurring at the NRA?                   20   October 24th, what, I've been in a room with the other
     21       A. I don't know if I would call it accounting           21   board members for about four and a half hours. You
     22   failure or not, but I have to say that the financial        22   know, what can you get done then? I haven't had
     23   statements that I've had the opportunity to review are      23   committee meetings. We would have a social function.
     24   less than informative and perhaps in some instances have    24   And you know, there are certain things that you can
     25   been far less than accurate.                                25   bring up there, but you certainly don't want to jump on
                                                           Page 143                                                         Page 145

                                                                                                          37 (Pages 142 - 145)
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